Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Aerocare Medical Transport System, Inc.

2.   All other names debtor
     used in the last 8 years
                                  FKA R&M Aviation, Inc.
     Include any assumed          FKA AeroCare Aeromedical Ambulance Service, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1936 E. Missouri Ave.
                                  Phoenix, AZ 85016
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Maricopa                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.aerocare.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Aerocare Medical Transport System, Inc.                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6219

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known

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Debtor   Aerocare Medical Transport System, Inc.                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                          Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                                25,001-50,000
    creditors
                                 50-99                                          5001-10,000                                50,001-100,000
                                 100-199                                        10,001-25,000                              More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion




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Debtor    Aerocare Medical Transport System, Inc.                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 13, 2023
                                                  MM / DD / YYYY


                             X   /s/ Joseph Cece                                                          Joseph Cece
                                 Signature of authorized representative of debtor                         Printed name


                                                                                                          Email Address of debtor
                                 Title   President




18. Signature of attorney    X   /s/ James E. Cross                                                        Date April 13, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James E. Cross 009063
                                 Printed name

                                 Cross Law Firm, P.L.C.
                                 Firm name

                                 PO Box 45469
                                 Phoenix, AZ 85064
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     602-412-4422                  Email address      jcross@crosslawaz.com

                                 009063 AZ
                                 Bar number and State




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AEROCARE MEDICAL TRANSPORT SYSTEM
        Balance Sheet
                      As of March 31, 2023

                                                              Total
ASSETS
 Current Assets
  Bank Accounts
      1000-01 #4223 First Fidelity Checking                                0.00
      1000-07 Chase Bank Checking #7851                                5,789.50
      1000-15 1000-15 - 7759 Exp acc FFB                                165.27
    Total Cash in bank                                   $             5,954.77
  Total Bank Accounts                                    $             5,954.77
  Accounts Receivable
    1200-03 Accounts Receivable                                 1,529,078.92
  Total Accounts Receivable                              $      1,529,078.92
  Other Current Assets
    1200-98 Fuel Excise Tax                                           48,904.27
    1600-01 Allowance for Bad Debt                               -695,496.54
    Notes receivable
      1900-03 Due from R&J                                                 0.00
      1900-10 Due From Officer                                    556,511.68
      1900-15 1900-15 Other Receivable                                     0.00
    Total Notes receivable                               $        556,511.68
    Prepaid Expenses
      1300-02 Prepaid insurance                                        8,800.75
      1300-04 Prepaid Training                                             0.00
    Total Prepaid Expenses                               $             8,800.75
 Total Current Assets                                    $      1,453,753.85
 Fixed Assets
    2100-15 888CP                                               1,077,432.24
    2200-01 Computer equipment/software                                1,439.77
    2400-01 Furniture and equipment                               119,809.93
    2400-02 EQUIPMENT                                           1,367,292.68
    2400-03 Leasehold improvements                                    25,765.08
    2400-05 VEHICLES                                              882,763.12
  Total 2100-04 Fixed assets                             $      3,474,502.82
  Less accumulated depreciation
    2800-01 EQUIPMENT                                           -1,367,292.68
    2800-02 AIRCRAFT                                            -1,077,083.19
    2800-03 Leasehold improvements                                -25,765.08
    2800-04 VEHICLES                                             -837,556.78
    2800-05 Furniture and equipment                              -119,809.93
  Total Less accumulated depreciation                    -$     3,427,507.66
 Total Fixed Assets                                      $            46,995.16
TOTAL ASSETS                                             $      1,500,749.01




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LIABILITIES AND EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       3000-04 Accounts Payable                                   1,620,768.36
     Total Accounts Payable                                $      1,620,767.96
     Credit Cards
       1111-00 1111-00 Joe's Personal CC                              2,651.49
     Total Credit Cards                                    $          2,651.49
     Other Current Liabilities
       3200-10 ACCRUED COLLECTION FEES                                    0.00
       3200-16 Due to stockholder                                   141,967.78
       3200-19 Short Term Loan                                      449,877.75
       3201-00 ACCRUED PTO                                            7,445.47


       Current portion long-term debt
          3250-05 First Fidelity LOC                                408,803.51
          3250-15 888CP                                             109,073.21
          3250-65 2019 Schedule 3                                    11,530.83
           3900-64 614 CHICAGO 2018                                  16,978.72
          Total Notes payable - vehicles                   $         16,978.72
       Total Current portion long-term debt                $        546,386.27
     Total Other Current Liabilities                       $      1,145,677.27
   Total Current Liabilities                               $      2,769,096.72


   Long-Term Liabilities
       4000-51 888CP                                                  9,727.84
       4000-69 SBA LOAN - 7450287802                                150,000.00
          4000-64 614 CHICAGO 2018                                    5,260.78
       Total Notes payable - vehicles                      $          5,260.78
     Total L-T portion of notes payable                    $        164,988.62
   Total Long-Term Liabilities                             $        164,988.62
 Total Liabilities                                         $      2,934,085.34
 Equity
   3000 Opening balance equity                                            0.00
   5000-01 Retained Earnings - R & M                                304,795.16
   5000-02 Retained earnings                                      -1,691,194.01
   5100-01 Capital stock                                             22,000.00
   5200-01 Distribution                                           1,046,916.55
   5300-01 Paid in capital                                           13,239.66
   Net Income                                                     -1,129,093.69
 Total Equity                                              -$     1,433,336.33
TOTAL LIABILITIES AND EQUITY                               $      1,500,749.01




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            AEROCARE MEDICAL TRANSPORT SYSTEM
                      Profit and Loss
                                      January - March, 2023

                                                                  Total
Income
 6000-01 Revenue
   6000-99 Insurance Verification Charge                                   58,609.60
   Air Ambulance
    6200-02 IL-Air ambulance                                               79,144.00
   Total Air Ambulance                                  $                  79,144.00
   SOG-Ground
    6300-22 IL-SOG - ground                                                53,168.15
   Total SOG-Ground                                     $                  53,168.15
 Total 6000-01 Revenue                                  $                 190,921.75
Total Income                                            $                 190,921.75
Cost of Goods Sold
 Cost of Goods Sold
   Flight Operations                                                       24,595.00
    7200-01 Aircraft fuel                                                  14,288.76
    Credit Card Fees
      7100-02 Merchants                                                     2,532.85
    Total Credit Card Fees                              $                   2,532.85
    Direct labor-Flight Ops
      7300-01 FL-Pilot Flights                                             11,111.21
      7300-02 FL-Pilot Salaries                                             9,230.77
      7300-03 IL-Pilot Salaries                                            11,250.01
    Total Direct labor-Flight Ops                       $                  31,591.99
    Insurance-Aircraft
      7330-09 888CP                                                          812.50
    Total Insurance-Aircraft                            $                    812.50
    Landing fees                                                             511.44
      AZ- Landing fees
         7360-26 55AR                                                      45,047.33
      Total AZ- Landing fees                            $                  45,047.33
    Total Landing fees                                  $                  45,558.77
    Outsourced Flights
      7380-01 IL-Outsourced Flights                                        52,566.00
    Total Outsourced Flights                            $                  52,566.00
   Total Flight Operations                              $                 171,945.87
   Ground Operations                                                        1,085.00
    Direct Labor-Ground Ops
      7470-01 IL-SOG drivers pay                                           10,131.50
      7470-02 IL-SOG stand-by pay                                           8,275.00
    Total Direct Labor-Ground Ops                       $                  18,406.50
   Total Ground Operations                              $                  19,491.50




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   Maintenance Operations
     DirectLabor-Maintenance
       Maintenance
          7400-07 IL-Maintenance                                              1,802.89
       Total Maintenance                                 $                    1,802.89
     Total DirectLabor-Maintenance                       $                    1,802.89
   Total Maintenance Operations                          $                    1,802.89
   Medical Operations
     Direct Labor-Medical
       7450-02 IL-Flight crew pay                                               525.00
       7450-03 IL-Flight crew stand-by pay                                        0.00
     Total Direct Labor-Medical                          $                      525.00
   Total Medical Operations                              $                      525.00
 Total Cost of Goods Sold                                $                  193,765.26
Total Cost of Goods Sold                                 $                  193,765.26
Gross Profit                                             -$                   2,843.51
Expenses
 7601-01 Suspense                                                            -25,859.87
 7720-01 Bank charges                                                         3,376.76
 7830-01 Interest expense                                                    11,013.85
 7840-01 Licenses and permits                                                   888.00
 7880-01 Outside services                                                     4,879.85
 7880-02 Payroll Service Fee                                                  3,123.44
 7880-03 Postage                                                                231.81
 8060-03 Vehicle expenses
   Car wash
     8000-02 IL-Car Wash                                                         45.00
   Total Car wash                                        $                       45.00
   Fuel
     8010-02 IL- Fuel                                                         5,099.27
   Total Fuel                                            $                    5,099.27
   License and registration
     8030-02 IL-License and registration                                        154.40
   Total License and registration                        $                      154.40
   Maintenance and repairs
     8040-03 IL-Maintenance and repairs                                         729.95
   Total Maintenance and repairs                         $                      729.95
 Total 8060-03 Vehicle expenses                          $                    6,028.62
 Advertising and promotion
   7700-04 Internet Advertising                                                 555.65
   7700-12 Media                                                                 39.95
 Total Advertising and promotion                         $                      595.60
 Bank Fees                                                                        2.00
 Computer and internet expense                                                  621.14
   7730-02 Arizona                                                            1,253.89
   7730-03 Illinois                                                           8,687.05
 Total Computer and internet expense                     $                   10,562.08



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Dues and subscriptions                                                 7,961.89
 7750-03 IL-Dues & Subscriptions                                        255.06
Total Dues and subscriptions                      $                    8,216.95
Insurance
 7800-06 IL-General liability                                          2,095.90
 7820-01 Professional liability                                        1,249.17
 7820-03 Vehicle insurance                                             5,582.95
 7820-04 Workers compensation                                         13,490.63
 7820-05 Property Insurance                                            7,078.63
 Health insurance                                                      2,862.99
   7800-01 FL-Health Insurance                                         7,303.47
   7800-02 AZ-Health Insurance                                         6,294.72
   7800-03 IL-Health Insurance                                         8,769.00
   7800-10 PA-Health Insurance                                         1,353.00
 Total Health insurance                           $                   26,583.18
 Life insurance
   7810-02 AZ-Life Insurance                                            451.29
   7810-03 IL-Life Insurance                                            470.67
   7810-04 FL-Life Insurance                                            154.05
   7810-07 PA-Life Insurance                                              -8.73
 Total Life insurance                             $                    1,067.28
Total Insurance                                   $                   57,147.74
Meals and entertainment
 7850-02 IL-Meals and entertainment                                     202.21
Total Meals and entertainment                     $                     202.21
Medical Supply
 7620-02 IL-Medical Supplies                                           1,303.50
Total Medical Supply                              $                    1,303.50
Office expenses
 7870-01 AZ-Office expense                                              771.97
 7870-02 IL-Office expense                                             3,480.14
 7870-04 FL-OFFICE EXPENSES                                                0.00
Total Office expenses                             $                    4,252.11
Professional fees
 7890-02 Legal                                                         3,376.78
Total Professional fees                           $                    3,376.78
Rent
 7900-02 IL-Rent                                                      33,807.00
 7900-11 FL-Rent                                                      11,175.00
Total Rent                                        $                   44,982.00
Salaries and wages
 7660-01 Communications Salary                                        42,058.34
 7680-04 Medical Management
   7680-02 IL-Medical Management                                       3,557.69
   7680-05 AZ-Medical management                                       5,655.74
 Total 7680-04 Medical Management                 $                    9,213.43
 7690-01 Officer salary                                                    0.00



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   Administrative Salary
    7360-10 PA-ADMIN                                               12,560.00
    7630-02 Admin                                                  25,059.92
    7640-03 AZ-Admin                                               11,990.46
   Total Administrative Salary                 $                   49,610.38
   Sales
    7650-02 IL-Sales                                               16,925.27
    7650-20 AZ-Sales                                               32,328.22
   Total Sales                                 $                   49,253.49
 Total Salaries and wages                      $                  150,135.64
 Shop Supplies
   7780-03 Shop Supplies-IL                                         2,535.82
 Total Shop Supplies                           $                    2,535.82
 Taxes
   6560 Payroll
    7390-98 PAYROLL-PA                                              1,143.54
    7930-08 Payroll-AZ                                              3,968.33
    7930-09 Payroll-IL                                             14,403.86
    7930-21 Payroll-FL                                               668.92
   Total 6560 Payroll                          $                   20,184.65
   7930-35 City of Aurora                                           2,400.00
   7930-65 Income Tax                                                -230.45
   Sales Tax Paid                                                    773.25
 Total Taxes                                   $                   23,127.45
 Telecommunications                                                  217.16
   Cell Phones
    7940-04 IL-Cell phones                                           472.71
   Total Cell Phones                           $                     472.71
 Total Telecommunications                      $                     689.87
 Travel
   Airfare
    7965-02 IL-Airfare                                               816.40
   Total Airfare                               $                     816.40
   Hotel
    7970-11 FL-Hotel                                                 762.30
   Total Hotel                                 $                     762.30
   Parking and Taxis
    7960-02 IL-Parking and Taxis                                     347.01
   Total Parking and Taxis                     $                     347.01
 Total Travel                                  $                    1,925.71
 Vehicle lease
   8070-02 AZ-Vehicle Lease                                          973.19
 Total Vehicle lease                           $                     973.19
Total Expenses                                 $                  313,711.11
Net Operating Income                           -$                 316,554.62
Other Income
 8200-02 Miscellaneous income                                      16,500.00



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Total Other Income                                 $                   16,500.00
Other Expenses
 8400-00 Other Miscellaneous Expense                                    8,752.00
Total Other Expenses                               $                    8,752.00
Net Other Income                                   $                    7,748.00
Net Income                                         -$                 308,806.62




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                                                                        SUMMARY OF SCHEDULE K-1

 Entity Name:                                             Number            Number         Number   Number   Number         Number   Number
                                                                  1
   AEROCARE MEDICAL TRANSPORT SYSTEM, INC                 Name:             Name:          Name:    Name:    Name:          Name:    Name:

 Schedule K-1 Line/Item Description                   JOSEPH D. CECE K-1 TOTALS
   1       - ORDINARY BUSINESS INCOME (LOSS)                   59,583.         59,583.
   4       - INTEREST INCOME                                    9,023.          9,023.
 15A       - POST-1986 DEPRECIATION ADJUSTMENT                        14.            14.
 16B       - OTHER TAX-EXEMPT INCOME                           10,000.         10,000.
 16C       - NONDEDUCTIBLE EXPENSES                             1,284.          1,284.
 17A       - INVESTMENT INCOME                                  9,023.          9,023.
 17V       - SECTION 199A W-2 WAGES                       3,100,973.        3,100,973.
 17V       - SECTION 199A UNADJUSTED BASIS                2,040,700.        2,040,700.




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                           ARIZONA INFORMATIONAL FORMS




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                          CALIFORNIA INFORMATIONAL FORMS




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       CA 100S                                      Reconciliation of nonresident income and deductions
  Name                                                                                             Employer ID
         AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                    XX-XXXXXXX
                                                        (a)              (b)             (c)                     (d)            (e)
                                                      Business       CA Source        CA Source            CA Source      Total California
                  Description                       income, loss    Bus. income,     nonbusiness          nonbusiness     Source Amount
                                                      deduction    Loss, Deduction     tangible            intangible      Column b + c


   1   Ordinary business income (loss) ~~           -137,349.          -9,325.                                                -9,325.
   2   Net rental real estate income (loss) ~
   3   Other net rental Income (loss) ~~~
   4   Interest income ~~~~~~~~~                                                                                 9,023.
   5   Ordinary dividends ~~~~~~~~
   6   Royalties ~~~~~~~~~~~~
   7   Total short-term capital gains/losses


   8 Total long-term capital gains/losses ~


   9 Net section 1231 gain (loss) ••••
  10 a Other portfolio income (loss) ~~~~
     b Involuntary conversion ~~~~~~
     c IRC Section 1256 Contracts & straddles
     d Mining exploration costs recapture ~
     e Other income (loss) ~~~~~~~~
  11 Section 179 deduction ~~~~~~
  12 a Charitable contribution ~~~~~~
     b Investment interest expense ~~~~
     c Deductions - royalty income ~~~~
     d Section 59(e)(2) expenditures ~~~
     e Deductions - Portfolio ~~~~~~~
     f Other deductions •••••••••
  15 a Depreciation adjustment on property
     b Adjusted gain or loss ~~~~~~~
     c Depletion (other than oil and gas) ~~
            Gross income from oil, gas, and
     d (1) geothermal properties ~~~~~~
            Deductions allocable to oil, gas, and
       (2) geothermal properties ~~~~~~
     e Other adjustments and tax
       preference items ~~~~~~~~~
  16 a Tax-exempt interest income ~~~~
     b Other tax-exempt income ~~~~~
     c Nondeductible expenses ~~~~~~                                                     1,284.                                 1,284.
  17 a Investment income. See instructions                                                                       9,023.
     b Investment expenses. See instructions




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  Computation of Trade or Business Income for California Purposes
          1       a Gross receipts or sales    8,362,378. b Less returns and allowances                             Balance J   1c    8,362,378.
          2       Cost of goods sold ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 2    5,740,594.
          3       Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  3    2,621,784.
  Income
          4       Net ordinary gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4      520,087.
          5       Other income. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~              SEE STATEMENT 26             5    1,072,268.
          6       TOTAL income (loss). Combine lines 3 through 5 ••••••••••••••••••••••••••••••                                  6    4,214,139.
          7       Compensation of officers. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    7      137,267.
          8       Salaries and wages ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 8    1,358,626.
          9       Repairs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       9       84,622.
         10       Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     10
         11       Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       11     308,197.
         12       Taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           SEE STATEMENT 27            12     270,438.
         13       Interest ••••••••••••••••••••••••••••••••••••••••••••••••                                                     13     237,894.
  Deduc-
         14       a Depreciation ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             14a    305,529.
  tions
                  b Depreciation reported elsewhere on return ~~~~~~~~~~~~~~~                             14b    256,165.
                  c Subtract line 14b from line 14a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ J                                       14c     49,364.
             15   Depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     15
             16   Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    16     428,909.
             17   Pension, profit-sharing, etc. plans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      17
             18   Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             18      249,798.
             19   a) Total travel and entertainment                2,568. b) Deductible amount ~~~~~~~~~~~~                     19        1,284.
             20   Other deductions. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~            SEE STATEMENT 28            20    1,225,089.
             21   TOTAL deductions. Add lines 7 through 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ J                                   21    4,351,488.
             22   Ordinary income (loss) from trade or business activities. Subtract line 21 from line 6. ••••••••••••••        22     -137,349.




  Cost of Goods Sold
  1   Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                1        43,424.
  2   Purchases ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             2     2,227,016.
  3   Cost of labor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          3     1,605,080.
  4   Other IRC Section 263A costs. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         4
  5                                                                      SEE STATEMENT 29
      Other costs. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  5     1,865,074.
  6   Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 6     5,740,594.
  7   Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    7
  8   Cost of goods sold. Subtract line 7 from line 6. •••••••••••••••••••••••••••••••••••                                      8     5,740,594.




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   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                           }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA                       OTHER TRADE OR BUSINESS INCOME          STATEMENT 26
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
HHS PROVIDER RELIEF FUND                                                      1,072,245.
MISCELLANEOUS INCOME                                                                 23.
                                                                          }}}}}}}}}}}}}}
TOTAL OTHER TRADE OR BUSINESS INCOME                                          1,072,268.
                                                                          ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA               CALIFORNIA TRADE OR BUSINESS INCOME - TAXES     STATEMENT 27
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
PAYROLL TAXES                                                                   250,812.
TAXES AND LICENSES                                                               18,131.
CALIFORNIA TAXES - OTHER                                                             129.
FLORIDA TAXES - OTHER                                                             1,087.
ILLINOIS TAXES - OTHER                                                               279.
                                                                          }}}}}}}}}}}}}}
TOTAL TO CALIFORNIA TRADE OR BUSINESS INCOME SCHEDULE, LINE 12                  270,438.
                                                                          ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA                    OTHER TRADE OR BUSINESS DEDUCTIONS         STATEMENT 28
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
BANK CHARGES                                                                     35,112.
COMMISSIONS                                                                      44,162.
COMPUTER AND INTERNET EXPENSES                                                   85,290.
CONSULTING                                                                       21,000.
DUES AND SUBSCRIPTIONS                                                           49,837.
EDUCATION                                                                       239,172.
FREIGHT AND DELIVERY                                                              4,076.
INSURANCE                                                                       263,658.
LEGAL AND ACCOUNTING                                                            189,485.
OFFICE SUPPLIES                                                                  62,879.
POSTAGE AND SUPPLIES                                                              1,504.
SHOP EXPENSE                                                                     16,444.
TELECOMMUNICATIONS                                                               50,884.
TRAVEL                                                                           65,234.
UNIFORMS                                                                          4,539.
UTILITIES                                                                        35,747.
VEHICLE EXPENSE                                                                   2,244.
VEHICLE FUEL                                                                     29,598.
VEHICLE LEASE                                                                     9,808.
VEHICLE LICENSE AND REGISTRATION                                                  4,200.
VEHICLE MAINTENANCE                                                              10,216.
                                                                          }}}}}}}}}}}}}}
TOTAL OTHER TRADE OR BUSINESS DEDUCTIONS                                      1,225,089.
                                                                          ~~~~~~~~~~~~~~


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   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                           }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA               CALIFORNIA COST OF GOODS SOLD - OTHER COSTS     STATEMENT 29
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
AIRCRAFT EXPENSES                                                             1,062,107.
CONTRACT LABOR                                                                  267,479.
GROUND AMBULANCE                                                                264,390.
OPERATING SUPPLIES                                                               14,933.
COST OF GOODS SOLD DEPRECIATION                                                 256,165.
                                                                          }}}}}}}}}}}}}}
TOTAL TO CALIFORNIA COST OF GOODS SOLD SCHEDULE, LINE 5                       1,865,074.
                                                                          ~~~~~~~~~~~~~~




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  Form                                  1120-S                                                    U.S. Income Tax Return for an S Corporation
                                                                             | Do not file this form unless the corporation has filed or is attaching Form 2553 to elect to be an S corporation.
                                                                                                                                                                                                                            OMB No. 1545-0123



  Department of the Treasury
  Internal Revenue Service
                                                                                            | Go to www.irs.gov/Form1120S for instructions and the latest information.
                                                                                                                                                                                                                             2020
  For calendar year 2020 or tax year beginning                                                                                                                           , ending
  A S election effective date      Name                                                                                                                                                                 D Employer identification number
                               01/01/2009


                                                                                TYPE OR PRINT
    B Business activity                                                                            AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                      XX-XXXXXXX
      code number
      (see instructions)                                                                        Number, street, and room or suite no. If a P.O. box, see instructions.                                  E Date incorporated
                                                    621900                                         43W450 US HIGHWAY 30                                                                                        07/30/1987
    C Check if Sch. M-3                                                                         City or town, state or province, country, and ZIP or foreign postal code                                F Total assets (see instructions)
      attached                                                        X                            SUGAR GROVE, IL                          60554                                                       $               4,966,567.
    G                                             Is the corporation electing to be an S corporation beginning with this tax year?         Yes   X                          No   If "Yes," attach Form 2553 if not already filed
    H                                             Check if: (1)        Final return    (2)       Name change        (3) X Address change (4) X                              Amended return      (5)       S election termination or revocation
    I                                             Enter the number of shareholders who were shareholders during any part of the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                                          1
    J                                             Check if corporation: (1)           Aggregated activities for section 465 at-risk purposes (2)   Grouped activities for section 469 passive activity purposes
                                                   Caution: Include only trade or business income and expenses on lines 1a through 21. See the instructions for more information.
                                                     1 a    Gross receipts
                                                            or sales ~
                                                                                            8,362,378.   b allowances
                                                                                                                         Return and
                                                                                                                                                c Bal. Subtract line 1b from line 1a ~~   1c                           8,362,378.
                                                     2      Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     2                            5,544,248.
  Income




                                                     3      Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 3                            2,818,130.
                                                     4      Net gain (loss) from Form 4797, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~~~~                                          4                              520,087.
                                                     5      Other income (loss) (attach statement)        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~        STATEMENT 2                            5                            1,072,268.
                                                     6      Total income (loss). Add lines 3 through 5 ••••••••••••••••••••••••••••••• |                                                  6                            4,410,485.
                                                     7      Compensation of officers (see instrs. - attach Form 1125-E) ~~~~~~~~~~~~~~~~~~~~~~~~~                                         7                              137,267.
  Deductions (See instructions for limitations)




                                                     8      Salaries and wages (less employment credits) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  8                            1,358,626.
                                                     9      Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              9                               84,622.
                                                    10      Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    10
                                                    11      Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                      11                                   308,197.
                                                    12      Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         STATEMENT 3                           12                                   270,438.
                                                    13      Interest (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         13                                   237,894.
                                                    14      Depreciation not claimed on Form 1125-A or elsewhere on return (attach Form 4562) ~~~~~~~~~~~~~~                             14                                    48,778.
                                                    15      Depletion (Do not deduct oil and gas depletion.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              15
                                                    16      Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   16                                   428,909.
                                                    17      Pension, profit-sharing, etc., plans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    17
                                                    18      Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            18                              249,798.
                                                    19      Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                STATEMENT 4                           19                            1,226,373.
                                                    20      Total deductions. Add lines 7 through 19 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ | 20                                                                             4,350,902.
                                                    21      Ordinary business income (loss). Subtract line 20 from line 6 ••••••••••••••••••••••••                                       21                               59,583.
                                                    22 a    Excess net passive income or LIFO recapture tax (see instructions) ~~~~~~              22a
                                                       b    Tax from Schedule D (Form 1120-S) ~~~~~~~~~~~~~~~~~~~                                  22b
                                                       c    Add lines 22a and 22b •••••••••••••••••••••••••••••••••••••••••                                                              22c
  Tax and Payments




                                                    23 a    2020 estimated tax payments and 2019 overpayment credited to 2020 ~~~~~                23a
                                                       b    Tax deposited with Form 7004 ~~~~~~~~~~~~~~~~~~~~~~                                    23b
                                                       c    Credit for federal tax paid on fuels (attach Form 4136) ~~~~~~~~~~~                    23c
                                                       d    Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~                                      23d
                                                       e    Add lines 23a through 23d ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            23e
                                                    24      Estimated tax penalty (see instructions). Check if Form 2220 is attached ~~~~~~~~~~~~~~ |                                    24
                                                    25      Amount owed. If line 23e is smaller than the total of lines 22c and 24, enter amount owed ~~~~~~~~~~~~                       25
                                                    26      Overpayment. If line 23e is larger than the total of lines 22c and 24, enter amount overpaid •••••••••••                     26
                                                    27      Enter amount from line 26: Credited to 2021 estimated tax            |                                       Refunded      | 27
                                                      Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and
                                                      belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
                                                                                                                                                                                                                              May the IRS discuss



                                                       =                                                                                                         =
                                                                                                                                                                                                                              this return with the
  Sign                                                                                                                                                            PRESIDENT                                                   preparer shown
                                                                                                                                                                                                                              below? See instr.
  Here                                                                                                                                                                                                                          X
                                                            Signature of officer                                                        Date                      Title                                                             Yes         No
                                                   Print/Type preparer's name                                                 Preparer's signature
                                                                                                                                                                                    Date                             PTIN
                                          LYUDMILA EISENMAN,                                                                                                                                       Check if

  Pre- LYUDMILA EISENMAN, CPA             CPA                                                                                                                                   03/21/22                           P01272545
  Paid                                                                                                                                                                                             self-
                                                                                                                                                                                                   employed
  parer Firm's name
  Use                |   BEACHFLEISCHMAN PLLC                                                                                                                                                      Firm's EIN |   XX-XXXXXXX
        Firm's address | 1985 E. RIVER ROAD, SUITE 201
  Only
                                                                                                                                                                                                   Phone no.
                         TUCSON, AZ 85718                                                                                                                                                                  520-321-4600
  LHA                                                  For Paperwork Reduction Act Notice, see separate instructions.                          011701 12-16-20                                                  Form 1120-S (2020)
                                                         Case 2:23-bk-02376-EPB                                                         1
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  Form 1120-S (2020)       AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                 XX-XXXXXXX                   Page 2
    Schedule B Other Information (see instructions)                                                                                                                      Yes     No
   1 Check accounting method: a X Cash b      Accrual c Other (specify) |
   2 See the instructions and enter the:
      a Business activity | AVIATION SERVICES                                      b Product or service | MEDICAL TRANSPORT
   3 At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
      nominee or similar person? If "Yes," attach Schedule B-1, Information on Certain Shareholders of an S Corporation ~~~~~~~~~~~~~~~                                           X
   4 At the end of the tax year, did the corporation:
    a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total stock issued and outstanding of any
      foreign or domestic corporation? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below ••••••••••                                 X
                                                                    (ii) Employer                         (iii) Country of
                                                                                                                                       (iv) Percentage   (v) If Percentage in (iv) is
                     (i) Name of Corporation                    Identification Number                                                       of Stock   100%, Enter the Date (if any) a
                                                                        (if any)                           Incorporation                    Owned
                                                                                                                                                          Qualified Subchapter S
                                                                                                                                                       Subsidiary Election Was Made




    b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
      capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a
      trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below ••••••••••••••••••••••                                    X
                                                                     (ii) Employer                                                   (iv) Country of     (v) Maximum
                          (i) Name of Entity                    Identification Number         (iii) Type of Entity                                   Percentage Owned in
                                                                         (if any)                                                      Organization  Profit, Loss, or Capital




    5 a At the end of the tax year, did the corporation have any outstanding shares of restricted stock? ~~~~~~~~~~~~~~~~~~~~~~~~                                       X
        If "Yes," complete lines (i) and (ii) below.
        (i) Total shares of restricted stock ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |
        (ii) Total shares of non-restricted stock ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |
      b At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments? ~~~~~~~~~~~~~~~                           X
        If "Yes," complete lines (i) and (ii) below.
        (i) Total shares of stock outstanding at the end of the tax year ~~~~~~~~~~~~~~~~~~~~~ |
        (ii) Total shares of stock outstanding if all instruments were executed ~~~~~~~~~~~~~~~~~~ |
    6 Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide info. on any reportable transaction? •        X
    7 Check this box if the corporation issued publicly offered debt instruments with original issue discount ~~~~~~~~~~~~~~~~~ |
        If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
    8 If the corporation (a) was a C corporation before it elected to be an S corporation or the corporation acquired an asset
        with a basis determined by reference to the basis of the asset (or the basis of any other property) in the hands of a C
        corporation, and (b) has net unrealized built-in gain in excess of the net recognized built-in gain from prior years,
        enter the net unrealized built-in gain reduced by net recognized built-in gain from prior years ~~~~~~~~ | $
    9 Did the corporation have an election under section 163(j) for any real property trade or business or any farming business
        in effect during the tax year? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   X
  10 Does the corporation satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       X
      a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
      b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
        preceding the current tax year are more than $26 million and the corporation has business interest expense.
      c The corporation is a tax shelter and the corporation has business interest expense.
        If "Yes," complete and attach Form 8990.
  11 Does the corporation satisfy both of the following conditions? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              X
      a The corporation's total receipts (see instructions) for the tax year were less than $250,000.
      b The corporation's total assets at the end of the tax year were less than $250,000.
        If "Yes," the corporation is not required to complete Schedules L and M-1.
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     Schedule B                            Other Information (see instructions) (continued)                                                                                                                     Yes     No
  12                                                                                                                           ~~~~~~~~~~~~           X
                 During the tax year, did the corporation have any non-shareholder debt that was canceled, was forgiven, or had the terms modified so as to reduce the principal amount of the debt?
       If "Yes," enter the amount of principal reduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ | $
  13 During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If "Yes," see instructions ~~~~~~~~~~~~~~           X
  14 a Did the corporation make any payments in 2020 that would require it to file Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~                        X
     b If "Yes," did the corporation file or will it file required Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              X
  15 Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                X
       If "Yes," enter the amount from Form 8996 , line 15 •••••••••••••••••••••••••• | $
    Schedule K Shareholders' Pro Rata Share Items                                                                                       Total amount
             1 Ordinary business income (loss) (page 1, line 21) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      1          59,583.
             2 Net rental real estate income (loss) (attach Form 8825) ••••••••••••••••••••••••••                                   2
             3 a Other gross rental income (loss) ~~~~~~~~~~~~~~~~~~~                                        3a
               b Expenses from other rental activities (attach statement) ~~~~~~~~~                          3b
               c Other net rental income (loss). Subtract line 3b from line 3a ~~~~~~~~~~~~~~~~~~~~~~~~                            3c
             4 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       STATEMENT 5        4            9,023.
   Income (Loss)




             5 Dividends: a Ordinary dividends •••••••••••••••••••••••••••••••••••                                                 5a
                                       b Qualified dividends ~~~~~~~~~~~~~~~~~~                              5b
             6 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             6
             7 Net short-term capital gain (loss) (attach Schedule D (Form 1120-S)) ~~~~~~~~~~~~~~~~~~~~                            7
             8 a Net long-term capital gain (loss) (attach Schedule D (Form 1120-S)) •••••••••••••••••••••                         8a
               b Collectibles (28%) gain (loss) ~~~~~~~~~~~~~~~~~~~~                                         8b
               c Unrecaptured section 1250 gain (attach statement) ~~~~~~~~~~~                                8c
             9 Net section 1231 gain (loss) (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        9
                  Other income (loss)
            10 (see instructions) • Type |                                                                                         10
            11 Section 179 deduction (attach Form 4562) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           11
       Deductions




            12 a Charitable contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                12a
               b Investment interest expense ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               12b
                  Section 59(e)(2)
               c expenditures              Type |                                                                                 12c
                  Other deductions
               d (see instructions) Type |                                                                                        12d
            13 a Low-income housing credit (section 42(j)(5)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     13a
               b Low-income housing credit (other) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            13b
               c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) ~~~~~~~~~~~~~~      13c
       Credits




                  Other rental real estate
               d credits (see instructions) Type |                                                                                13d
               e Other   rental credits
                  (see instructions)       Type |                                                                                 13e
               f Biofuel producer credit (attach Form 6478) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       13f
                  Other credits
               g (see instructions) Type |                                                                                        13g
            14 a Name of country or U.S. possession |
               b Gross income from all sources ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              14b
               c Gross income sourced at shareholder level ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       14c
                  Foreign gross income sourced at corporate level
               d Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 14d
               e Foreign branch category ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 14e
   Foreign Transactions




               f Passive category ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      14f
               g General category ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     14g
               h Other (attach statement ) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                14h
                  Deductions allocated and apportioned at shareholder level
               i Interest expense ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      14i
               j Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            14j
                  Deductions allocated and apportioned at corporate level to foreign source income
               k Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 14k
               l Foreign branch category ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  14l
               m Passive category ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     14m
               n General category ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     14n
               o Other (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                14o
                  Other information
               p Total foreign taxes (check one):                  Paid           Accrued ~~~~~~~~~~~~~~~~~~~ |                   14p
               q Reduction in taxes available for credit (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~                            14q
               r Other foreign tax information (attach statement)
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  Form 1120S (2020)                               AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                 XX-XXXXXXX                  Page 4
         Schedule K Shareholders' Pro Rata Share Items (continued)                                                                    Total amount
             15a Post-1986 depreciation adjustment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  15a                          14.
  Minimum Tax
  (AMT) Items

               b Adjusted gain or loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        15b
   Alternative




               c Depletion (other than oil and gas) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                15c
               d Oil, gas, and geothermal properties - gross income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        15d
               e Oil, gas, and geothermal properties - deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         15e
               f Other AMT items (attach statement) •••••••••••••••••••••••••••••••••••                                 15f
                       Items Affecting




             16a Tax-exempt interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      16a
  ciliation Information Shareholder




               b Other tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~           STATEMENT 13                 16b                 10,000.
                           Basis




               c Nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~            STATEMENT 14                 16c                  1,284.
               d Distributions (attach statement if required) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          16d
               e Repayment of loans from shareholders •••••••••••••••••••••••••••••••••                                 16e
             17a Investment income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           17a                   9,023.
               Other




               b Investment expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          17b
               c Dividend distributions paid from accumulated earnings and profits ~~~~~~~~~~~~~~~~~~~~~                17c
               d Other items and amounts (att. stmt.) ••••••••••••••••••••••••••••••••••••  STATEMENT 6
  Recon-




             18 Income (loss) reconciliation. Combine the amounts on lines 1 through 10 in the far right column.
                From the result, subtract the sum of the amounts on lines 11 through 12d and 14p ••••••••••••••         18                  68,606.
         Schedule L Balance Sheets per Books                              Beginning of tax year                        End of tax year
                         Assets                                    (a)                          (b)              (c)                        (d)
   1 Cash ~~~~~~~~~~~~~~~~~                                                                     0.                                        470,382.
   2 a Trade notes and accounts receivable ~~~                     9,015,345.                              4,110,468.
     b Less allowance for bad debts ~~~~~~ (                       2,385,319.)        6,630,026. (           822,363.)                3,288,105.
   3 Inventories ~~~~~~~~~~~~~~                                                          43,424.                                              0.
   4 U.S. government obligations ~~~~~~
   5 Tax-exempt securities ~~~~~~~~~
   6 Other current assets (att. stmt.) ~~~~~                  STATEMENT 7                97,442.                                          100,938.
   7 Loans to shareholders ~~~~~~~~~                                                    556,512.                                          573,356.
   8 Mortgage and real estate loans ~~~~~
   9 Other investments (att. stmt.) ~~~~~~
  10 a Buildings and other depreciable assets ~~                   5,000,838.                              3,552,232.
     bLess accumulated depreciation ~~~~~ (                        3,797,188.)        1,203,650. (         3,387,447.)                    164,785.
  11 aDepletable assets ~~~~~~~~~~~
     bLess accumulated depletion ~~~~~~~ (                                    )                        (                      )
  12  Land (net of any amortization) ~~~~~~
  13 aIntangible assets (amortizable only) ~~~
    b Less accumulated amortization ~~~~~ (                                   )                        (                      )
  14 Other assets (att. stmt.) ~~~~~~~~~                      STATEMENT 8               560,633.                                        369,001.
  15 Total assets ~~~~~~~~~~~~~~                                                      9,091,687.                                      4,966,567.
        Liabilities and Shareholders' Equity
  16 Accounts payable ~~~~~~~~~~~                                                     2,577,211.                                      2,851,253.
  17 Mortgages, notes, bonds payable in less than 1 year                                916,243.                                      1,049,597.
  18 Other current liabilities (att. stmt.) ~~~~              STATEMENT 9             1,006,008.                                        996,513.
  19 Loans from shareholders ~~~~~~~~
  20 Mortgages, notes, bonds payable in 1 year or more                                1,272,628.                                         393,671.
  21 Other liabilities (att. stmt.) ~~~~~~~~                  STATEMENT 10                    0.                                         840,550.
  22 Capital stock ~~~~~~~~~~~~~                                                          2,000.                                           2,000.
  23 Additional paid-in capital ~~~~~~~~                                                 20,000.                                          20,000.
  24 Retained earnings ~~~~~~~~~~~                            STATEMENT 11            2,901,426.                                         837,482.
  25 Adjustments to shareholders' equity (att. stmt.) ~       STATEMENT 12              396,171.                                      -2,024,499.
  26 Less cost of treasury stock ~~~~~~~                                          (                )                              (                       )
  27 Total liabilities and shareholders' equity ••                                    9,091,687.                                      4,966,567.
                                                                                                                                      Form 1120-S (2020)




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  Form 1120-S (2020)               AEROCARE MEDICAL TRANSPORT SYSTEM, INC                               XX-XXXXXXX                                                 Page 5
    Schedule M-1                  Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                                  Note: The corporation may be required to file Schedule M-3. See instructions.
   1 Net income (loss) per books ~~~~~~~                       -2,063,944.                 5 Income recorded on books this year not
   2 Income included on Schedule K, lines 1, 2, 3c, 4, 5a,                                   included on Schedule K, lines 1 through
       6, 7, 8a, 9, and 10, not recorded on books this year                                  10 (itemize):
       (itemize):                                                                            a Tax-exempt interest $
       STMT 15                                                   9,535,906.                  STMT 17                        4,120,468.             4,120,468.
   3 Expenses recorded on books this year not                                              6 Deductions included on Schedule K, lines 1
     included on Schedule K, lines 1 through 12                                              through 12 and 14p, not charged against
     and 14p (itemize):                                                                      book income this year (itemize):
     a Depreciation $             335,513.                                                   a Depreciation $
     b Travel and entertainment $      1,284.                          STMT 18                            8,083,877.                 8,083,877.
       STMT 16                       4,464,192.       4,800,989. 7 Add lines 5 and 6 ~~~~~~~~~~~~~~                                 12,204,345.
   4 Add lines 1 through 3        ••••••••••         12,272,951. 8 Income (loss) (Schedule K, line 18). Subtract line 7 from line 4     68,606.
    Schedule M-2                  Analysis of Accumulated Adjustments Account, Shareholders' Undistributed Taxable Income
                                  Previously Taxed, Accumulated Earnings and Profits, and Other Adjustments Account (see instrs.)
                                                                 (a) Accumulated              (b) Shareholders'            (c) Accumulated       (d) Other adjustments
                                                                                             undistributed taxable
                                                               adjustments account         income previously taxed        earnings and profits          account

   1   Balance at beginning of tax year ~~~~~                 -2,329,578.                        205,426.                     205,426.
   2   Ordinary income from page 1, line 21 ~~~                   59,583.
   3                        STATEMENT 19
       Other additions ~~~~~~~~~~~~                              859,573.                                              STATEMENT 20                       10,000.
   4   Loss from page 1, line 21 ~~~~~~~~ (                                            )
   5                        STATEMENT 21 (
       Other reductions ~~~~~~~~~~~~                               1,284.              )                               STATEMENT 22 (                 850,550.)
   6   Combine lines 1 through 5 ~~~~~~~                      -1,411,706.                        205,426.                 205,426.                   -840,550.
   7   Distributions ~~~~~~~~~~~~~~
   8   Balance at end of tax year. Subtract line
       7 from line 6 ••••••••••••••                           -1,411,706.                        205,426.                     205,426.               -840,550.
                                                                                                                                                   Form 1120-S (2020)




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  Form       1125-A                                            Cost of Goods Sold
  (Rev. November 2018)                           | Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.                            OMB No. 1545-0123
  Department of the Treasury                    | Go to www.irs.gov/Form1125A for the latest information.
  Internal Revenue Service
  Name                                                                                                                     Employer Identification number

         AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                               XX-XXXXXXX
  1    Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       1             43,424.
  2    Purchases ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    2          2,227,016.
  3    Cost of labor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 3          1,605,080.
  4    Additional section 263A costs (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              4
  5                                                               SEE STATEMENT 25
       Other costs (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5             1,668,728.
  6   Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          6             5,544,248.
  7   Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           7
  8   Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
      appropriate line of your tax return. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          8             5,544,248.
  9 a Check all methods used for valuing closing inventory:
      (i)    X Cost
      (ii)       Lower of cost or market
      (iii)      Other (Specify method used and attach explanation) |


      b Check if there was a writedown of subnormal goods ~~~~~~~~~~~~~~~~~~~~~~~                                                          |
      c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) ~~~~~~~~~~~~~~~~~~~~ |
      d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
        under LIFO ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9d
      e If property is produced or acquired for resale, do the rules of Section 263A apply to the entity? See instructions ~~~~~~~~~~~~~~ Yes        X      No
      f Was there any change in determining quantities, cost, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~        Yes        X      No
        If "Yes," attach explanation.


  For Paperwork Reduction Act Notice, see separate instructions.                                                            Form 1125-A (Rev. 11-2018)




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  Form
          1125-E                                          Compensation of Officers
  (Rev. October 2016)                                                                                                                         OMB No. 1545-0123
                                            | Attach to Form 1120, 1120-C, 1120-F, 1120-REIT, 1120-RIC, or 1120S.
  Department of the Treasury
  Internal Revenue Service         | Information about Form 1125-E and its separate instructions is at www.irs.gov/form1125e.
  Name                                                                                                                                  Employer Identification number

         AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                          XX-XXXXXXX
  Note: Complete Form 1125-E only if total receipts are $500,000 or more. See instructions for definition of total receipts.

                                                                     (b) Social security    (c) Percent of     Percent of stock owned          (f) Amount of
                               (a) Name of officer                                         time devoted to
                                                                          number              business       (d) Common (e) Preferred          compensation


  1 JOSEPH              CECE                                                                100%             100.00%                               137,267.




  2 Total compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      2               137,267.

  3 Compensation of officers claimed on Form 1125-A or elsewhere on return ~~~~~~~~~~~~~~~~~~~~~~~                                 3


  4 Subtract line 3 from line 2. Enter the result here and on Form 1120, page 1, line 12 or the
    appropriate line of your tax return •••••••••••••••••••••••••••••••••••••••••                                                  4               137,267.
  For Paperwork Reduction Act Notice, see separate instructions.                                                                        Form 1125-E (Rev. 10-2016)


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  SCHEDULE M-3                      Net Income (Loss) Reconciliation for S Corporations
  (Form 1120-S)
                                          With Total Assets of $10 Million or More                                                                         OMB No. 1545-0123
  (Rev. December 2019)
                                                                  | Attach to Form 1120-S.
  Department of the Treasury
  Internal Revenue Service                 | Go to www.irs.gov/Form1120S for instructions and the latest information.
  Name of corporation                                                                                                                          Employer identification number


         AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                      XX-XXXXXXX
  Part I         Financial Information and Net Income (Loss) Reconciliation                                   (see instructions)

  1a Did the corporation prepare a certified audited non-tax-basis income statement for the period ending with or within this tax year?
     See instructions if multiple non-tax-basis income statements are prepared.
       X Yes. Skip line 1b and complete lines 2 through 11 with respect to that income statement.
            No. Go to line 1b.
   b Did the corporation prepare a non-tax-basis income statement for that period?
            Yes. Complete lines 2 through 11 with respect to that income statement.
            No. Skip lines 2 through 3b and enter the corporation's net income (loss) per its books and records on line 4a.


  2 Enter the income statement period: Beginning 01/01/2020                            Ending 12/31/2020
  3a Has the corporation's income statement been restated for the income statement period on line 2?
             Yes. If "Yes," attach an explanation and the amount of each item restated.
        X No.
   b Has the corporation's income statement been restated for any of the five income statement periods immediately preceding the period on
     line 2?
             Yes. If "Yes," attach an explanation and the amount of each item restated.
        X No.

  4a Worldwide consolidated net income (loss) from income statement source identified in Part I, line 1 ~~~~~~~~~~~~                            4a         -2,063,974.
   b Indicate accounting standard used for line 4a (see instructions):
     (1)    X GAAP           (2)         IFRS
     (3)         Tax-basis   (4)         Other (specify)


  5a Net income from nonincludible foreign entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              5a    (                         )
                                                                                                            STMT 26
   b Net loss from nonincludible foreign entities (attach statement and enter as a positive amount) ~~~~~~~~~~~~~~~                             5b                       30.

  6a Net income from nonincludible U.S. entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                6a    (                         )
   b Net loss from nonincludible U.S. entities (attach statement and enter as a positive amount) ~~~~~~~~~~~~~~~~                               6b


  7a Net income (loss) of other foreign disregarded entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~                                         7a
   b Net income (loss) of other U.S. disregarded entities (except qualified subchapter S subsidiaries) (attach stmt.) ~~~~~~~                   7b
   c Net income (loss) of other qualified subchapter S subsidiaries (QSubs) (attach statement) ~~~~~~~~~~~~~~~~                                 7c


  8    Adjustment to eliminations of transactions between includible entities and nonincludible entities
       (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        8


  9    Adjustment to reconcile income statement period to tax year (attach statement) ~~~~~~~~~~~~~~~~~~~~~                                      9


  10 Other adjustments to reconcile to amount on line 11 (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~                                            10


  11 Net income (loss) per income statement of the corporation. Combine lines 4 through 10 ~~~~~~~~~~~~~~~~                                     11         -2,063,944.
     Note: Part I, line 11, must equal Part II, line 26, column (a); or Schedule M-1, line 1. See instructions.
  12 Enter the total amount (not just the corporation's share) of the assets and liabilities of all entities included or removed on the following lines:

                                                   Total Assets                      Total Liabilities
   a   Included on Part I, line 4                  4,966,567.                          6,131,584.
   b   Removed on Part I, line 5                         830.                            469,605.
   c   Removed on Part I, line 6
   d   Included on Part I, line 7


  For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                                                         Schedule M-3 (Form 1120-S) (Rev. 12-2019)
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         4562                                                    Depreciation and Amortization
                                                                                                                                                                                   OMB No. 1545-0172

  Form


  Department of the Treasury
                                                                  (Including Information on Listed Property)
                                                                       | Attach to your tax return.
                                                                                                                                                   COGS
                                                                                                                                                                                     2020
                                                                                                                                                                                     Attachment
  Internal Revenue Service (99)                   | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                          Sequence No. 179
  Name(s) shown on return                                                                                        Business or activity to which this form relates                  Identifying number

                                                                                   COST OF GOODS SOLD
  AEROCARE MEDICAL TRANSPORT SYSTEM, INC DEPRECIATION                                                                              XX-XXXXXXX
   Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
   1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                1        1,040,000.
   2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                        2
   3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                         3        2,590,000.
   4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                 4
   5 Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions ••••••••••                   5
   6                                    (a) Description of property                                             (b) Cost (business use only)      (c) Elected cost




   7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                           7
   8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                 8
   9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             9
  10 Carryover of disallowed deduction from line 13 of your 2019 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                          10
  11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                           11


                                                                                                                            9
  12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11 •••••••••••••                                                                  12
  13 Carryover of disallowed deduction to 2021. Add lines 9 and 10, less line 12 ••••            13
  Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
   Part II         Special Depreciation Allowance and Other Depreciation (Don't include listed property.)
  14 Special depreciation allowance for qualified property (other than listed property) placed in service during
     the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                      14
  15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    15
  16 Other depreciation (including ACRS) •••••••••••••••••••••••••••••••••••••                                                                                           16
   Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                          Section A
  17 MACRS deductions for assets placed in service in tax years beginning before 2020 ~~~~~~~~~~~~~~                                         17                                            55,247.
  18 If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here ••• J
                                Section B - Assets Placed in Service During 2020 Tax Year Using the General Depreciation System
                                                                  (b) Month and           (c) Basis for depreciation
                 (a) Classification of property                    year placed           (business/investment use           (d) Recovery       (e) Convention      (f) Method   (g) Depreciation deduction
                                                                     in service            only - see instructions)             period


  19a       3-year property
    b       5-year property
    c       7-year property
    d       10-year property
    e       15-year property
    f       20-year property
    g       25-year property                                                                                        S/L       25 yrs.
                                                        /                                                MM         S/L      27.5 yrs.
     h      Residential rental property
                                                        /                                                MM         S/L      27.5 yrs.
                                                        /                                 39 yrs.        MM         S/L
     i      Nonresidential real property
                                                        /                                                MM         S/L
                          Section C - Assets Placed in Service During 2020 Tax Year Using the Alternative Depreciation System
  20a       Class life                                                                                                                                               S/L
    b       12-year                                                                                                           12 yrs.                                S/L
    c       30-year                                                       /                                                   30 yrs.               MM               S/L
    d       40-year                                                       /                                                   40 yrs.               MM               S/L
   Part    IV Summary (See instructions.)
  21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 21                                                                         4,572.
  22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
      Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr. ••••••• 22                                                                      59,819.
  23 For assets shown above and placed in service during the current year, enter the
      portion of the basis attributable to section 263A costs ••••••••••••••••                   23
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  Form 4562 (2020)                  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                             XX-XXXXXXX                                        Page 2
   Part V     Listed Property  (Include automobiles, certain  other vehicles, certain aircraft, and property used for
              entertainment, recreation, or amusement.)
              Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
              24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                 Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
  24a Do you have evidence to support the business/investment use claimed?       X    Yes              No 24b If "Yes," is the evidence written? X Yes        No
                (a)                 (b)             (c)                (d)                     (e)             (f)          (g)             (h)           (i)
        Type of property            Date          Business/                          Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation   Elected
                                 placed  in      investment          Cost or
       (list vehicles first)                                      other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction   section 179
                                  service      use percentage                              use only)                                                   cost
  25 Special depreciation allowance for qualified listed property placed in service during the tax year and
     used more than 50% in a qualified business use•••••••••••••••••••••••••••••                                               25



                                       !   !
  26 Property used more than 50% in a qualified business use:



                                       !   !
                                                        %
          SEE STATEMENT 27                                                                                                                 4,572.

                                       !   !
                                                        %
                                                        %



                                       !   !
  27 Property used 50% or less in a qualified business use:



                                       !   !
                                                       %                                         S/L -



                                       !   !
                                                       %                                         S/L -
                                                       %                                         S/L -
  28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~    28 4,572.
  29 Add amounts in column (i), line 26. Enter here and on line 7, page 1 •••••••••••••••••••••••••••         29
                                                      Section B - Information on Use of Vehicles
  Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
  to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                       (a)             (b)             (c)             (d)                       (e)                (f)
  30 Total business/investment miles driven during the               Vehicle         Vehicle         Vehicle         Vehicle                   Vehicle            Vehicle
     year ( don't include commuting miles) ~~~~~~~
  31 Total commuting miles driven during the year ~
  32 Total other personal (noncommuting) miles
     driven~~~~~~~~~~~~~~~~~~~~~
  33 Total miles driven during the year.
     Add lines 30 through 32~~~~~~~~~~~~
  34 Was the vehicle available for personal use         Yes      No    Yes      No      Yes      No     Yes     No    Yes     No                              Yes          No
     during off-duty hours? ~~~~~~~~~~~~
  35 Was the vehicle used primarily by a more
     than 5% owner or related person? ~~~~~~
  36 Is another vehicle available for personal
     use? •••••••••••••••••••••
                               Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
  Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
  more than 5% owners or related persons.
  37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your    Yes                                           No
     employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
     employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
  39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  40 Do you provide more than five vehicles to your employees, obtain information from your employees about
     the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
     Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
   Part VI Amortization
                         (a)                              (b)                (c)                     (d)              (e)  (f)
                    Description of costs                Date amortization       Amortizable               Code              Amortization                 Amortization
                                                             begins              amount                  section        period or percentage             for this year




                                                             ! !
  42 Amortization of costs that begins during your 2020 tax year:



                                                             ! !
  43 Amortization of costs that began before your 2020 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                             43
  44 Total. Add amounts in column (f). See the instructions for where to report •••••••••••••••••••                                    44
  016252 12-18-20                                                                                                                                        Form 4562 (2020)
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                                                                                  281      TRANSPORT 16439_01
         4562                                                    Depreciation and Amortization
                                                                                                                                                                                   OMB No. 1545-0172

  Form


  Department of the Treasury
                                                                  (Including Information on Listed Property)
                                                                       | Attach to your tax return.
                                                                                                                                                   OTHER
                                                                                                                                                                                     2020
                                                                                                                                                                                     Attachment
  Internal Revenue Service (99)                   | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                          Sequence No. 179
  Name(s) shown on return                                                                                        Business or activity to which this form relates                  Identifying number



  AEROCARE MEDICAL TRANSPORT SYSTEM, INC OTHER DEPRECIATION                                                                        XX-XXXXXXX
   Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
   1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                1        1,040,000.
   2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                        2
   3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                         3        2,590,000.
   4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                 4
   5 Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions ••••••••••                   5
   6                                    (a) Description of property                                             (b) Cost (business use only)      (c) Elected cost




   7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                           7
   8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                 8
   9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             9
  10 Carryover of disallowed deduction from line 13 of your 2019 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                          10
  11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                           11


                                                                                                                            9
  12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11 •••••••••••••                                                                  12
  13 Carryover of disallowed deduction to 2021. Add lines 9 and 10, less line 12 ••••            13
  Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
   Part II         Special Depreciation Allowance and Other Depreciation (Don't include listed property.)
  14 Special depreciation allowance for qualified property (other than listed property) placed in service during
     the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                      14                   7,367.
  15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    15
  16 Other depreciation (including ACRS) •••••••••••••••••••••••••••••••••••••                                                                                           16
   Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                          Section A
  17 MACRS deductions for assets placed in service in tax years beginning before 2020 ~~~~~~~~~~~~~~                                         17                                            41,411.
  18 If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here ••• J
                                Section B - Assets Placed in Service During 2020 Tax Year Using the General Depreciation System
                                                                  (b) Month and           (c) Basis for depreciation
                 (a) Classification of property                    year placed           (business/investment use           (d) Recovery       (e) Convention      (f) Method   (g) Depreciation deduction
                                                                     in service            only - see instructions)             period


  19a       3-year property
    b       5-year property
    c       7-year property
    d       10-year property
    e       15-year property
    f       20-year property
    g       25-year property                                                                                        S/L       25 yrs.
                                                        /                                                MM         S/L      27.5 yrs.
     h      Residential rental property
                                                        /                                                MM         S/L      27.5 yrs.
                                                        /                                 39 yrs.        MM         S/L
     i      Nonresidential real property
                                                        /                                                MM         S/L
                          Section C - Assets Placed in Service During 2020 Tax Year Using the Alternative Depreciation System
  20a       Class life                                                                                                                                               S/L
    b       12-year                                                                                                           12 yrs.                                S/L
    c       30-year                                                       /                                                   30 yrs.               MM               S/L
    d       40-year                                                       /                                                   40 yrs.               MM               S/L
   Part    IV Summary (See instructions.)
  21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 21
  22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
      Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr. ••••••• 22                                                                      48,778.
  23 For assets shown above and placed in service during the current year, enter the
      portion of the basis attributable to section 263A costs ••••••••••••••••                   23
             Case 2:23-bk-02376-EPB Doc 1 Filed 04/13/23                          11
  016251 12-18-20 LHA For Paperwork Reduction Act Notice, see separate instructions.
                                                                                            Entered 04/13/23 16:03:42                                                                 Desc
                                                                                                                                                                                      Form 4562 (2020)
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  Form 4562 (2020)                  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                             XX-XXXXXXX                                            Page 2
   Part V     Listed Property  (Include automobiles, certain  other vehicles, certain aircraft, and property used for
              entertainment, recreation, or amusement.)
              Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
              24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                 Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
  24a Do you have evidence to support the business/investment use claimed?            Yes              No 24b If "Yes," is the evidence written?                    Yes        No
                (a)                 (b)             (c)                (d)                     (e)             (f)          (g)             (h)                            (i)
        Type of property            Date          Business/                          Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation                    Elected
                                 placed  in      investment          Cost or
       (list vehicles first)                                      other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction                    section 179
                                  service      use percentage                              use only)                                                                    cost
  25 Special depreciation allowance for qualified listed property placed in service during the tax year and
     used more than 50% in a qualified business use•••••••••••••••••••••••••••••                                                 25



                                       !   !
  26 Property used more than 50% in a qualified business use:



                                       !   !
                                                        %



                                       !   !
                                                        %
                                                        %



                                       !   !
  27 Property used 50% or less in a qualified business use:



                                       !   !
                                                       %                                         S/L -



                                       !   !
                                                       %                                         S/L -
                                                       %                                         S/L -
  28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~    28
  29 Add amounts in column (i), line 26. Enter here and on line 7, page 1 •••••••••••••••••••••••••••                                                       29
                                                      Section B - Information on Use of Vehicles
  Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
  to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                       (a)             (b)              (c)              (d)                        (e)                 (f)
  30 Total business/investment miles driven during the               Vehicle         Vehicle          Vehicle          Vehicle                    Vehicle             Vehicle
     year ( don't include commuting miles) ~~~~~~~
  31 Total commuting miles driven during the year ~
  32 Total other personal (noncommuting) miles
     driven~~~~~~~~~~~~~~~~~~~~~
  33 Total miles driven during the year.
     Add lines 30 through 32~~~~~~~~~~~~
  34 Was the vehicle available for personal use         Yes      No    Yes      No      Yes      No     Yes     No    Yes     No                                    Yes        No
     during off-duty hours? ~~~~~~~~~~~~
  35 Was the vehicle used primarily by a more
     than 5% owner or related person? ~~~~~~
  36 Is another vehicle available for personal
     use? •••••••••••••••••••••
                               Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
  Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
  more than 5% owners or related persons.
  37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your    Yes                                               No
     employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
     employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
  39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  40 Do you provide more than five vehicles to your employees, obtain information from your employees about
     the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
     Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
   Part VI Amortization
                         (a)                              (b)                (c)                     (d)              (e)  (f)
                    Description of costs                Date amortization       Amortizable                 Code               Amortization                  Amortization
                                                             begins              amount                    section         period or percentage              for this year




                                                             ! !
  42 Amortization of costs that begins during your 2020 tax year:



                                                             ! !
  43 Amortization of costs that began before your 2020 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                43
  44 Total. Add amounts in column (f). See the instructions for where to report •••••••••••••••••••                                       44
  016252 12-18-20                                                                                                                                                Form 4562 (2020)
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                                                                                                                                                             OMB No. 1545-0184
                                                       Sales of Business Property
  Form       4797
  Department of the Treasury
                                         (Also Involuntary Conversions and Recapture Amounts Under Sections 179 and 280F(b)(2))
                                                                        | Attach to your tax return.
                                                                                                                                                              2020
                                                                                                                                                           Attachment
  Internal Revenue Service                        | Go to www.irs.gov/Form4797 for instructions and the latest information.                                Sequence No.   27
  Name(s) shown on return                                                                                                       Identifying number


       AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                    XX-XXXXXXX
   1 Enter the gross proceeds from sales or exchanges reported to you for 2020 on Form(s) 1099-B or 1099-S (or substitute
     statement) that you are including on line 2, 10, or 20. See instructions ••••••••••••••••••••••••            0.                       1
    Part I         Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other
                   Than Casualty or Theft - Most Property Held More Than 1 Year (see instructions)
                                                                                                            (e)Depreciation       (f) Cost or other             (g) Gain or (loss)
                                                 (b)   Date        (c)   Date        (d) Gross                                       basis, plus                Subtract (f) from
                    (a) Description of             acquired            sold            sales price
                                                                                                         allowed or allowable    improvements and             the sum of (d) and (e)
                       property                  (mo., day, yr.)   (mo., day, yr.)                         since acquisition      expense of sale


   2




   3 Gain, if any, from Form 4684, line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                3
   4 Section 1231 gain from installment sales from Form 6252, line 26 or 37 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               4
   5 Section 1231 gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 5
   6 Gain, if any, from line 32, from other than casualty or theft ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  6
   7 Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows ~~~~~~~~~~~~~~~~~~                                7
     Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
     line 10, or Form 1120-S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.
     Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount
     from line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn't have any prior year section
     1231 losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on
     the Schedule D filed with your return and skip lines 8, 9, 11, and 12 below.
   8 Nonrecaptured net section 1231 losses from prior years. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             8
   9 Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below. If
     line 9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a long-term
     capital gain on the Schedule D filed with your return. See instructions ••••••••••••••••••••••••••••••                                            9

    Part II        Ordinary Gains and Losses (see instructions)
  10 Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):




  11     Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  11 (                             )
  12     Gain, if any, from line 7 or amount from line 8, if applicable ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             12
  13     Gain, if any, from line 31 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  13        520,087.
  14     Net gain or (loss) from Form 4684, lines 31 and 38a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     14
  15     Ordinary gain from installment sales from Form 6252, line 25 or 36 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             15
  16     Ordinary gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               16
  17     Combine lines 10 through 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   17        520,087.

  18 For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip lines a
     and b below. For individual returns, complete lines a and b below.

    a If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter the loss
      from income-producing property on Schedule A (Form 1040), line 16. (Do not include any loss on property used as an
      employee.) Identify as from "Form 4797, line 18a." See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              18a
    b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on Schedule 1
      (Form 1040), Part I, line 4 ••••••••••••••••••••••••••••••••••••••••••••••••                                                                    18b
  LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                               Form   4797 (2020)




  018001
  12-18-20
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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                                  XX-XXXXXXX
  Form 4797 (2020)                                                                                                                                                         Page 2
    Part III         Gain From Disposition of Property Under Sections 1245, 1250, 1252, 1254, and 1255 (see instructions)
                                                                                                                                             (b) Date acquired      (c) Date sold
                                                                                                                                              (mo., day, yr.)       (mo., day, yr.)
   19 (a) Description of section 1245, 1250, 1252, 1254, or 1255 property:
     A SALE OF 269GJ LEARJET                                                                                                                  121517 121720
     B
     C
     D
        These columns relate to the properties on
         lines 19A through 19D.                                    J       Property A                    Property B            Property C                       Property D
   20 Gross sales price ( Note: See line 1 before completing.)     20      597,328.
   21 Cost or other basis plus expense of sale ~~~~~~              21 1,455,973.
   22 Depreciation (or depletion) allowed or allowable ~~~         22 1,378,732.
   23 Adjusted basis. Subtract line 22 from line 21 ~~~~           23       77,241.

   24  Total gain. Subtract line 23 from line 20 ••••••              24        520,087.
   25  If section 1245 property:
     a Depreciation allowed or allowable from line 22 ~~~           25a 1,378,732.
     b Enter the smaller of line 24 or 25a ••••••••                 25b        520,087.
   26 If section 1250 property: If straight line depreciation
       was used, enter -0- on line 26g, except for a corporation
       subject to section 291.
     a Additional depreciation after 1975 ~~~~~~~~~                 26a
     b Applicable percentage multiplied by the smaller of
       line 24 or line 26a ~~~~~~~~~~~~~~~                          26b
     c Subtract line 26a from line 24. If residential rental
       property or line 24 isn't more than line 26a, skip lines
       26d and 26e ~~~~~~~~~~~~~~~~~~                               26c
     d Additional depreciation after 1969 and before 1976 ~         26d
     e Enter the smaller of line 26c or 26d ~~~~~~~~                26e
     f Section 291 amount (corporations only) ~~~~~~                26f
     g Add lines 26b, 26e, and 26f •••••••••••                      26g
   27 If section 1252 property: Skip this section if you didn't
       dispose of farmland or if this form is being completed for
       a partnership.
     a Soil, water, and land clearing expenses ~~~~~~               27a
     b Line 27a multiplied by applicable percentage ~~~~            27b
     c Enter the smaller of line 24 or 27b ••••••••                 27c
   28 If section 1254 property:
     a Intangible drilling and development costs, expenditures
       for development of mines and other natural deposits,
       mining exploration costs, and depletion ~~~~~~               28a
     b Enter the smaller of line 24 or 28a ••••••••                 28b
   29 If section 1255 property:
     a Applicable percentage of payments excluded from
       income under section 126 ~~~~~~~~~~~~                        29a
     b Enter the smaller of line 24 or 29a ••••••••                 29b
  Summary of Part III Gains.               Complete   property columns A through D through line 29b before going to line 30.


   30    Total gains for all properties. Add property columns A through D, line 24 ~~~~~~~~~~~~~~~~~~~~~~~~~                                   30               520,087.

   31    Add property columns A through D, lines 25b, 26g, 27c, 28b, and 29b. Enter here and on line 13 ~~~~~~~~~~~~~~                         31               520,087.
   32    Subtract line 31 from line 30. Enter the portion from casualty or theft on Form 4684, line 33. Enter the portion
         from other than casualty or theft on Form 4797, line 6 •••••••••••••••••••••••••••••••••                                              32
    Part IV          Recapture Amounts Under Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
                     (see instructions)
                                                                                                                               (a) Section                      (b) Section
                                                                                                                                   179                          280F(b)(2)
   33    Section 179 expense deduction or depreciation allowable in prior years ~~~~~~~~~~~~~~                        33
   34    Recomputed depreciation. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        34
   35    Recapture amount. Subtract line 34 from line 33. See the instructions for where to report ••••••             35
  018002
  12-18-20
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   Section 1.263(a)-1(f) De Minimis Safe Harbor Election




  AeroCare Medical Transport System, Inc
  43W450 US Highway 30
  Sugar Grove, IL 60554


  Employer Identification Number:          XX-XXXXXXX


  For the Year Ending December 31, 2020


  AeroCare Medical Transport System, Inc is making the de minimis
  safe harbor election under Reg. Sec. 1.263(a)-1(f).




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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                  FOOTNOTES                      STATEMENT   1
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THIS RETURN HAS BEEN AMENDED TO CORRECT FORM 1120S LINE 1A
GROSS RECEIPTS. THIS CORRECTION INCLUDES A $2,420,670
ADJUSTMENT RELATED TO THE CHANGE IN THE CORPORATION'S
ALLOWANCE FOR DOUBTFUL ACCOUNTS, WHICH WAS RESTATED FROM
THE PRIOR TAX YEAR ON THE REVIEWED FINANCIAL STATEMENTS.




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  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1120S                       OTHER INCOME                    STATEMENT   2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
HHS PROVIDER RELIEF FUND                                                      1,072,245.
MISCELLANEOUS INCOME                                                                 23.
                                                                          }}}}}}}}}}}}}}
TOTAL TO FORM 1120S, PAGE 1, LINE 5                                           1,072,268.
                                                                          ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1120S                    TAXES AND LICENSES                 STATEMENT   3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
PAYROLL TAXES                                                                   250,812.
TAXES AND LICENSES                                                               18,131.
CALIFORNIA TAXES - OTHER                                                             129.
FLORIDA TAXES - OTHER                                                             1,087.
ILLINOIS TAXES - OTHER                                                               279.
                                                                          }}}}}}}}}}}}}}
TOTAL TO FORM 1120S, PAGE 1, LINE 12                                            270,438.
                                                                          ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1120S                     OTHER DEDUCTIONS                  STATEMENT   4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
BANK CHARGES                                                                     35,112.
COMMISSIONS                                                                      44,162.
COMPUTER AND INTERNET EXPENSES                                                   85,290.
CONSULTING                                                                       21,000.
DUES AND SUBSCRIPTIONS                                                           49,837.
EDUCATION                                                                       239,172.
FREIGHT AND DELIVERY                                                              4,076.
INSURANCE                                                                       263,658.
LEGAL AND ACCOUNTING                                                            189,485.
MEALS                                                                             1,284.
OFFICE SUPPLIES                                                                  62,879.
POSTAGE AND SUPPLIES                                                              1,504.
SHOP EXPENSE                                                                     16,444.
TELECOMMUNICATIONS                                                               50,884.
TRAVEL                                                                           65,234.
UNIFORMS                                                                          4,539.
UTILITIES                                                                        35,747.
VEHICLE EXPENSE                                                                   2,244.
VEHICLE FUEL                                                                     29,598.
VEHICLE LEASE                                                                     9,808.
VEHICLE LICENSE AND REGISTRATION                                                  4,200.




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  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                      }}}}}}}}}}
VEHICLE MAINTENANCE                                                              10,216.
                                                                          }}}}}}}}}}}}}}
TOTAL TO FORM 1120S, PAGE 1, LINE 19                                          1,226,373.
                                                                          ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K                     INTEREST INCOME                   STATEMENT   5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
INTEREST INCOME                                                                   9,023.
                                                                          }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K, LINE 4                                                       9,023.
                                                                          ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K                   OTHER ITEMS, LINE 17D               STATEMENT   6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
SECTION 199A - ORDINARY INCOME (LOSS)                                            59,583.
SECTION 199A - W-2 WAGES                                                      3,100,973.
SECTION 199A - UNADJUSTED BASIS OF ASSETS                                     2,040,700.

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                   OTHER CURRENT ASSETS                STATEMENT   7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                          BEGINNING OF    END OF TAX
DESCRIPTION                                                 TAX YEAR         YEAR
}}}}}}}}}}}                                              }}}}}}}}}}}}}} }}}}}}}}}}}}}}
NOTES RECEIVABLE - EMPLOYEES                                     2,594.             0.
PREPAID EXPENSES                                                29,861.        20,869.
PREPAID INSURANCE                                               14,474.        18,076.
PREPAID TRAINING                                                43,341.             0.
STATE INCOME TAX PROVISION                                       7,172.             0.
TREASURY REFUND                                                      0.        61,993.
                                                         }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 6                                     97,442.       100,938.
                                                         ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




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~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                       OTHER ASSETS                    STATEMENT   8
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
DESCRIPTION                                                  TAX YEAR         YEAR
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
DUE FROM RELATED COMPANIES                                      359,925.       359,925.
SECURITY DEPOSITS                                               200,708.         9,076.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 14                                    560,633.       369,001.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

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SCHEDULE L                OTHER CURRENT LIABILITIES              STATEMENT   9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
DESCRIPTION                                                  TAX YEAR         YEAR
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ACCRUED PAYROLL                                                 210,166.       226,167.
BANK OVERDRAFT                                                   34,486.             0.
CUSTOMER DEPOSITS                                                17,250.        10,792.
OTHER ACCRUAL                                                   699,280.       759,554.
PAYROLL LIABILITIES                                              44,826.             0.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 18                                  1,006,008.       996,513.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

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SCHEDULE L                    OTHER LIABILITIES                  STATEMENT 10
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
DESCRIPTION                                                  TAX YEAR         YEAR
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PPP LOAN                                                              0.       840,550.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 21                                          0.       840,550.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

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SCHEDULE L      ANALYSIS OF TOTAL RETAINED EARNINGS PER BOOKS    STATEMENT 11
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                     AMOUNT
}}}}}}}}}}}                                                                 }}}}}}}}}}}}}}
BALANCE AT BEGINNING OF YEAR                                                    2,901,426.
NET INCOME PER BOOKS                                                           -2,063,944.
DISTRIBUTIONS                                                                           0.
OTHER INCREASES (DECREASES)

                                                                            }}}}}}}}}}}}}}
BALANCE AT END OF YEAR - SCHEDULE L, LINE 24, COLUMN (D)                          837,482.
                                                                            ~~~~~~~~~~~~~~




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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
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SCHEDULE L           ADJUSTMENTS TO SHAREHOLDERS' EQUITY         STATEMENT 12
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
DESCRIPTION                                                  TAX YEAR         YEAR
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PRIOR PERIOD ADJUSTMENT                                         391,758.       391,758.
PRIOR PERIOD ALLOWANCE FOR DOUBTFUL
ACCOUNTS RESTATEMENT                                                           -2,420,670.
RETAINED EARNINGS ADJUSTMENT - NO TAX
EFFECT                                                            4,413.         4,413.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 25                                    396,171.    -2,024,499.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

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SCHEDULE K                 OTHER TAX-EXEMPT INCOME               STATEMENT 13
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                     AMOUNT
}}}}}}}}}}}                                                                 }}}}}}}}}}}}}}
EIDL LOAN INCOME                                                                   10,000.
                                                                            }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K, LINE 16B                                                      10,000.
                                                                            ~~~~~~~~~~~~~~

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SCHEDULE K                NONDEDUCTIBLE EXPENSES                 STATEMENT 14
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                     AMOUNT
}}}}}}}}}}}                                                                 }}}}}}}}}}}}}}
EXCLUDED MEALS EXPENSES                                                             1,284.
                                                                            }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K, LINE 16C                                                       1,284.
                                                                            ~~~~~~~~~~~~~~

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SCHEDULE M-1              INCOME INCLUDED ON SCHEDULE K          STATEMENT 15
                         NOT RECORDED ON BOOKS THIS YEAR
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                     AMOUNT
}}}}}}}}}}}                                                                 }}}}}}}}}}}}}}
ACCOUNTS RECEIVABLE - PY                                                        9,015,345.
TAX GAIN/LOSS ON SALE OF ASSETS IN EXCESS OF BOOK                                 520,561.
                                                                            }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 2                                                   9,535,906.
                                                                            ~~~~~~~~~~~~~~




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                                 Doc 1 Filed 04/13/23        STATEMENT(S)
                                                       Entered                12, 13,
                                                                04/13/23 16:03:42  Desc14, 15
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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
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SCHEDULE M-1          EXPENSES RECORDED ON BOOKS THIS YEAR       STATEMENT 16
                           NOT INCLUDED ON SCHEDULE K
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
ACCOUNTS PAYABLE - CY                                                          2,851,253.
ACCRUED EXPENSES- CY                                                             470,893.
ACCRUED PAYROLL - CY                                                             226,167.
ALLOWANCE FOR BAD DEBTS - CY                                                     822,362.
PREPAID EXPENSES - PY                                                             87,676.
STATE INCOME TAX BOOK/TAX DIFFERENCE                                               5,841.
                                                                           }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 3                                                  4,464,192.
                                                                           ~~~~~~~~~~~~~~

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SCHEDULE M-1           INCOME RECORDED ON BOOKS THIS YEAR        STATEMENT 17
                           NOT INCLUDED ON SCHEDULE K
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
EIDL LOAN INCOME                                                                  10,000.
ACCOUNTS RECEIVABLE - CY                                                       4,110,468.
                                                                           }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 5                                                  4,120,468.
                                                                           ~~~~~~~~~~~~~~

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SCHEDULE M-1                DEDUCTIONS ON SCHEDULE K             STATEMENT 18
                    NOT CHARGED AGAINST BOOK INCOME THIS YEAR
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
ACCOUNTS PAYABLE - PY                                                          2,577,211.
ACCRUED EXPENSES - PY                                                            406,739.
ACCRUED PAYROLL - PY                                                             254,993.
ALLOWANCE FOR BAD DEBTS - PY                                                   4,805,989.
PREPAID EXPENSES - CY                                                             38,945.
                                                                           }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 6                                                  8,083,877.
                                                                           ~~~~~~~~~~~~~~




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                                 Doc 1 Filed 04/13/23            STATEMENT(S)
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                                                                                  Desc17, 18
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  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
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SCHEDULE M-2 ACCUMULATED ADJUSTMENTS ACCOUNT - OTHER ADDITIONS STATEMENT 19
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                     AMOUNT
}}}}}}}}}}}                                                                 }}}}}}}}}}}}}}
PORTFOLIO INTEREST INCOME                                                           9,023.
EIDL EXPENSES                                                                      10,000.
PPP LOAN EXPENSES                                                                 840,550.
                                                                            }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-2, LINE 3 - COLUMN (A)                                        859,573.
                                                                            ~~~~~~~~~~~~~~

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SCHEDULE M-2      OTHER ADJUSTMENTS ACCOUNT - OTHER ADDITIONS    STATEMENT 20
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                     AMOUNT
}}}}}}}}}}}                                                                 }}}}}}}}}}}}}}
OTHER TAX-EXEMPT INCOME                                                            10,000.
                                                                            }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-2, LINE 3 - COLUMN (D)                                         10,000.
                                                                            ~~~~~~~~~~~~~~

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SCHEDULE M-2 ACCUMULATED ADJUSTMENTS ACCOUNT- OTHER REDUCTIONS STATEMENT 21
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                     AMOUNT
}}}}}}}}}}}                                                                 }}}}}}}}}}}}}}
NONDEDUCTIBLE EXPENSES                                                              1,284.
                                                                            }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-2, LINE 5 - COLUMN (A)                                          1,284.
                                                                            ~~~~~~~~~~~~~~

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SCHEDULE M-2     OTHER ADJUSTMENTS ACCOUNT - OTHER REDUCTIONS    STATEMENT 22
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                     AMOUNT
}}}}}}}}}}}                                                                 }}}}}}}}}}}}}}
EIDL EXPENSES                                                                      10,000.
PPP LOAN EXPENSES                                                                 840,550.
                                                                            }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-2, LINE 5 - COLUMN (D)                                        850,550.
                                                                            ~~~~~~~~~~~~~~




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                                 Doc 1 Filed 04/13/23        STATEMENT(S)
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                                                                04/13/23 16:03:42  Desc21, 22
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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
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SCHEDULES M-2/L     RECONCILIATION OF ENDING SCHEDULE M-2        STATEMENT 23
                            AND RETAINED EARNINGS
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                PRIOR EARNINGS
                                                                   & PROFITS
DESCRIPTION               AAA          OAA           SUTIPT      & OTHER ADJ.
}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
SCH. M-2 BALANCES     -1,411,706.      -840,550.       205,426.       205,426.
NBV OF FIXED ASSETS - BOOK
                          164,785.
NBV OF FIXED ASSETS - TAX
                         -106,735.
ACCOUNTS PAYABLE - CY
                      -2,851,253.
ALLOWANCE FOR BAD DEBT - CY
                         -822,362.
ACCRUED EXPENSES - CY
                         -470,893.
ACCRUED PAYROLL - CY
                         -226,167.
ACCOUNTS RECEIVABLE - CY
                       4,110,468.
PREPAID EXPENSES - CY
                           38,945.
UNREC. PY BOOK/TAX DIFFERENCES
                          -83,726.
SECT 179 CARRYOVER UTILIZED 2019
                           14,708.
SECT 179 CARRYOVER UTILIZED 2018
                          495,297.
2019 STATE INCOME TAXES B/T DIFF
                              990.
2020 STATE INCOME TAXES B/T DIFF
                           -5,841.
2019 ALLOW FOR DOUBTFUL ACCTS RESTATEMENT
                       2,420,670.
                   }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
SUBTOTALS              1,267,180.      -840,550.       205,426.       205,426.
                   }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL RECONCILED SCHEDULE M-2 BALANCES                                837,482.
                                                                ~~~~~~~~~~~~~~
ENDING RETAINED EARNINGS FROM SCHEDULE L, LINE 24                     837,482.
                                                                ~~~~~~~~~~~~~~




       Case 2:23-bk-02376-EPB                    23
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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
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                ELECTRONIC FILING GENERAL NOTES AND EXPLANATIONS STATEMENT 24
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

 AMENDED RETURN STATEMENT

 FORM, LINE AND/OR INSTRUCTION REFERENCE FOR GENERAL NOTE OR ELECTION


 REGULATION REFERENCE FOR GENERAL NOTE OR ELECTION


 DESCRIPTION FOR GENERAL NOTE OR ELECTION


 EXPLANATION
 THIS RETURN HAS BEEN AMENDED TO CORRECT FORM 1120S LINE 1A GROSS RECEIPTS.
 THIS CORRECTION INCLUDES A $2,420,670 ADJUSTMENT RELATED TO THE CHANGE IN
 THE CORPORATION'S ALLOWANCE FOR DOUBTFUL ACCOUNTS, WHICH WAS RESTATED FROM
 THE PRIOR TAX YEAR.




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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
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FORM 1125-A                      OTHER COSTS                     STATEMENT 25
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                       AMOUNT
}}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
AIRCRAFT EXPENSES                                                                 1,062,107.
CONTRACT LABOR                                                                      267,479.
DEPRECIATION                                                                         59,819.
GROUND AMBULANCE                                                                    264,390.
OPERATING SUPPLIES                                                                   14,933.
                                                                              }}}}}}}}}}}}}}
TOTAL TO LINE 5                                                                   1,668,728.
                                                                              ~~~~~~~~~~~~~~

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SCHEDULE M-3           NET LOSS FROM NONINCLUDIBLE FOREIGN       STATEMENT 26
                       ENTITIES INCLUDED IN PART I LINE 4A
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

NAME OF ENTITY
}}}}}}}}}}}}}}
                                                                         TOTAL
                            EIN         NET LOSS      TOTAL ASSETS    LIABILITIES
                      }}}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
R & J AVIATION
                      XX-XXXXXXX             30.           830.       469,605.
                                  }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL NET LOSS TO PART I, LINE 5B            30.           830.       469,605.
                                  ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

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FORM 4562           LISTED PROPERTY INFORMATION-MORE THAN 50%    STATEMENT 27
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

    (A)       (B)     (C)     (D)      (E)    (F)    (G)       (H)    (I) 179
DESCRIPTION   DATE   BUS. %   COST    BASIS   LIFE MTH/CV DEDUCTION ELECTED
}}}}}}}}}}} }}}}}}}} }}}}}} }}}}}}}} }}}}}}}} }}}} }}}}}}}} }}}}}}}}} }}}}}}}}

   (K)         (L)         (M)       (N)  (O)       (P)       (Q)
  TOTAL     BUSINESS    COMMUTING PERSONAL
                                        WAS VEH. > 5% ANOTHER VEH.
  MILES       MILES       MILES     MILES
                                        AVAIL.? OWNER? AVAILABLE?
                                          Y N       Y N       Y N
}}}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}} }}}}}} }}}}}}}}}}}}
AUTO        07/29/04
MILWAUKEE            100.00 43,846. 21,923. 5        200DB-HY
                                                YRS                 0.
                                              X         X         X
AUTO        08/02/04
CHICAGO              100.00 44,820. 22,410. 5        200DB-HY
                                                YRS                 0.
                                              X         X         X
AUTO        08/13/05
MILWAUKEE            100.00 45,064. 45,064. 5        200DB-HY
                                                YRS                 0.
                                              X         X         X



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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                       XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                                       }}}}}}}}}}
2010        07/29/10
SUBURBAN
623                  100.00 65,072. 32,536. 5              200DB-HY
                                               YRS                             0.
                                             X                X          X
2011        03/15/11
SUBURBAN
611                  100.00 68,535.        0. 5            200DB-HY
                                               YRS                             0.
                                             X                X          X
2011        03/15/11
SUBURBAN
613                  100.00 68,535.        0. 5            200DB-HY
                                               YRS                             0.
                                             X                X          X
2004        11/18/13
MERCURY
SABLE                100.00   4,000.   2,000. 5            200DB-HY
                                               YRS                             0.
                                             X               X           X
LAND ROVER 01/01/15 100.00    6,672.       0. 5            200DB-HY
                                               YRS                             0.
                                             X                X          X
2012 WHITE 11/28/15
FORD
EXPLORER             100.00 17,995.    8,997. 5            200DB-HY
                                               YRS                           518.
                                             X                X          X
2017        08/18/17
SUBURBAN             100.00 62,533. 18,766. 5              200DB-MQ
                                               YRS                       4,054.

                                                                      }}}}}}}}} }}}}}}}}
TOTALS TO FORM 4562, PART V, LINE 26                                     4,572.
                                                                      ~~~~~~~~~ ~~~~~~~~




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                                                                                                                                                                         671120

                                                                                                                   X Amended K-1
  Schedule K-1
                                                                          2020                        Final K-1                                          OMB No. 1545-0123
  (Form 1120-S)                                                                                   Part III       Shareholder's  Share of Current Year Income,
  Department of the Treasury                                                                                     Deductions, Credits, and Other Items
  Internal Revenue Service   For calendar year 2020, or tax                                      1  Ordinary business income (loss)    13 Credits
                             year beginning                                                                             59,583.
                                     ending                                                      2    Net rental real estate inc (loss)


  Shareholder's Share of Income, Deductions,                                                     3    Other net rental income (loss)
  Credits, etc.  | See separate instructions.
                                                                                                 4    Interest income
             Part I            Information About the Corporation                                                         9,023.
         A Corporation's employer identification number                                          5a   Ordinary dividends
        XX-XXXXXXX
         B Corporation's name, address, city, state, and ZIP code                                5b   Qualified dividends                      14   Foreign transactions

        AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                   6    Royalties
        43W450 US HIGHWAY 30
        SUGAR GROVE, IL 60554                                                                    7    Net short-term capital gain (loss)


         C IRS Center where corporation filed return                                             8a   Net long-term capital gain (loss)
        E-FILE
                                                                                                 8b   Collectibles (28%) gain (loss)
             Part II           Information About the Shareholder
         D Shareholder's identifying number                                                      8c   Unrecaptured sec 1250 gain


         E Shareholder's name, address, city, state, and ZIP code                                9    Net section 1231 gain (loss)
                                                                                                                                   0.
        JOSEPH D. CECE                                                                           10   Other income (loss)                      15   Alternative min tax (AMT) items
        1936 E. MISSOURI AVENUE                                                                                                            A                                     14.
        PHOENIX, AZ 85016


         F Current year allocation percentage ~               100.000000%

         G Shareholder's number of shares
              Beginning of tax year ~~~~~                           4,000.00
              End of tax year ~~~~~~~~                              4,000.00
                                                                                                 11   Section 179 deduction                    16   Items affecting shareholder basis

         H Loans from shareholder                                                                                                          B*                         10,000.
              Beginning of tax year ~~~~ $                                                       12   Other deductions
              End of tax year ~~~~~~~ $                                                                                                    C*                            1,284.
  For IRS Use Only




                                                                                                                                               17   Other information
                                                                                                                                           A                             9,023.

                                                                                                                                           V *                                STMT

                                                                                                                                           AC*                                STMT

                                                                                                18        More than one activity for at-risk purposes*
                                                                                                19        More than one activity for passive activity purposes*
                                                                                                             *See attached statement for additional information.
  011271
  11-19-20               LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.     www.irs.gov/Form1120S               Schedule K-1 (Form 1120-S) 2020
                         Case 2:23-bk-02376-EPB                                   27
                                                                  Doc 1 Filed 04/13/23  Entered 04/13/23 16:03:42 Desc 1
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SCHEDULE K-1         OTHER TAX-EXEMPT INCOME, BOX 16, CODE B
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DESCRIPTION                               AMOUNT     SHAREHOLDER FILING INSTRUCTIONS
}}}}}}}}}}}                            }}}}}}}}}}}}} }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
EIDL LOAN INCOME                             10,000.
                                       }}}}}}}}}}}}}
TOTAL                                        10,000.
                                       ~~~~~~~~~~~~~

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SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 16, CODE C
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                               AMOUNT     SHAREHOLDER FILING INSTRUCTIONS
}}}}}}}}}}}                            }}}}}}}}}}}}} }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
EXCLUDED MEALS EXPENSES                       1,284. SEE SHAREHOLDERS INSTRUCTIONS
                                       }}}}}}}}}}}}}
TOTAL                                         1,284.
                                       ~~~~~~~~~~~~~




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SCHEDULE K-1       SECTION 199A ADDITIONAL INFORMATION
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
 THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF THE QUALIFIED
 BUSINESS INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 17,
 UNDER CODE V. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF
 QUALIFIED BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE AGGREGATIONS
 AND LIMITATIONS THAT MAY APPLY AND THE FILING OF THE 1.199A-4(C)(2)(I)
 ANNUAL DISCLOSURE STATEMENT.




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SCHEDULE K-1               SECTION 199A ITEMS, BOX 17
                                     CODE V
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}

TRADE OR BUSINESS

   ORDINARY INCOME(LOSS)                                                          59,583.
   W-2 WAGES                                                                   3,100,973.
   UNADJUSTED BASIS                                                            2,040,700.


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SCHEDULE K-1 GROSS RECEIPTS FOR SECTION 448(C), BOX 17, CODE AC
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
GROSS RECEIPTS - CURRENT YEAR                                                 8,371,401.




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         Arizona Form
            120S                                Arizona S Corporation Income Tax Return                                                                        2020
                         For the   X   calendar year 2020 or        fiscal year beginning                           and ending                            .


 Business Telephone Number Name                                                                                                    CHECK ONE:
 (with area code)          AEROCARE                MEDICAL TRANSPORT SYSTEM, INC                                                        Original      X Amended
630-466-0800                   Address - number and street or PO Box                                                               Employer Identification Number (EIN)
 Business Activity Code        43W450 US HIGHWAY 30                                                                                      XX-XXXXXXX
 (from federal Form 1120-S)
                               City, Town or Post Office                                                                           State       ZIP Code
     621900                    SUGAR GROVE                                                                                          IL        60554
 68 Check box if: A          This is a first return B     Name change C X Address change                          Check box if return filed under extension:
 A ARIZONA apportionment for multistate S corporations only (check one box):                                      82 82F X
     1        AIR CARRIER 2 X STANDARD 3                     SALES FACTOR ONLY                                    REVENUE USE ONLY. DO NOT MARK IN THIS AREA.
 B            Check if Multistate Service Provider Election and Computation (Arizona Schedule MSP) is included.   88
        Indicate the year of the election cycle ~~        Yr 1      Yr 2        Yr 3      Yr 4       Yr 5
 C Is this the S corporation's final Arizona return under this EIN? ••••             Yes X No
    If "Yes", check one: 1           Dissolved 2         Withdrawn 3       Merged/Reorganized
    List EIN of the successor corporation, if any ~~~~~~~~~
 D Does the S corporation conduct business within and without Arizona?          X Yes          No                 81 PM                           66 RCVD
 E Will a composite return be filed on Form 140NR? ~~~~~~~~~                         Yes X No
 F Total number of nonresident individual shareholders ~~~~~                                     0
 G Total number of resident and part-year resident individual shareholders ~~                              1
 H Total number of entity shareholders: See instructions ~~~~~                                  0
Nonprofit Medical Marijuana Dispensary (NMMD) only: See instructions.
 I         NMMD Registry Identification Number:


  1 TOTAL DISTRIBUTIVE INCOME (LOSS) from federal Form 1120-S, Schedule K•••••••••••••••••••••• 1                                                          68,606 00
  Complete lines 2-12 only if the S corporation has excess net passive income or capital gains/built-in gains. An S corporation that is not required to complete
  lines 2-12 must complete lines 13-25 if the S corporation has a tax liability from the recapture of tax credits.
  2 Excess net passive income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             2             00
  3 Capital gains/built-in gains ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3             00
  4 Total federal income subject to corporate income tax: Add lines 2 and 3. Enter the difference ~~~~~~~~~~~~~~~~ 4                                                00
    100% AZ S corporations check box 4a                . Go to line 11. Multistate S corporations, continue to line 5
 5   Nonapportionable or allocable income: Include schedule. Multistate S corporations only ~~~~~~~~~~~~~~~~~                             5                         00
 6   Apportionable income: Subtract line 5 from line 4. Enter the difference. Multistate S corporations only •••••••••••                  6                         00
 7   Arizona apportionment ratio from Schedule A or Schedule ACA ~~~~~~~~~                   7       ¥
 8   Income apportioned to Arizona: Line 6 multiplied by line 7. Multistate S corporations only ~~~~~~~~~~~~~~~~ 8                                                  00
 9   Other income allocated to Arizona: Include schedule. Multistate S corporations only ~~~~~~~~~~~~~~~~~~~ 9                                                      00
10   Total income attributable to Arizona: Add lines 8 and 9. Enter the total ~~~~~~~~~~~~~~~~~~~~~~~~~~ 10                                                         00
11   Net income subject to Arizona corporate income tax:
     100% Arizona S corporations: Enter amount from line 4. Multistate S corporations: Enter the amount from line 10 ~~~ 11                                         00
12   Enter tax: See instructions before completing this line. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 12                                                                0   00
13   Tax from recapture of tax credits from Arizona Form 300, Part 2, line 22 ~~~~~~~~~~~~~~~~~~~~~~~~~ 13                                                          00
14   Subtotal: Add lines 12 and 13. Enter the total ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 14                                                                         00
15   Nonrefundable tax credits from Arizona Form 300, Part 2, line 40 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 15                                                               00
16   Enter form number for each nonrefundable credit claimed: 16 1 3               162 3          163 3        164 3

17   Tax liability: Subtract line 15 from line 14. Enter the difference ••••••••••••••••••••••••••••• 17                                                        0   00
18   Refundable tax credits: Check box(es) and enter amount             18 1      308 182          349 ~ 18                         00
19   Extension payment made with Form 120EXT or online: See instructions ~~~~~~~~~~ 19                                              00
20   Estimated tax payments: See instructions ~~~~~~~~~~~~~~~~~~~~~~~ 20                                                            00
21   Total payments: Add lines 18 through 20. Enter the total. For amended returns, see instructions ~~~~~~~~~~~~~~                      21                         00
22   Balance of tax due: If line 17 is larger than line 21, subtract line 21 from line 17. Enter the difference. Skip line 23 ~~~~~~~    22                         00
23   Overpayment of tax: If line 21 is larger than line 17, subtract line 17 from line 21. Enter the difference ~~~~~~~~~~~~             23                         00
24   Penalty and interest •••••••••••••••••••••••••••••••••••••••••••••••                                                                24                         00
25   Estimated tax underpayment penalty. If Form 220 is included, check box ~~~~~~~~~~~~~~~~~~ 25A                                       25                         00
26   Information return penalty: See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  26                         00
27   TOTAL DUE: See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             27                         00
28   OVERPAYMENT: See instructions •••••••••••••••••••••••••••••••••••••••••                                                             28                         00
29   Amount of line 28 to be applied to 2021 estimated tax ~~~~~~~~~~~~~~~~~ 29                                                     00
30   Amount to be refunded: Subtract line 29 from line 28. Enter the difference ••••••••••••••••••••••••                                 30                         00
           CaseADOR
037261 10-19-20  2:23-bk-02376-EPB
                    10337 (20)                          Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                              Desc
                                                       Main Document    Page 48 of 281
 Name (as shown on page 1)                                                                                                        EIN
  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                           XX-XXXXXXX

 SCHEDULE A Apportionment Formula (Multistate S Corporations Only)
IMPORTANT: Qualifying air carriers must use Arizona Schedule ACA. Qualifying                   COLUMN A                      COLUMN B                      COLUMN C
multistate service providers must include Arizona Schedule MSP. If the "SALES              Total Within Arizona           Total Everywhere            Ratio Within Arizona
FACTOR ONLY" box on page 1, line A, is checked, complete only Section A3,
                                                                                          Round to nearest dollar       Round to nearest dollar.             A^B
Sales Factor, lines a through f. See instructions.
A1 Property Factor - STANDARD APPORTIONMENT ONLY
   Value of real and tangible personal property (by averaging the value of owned
   property at the beginning and end of the tax period; rented property at
   capitalized value).
 a Owned Property (at original cost):
   1 Inventories ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   2 Depreciable assets (do not include construction in progress) ~~~~~~~                            315,447                   4,276,535
   3 Land ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   4 Other assets (describe):
   5 Less: Nonbusiness property (if included in above totals) ~~~~~~~~~
   6 Total of section a (the sum of lines 1 through 4 less line 5) ~~~~~~~~                        315,447                     4,276,535
 b Rented property (capitalize at 8 times net rent paid) ~~~~~~~~~~~~                            1,126,568                     2,465,576
 c Total owned and rented property (Total of section a plus section b) ~~~~~                     1,442,015                     6,742,111                     .213882
A2 Payroll Factor - STANDARD APPORTIONMENT ONLY
   Total wages, salaries, commissions and other compensation to employees
   (per federal Form 1120S, or payroll reports) ~~~~~~~~~~~~~~~                                      687,542                   3,145,135                     .218605
A3 Sales Factor
 a Sales delivered or shipped to Arizona purchasers ~~~~~~~~~~~~~                                     975,922
 b Sales from services or from designated intangibles for qualifying multistate
   service providers only (see instructions; include Schedule MSP) ~~~~~~
 c Other gross receipts ~~~~~~~~~~~~~~~~~~~~~~~~~
 d Total sales and other gross receipts ~~~~~~~~~~~~~~~~~~~                                           975,922      10,783,048
 e Weight AZ sales: (STANDARD x 2; SALES FACTOR ONLY x 1) ~~~~~~~                            x2       OR x1
 f Sales Factor Only (for Column A, multiply line d by line e; for
   Column B, enter the amount from line d; for Column C, divide
   Column A by Column B.) Skip line A4 and line A5.
   STANDARD Apportionment, continue to A4.
   SALES FACTOR ONLY Apportionment, enter the amount from
   Column C on page 1, line 7 ~~~~~~~~~~~~~~~~~~~~~~                                             1,951,844         10,783,048                                .181010
A4 STANDARD Apportionment Total Ratio: Add Column C of lines A1c, A2, and A3f. Enter the total~~~~~~~~~~~~~~~~~~~                                            .613497
A5 Average Apportionment Ratio for STANDARD Apportionment: Divide line A4, Column C, by four (4). Enter the result
   on page 1, line 7. (If one of the factors is "0" in both Column A and Column B, see instructions.) ~~~~~~~~~~~~~~~~~~~                                    .153374

 SCHEDULE B              Other Information
B1 Date business began in Arizona or date income was first derived from Arizona sources:      07/30/1987
B2 Address at which tax records are located for audit purposes:
   Number/Street: 43W450 US HIGHWAY 30
    City:   SUGAR GROVE                                         State:   IL         ZIP Code: 60554
B3 The taxpayer designates the individual listed below as the person to contact to schedule an audit of this return and authorizes the disclosure of confidential
   information to this individual. (See instructions, page 12.)
   Name: JOE CECE                                                                                                        Phone Number:
                                                                                                                                          (Area Code)
   Title: PRESIDENT
B4 List prior taxable years ending in MM/DD/YYYY format for which a federal examination has been finalized:

   NOTE: A.R.S. ¤ 43-327 requires the taxpayer, within ninety days after final determination, to report these changes under separate cover to the Arizona Department of
   Revenue or to file amended returns reporting these changes. (See instructions, page 2.)
B5 Indicate tax accounting method:       X Cash                 Accrual             Other (Specify method.)




ADOR 10337 (20)          037262 10-19-20                                   AZ Form 120S (2020)                                                                      Page 2 of 3
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 Name (as shown on page 1)                                                                                                             EIN
  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                XX-XXXXXXX

 SCHEDULE C Shareholder Information
Complete Schedule C for all shareholders of the S corporation. If the S corporation has more than 8 shareholders, include additional schedules as
necessary.

                          (a)                                              (b)                               (d)                 (e)                  (f)               (g)
                                                                     Street Address                     Shareholder           Share-             Distributive      Resident (R)
                                                                                                      Tax Identification     holder's          Share of Income
                                                                           (c)                                              Ownership
                                                                                                                                                                  Nonresident (N)
                  Shareholder Name                                   City, State ZIP                       Number           Percentage          Page 1, Line 1    Other Entity (O)

 1
         SEE STATEMENT 2

 2



 3



 4



 5



 6



 7



 8



                                                                 Include additional sheets as necessary


                  The following declaration must be signed by one or more of the following officers: president, treasurer, or any other principal officer.

 Declaration Under penalties of perjury, I, the undersigned officer authorized to sign this return, declare that I have examined this return,
             including the accompanying schedules and statements, and to the best of my knowledge and belief, it is a true, correct and
             complete return, made in good faith, for the taxable year stated pursuant to the income tax laws of the State of Arizona.

                                                                                                                                       PRESIDENT
  Please          OFFICER'S SIGNATURE                                                                      DATE                        TITLE

  Sign
  Here            OFFICER'S PRINTED NAME

                  LYUDMILA EISENMAN, CPA                                                                   03/21/2022 P01272545
                  PAID PREPARER'S SIGNATURE                                                                DATE                        PAID PREPARER'S PTIN

                  LYUDMILA EISENMAN, CPA
                  PAID PREPARER'S PRINTED NAME

  Paid
  Preparer's      BEACHFLEISCHMAN PLLC                                                                                                  XX-XXXXXXX
                  FIRM'S NAME (OR PAID PREPARER'S NAME, IF SELF-EMPLOYED)
  Use
  Only            1985 E. RIVER ROAD, SUITE 201                                                                                         520-321-4600
                  FIRM'S STREET ADDRESS                                                                                                 FIRM'S TELEPHONE NUMBER

                  TUCSON, AZ                                                                                                            85718
                  CITY                                                                                        STATE                     ZIP CODE



                           Mail to: Arizona Department of Revenue, PO Box 29079, Phoenix, AZ 85038-9079

ADOR 10337 (20)            037263 10-19-20                                    AZ Form 120S (2020)                                                                    Page 3 of 3
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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
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                                  FOOTNOTES                      STATEMENT   1
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THIS IS AN AMENDED RETURN. THE FEDERAL FORM 1120S WAS
AMENDED TO CORRECT LINE 1A GROSS RECEIPTS. THIS CORRECTION
INCLUDES A $2,420,670 ADJUSTMENT RELATED TO THE CHANGE IN
THE CORPORATION'S ALLOWANCE FOR DOUBTFUL ACCOUNTS, WHICH WAS
RESTATED FROM THE PRIOR TAX YEAR ON THE REVIEWED FINANCIAL
STATEMENTS.




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                                 Doc 1 Filed 04/13/23                        STATEMENT(S)
                                                       Entered 04/13/23 16:03:42  Desc    1
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                                     Document AEROCARE
                                                 Page 51 of MEDICAL
                                                            281      TRANSPORT 16439_01
  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
AZ 120S               SCHEDULE C - SHAREHOLDER INFORMATION       STATEMENT   2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                                   SHAREHOLDER DISTRIBUTIVE R
                                       SHAREHOLDER OWNERSHIP     SHARE OF    N
NAME AND ADDRESS                            TIN     PERCENTAGE INCOME (LOSS) O
}}}}}}}}}}}}}}}}                        }}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}}}} -

JOSEPH D. CECE
1936 E. MISSOURI AVENUE
PHOENIX, AZ 85016                                           100.000000          68,606. R




       Case 2:23-bk-02376-EPB                    5
                                 Doc 1 Filed 04/13/23                        STATEMENT(S)
                                                       Entered 04/13/23 16:03:42  Desc    2
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                                                            281      TRANSPORT 16439_01
     ARIZONA                               Shareholder's Information - Resident
   SCHEDULE K-1                                For Calendar Year 2020, or Fiscal Year                       2020
    EQUIVALENT                 Beginning                         , and Ending


  Shareholder Name & Address                                                     Shareholder ID No.
                                                                                                              CHECK ONE

    JOSEPH D. CECE                                                               Percentage of Ownership   Original
    1936 E. MISSOURI AVENUE                                                          100.000000%           Amended    X
    PHOENIX, AZ 85016
  Corporation Name & Address                                                     Corporation ID Number

    AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                         XX-XXXXXXX
    43W450 US HIGHWAY 30
    SUGAR GROVE, IL 60554

  Shareholder's Distributive Share of Income, Adjustments and Arizona Tax Credit Items                      Amount


  ADDITIONS TO INCOME


        Non-Arizona municipal interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
        Taxes paid to other states ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
        Other additions to income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~




  SUBTRACTIONS FROM INCOME


        Interest on U.S. Government obligations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
        Other subtractions from income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~




  ARIZONA TAX CREDITS




  037271 04-01-20
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                                                    Document AEROCARE
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                                                                           281      TRANSPORT 16439_01
           Arizona Form                                          Resident and Part-Year Resident
    120S Schedule K-1                                           Shareholder's Information Schedule                                                     2020

                      For the   X     calendar year 2020 or        fiscal year beginning                      and ending                         .


  CHECK ONE:               Original      X   Amended

   Shareholder's Tax Identification Number                                            S corporation's Employer Identification Number (EIN)
                                                                                     XX-XXXXXXX
   Shareholder's Name                                                                 S corporation's Name
  JOSEPH D. CECE                                                                     AEROCARE MEDICAL TRANSPORT SYSTEM, IN
   Shareholder's Address - number and street or rural route                           S corporation's Address - number and street or rural route
  1936 E. MISSOURI AVENUE                                                            43W450 US HIGHWAY 30
   Shareholder's City, Town or Post Office           State ZIP Code                   S corporation's City, Town or Post Office        State ZIP Code
  PHOENIX, AZ 85016                                                                  SUGAR GROVE, IL                   60554

   Shareholder's percentage of stock ownership for the taxable year:    100.0000%

  Part 1      Net Capital Gain (Loss) From Investment in a Qualified Small Business - Information Schedule
  If the shareholder's federal Schedule K-1 (Form 1120-S) does not include any net capital gain (loss) from investment in a qualified small
  business as determined by the Arizona Commerce Authority, the S corporation is not required to complete Part 1.


                          Pro Rata Share Items                         Distributive Share Amount

    1 Net capital gain (loss) from investment in a
      qualified small business ••••••••••••• 1

  Part 2      Net Capital Gain (Loss) From the Exchange of Legal Tender - Information Schedule
  If the shareholder's federal Schedule K-1 (Form 1120-S) does not include any net capital gain (loss) from the exchange of legal tender,
  the S corporation is not required to complete Part 2.


                          Pro Rata Share Items                         Distributive Share Amount

    2 Net capital gain (loss) from the exchange of legal
      tender ••••••••••••
             •••••••••••••••••••••• 2

  Part 3      Net Long-Term Capital Gain (Loss) Subtraction - Information Schedule
  If the shareholder's federal Schedule K-1 (Form 1120-S) includes net long-term capital gain (loss), complete line 3 through line 5 (if applicable).
  If the shareholder's federal Schedule K-1 (Form 1120-S) does not include any net long-term capital gain (loss), the S corporation is not
  required to complete Part 3.
                                                                               (a)                            (b)                               (c)
                     Pro Rata Share Items                         Distributive Share Amount     Net long-term capital gain        Net long-term capital gain
             From federal Form 1120-S, Schedule K-1                                             (loss) included in column (a)     (loss) included in column (a)
                                                                                                from assets acquired before       from assets acquired after
                                                                                                January 1, 2012                   December 31, 2011


    3 Net long-term capital gain (loss) •••••• 3


  ADDITIONAL INFORMATION:
   4 Net long-term capital gain (loss) from
      investment in a qualified small business
      (amount already included in line 3,
      column (c)) •••••••••••••••• 4
   5 Net long-term capital gain (loss) from the
      exchange of legal tender (amount already
      included in line 3, column (c))•••••••• 5


  ADOR 11191 (20)   037761 10-19-20

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                                                              Document AEROCARE
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                                                                                     281      TRANSPORT 16439_01
         TAXABLE YEAR              Amended Corporation                                                                                                                     CALIFORNIA FORM
                                   Franchise or Income Tax Return                                                                                                                  100X



     0000000       AERO XX-XXXXXXX 000000000000                                                                                20
     TYB 01-01-2020 TYE 12-31-2020
     AEROCARE MEDICAL TRANSPORT SYSTEM INC

     43W450 US HIGHWAY 30
     SUGAR GROVE        IL                                      60554




 Questions. See instructions.                                                          Yes           No                                                                                        Yes   No
 A Did this corporation file an amended return with the IRS for the same reason? ~~~ ¥               X      F   Is this return an amended Form 100S? ~~~~~~~~~~~                           ¥   X
   Has the IRS advised this corporation that the original federal return is,
 B was, or will be audited? ~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                X          If yes, enter the maximum number of shareholders in the S corporation at
                                                                                                                any time during the taxable year. Do not leave blank ~~~~~~~ ¥
                                                                                                                                                                                                      1
 C Is this amended return based on a final federal determination(s)? ~~~~~~~~ ¥                      X      G Is this return a protective claim? ~~~~~~~~~~~~~ ¥                                      X
     If so, what was the final federal determination date(s)?
                                                                                                              Was the corporation's original return filed pursuant to a water's-edge
                                                                                                            H election? ~~~~~~~~~~~~~~~~~~~~~~ j                                     ¥                X
 D   Is this return an amended Form 100?       ~~~~~~~~~~~~~~~~~ ¥                                   X        During this taxable year, was 50% or more of the stock of this
                                                                                                            I corporation owned by another corporation? ~~~~~~~~~ ¥                                   X
 E   Is this return an amended Form 100W?      ••••••••••••••••• ¥                                   X        During this taxable year, were gross receipts (less returns and
                                                                                                            J allowances) of this corporation more than $1 million? ••••• ¥                    X
Part I       Income and Deductions                                                  (a) Originally reported/adjusted                   (b) Net change                          (c) Correct amount

 1 Net income (loss) before state adjustments ~~~~~~~                      j
                                                                           ¥ 1         2,480,253                  00    j
                                                                                                                        ¥      -2,420,670                    00   j
                                                                                                                                                                  ¥              59,583                  00
 2 Additions to net income ~~~~~~~~~~~~~~~                                 j
                                                                           ¥ 2          -187,909                  00    j
                                                                                                                        ¥                                    00   j
                                                                                                                                                                  ¥            -187,909                  00
 3 Deductions from net income ~~~~~~~~~~~~~                                j
                                                                           ¥ 3           194,792                  00    j
                                                                                                                        ¥                                    00   j
                                                                                                                                                                  ¥             194,792                  00
 4 Net income (loss) after state adjustments. Combine lines 1 through 3.   j
                                                                           ¥ 4         2,097,552                  00    j
                                                                                                                        ¥      -2,420,670                    00    ¥           -323,118                  00
 5 Net income (loss) from Schedule R. See instructions ••                  j
                                                                           ¥ 5           142,413                  00    j
                                                                                                                        ¥        -164,351                    00   j
                                                                                                                                                                  ¥             -21,938                  00
Part II      Computation of Tax, Penalties, and Interest.
 6 Net income (loss) for state purposes (Part I, line 4 or line 5)         ¥  6             142,413               00     ¥           -164,351                00    ¥              -21,938                00
 7 Net operating loss (NOL) deduction ~~~~~~~~~~                           j
                                                                           ¥  7              60,994               00    j
                                                                                                                        ¥             -60,994                00    ¥                    0                00
 8 EZ, TTA, or LAMBRA NOL deduction. See instrs. ~~~~                      j
                                                                           ¥  8                                   00    j
                                                                                                                        ¥                                    00    ¥                                     00
 9 Disaster loss deduction ~~~~~~~~~~~~~~~                                 j
                                                                           ¥  9                                   00    j
                                                                                                                        ¥                                    00    ¥                                     00
10 Net income for tax purposes. Combine lines 6 through 9 ~                j
                                                                           ¥ 10                81,419             00    j
                                                                                                                        ¥            -103,357                00    ¥              -21,938                00
11 Tax       1.5000 % X line 10. See instructions ~~                       ¥ 11                 1,221             00    j
                                                                                                                        ¥                -421                00    ¥                  800                00
12 j
   ¥ Tax credits:                                                          j
                                                                           ¥ 12                                   00    j
                                                                                                                        ¥                                    00    ¥                                     00
13 Tax after credits (not less than minimum franchise tax
   plus QSub annual tax(es), if applicable) ~~~~~~~~                       j
                                                                           ¥ 13                         421       00    j
                                                                                                                        ¥                          379       00    ¥                           800       00
14 Alternative minimum tax. See instructions ~~~~~~~                       j
                                                                           ¥ 14                                   00    j
                                                                                                                        ¥                                    00    ¥                                     00
15 Tax from Schedule D (100S) (Form 100S filers only) ~~~                  j
                                                                           ¥ 15                                   00    j
                                                                                                                        ¥                                    00    ¥                                     00
16 Excess net passive income tax (Form 100S filers only) ~~                j
                                                                           ¥ 16                                   00    j
                                                                                                                        ¥                                    00    ¥                                     00
17 Other adjustments to tax. See instructions ~~~~~~~                      j
                                                                           ¥ 17                                   00    j
                                                                                                                        ¥                                    00    ¥                                     00
18 Total tax. Combine line 13 through line 17 ~~~~~~~                      ¥ 18                         421       00    j
                                                                                                                        ¥                          379       00    ¥                           800       00
19 Penalties and interest.                                                                                              j
                                                                                                                        ¥
   See instructions                                                                                                     (a)                                  00
                                                                                                                        j
                                                                                                                        ¥                                        ¥
                                                                           j
                                                                           ¥   19         00 (b)                                                             00 (c)                                      00
20 Revised balance. Add line 18, column (c), and line 19 (c) ••••••••••••••••••••••••••••••                                                                  20 ¥                              800       00
Part III Payments and Credits
21 Estimated tax payments (include overpayment from prior year allowed as a credit) ~~~~~~~~~~~~~~~~~~~                                                      ¥ 21                              800       00
22 Amount paid with extension of time to file tax return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    ¥ 22                                        00
23 Payment with original tax return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 ¥ 23                                    0   00
24 Withholding (Forms 592-B and/or 593). a) originally reported/adjusted
     ¥ b) net change                                     c) correct amount ~~~~~~~~~~~~~~~~~~~~~~                                                            ¥    24c                                    00
25 Other payments. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 ¥    25                                     00
26 Total payments. Add line 21 through line 25 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           ¥    26                           800       00
27 Overpayment, if any, shown on original tax return, or as later adjusted ~~~~~~~~~~~~~~~~~~~~~~~~                                                          ¥    27                                     00
28 Balance. Subtract line 27 from line 26 ••••••••••••••••••••••••••••••••••••••                                                                             ¥    28                           800       00

                   046161 12-03-20                                022                  3631204                                                             Form 100X 2020 Side 1
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Part IV          Amount Due or Refund


 29 Amount due. If line 20 is more than line 28, subtract line 28 from line 20. See insts ~~~ ¥ 29                                                                                                                                            0
 30 Refund. If line 28 is more than line 20, subtract line 20 from line 28. See instructions •• ¥ 30
Part V          Explanation of Changes
 1 Enter name, address, California corporation number, and/or FEIN used on original tax return (if same as shown on this amended return, write "Same").
 Corporation name                                                                                     California corporation number FEIN

  SAME                                                                                                                                              SAME                                                 SAME
 Additional information                                                                                                                                                                California Secretary of State file number


 Street address (suite/room no.)                                                                                                                                                                                        PMB no.
  SAME                                                                                                                                                                                                                       SAME
 City                                                                                                                                                                                  State            ZIP code
  SAME
 Foreign country name                                                                                               Foreign province/state/county                                                                 Foreign postal code


 2 Explanation of changes to items in Part I, Part II, Part III, and Part IV.
    Enter the line number from Side 1 for each item that is changing and give the reason for each change. Attach all supporting forms and schedules for items changed. Include federal schedules if a change was made to the federal return. Be sure to
    include the corporation name and California corporation number on each attachment. Refer to the forms and instructions for the taxable year that is being amended.


THE FEDERAL FORM 1120S WAS AMENDED TO CORRECT LINE 1A GROSS RECEIPTS. THIS
CORRECTION INCLUDES A $2,420,670 ADJUSTMENT RELATED TO THE CHANGE IN THE
CORPORATION'S ALLOWANCE FOR DOUBTFUL ACCOUNTS, WHICH WAS RESTATED FROM THE
PRIOR TAX YEAR ON THE REVIEWED FINANCIAL STATEMENTS.




               Under penalties of perjury, I declare that I have filed an original return and I have examined this amended return, including accompanying schedules and statements, and to the best of
               my knowledge and belief, this amended return is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Sign
Here       Signature of officer                  Title           Date                                                                                                                                   Telephone
           |                                    PRESIDENT                                                                                                                                               ¥
           Preparer's signature                         Date          Check if self-                                                                                                                    ¥ PTIN P01272545
           | LYUDMILA EISENMAN, CPA                      03/21/22 employed
Paid
Preparer's Firm's name                                                                                                                                                                                    Firm's FEIN
Use Only (or yours, if | BEACHFLEISCHMAN PLLC                                                                                                                                                           ¥ XX-XXXXXXX
           self-employed) 1985 E. RIVER ROAD, SUITE 201                                                                                                                                                 Telephone
           and address       TUCSON, AZ 85718                                                                                                                                                           ¥520-321-4600




                 Side 2 Form 100X 2020                                              022                        3632204
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                                                                                                                                                                                  FORM
TAXABLE YEAR                             California S Corporation                                                                                                             100S
                    2020                 Franchise or Income Tax Return

                    0000000       AERO XX-XXXXXXX 000000000000                                                         20
                    TYB 01-01-2020 TYE 12-31-2020
                    AEROCARE MEDICAL TRANSPORT SYSTEM INC

                    43W450 US HIGHWAY 30
                    SUGAR GROVE        IL                        60554




Schedule Q Questions (continued on Side 3)
A 1. FINAL RETURN? ¥                           Dissolved               Surrendered (withdrawn)          Merged/Reorganized              IRC Section 338 sale                      QSub election


                                         Enter date (mm/dd/yyyy) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         ¥


        2. Is the S corporation deferring any income from the disposition of assets? ~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                          Yes    X     No


                                         If "Yes" enter the year of disposition (yyyy) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥


        3. Is the S corporation reporting previously deferred income from:          ~~~~ ¥          Installment sale         ¥   IRC ¤1031       ¥             IRC ¤1033     ¥           Other



B 1. During this taxable year, did another person or legal entity acquire control or majority ownership (more than a 50% interest) of this
     corporation or any of its subsidiaries that owned California real property (i.e., land, buildings), leased such property for a term of
     35 years or more, or leased such property from a government agency for any term? ~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                            Yes    X     No


        2. During this taxable year, did this corporation or any of its subsidiaries acquire control or majority ownership (more than a 50% interest)
           in another legal entity that owned California real property (i.e., land, buildings), leased such property for a term of 35 years or more,
           or leased such property from a government agency for any term? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                                Yes    X     No


        3. During this taxable year, has more than 50% of the voting stock of this corporation cumulatively transferred in one or more transactions
           after an interest in California real property (i.e., land, buildings) was transferred to it that was excluded from property tax reassessment
           under Revenue and Taxation Code Section 62(a)(2) and it was not reported on a previous year's tax return? ~~~~~~~~~~~~~~ ¥                                       Yes    X     No
           (Yes requires filing of statement, penalties may apply - see instructions.)


                      1 Ordinary income (loss) from trade or business activities from Schedule F (Form 100S, Side 4), line 22 or
                        federal Form 1120-S, line 21. If Schedule F (Form 100S, Side 4) was not completed, attach federal
                                                                                                                                             c                             59,583
State Adjustments




                        Form 1120-S, page 1, and supporting schedules ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  1                                     00
                      2 Foreign or domestic tax based on income or profits and California franchise or income tax deducted ~~~~~~~           c       2                                     00
                      3 Interest on government obligations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               c       3                                     00
                      4 Net capital gain from Schedule D (100S), Section A & Section B. Attach Schedule D (100S). See instructions ~~~       c       4                                     00
                      5 Depreciation and amortization adjustments. Attach Schedule B (100S) ~~~~~~~~~~~~~~~~~~~~                             c       5             -196,932                00
                                                                    SEE STATEMENT 1
                      6 Portfolio income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         c       6                9,023                00
                      7 Other additions. Attach schedule(s) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              c       7                                     00
                      8 Total. Add line 1 through line 7 •••••••••••••••••••••••••••••••••••••                                               c       8             -128,326                00



                       039381 12-17-20                             022                    3611204                                                Form 100S 2020 Side 1
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AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                                          XX-XXXXXXX




                            9 Dividends received deduction. Attach Schedule H (100S) ~~~~~~~~~~ c                       9                            00
S tate Adjustments




                           10 Water's-edge dividend deduction. Attach Schedule H (100S) ~~~~~~~~ c 10                                                00
                              Charitable contributions. See instructions ~~~~~~~~~~~~~~~~ c 11
       (con't)




                           11                                                                                                                        00
                           12                                            SEE STATEMENT 3
                              Other deductions. Attach schedule(s) ~~~~~~~~~~~~~~~~~~                             c 12              194,792          00
                           13 Total. Add line 9 through line 12 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 c    13     194,792      00
                           14 Net income (loss) after state adjustments. Subtract line 13 from Side 1, line 8 •••••••••••••••••                      c    14    -323,118      00
                           15 Net income (loss) for state purposes. Use Schedule R if apportioning or allocating income •••••••••••                  c    15     -21,938      00
                              R&TC Section 23802(e) deduction. See instructions ~~~~~~~~~~~~ c 16
 Net Income




                           16                                                                                                                        00
                           17 Net operating loss (NOL) deduction. See instructions ~~~~~~~~~~~ c 17                                                  00
     CA




                           18 EZ, TTA, or LAMBRA NOL carryover deduction. See instructions ~~~~~~ c 18                                               00
                           19 Disaster loss deduction. See instructions ~~~~~~~~~~~~~~~~~ c 19                                                       00
                           20 Net income for tax purposes. Combine line 16 through line 19. Subtract the result from line 15 •••••••••               c    20    -21,938       00
                           21 Tax. 1.5000 % x line 20 (at least minimum franchise tax, if applicable). See instructions •••••••••                    c    21        800       00
                           22 Credit name                                         code c            amount ~ J 22                                    00
                           23 Credit name                                         code c            amount ~ J 23                                    00
                           24 To claim more than two credits, see instructions ~~~~~~~~~~~~~ c 24                                                    00
    Taxes




                           25 Add line 22 through line 24. Attach Schedule C (100S) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      c    25                  00
                           26 Balance. Subtract line 25 from line 21 (not less than minimum franchise tax plus QSub annual tax(es), if applicable)   c    26            800   00
                           27 Tax from Schedule D (100S). Attach Schedule D (100S). See instructions ~~~~~~~~~~~~~~~~~~                              c    27                  00
                           28 Excess net passive income tax. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          c    28                  00
                           29 Total tax. Add line 26 through line 28 ••••••••••••••••••••••••••••••••••                                              c    29            800   00
                           30 Overpayment from prior year allowed as a credit ~~~~~~~~~~~~~ c 30                                           800       00
    Payments




                           31 2020 Estimated tax/QSub payments. See instructions ~~~~~~~~~~ c 31                                                     00
                           32 2020 Withholding (Forms 592-B and/or 593) ~~~~~~~~~~~~~~~ c 32                                                         00
                           33 Amount paid with extension of time to file tax return ~~~~~~~~~~~~ c 33                                                00
                           34 Total payments. Add line 30 through line 33 •••••••••••••••••••••••••••••••                                            c    34            800   00
                           35 Use tax. This is not a total line. See instructions ~~~~~~~~~~~~~ c                      35                            00
                           36 Payments balance. If line 34 is more than line 35, subtract line 35 from line 34 ~~~~~~~~~~~~~~~~                      c    36            800   00
                           37 Use tax balance. If line 35 is more than line 34, subtract line 34 from line 35 ~~~~~~~~~~~~~~~~~                      c    37                  00
    Refund or Amount Due




                           38 Franchise or income tax due. If line 29 is more than line 36, subtract line 36 from line 29 ~~~~~~~~~~~                c    38             0    00
                           39 Overpayment. If line 36 is more than line 29, subtract line 29 from line 36 ~~~~~~~~~~~~~~~~~~                         c    39                  00
                           40 Amount of line 39 to be credited to 2021 estimated tax ~~~~~~~~~~~~~~~~~~~~~~~~~~                                      c    40                  00
                           41 Refund. Subtract line 40 from line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               c    41                  00
                              See instructions to have the refund directly deposited.
                                                                                  Checking
                                                                                  Savings
                              41a. ¥ Routing number                          41b. ¥ Type      41c. ¥ Account number
                           42 a Penalties and interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       c    42a                 00
                              b ¥         Check if estimate penalty computed using Exception B or C on form FTB 5806. See instructions.
                           43 Total amount due. Add line 37, line 38, line 40, and line 42a. Then, subtract line 39 from the result •••••••          j
                                                                                                                                                     ¥    43                  00




                            Side 2 Form 100S 2020                           022               3612204
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AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                                                      XX-XXXXXXX




Schedule Q Questions (continued from Side 1)
C Principal business activity code. Do not leave blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 621900
  Business activity AVIATION SERVICES                               Product or service MEDICAL TRANSPORT


D Is this S corporation filing on a water's-edge basis pursuant to R&TC Sections 25110 and 25113 for the current taxable year? ~~~~~~~ ¥                                              Yes    X   No


E Does this tax return include Qualified Subchapter S Subsidiaries? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                                               Yes    X   No


F Date incorporated (mm/dd/yyyy) 07/30/1987                                                                Where: ¥ State      IL       Country


G Maximum number of shareholders in the S corporation at any time during the year. Do not leave blank ~~~~ ¥                                           1

H Date business began in California or date income was first derived from California sources (mm/dd/yyyy) ~~ ¥ 01/01/2013


I   Is the S corporation under audit by the IRS or has it been audited in a prior year? ~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                                  Yes    X   No


J Effective date of federal S election (mm/dd/yyyy) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                              01/01/2009

L Accounting method ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ (1)                                                                              X     Cash (2)           Accrual (3)         Other


M Location of principal accounting records                                                                                             SEE STATEMENT 4

N "Doing business as" (DBA) name: ~ ¥ AEROCARE                            MEDICAL TRANSP

O Have all required information returns (e.g., federal Forms 1099, 8300, and state Forms 592, 592-B etc.)
  been filed with the Franchise Tax Board? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            X    N/A              Yes          No


P Is this S corporation apportioning or allocating income to California using Schedule R? ~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                          X     Yes          No


Q Has the S corporation included a reportable transaction or listed transaction within this return? See instructions for definitions ~~~~~~ ¥                                      Yes      X   No
  If "Yes," complete and attach federal Form 8886, for each transaction.


R Did this S corporation file the federal Schedule M-3 (Form 1120-S)? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                                      X     Yes          No


S Is form FTB 3544, Side 2, Part B, List of Assigned Credit Received and/or Claimed by Assignee, attached to the return? ••••••••• ¥                                               Yes      X   No
Schedule J            Add-On Taxes and Recapture of Tax Credits. See instructions.
1 LIFO recapture due to S corporation election (IRC Sec. 1363(d) deferral $                               ) ~~~~~~~~ ¥        1                                                                  00
2 Interest computed under the look-back method for completed long-term contracts (attach form FTB 3834) ~~~~~~~~ ¥            2                                                                  00
3 Interest on tax attributable to installment    a) Sales of certain timeshares and residential lots ~~~~~~~~~~~~~ ¥ 3a                                                                          00
                                                 b) Method for nondealer installment obligations ~~~~~~~~~~~~~~ ¥ 3b                                                                             00
4 IRC Section 197(f)(9)(B)(ii) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                             4                                                                  00
5 Credit recapture name                                                 ~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                          5                                                                  00
6 Combine line 1 through line 5. Revise the amount on Side 2, line 38 or line 39, whichever applies,
  by this amount. Write "Schedule J" to the left of line 38 or line 39 •••••••••••••••••••••••••• ¥ 6                                                                                            00

            Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief,
            it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Please
Sign       Signature                                   Title                                                                          Date                       ¥ Telephone
Here       of officer |                               PRESIDENT
           Officer's email address (optional) JDC@AEROCARE.COM
           Preparer's                                                                                         Date                       Check if self-          ¥ PTIN
           signature | LYUDMILA EISENMAN, CPA                                                                  03/21/22                  employed |                     P01272545
Paid
           Firm's name (or yours, BEACHFLEISCHMAN PLLC                                                                                                           ¥ FEIN XX-XXXXXXX
                                                                                                                                                                   Firm's
Preparer's
Use Only if self-employed)          1985 E. RIVER ROAD, SUITE                                                201                                                 ¥ Telephone
                              |
           and address              TUCSON, AZ 85718                                                                                                            520-321-4600
            May the FTB discuss this return with the preparer shown above? See instructions ••••••••••••••••••                                                  ¥ X Yes   No



         039391 12-17-20                                          022                  3613204                                                            Form 100S 2020 Side 3
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 Schedule F         Computation of Trade or Business Income See instructions.
      1 a) Gross receipts or sales      8,362,378. b) Less returns and allowances                                      c) Balance ¥ 1c         8,362,378        00
      2 Cost of goods sold from Schedule V, line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                               2         5,544,248        00
      3 Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                                        2,818,130
Income




                                                                                                                                  ¥  3                          00
      4 Net gain (loss). Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                                  ¥  4              520,087     00
                                                       SEE STATEMENT 5
      5 Other income (loss). Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  ¥  5         1,072,268        00
      6 Total income (loss). Combine line 3 through line 5 ••••••••••••••••••••••••••••• ¥                                           6         4,410,485        00
      7 Compensation of officers. Attach schedule. See instructions SEE        STATEMENT 7
                                                                      ~~~~~~~~~~~~~~~~~~~~~~~~~                                   j
                                                                                                                                  ¥  7              137,267     00
      8 Salaries and wages ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                             8         1,358,626        00
      9 Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                                        ¥  9                84,622    00
     10 Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                                               ¥ 10                          00
     11 Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 11                                                                                308,197     00
                                                       SEE STATEMENT 6
     12 Taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   j
                                                                                                                                  ¥ 12              270,438     00
Deductions




     13 Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                                               ¥ 13              237,894     00
     14 a) Depreciation j  ¥         108,597. b) Less depreciation reported elsewhere j     ¥           59,819. c)Balance ¥ 14c                       48,778    00
     15 Depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                                               ¥ 15                          00
     16 Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                                              ¥ 16              428,909     00
     17 Pension, profit-sharing plans, etc. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 17                                                                           00
     18 Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 18                                                                      249,798     00
     19 a) Total travel and entertainment j  ¥              2,568. b) Deductible amount ~~~~~~~~~~~~ j                            ¥ 19b                 1,284   00
                                                       SEE STATEMENT 8
     20 Other deductions. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    ¥ 20         1,225,089        00
     21 Total deductions. Add line 7 through line 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 21                                                     4,350,902        00
     22 Ordinary income (loss) from trade or business. Subtract line 21 from line 6. Enter here and on Side 1, line 1 •••• ¥ 22                       59,583    00
 The corporation may not be required to complete Schedule L and Schedule M-1. See Schedule L and Schedule M-1 instructions for reporting requirements.
 Schedule L Balance Sheet                                              Beginning of taxable year                                     End of taxable year
 Assets                                                                 (a)               (b)                         (c)                         (d)
   1 Cash ~~~~~~~~~~~~~~~~~                                                                                                             ¥       470,382.
   2 a Trade notes and accounts receivable ~~                       9,015,345.                              j
                                                                                                            ¥   4,110,468.
     b Less allowance for bad debts ~~~~~~                     (    2,385,319.)         6,630,026.          (     822,363.) j
                                                                                                                            ¥                3,288,105.
   3 Inventories ~~~~~~~~~~~~~~                                                            43,424.                                      ¥
   4 Federal and state government obligations ~
   5 Other current assets. Attach schedule(s) ~~               STMT 9                      97,442.                                      ¥       100,938.
   6 Loans to shareholders. Attach schedule(s) ~                                   ¥      556,512.                                      ¥       573,356.
   7 Mortgage and real estate loans ~~~~~~
   8 Other investments. Attach schedule(s) ~~~                                                                                          ¥
   9 a Buildings and other fixed depreciable assets                 5,000,838.                                  3,552,232.
     b Less accumulated depreciation ~~~~~                     (    3,797,188.) ¥       1,203,650.          (   3,387,447.) ¥                   164,785.
  10 a Depletable assets ~~~~~~~~~~~
     b Less accumulated depletion ~~~~~~                       (               )                            (                       )
  11 Land (net of any amortization) ~~~~~~                                         ¥                                                    ¥
  12 a Intangible assets (amortizable only) ~~~                                                             j
                                                                                                            ¥
     b Less accumulated amortization ~~~~~                     (               )                            (                       )
  13 Other assets. Attach schedule(s) ~~~~~                    STMT 10             ¥      560,633.                                      ¥      369,001.
  14 Total assets ~~~~~~~~~~~~~~                                                   ¥    9,091,687.                                      ¥    4,966,567.
 Liabilities and shareholders' equity
   15        Accounts payable ~~~~~~~~~~~~                                              2,577,211.                                      j
                                                                                                                                        ¥    2,851,253.
   16        Mortg, notes, bonds payable in less than 1 yr.                               916,243.                                           1,049,597.
   17        Other current liabilities. Attach schedule(s) ~   STMT 11                  1,006,008.                                             996,513.
   18        Loans from shareholders. Attach schedule(s)                           ¥                                                    ¥
   19        Mortg, notes, bonds payable in 1 year or more                         ¥    1,272,628.                                      ¥       393,671.
   20        Other liabilities. Attach schedule(s) ~~~~        STMT 12                                                                          840,550.
   21        Capital stock ~~~~~~~~~~~~~~                                          ¥        2,000.                                      ¥         2,000.
   22        Paid-in or capital surplus ~~~~~~~~                                   ¥       20,000.                                      ¥        20,000.
   23        Retained earnings ~~~~~~~~~~~                                         ¥    2,901,426.                                      ¥       837,482.
   24        Adjustments. Attach schedule(s) ~~~~~             STMT 13                    396,171.                                           -2,024,499.
   25        Less cost of treasury stock ~~~~~~~                                   ¥(                   )                               ¥(                       )
   26        Total liabilities and shareholders' equity •                               9,091,687.                                           4,966,567.

                  Side 4 Form 100S 2020                             022       3614204
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Schedule M-1 Reconciliation of Income (Loss) per Books With Income (Loss) per Return.
                   If the S corporation completed federal Schedule M-3 (Form 1120-S). See instructions.
1 Net income per books ~~~~~~~~~~~                      -2,063,944. 5 Income recorded on books this year not included
2 Inc included on Sch K, lines 1 - 10b, not recorded                             on Schedule K, line 1 through line 10b (itemize)
  on books this yr (itemize)                                                     a Tax-exempt interest $
  SEE STATEMENT 17                                 ¥       9,535,906. b Other ~~~~~ $ 4,120,468.
3 Expenses recorded on books this year not incl on                                 SEE STATEMENT 20
  Schedule K, line 1 through line 12e (itemize)                                  c Total. Add line 5a and line 5b ~~~~~~~ ¥              4,120,468.
a Depreciation ~~ $             138,581.                                       6 Deductions included on Sch K, line 1 through
                                     5,841.                                      line 12e, not charged against book income
b State taxes ~~~ $                                                              this year (itemize)
c Travel and                                                                     a Depreciation ~~ $
  entertainment ~ $                  1,284.                                      b State tax refunds ~ $
d Other ~~~~~ $             4,458,351.                                           c Other ~~~~~ $ 8,083,877.
     SEE STATEMENT 19                                                             SEE STATEMENT 18
 e Total. Add line 3a through line 3d ~~~~~ ¥            4,604,057.              d Total. Add line 6a through line 6c ~~~~~ ¥           8,083,877.
                                                                               7 Total. Add line 5c and line 6d ~~~~~~~~~              12,204,345.
                                                                               8 Income (loss) (Schedule K, line 19, col. d).
4 Total. Add line 1 through line 3e ••••••             12,076,019.               Subtract line 7 from line 4 ••••••••• ¥                   -128,326.


Schedule M-2          CA Accumulated Adjustments Account, Other Adjustments Account, and Other Retained Earnings. See instructions.
Important: Use California figures and federal procedures.      (a) Accumulated adjustments account (b) Other adjustments account    (c) Other retained earnings
 1 Balance at beginning of year ~~~~~~~~~~~~~~ ¥                         -2,626,812.                                             j
                                                                                                                                 ¥              205,426.
 2 Ordinary income from Form 100S, Side 1, line 1 ~~~~~                             59,583.
                      STMT 16
 3 Other additions ~~~~~~~~~~~~~~~~~~~~                       j¥                 859,573.
 4   Loss from Form 100S, Side 1, line 1 ~~~~~~~~~~                        (                            )
 5   Other reductions STMT          14
                        ~~~~~~~~~~~~~~~~~~~          STMT 15 j           ¥ (             198,216.) (           850,550.) (                                     )
 6   Combine line 1 through line 5 ~~~~~~~~~~~~~                                  -1,905,872.                 -850,550.                       205,426.
 7   Distributions other than dividend distributions ~~~~~~ ¥
 8   Balance at end of year. Subtract line 7 from line 6 ~~~~~ ¥                  -1,905,872.                 -850,550.                   205,426.
 9   Retained earnings at end of year. Add line 8, column (a) through column (c) ~~~~~~~~~~~~~~~~~~~~~~~ ¥                             -2,550,996.
10   If the corp. has C corp. E&P at the end of the taxable year, enter the amount. See instructions •••••••••••••••• ¥



Schedule V              Cost of Goods Sold
1   Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             j
                                                                                                                          ¥ 1             43,424           00
2   Purchases ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         ¥ 2          2,227,016           00
3   Cost of labor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      ¥ 3          1,605,080           00
4   Other IRC Sec. 263A costs. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       ¥ 4                              00
5                                    SEE STATEMENT 22
    Other costs. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              j
                                                                                                                          ¥ 5          1,668,728           00
6   Total. Add line 1 through line 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             6          5,544,248           00
7   Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                j
                                                                                                                          ¥ 7                              00
8   Cost of goods sold. Subtract line 7 from line 6 •••••••••••••••••••••••••••••••••••                                   ¥ 8          5,544,248           00

Was there any change in determining quantities, costs, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~                     Yes   X   No
If "Yes," attach an explanation. Enter California seller's permit number, if any ~~~~~~~~~~~~~~~~~~~~~~~ |
Method of inventory valuation ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           COST

Check if the LIFO inventory method was adopted this taxable year for any goods. If checked, attach federal Form 970 ~~~~~~~~~~~~~~~~ ¥
If the LIFO inventory method was used for this taxable year, enter the amount of closing inventory computed under LIFO •••••• ¥




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Schedule K                       S Corporation Shareholder's Shares of Income, Deductions, Credits, etc.
                                                             (a)                                                    (b)                    (c)                    (d)
                                                                                                            Amount from federal         California       Total amounts using
                                                    Pro-rata share items
                                                                                                            Schedule K (1120-S)        adjustment           California law

                    1     Ordinary business income (loss) ~~~~~~~~~~~~~ STMT 25                      1              59,583. j
                                                                                                                            ¥ -196,932.              ¥       -137,349.
                    2     Net rental real estate income (loss). Att fed Form 8825 ~~~~               2                                               ¥
                    3 a   Other gross rental income (loss) ~~~~~~~~~~~~~                            3a                                               j
                                                                                                                                                     ¥
                      b   Expenses from other rental activities. Attach schedule ~~~~               3b                                               j
                                                                                                                                                     ¥
                      c   Other net rental income (loss). Subtract line 3b from line 3a ~           3c                                               ¥
                    4                              SEE STATEMENT 23
                          Interest income ~~~~~~~~~~~~~~~~~~~~                                       4                9,023.                         ¥             9,023.
  Income
   (Loss)




                    5     Dividends ~~~~~~~~~~~~~~~~~~~~~~~                                          5                                               ¥
                    6     Royalties ~~~~~~~~~~~~~~~~~~~~~~~                                          6                                               ¥
                    7     Net short-term capital gain (loss). Attach Schedule D (100S) ~             7                            j
                                                                                                                                  ¥                  ¥
                    8     Net long-term capital gain (loss). Attach Schedule D (100S) ~              8 j¥                         j
                                                                                                                                  ¥                  ¥
                    9     Net IRC Section 1231 gain (loss) •••••••••••••                             9 j¥                         j
                                                                                                                                  ¥                  ¥
                   10 a   Other portfolio income (loss). Attach schedule ~~~~~~~                    10a                           j
                                                                                                                                  ¥                  ¥
         Income
          (Loss)
 Other




                      b   Other income (loss). Attach schedule •••••••••••                          10b                           j
                                                                                                                                  ¥                  ¥
                   11     IRC Section 179 expense deduction.
                          Attach Schedule B (100S) ~~~~~~~~~~~~~~~~                                  11                                              j
                                                                                                                                                     ¥
    Deductions




                   12 a   Charitable contributions ~~~~~~~~~~~~~~~~~                                12a                                              ¥
                      b   Investment interest expense ~~~~~~~~~~~~~~~                               12b                                              ¥
                      c   1 IRC Section 59(e)(2) expenditures ~~~~~~~~~~~                           12c1
                          2 Type of expenditures                                                    12c2
                      d   Deductions - portfolio. Attach schedule ~~~~~~~~~~                        12d                                              ¥
                      e   Other deductions. Attach schedule ••••••••••••                            12e                           j
                                                                                                                                  ¥                  j
                                                                                                                                                     ¥
                   13 a   Low-income housing credit. See instructions ~~~~~~~~                      13a                                              ¥
                      b   Credits related to rental real estate activities.
    Credits




                          Attach schedule ~~~~~~~~~~~~~~~~~~~~                                          13b                                          ¥
                        c Credits related to other rental activities. See instructions. Attach schedule 13c                                          ¥
                        d Other credits. Attach schedule ~~~~~~~~~~~~~~ 13d                                                                          ¥
                   14     Total withholding allocated to all shareholders ••••••• 14
                   15   a Depreciation adjustment on property placed in service after 12/31/86 ~~ 15a
Minimum Tax
(AMT) Items




                        b Adjusted gain or loss. See instructions ~~~~~~~~~~ 15b
 Alternative




                        c Depletion (other than oil and gas) ~~~~~~~~~~~~~ 15c
                        d Gross income from oil, gas, and geothermal properties ~~~ 15d
                        e Deductions allocable to oil, gas, and geothermal properties ~ 15e
                        f Other AMT items •••••••••••••••••••• 15f
Items Affecting




                   16   a Tax-exempt interest income ~~~~~~~~~~~~~~~ 16a
  Shareholder




                        b Other tax-exempt income ~~~~~~~~~~~~~~~~ 16b                                            10,000.              -10,000.      ¥
     Basis




                                                            SEE STATEMENT 24 16c
                        c Nondeductible expenses ~~~~~~~~~~~~~~~~~                                                 1,284.                                          1,284.
                        d Total property distributions (including cash) other than
                          dividends distribution reported on line 17c ••••••••• 16d                                                                  ¥
                   17   a Investment income. See instructions ~~~~~~~~~~~ 17a                                      9,023.                                          9,023.
  Information




                        b Investment expenses. See instructions ~~~~~~~~~~ 17b
     Other




                        c Total dividend distributions paid from accumulated earnings and profits ~ 17c                                              ¥
                        d Other items and amnts not included in lines 1 - 17b and lines 18a-e               SEE ATTACHED
                          that are required to be reported separately to shareholders. Attach schedule 17d FD SCH K STMT                             ¥
                   18   a Type of income                                                                18a
  State Taxes




                        b Name of state                                                                 18b
     Other




                        c Total gross income from sources outside California. Att sch ~ 18c
                        d Total applicable deductions and losses. Attach schedule ~~~ 18d
                        e Total other state taxes. Check one:                    Paid         Accrued 18e                                            ¥
  Reconcili-




                   19     Income (loss) (required only if Schedule M-1 must be completed).
    ation




                          Combine line 1, line 2, and line 3c through line 10b. From the

                          result, subtract the sum of lines 11, 12a, 12b, 12c1, 12d and 12e   •••   19              68,606.           -196,932.      ¥       -128,326.




                   Side 6 Form 100S 2020                                     022                3616204                                              039394 12-17-20
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TAXABLE YEAR
                       S Corporation Depreciation                                                                                                                    CALIFORNIA SCHEDULE

    2020               and Amortization                                                                                                                                     B (100S)
For use by S corporations only. Attach to Form 100S.
Corporation name                                                                                                                                                     California corporation number
             AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                                  0000000
Part I Depreciation. Use additional sheets if necessary.
1   Enter federal depreciation from federal Form 4562, line 22.
    IRC Section 179 expense deduction is not included on this line. Get federal Form 4562 instructions ••••••••••••••                                                   1        108,597          00
    California depreciation:
                (a)                       (b)                      (c)                           (d)             (e)        (f)                                                       (g)
                                         Date                                               Depreciation
          Description of                                      Cost or other             allowed or allowable Depreciation  Life                                                  Depreciation
                                       acquired
             property               (mm/dd/yyyy)                 basis                     in earlier years    method     or rate                                                for this year
2



3 Add the amounts on line 2, column (g) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        3      305,529            00
4 Subtract line 3 from line 1. If negative, use brackets. Enter here and on the applicable line of Form 100S, Side 6, Schedule K ~~~                                    4     -196,932            00
5 Enter IRC Section 179 expense deduction here and on Form 100S, Side 2, line 12. Do not enter more than $25,000 •••••••                                                5                         00
Part II Amortization. Use additional sheets if necessary.
1 Enter federal amortization from federal Form 4562, line 44 ••••••••••••••••••••••••••••••••                                                                           1                         00
  California amortization:
              (a)                          (b)                    (c)                          (d)                   (e)           (f)                                                 (g)
            Description of                 Date acquired               Cost or other                  Amortization allowed               Code               Period or             Amortization
              property                     (mm/dd/yyyy)                   basis                    or allowable in earlier years        Section            percentage             for this year

2



3   Add the amounts on line 2, column (g) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                      3                         00
4   California amortization adjustment. Subtract line 3 from line 1. If negative, use brackets. Enter here and on the applicable line of Form 100S , Side 6, Sch K      4                         00
Part III Depreciation and Amortization Adjustment
1   Combine the amounts on Part I, line 4, and Part II, line 4. Enter here (if negative, use brackets) and on
    Form 100S, Side 1, line 5. For passive activities, see instructions •••••••••••••••••••••••••••••                                                                   1     -196,932            00




             039291 11-04-20                                          022                   7711204                                                      Schedule B (100S) 2020 Side 1
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TAXABLE YEAR                                                                                                                                        CALIFORNIA SCHEDULE

   2020                S Corporation Tax Credits                                                                                                           C (100S)
For use by S corporations only. Attach to Form 100S.
Corporation name                                                                                                                                 California corporation number
                     AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                      0000000
¥ Complete and attach all supporting                        (a)                       (b)                        (c)                       (d)                      (e)
  credit forms to Form 100S.                       Credit amount limited         Carryover from        *Credit used this year,   Tax balance that may be      Credit carryover
                                                                                                                                                                 to 2021
                                                      to 1/3 of total              prior year              not more than             offset by credits
¥ To claim more than seven credits, attach                                                                col. (a) + col. (b)
  schedule.
1 Regular tax from Form 100S,
      Side 2, line 21~~~~~~~~~~                                                                                                                   800
2 Minimum franchise tax plus QSub
    annual tax(es), if applicable ~~~~                                                                                                            800
3 Subtract line 2 from line 1. If zero
     or less, enter -0- ~~~~~~~~                                                                                                                       0
4 Code:

  Credit
  name:
5 Code:

  Credit
  name:
6 Code:

  Credit
  name:
7 Code:

  Credit
  name:
8 Code:

  Credit
  name:
9 Code:

   Credit
   name:
10 Code:

   Credit
   name:

*If the S corporation is subject to the credit limitation, the total of credits in column (c) cannot exceed $5,000,000.
For the first two credits enter the credit name, code and amount of credit used on Form 100S, Side 2, line 22 and line 23. If more than
two credits, enter the total amount of any remaining credits used on Form 100S, Side 2, line 24.




             039294 12-17-20                                  022               7721204                                                 Schedule C (100S) 2020
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 TAXABLE YEAR
                      Sales of Business Property                                                                                                           CALIFORNIA SCHEDULE

                  (Also Involuntary Conversions and Recapture Amounts Under IRC Sections 179 and
     2020         280F(b)(2))                                                                                                                                    D-1
Complete and attach this schedule to your tax return only if your California gains or losses are different from your federal gains or losses.
Name(s) as shown on tax return                                                                                         SSN, ITIN, CA SOS file no., California Corp. no., or FEIN


AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                XX-XXXXXXX
Part I Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From
        Other Than Casualty and Theft - Property Held More Than 1 Year
        Use federal Form 4684, Casualties and Thefts, to report involuntary conversions from casualty and theft.
 1 Enter the gross proceeds from sales or exchanges reported to you for 2020 on federal Form 1099-S,
    Proceeds From Real Estate Transactions (or a substitute statement), that you will be including on
    line 2 or line 10, column (d), or on line 23 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                             ¥                           1
 2        (a)                      (b)                       (c)                      (d)             (e) Depreciation                  (f)                    (g)
     Description of           Date acquired               Date sold               Gross sales            allowed or           Cost or other basis,       Gain or (Loss)
        property              (mm/dd/yyyy)                (mm/dd/yyyy)               price                allowable         plus improvements and       Subtract (f) from
                                                                                                      since acquisition          expense of sale     the sum of (d) and (e)
j
¥                      j¥                         j¥                       j¥                       j
                                                                                                    ¥                       j
                                                                                                                            ¥                      j
                                                                                                                                                   ¥
j
¥                      j¥                         j¥                       j¥                       j
                                                                                                    ¥                       j
                                                                                                                            ¥                      j
                                                                                                                                                   ¥
j
¥                      j¥                         j¥                       j¥                       j
                                                                                                    ¥                       j
                                                                                                                            ¥                      j
                                                                                                                                                   ¥
 3 Gain, if any, from federal Form 4684, line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                                       ¥   3
 4 IRC Section 1231 gain from installment sales from form FTB 3805E, line 26 or line 37 ~~~~~~~~~~~~~~~~~ j                                  ¥   4
 5 IRC Section 1231 gain or (loss) from like-kind exchanges from federal Form 8824 (completed using California amounts) ~~ j                 ¥   5
 6 Gain, if any, from line 35, from other than casualty and theft ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                             ¥   6
 7 Combine line 2 through line 6. Enter gain or (loss) here and on the appropriate line as follows: ~~~~~~~~~~~~~ j                          ¥   7
   IRC Section 179 Assets: For reporting the sale or disposition of assets for which an IRC Section 179 expense deduction was
   claimed in a prior year, see instructions. Partnerships or Limited Liability Companies (classified as partnerships): Enter the
   gain or (loss) on Schedule K (565 or 568), line 10. Skip lines 8, 9, 11, and 12 below. S corporations: If line 7 is zero or a loss,
   enter the amount on line 11 below and skip line 8 and line 9. If line 7 is a gain, continue to line 8. All others: If line 7 is zero or a
   loss, enter the amount on line 11 below and skip line 8 and line 9. If line 7 is a gain and you did not have any prior year IRC
   Section 1231 losses, or they were recaptured in an earlier year, enter the gain as follows: Form 540 and Form 540NR
   filers, enter the gain on Schedule D (540 or 540NR), line 1, and skip lines 8, 9, and 12 below; Form 100 and Form 100W filers,
   enter the gain on Form 100 or 100W, Side 6, Schedule D, Part II, line 6, and skip lines 8, 9, and 12 below.
 8 Nonrecaptured net IRC Section 1231 losses from prior years. Enter as a positive number. See instructions ~~~~~~~~ j                       ¥   8
 9 Subtract line 8 from line 7. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                                ¥   9                        0
     S corporations: If line 9 is more than zero, enter this amount on Schedule D (100S), Section B, Part II, line 5 and enter the
     amount, if any, from line 8 on line 12 below. If line 9 is zero, enter the amount from line 7 on line 12 below. All others: If line 9
     is more than zero, enter the amount from line 8 on line 12 below, and enter the amount from line 9 as follows: Form 540 and
     Form 540NR filers, enter as a capital gain on Schedule D (540 or 540NR), line 1; Form 100 and Form 100W filers, enter
     the gain on Form 100 or 100W, Side 6, Schedule D, Part II, line 6. If line 9 is zero, enter the amount from line 7 on line 12 below.
     See instructions.
Part II Section A - Ordinary Gains and Losses
10 Ordinary gains and losses not included on line 11 through line 16 (include property held 1 year or less):
j
¥                      j
                       ¥                      j¥                        j
                                                                        ¥                      j
                                                                                               ¥                          j
                                                                                                                          ¥                            j
                                                                                                                                                       ¥
j
¥                      j
                       ¥                      j¥                        j
                                                                        ¥                      j
                                                                                               ¥                          j
                                                                                                                          ¥                            j
                                                                                                                                                       ¥
j
¥                      j
                       ¥                      j¥                        j
                                                                        ¥                      j
                                                                                               ¥                          j
                                                                                                                          ¥                            j
                                                                                                                                                       ¥
11   Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               j
                                                                                                                                          ¥      11 (                              )
12   Gain, if any, from line 7, or amount from line 8, if applicable. See instructions ~~~~~~~~~~~~~~~~~~~~~                              j
                                                                                                                                          ¥      12
13   Gain, if any, from line 34 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              j
                                                                                                                                          ¥      13              520,087
14   Net gain or (loss) from federal Form 4684, line 31 and line 38a (completed using California amounts) ~~~~~~~~~~                      j
                                                                                                                                          ¥      14
15   Ordinary gain from installment sales from form FTB 3805E, line 25 or line 36. See instructions ~~~~~~~~~~~~~                         j
                                                                                                                                          ¥      15
16   Ordinary gain or (loss) from like-kind exchanges from federal Form 8824 (completed using California amounts) ~~~~~~                  j
                                                                                                                                          ¥      16
17   Combine line 10 through line 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             j
                                                                                                                                          ¥      17              520,087
18   For all except individual tax returns, enter the amount from line 17 on the appropriate line of your tax return and skip line a
     and line b below. For individual tax returns, complete line a and line b below: see instructions.
         a If the loss on line 11 includes a loss from federal Form 4684, Section B, Part II, column (b)(ii) of line 30 or line 35,
             enter that part of the loss here. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           j
                                                                                                                                          ¥      18a
         b Redetermine the gain or (loss) on line 17, excluding the loss, if any, on line 18a. Enter here and on line 20 ~~~~~            j
                                                                                                                                          ¥      18b



          For Privacy Notice, get FTB 1131 ENG/SP.            022                7811204                                                Schedule D-1 2020        Side 1
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AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                                                      XX-XXXXXXX

                                                                                                                                                                                  039242 11-19-20




Part II       Section B - Adjusting California Ordinary Gain or Loss For individual tax returns (Form 540 and Form 540NR) only.
19 Enter ordinary federal gain or (loss) from federal Schedule 1 (Form 1040), line 4 ~~~~~~~~~~~~~~~~~~ j                                              ¥      19
20 Enter ordinary California gain or (loss) from line 18b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                                             ¥      20
21 Ordinary gain or loss adjustment: Compare line 19 and line 20. See instructions.
   a If line 19 is more than line 20, enter the difference here and on Sch. CA (540), Part I or Sch. CA (540NR), Part II, Section B, line 4, col. B ~~ j
                                                                                                                                                       ¥ 21a
   b If line 20 is more than line 19, enter the difference here and on Sch. CA (540), Part I or Sch. CA (540NR), Part II, Section B, line 4, col. C •• j
                                                                                                                                                       ¥ 21b
Part III Gain from Disposition of Property Under IRC Sections 1245, 1250, 1252, 1254, and 1255                                                        Date acquired               Date sold
                                                                                                                                                     (mm/dd/yyyy)               (mm/dd/yyyy)
Description of IRC Sections 1245, 1250, 1252, 1254, and 1255 property.
22 A j ¥ SALE OF 269GJ LEARJET                                                                                                               j
                                                                                                                                             ¥       121517                j
                                                                                                                                                                           ¥    121720
    Bj ¥                                                                                                                                     j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
    Cj ¥                                                                                                                                     j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
    Dj ¥                                                                                                                                     j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
Relate the properties on lines 22A through 22D to these columns |                                Property A             Property B                   Property C                 Property D
23 Gross sales price ~~~~~~~~~~~~~~~~~                                                 23   j
                                                                                            ¥   597,328j
                                                                                                       ¥                                     j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
24 Cost or other basis plus expense of sale ~~~~~~~                                    24   ¥ 1,455,973j
                                                                                            j          ¥                                     j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
25 Depreciation (or depletion) allowed or allowable ~~~~                               25   ¥ 1,378,732j
                                                                                            j          ¥                                     j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
26 Adjusted basis. Subtract line 25 from line 24 ~~~~~                                 26   j
                                                                                            ¥    77,241j
                                                                                                       ¥                                     j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
27 Total gain. Subtract line 26 from line 23 •••••••                                   27   j
                                                                                            ¥   520,087j
                                                                                                       ¥                                     j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
28 If IRC Section 1245 property:
   a Depreciation allowed or allowable from line 25 ~~~                             28a j
                                                                                        ¥       1,378,732j
                                                                                                         ¥                                   j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
   b Enter the smaller of line 27 or line 28a ~~~~~~                                28b j
                                                                                        ¥         520,087j
                                                                                                         ¥                                   j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
29 If IRC Section 1250 property: If straight-line depreciation was used,
     enter -0- on line 29g, except for a corporation subject to IRC Sec. 291:

     a Additional depreciation after 12/31/76~~~~~~~                                29a j
                                                                                        ¥                       j
                                                                                                                ¥                            j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
     b Applicable percentage multiplied by the smaller of line 27 or line 29a ~     29b j
                                                                                        ¥                       j
                                                                                                                ¥                            j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
     c Subtract line 29a from line 27. If line 27 is not more
       than line 29a, skip line 29d and line 29e ~~~~~~                             29c     j
                                                                                            ¥                   j
                                                                                                                ¥                            j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
     d Additional depreciation after 12/31/70 and before 1/1/77 ~~                  29d     j
                                                                                            ¥                   j
                                                                                                                ¥                            j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
     e Enter the smaller of line 29c or line 29d ~~~~~~                             29e     j
                                                                                            ¥                   j
                                                                                                                ¥                            j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
     f IRC Section 291 amount (for corporations only) ~~                            29f     j
                                                                                            ¥                   j
                                                                                                                ¥                            j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
     g Add line 29b, line 29e, and line 29f ••••••••                                29g     j
                                                                                            ¥                   j
                                                                                                                ¥                            j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥


30 If IRC Section 1252 property: Skip section if you did not
     dispose of farm land or if form is being completed for a partnership.

     a Soil, water, and land clearing expenses ~~~~~~                               30a j
                                                                                        ¥                       j
                                                                                                                ¥                            j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
     b Applicable percentage multiplied by line 30a ~~~~                            30b j
                                                                                        ¥                       j
                                                                                                                ¥                            j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
     c Enter the smaller of line 27 or line 30b ~~~~~~                              30c j
                                                                                        ¥                       j
                                                                                                                ¥                            j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
31 If IRC Section 1254 property:
     a Intangible drilling and development costs deducted after 12/31/76 ~~~        31a j
                                                                                        ¥                       j
                                                                                                                ¥                            j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
     b Enter the smaller of line 27 or line 31a ~~~~~~                              31b j
                                                                                        ¥                       j
                                                                                                                ¥                            j
                                                                                                                                             ¥                             j
                                                                                                                                                                           ¥
32 If IRC Section 1255 property:
   a Applicable percentage of payments excluded from
       income under IRC Section 126 ~~~~~~~~~                32a j¥                        j¥                         j
                                                                                                                      ¥                                                    j
                                                                                                                                                                           ¥
   b Enter the smaller of line 27 or line 32a ••••••         32b j¥                        j¥                         j
                                                                                                                      ¥                                                    j
                                                                                                                                                                           ¥
Summary of Part III Gains. Complete property column A through column D for line 23 through line 32b before going to line 33.
33 Total gains for all properties. Add column A through column D of line 27 ~~~~~~~~~~~~~~~~~~~~~~~~~ j         ¥                                                     33          520,087
34 Add column A through column D of lines 28b, 29g, 30c, 31b, and 32b. Enter here and on line 13 ~~~~~~~~~~~~~~ j
                                                                                                                ¥                                                     34          520,087
35 Subtract line 34 from line 33. Enter the portion from other than casualty and theft here and on line 6.
   Enter the portion from casualty and theft on federal Form 4684, line 33 ••••••••••••••••••••••••• j          ¥                                                     35
Part IV Recapture Amounts Under IRC Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
                                                                                                                                 (a)Expense deductions                 (b) Recovery deductions
36 Expense deductions or recovery deductions. See instructions ~~~~~~~~~~~~~~                                           36 j
                                                                                                                           ¥                                      j
                                                                                                                                                                  ¥
37 Depreciation or recovery deductions. See instructions ~~~~~~~~~~~~~~~~~                                              37 j
                                                                                                                           ¥                                      j
                                                                                                                                                                  ¥
38 Recapture amount. Subtract line 37 from line 36. See instructions ~~~~~~~~~~~~                                       38 j
                                                                                                                           ¥                                      j
                                                                                                                                                                  ¥



               Side 2 Schedule D-1 2020                                          022            7812204
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                                                                                                                                      XX-XXXXXXX
  TAXABLE YEAR                                                                                                                       CALIFORNIA SCHEDULE
    2020                 Apportionment and Allocation of Income                                                                                        R
Attach this schedule behind the California tax return and prior to the supporting schedules.
For calendar year 2020 or fiscal year beginning month (mm/dd/yyyy)                                     , and ending (mm/dd/yyyy)                                                         .
Name as shown on your California tax return                                                                                               SSN, ITIN, FEIN, CA corp no., or CA SOS file no.


AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                     0000000
Water's-Edge Filers Only: If controlled foreign corporations are included in the combined report, attach form FTB 2416.
Complete Schedule R (Side 1 and Side 2) and all applicable Schedules (R-1 through R-7). See General Information for Schedule R.
  1 a Net income (loss) after state adjustments from Form 100 or Form 100W, Side 2, line 17; Form 100S, Side 2,
      line 14; Form 100X, line 4. Form 565 and Form 568 filers: Enter the total of line 1 through line 11c from
      Schedule K (565 or 568) less the total of line 12 through line 13e from Schedule K (565 or 568) ~~~~~~~~~~~ c 1a                                   -323,118                     00
    b Water's-edge foreign investment interest offset from form FTB 2424, line 17 ~~~~~~~~~~~~~~~~~~~ c 1b                                                                            00
    c Total. Combine line 1a and line 1b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ c 1c                                                                      -323,118                     00
Nonbusiness Income (Loss) from All Sources. See General Information A for definitions and examples.
  2 Dividends included on line 1a and not deducted on Form 100, Side 2, line 11;
    Form 100W, Side 2, lines 11a/b; or Form 100S, Side 2, lines 9 and 10 ~~~~~~ c                 2                             00
  3 Interest. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~ c                                         3                             00
  4 Net income (loss) from the rental of property from Schedule R-3, line 3, column (c) c         4                             00
  5 Royalties. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~ c                                        5                             00
  6 Gain (loss) from the sale of assets from Schedule R-4, line 2, column (e) ~~~~~ c             6                             00
  7 Gain (loss) from sale of a nonbusiness interest in a partnership or LLC. Attach sch ~ c       7                             00
  8 Miscellaneous nonbusiness income (loss). Attach schedule ~~~~~~~~~~ c                         8                             00
  9 Total nonbusiness income (loss). Combine line 2 through line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~ c                                      9                                                 00
Business Income (Loss) before Apportionment (subject to a separate apportionment formula)
 10 Nonunitary partnership or LLC business income (loss) ~~~~~~~~~~~~ c 10                                                      00
 11 Income (loss) from a separate trade or business. Attach supplemental Schedule R ~ c 11                                      00
 12 Business income (loss) deferred from prior years. See General Information L ~~~ c 12                                        00
 13 Capital gain (loss) netting subject to separate apportionment. See Gen Information M c 13                                   00
 14 Total separately apportionable business income (loss). Combine line 10 through line 13 ~~~~~~~~~~~~~~~ c 14                                                   00
 15 Tot business inc (loss) subject to apportionment for this trade or business, subtract the sum of ln 9 and ln 14 from ln 1c ~ c 15                    -323,118 00
 16 Interest offset from Schedule R-5, line 7 or line 16 (California domiciliaries only) ~~~~~~~~~~~~~~~~~~ c 16                                                  00
 17 Business income (loss) for this trade or business subject to apportionment. Combine line 15 and line 16 ~~~~~~~~ c 17                                -323,118 00
 18 a Apportionment percentage from Schedule R-1, Part A, line 2 or Part B, line 5 ~~~~~~~~~~~~~~~~~~~ c 18a                                                6.7895%
    b Business income (loss) apportioned to California. Multiply line 17 by line 18a ~~~~~~~~~~~~~~~~~~~ c 18b                                              -21,938                   00
Nonbusiness Income (Loss) Allocable to California. If no income (loss) is allocable to California, do not complete
line 19 through line 26, enter -0- on line 27 and go to Side 2, line 28.
  19 Dividends and interest income (if taxpayer's commercial domicile is in California):
     a Dividends included in line 2 above ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 c   19a                                               00
     b Interest included in line 3 above ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 c   19b                                               00
  20 Net income (loss) from the rental of property within California from Schedule R-3, line 3, column (b) ~~~~~~~~~~           c   20                                                00
  21 Royalties. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      c   21                                                00
  22 Gain (loss) from the sale of assets within California from Schedule R-4, line 2, total of column (b) and
     column (d). Combined reporting groups, see General Information M ~~~~~~~~~~~~~~~~~~~~~~~~                                  c   22                                                00
  23 Gain (loss) from sale of a nonbusiness interest in a partnership or LLC. Attach schedule ~~~~~~~~~~~~~~~                   c   23                                                00
  24 Miscellaneous nonbusiness income (loss). Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       c   24                                                00
  25 Total nonbusiness income (loss) allocable to California. Combine line 19a through line 24 ~~~~~~~~~~~~~~                   c   25                                                00
  26 Interest offset from line 16 allocated to income included on line 19a and line 19b (California domiciliary only).
     See General Information J ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       c   26                                                00
  27 Net nonbusiness income (loss) allocable to California. Subtract line 26 from line 25 ~~~~~~~~~~~~~~~~~                     c   27                                                00




                                                                                                                     039841
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                                                                                                                              XX-XXXXXXX

Name as shown on your California tax return                                                                                       SSN, ITIN, FEIN, CA corp no., or CA SOS file no.


AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                             0000000
California Business Income (Loss) subject to a separate apportionment formula.
28 California business income (loss) from a nonunitary partnership or LLC ~~~~~ ¥             28                        00
29 California income (loss) from a separate trade or business. Attach
    supplemental schedule R. ~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                      29                        00
30 California business income (loss) deferred from prior yrs. See General Information L ¥     30                        00
31 Total business income (loss) separately apportioned to California. Combine line 28 through line 30 ~~~~~~~~~~        ¥    31                                               00
Net Income (Loss) for California Purpose
32 Post-apportioned and allocated amounts from capital gain (loss) netting.
    See General Information M ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                ¥    32                                               00
33 Net income (loss) for California purposes before contributions adjustment. Combine lines 18b, 27, 31, and 32 ~~~~~   ¥    33                     -21,938                   00
34 Contributions adjustment from Schedule R-6, line 15 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   ¥    34                                               00
35 Net income (loss) for California purposes. Combine line 33 and line 34. Enter here and on Form 100 or
    Form 100W, Side 2, line 18 or Form 100S, Side 2, line 15 ••••••••••••••••••••••••••••                               ¥    35                     -21,938                   00




                                                    Complete the applicable
                                                   Schedules R-1 through R-7,
                                                       starting on Side 3.




            039842
            12-15-20   Side 2 Schedule R 2020         022             8012204
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                                                                                                                                                 XX-XXXXXXX

Name as shown on your California tax return                                                                                                       SSN, ITIN, FEIN, CA corp no., or CA SOS file no.


AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                             0000000
Schedule R-1 Apportionment Formula.
Part A Standard Method - Single-Sales Factor Formula. Complete this part only if the corporation uses the single-sales factor formula.
                                                                                                         (a)                                                              (c)
                                                                                                                                       (b)
    See General Information G and Specific Instructions.                                      Total within and outside                                        Percent within California
                                                                                                                             Total within California
                                                                                                     California                                                   ((b) ^ (a)) x 100

1 Sales: Gross receipts, less returns, and allowances ~~~~~~~~~                        10,783,048
  a Sales delivered or shipped to California purchasers.
    (i) Shipped from outside California ~~~~~~~~~~~~~~~                                                                                        0
    (ii) Shipped from within California ~~~~~~~~~~~~~~~~                                                                                 732,111
  b Sales shipped from California to:
    (i) The United States Government ~~~~~~~~~~~~~~~                                                                                                      0
    (ii) Purchasers in a state where the taxpayer is not taxable ~~~~~                                                   ¥                                0
  c Total other gross receipts ~~~~~~~~~~~~~~~~~~~ ¥
    (i) Sales from services ~~~~~~~~~~~~~~~~~~~~                                                                         ¥
    (ii) Sales or other income from intangibles ~~~~~~~~~~~~                                                             ¥
    (iii) Sales from rental, leasing or licensing of tangible or real property ~                                         ¥
    (iv) Sales from other gross receipts ~~~~~~~~~~~~~~~                                                                 ¥
  d Sales from partnerships or LLCs treated as partnerships ~~~~~~ ¥                                                     ¥
  Total sales •••••••••••••••••••••••••• ¥                                             10,783,048                        ¥               732,111
2 Apportionment percentage. Divide total sales column (b) by total
  sales column (a) and multiply the result by 100. Enter the result here
  and on Schedule R, Side 1, line 18a. See General Information H ••••                                                                                          ¥           6.7895%
Part B Three-Factor Formula. Complete this part only if the corporation uses the three-factor formula.
                                                                                            (a)                                        (b)                                (c)
                                                                                 Total within and outside                                                     Percent within California
                                                                                        California                           Total within California              ((b) ^ (a)) x 100
1 Property: Use the average yearly value of owned real and tangible personal
    property used in the business at original cost. See General Information E. Exclude
    property not connected with the business and the value of construction in progress.
    Inventory ~~~~~~~~~~~~~~~~~~~~~~~~~~
    Buildings ~~~~~~~~~~~~~~~~~~~~~~~~~~
    Machinery and equipment (including delivery equipment) ~~~~~
    Furniture and fixtures ~~~~~~~~~~~~~~~~~~~~~
    Land ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
    Other tangible assets. Attach schedule ~~~~~~~~~~~~~~
    Rented property used in the business. See General Information E ~~
    Total property ••••••••••••••••••••••••                                               ¥                              ¥                                     ¥                               %
2   Payroll: Use employee wages, salaries, commissions, and other
    compensation related to business income. See General Information F.
    Total payroll ••••••••••••••••••••••••                                                ¥                              ¥                                     ¥                               %
3   Sales: Gross receipts, less returns, and allowances. See General
    Information G and Specific Instructions ~~~~~~~~~~~~~
    a Sales delivered or shipped to California purchasers.
      (i) Shipped from outside California ~~~~~~~~~~~~~
      (ii) Shipped from within California ~~~~~~~~~~~~~~
    b Sales shipped from California to:
      (i) The United States Government ~~~~~~~~~~~~~~
      (ii) Purchasers in a state where the taxpayer is not taxable ~~~~
    c Total other gross receipts ~~~~~~~~~~~~~~~~~~                                       ¥                              ¥
    Total sales •••••••••••••••••••••••••                                                 ¥                              ¥                                     ¥                               %
4   Total percent. Add the percentages in col (c) ~~~~~~~~~~~                                                                                                                                  %
5   Apportionment percentage. Divide line 4 by 3, enter the result here
    and on Schedule R, Side 1, line 18a. See General Information H •••                                                                                         ¥                               %




             039843
             12-15-20                                              022                    8013204                                           Schedule R 2020 Side 3
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Name as shown on your California tax return                                                                                                                      SSN, ITIN, FEIN, CA corp no., or CA SOS file no.


AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                                            0000000
Schedule R-2 Sales and General Questionnaire. Attach additional sheets if necessary.
1   Describe briefly the nature and location(s) of the California business activities.
    AIR MEDICAL TRANSPORTATION
2   State the exact title and principal business activity of all joint ventures, partnerships, or LLCs in which the corporation has an interest.
    N/A
3   Does the California sales figure on Schedule R-1 (or a comparable schedule in a combined report) include all sales shipped from California where the purchaser is the
    U.S. Government? X Yes                No If "No," explain.
4   Does the California sales figure on Schedule R-1 (or a comparable schedule in a combined report) include all sales shipped from California to states in which the
    taxpayer is not subject to tax? See General Information G and Specific Instructions. X Yes           No If "No," explain.


5 a Did the taxpayer use reasonable approximation to assign sales under Schedule R-1, Part A, line 1c (i)-(iv)? ~~~~~~~~~~~~~~~ ¥                      Yes X No
    If "Yes," provide a brief description.
  b Did the taxpayer change reasonable approximation method to assign sales from the last tax return filed? See Specific Instructions ~~~~~~           Yes X No
    If "Yes," provide a brief description of the new method.
6 Are the nonbusiness items reported on Schedule R, Side 1, line 2 through line 8, and the apportionment factor items reported on Schedule R-1 treated consistently on
    all state tax returns filed by the taxpayer?     X Yes      No If "No," explain.


7   Has this corporation or any member of its combined unitary group changed the way income is apportioned or allocated to California from prior year tax returns?
    See General Information I.      Yes X No If "Yes," explain.


8   Does the California sales figure on Schedule R-1 (or comparable sch in a combined report) include all sales shipped to California destinations?                                X    Yes               No
    If "No," indicate the name of the selling member and the nature of the sales activity believed to be immune.


9   Does the California sales figure on Schedule R-1 (or comparable schedule in a combined report) include all sales delivered to customers outside California
    which have an ultimate destination in California? X Yes          No If "No," explain.



Schedule R-3                    Net Income (Loss) from the Rental of Nonbusiness Property
                                                                                                          (a)                               (b)                                 (c)
                                                                                                      Total outside                      Total within                   Total outside and
                                                                                                       California                         California                within California (a) + (b)
1   Income from rents ~~~~~~~~~~~~~~~~~~
2   Rental deductions ~~~~~~~~~~~~~~~~~~
3   Net income (loss) from rents. Subtract line 2 from line 1. Enter the result here and

    enter column (c) on Side 1, line 4; enter column (b) on Side 1, line 20   ~~~~~~                                         j
                                                                                                                             ¥                                  j
                                                                                                                                                                ¥


Schedule R-4               Gain (Loss) from the Sale of Nonbusiness Assets
California sales of nonbusiness assets include transactions involving: (1) real property located in California; (2) tangible personal property, if it had a situs in
California at the time of sale, or if the corporation is commercially domiciled in California and not taxable in the state where the property had a situs at the time of
sale; and (3) intangible personal property if the corporation's commercial domicile is in California or the income is otherwise allocable to California.

         Description of property sold                                     Real estate and other tangible assets                        Intangible assets                                 Total
                                                                              (a)                      (b)                       (c)                       (d)                           (e)
                                                                       Gain (loss) from           Gain (loss) from        Gain (loss) from           Gain (loss) from                Gain (loss)
                                                                       outside California        within California        outside California         within California           (a) + (b) +(c) + (d)
1                                                                  j
                                                                   ¥                         j
                                                                                             ¥                        j
                                                                                                                      ¥                         j
                                                                                                                                                ¥                            j
                                                                                                                                                                             ¥
                                                                   j
                                                                   ¥                         j
                                                                                             ¥                        j
                                                                                                                      ¥                         j
                                                                                                                                                ¥                            j
                                                                                                                                                                             ¥
                                                                   j
                                                                   ¥                         j
                                                                                             ¥                        j
                                                                                                                      ¥                         j
                                                                                                                                                ¥                            j
                                                                                                                                                                             ¥
2 Total gain (loss)•••••••••••                                     j
                                                                   ¥                         j
                                                                                             ¥                        j
                                                                                                                      ¥                         j
                                                                                                                                                ¥                            j
                                                                                                                                                                             ¥
Enter total gain (loss) line 2, column (e) on Side 1, line 6 and enter total of line 2, columns (b) and (d) on Side 1, line 22.




              039844
              12-15-20        Side 4 Schedule R 2020                                   022         8014204
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Name as shown on your California tax return                                                                                                    SSN, ITIN, FEIN, CA corp no., or CA SOS file no.


AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                           0000000
Schedule R-5 Computation of Interest Offset. Complete only if there are entries on line 2 and/or line 3 of Schedule R and if Schedule R-1 is
                             required. See General Information J. (California domiciliary only)
  1   Total interest expense deducted ~~~~~~~~~~~~~~~~~~~~~~~                                        1
  2   Water's-edge foreign investment interest offset from Side 1, line 1b ~~~~~~~~                  2
  3   Balance. Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~~                                    3
  4   Total interest income (Form 100 or Form 100W, Side 1, line 4 and Schedule F, line 5a
      and line 5b; or Form 100S, Side 1, line 3 and interest income included on Schedule F,
      line 5 or Schedule K, line 4) ~~~~~~~~~~~~~~~~~~~~~~~~~                                        4
  5   Nonbusiness interest income from Side 1, line 3 ~~~~~~~~~~~~~~~~                               5
  6   Business interest income. Subtract line 5 from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               6
  7   Excess interest expense over business interest income. Subtract line 6 from line 3. If line 6 exceeds line 3, enter -0- here
      and on Side 1, line 16, and do not complete the rest of this schedule ••••••••••••••••••••••• j                              ¥      7
  8   Total dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             8
  9   Deducted dividends from Form 100, Side 2, lines 10 and 11; Form 100W, Side 2,
      lines 10 and 11a/b; or Form 100S, Side 2, lines 9 and 10 ~~~~~~~~~~~~~                         9
 10   Net dividend income. Subtract line 9 from line 8 ••••••••••••••••••••••••••••••••••                                                10
 11   Business dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~                                           11
 12   Deducted dividends from Form 100, Side 2, lines 10 and 11; Form 100W, Side 2, lines
      10 and 11a/b; or Form 100S, Side 2, lines 9 and 10, attributable to business
      dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                12
 13   Net business dividend income. Subtract line 12 from line 11 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           13
 14   Net nonbusiness dividend income. Subtract line 13 from line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                          14
 15   Total nonbusiness interest and dividend income. Add line 5 and line 14 ~~~~~~~~~~~~~~~~~~~~~~~                                     15
 16   Enter the lesser of line 7 or line 15. Enter here and on Side 1, line 16 ~~~~~~~~~~~~~~~~~~~~~~~ j                           ¥     16

If interest and/or dividend income is reported on Side 1, line 19a or line 19b, enter the allocable portion of Schedule R-5, line 16 on Side 1, line 26.
See General Information J. If no interest or dividend income is reported on Side 1, line 19a or line 19b, do not deduct any interest expense on Side 1, line 26.

Schedule R-6               Contributions Adjustment. See General Information N.
  1 Total contributions paid (current year and carryover amount) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             1
  2 Net income (loss) after state adjustments from Side 1, line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           2
  3 Portion of dividends deductible under R&TC Sections 24410 and 24411 (from Form 100, Side 2, line 11;
    Form 100W, lines 11a/b; or Form 100S, lines 9 and 10), and other adjustments. See General Information N ~~~~~~~~                      3
  4 Contributions deducted on Form 100, Form 100W, or Form 100S ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                4
  5 Total. Add line 2 through line 4. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           5
  6 Multiply line 5 by 10% (.10) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               6
  7 Net income (loss) for state purposes before contributions adjustment from Side 2, line 33 ~~~~~~~~~~~~~~~                             7
  8 Business dividends deductible on line 3 multiplied by the average apportionment percentage from Schedule R-1,
    Part A, line 2 or Part B, line 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           8
  9 Amount of line 3 attributable to nonbusiness dividends reported on Side 1, line 19a ~~~~~~~~~~~~~~~~~~                                9
 10 Contributions deducted (from line 4 above) multiplied by the average apportionment percentage from Schedule R-1,
    Part A, line 2 or Part B, line 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          10
 11 Total. Add line 7 through line 10. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         11
 12 Multiply line 11 by 10% (.10) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             12
Contributions Adjustment
 13 Enter the amount shown on line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            13
 14 Amount of contributions allowable:
    a If line 1 equals or exceeds line 6, enter the lesser of line 1 or line 12 ~~~~~~~~~~~~~~~~~~~~~~~~                                 14a                                                0
    b If line 1 is less than line 6, divide line 11 by line 5. Then multiply line 1 by the result and enter here ~~~~~~~~~~              14b
 15 Contributions adjustment. Subtract line 14a or line 14b from line 13. Enter here and on Side 2, line 34.
    If the result is a negative amount, enter in brackets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                ¥             15




               039851
               12-15-20
                                                            022                8015204                                       Schedule R 2020 Side 5
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   TAXABLE YEAR              Net Operating Loss (NOL) Computation and                                                                                    CALIFORNIA FORM

      2020                   NOL and Disaster Loss Limitations - Corporations                                                                                 3805Q
Attach to Form 100, Form 100W, Form 100S, or Form 109.
Corporation name                                                                                                                             California corporation number



AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                        0000000
During the taxable year the corporation incurred the NOL, the corporation was a(n): j ¥       C corporation                                  FEIN

¥ X S corporation j
j                         ¥       Exempt organization j   ¥       Limited liability company (electing to be taxed as a corporation)           XX-XXXXXXX
If the corporation previously filed California tax returns under another corporate name, enter the corporation name and California corporation number:
j¥
If the corporation is included in a combined report of a unitary group, see instructions, General Information C, Combined Reporting.
Part I Current year NOL. If the corporation does not have a current year NOL, go to Part II.
  1 Net loss from Form 100, line 18; Form 100W, line 18; Form 100S, line 15; or Form 109, line 2.
     Enter as a positive number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 1                                                                               21,938                 00
  2 2020 disaster loss included in line 1. Enter as a positive number ~~~~~~~~~~~~~~~~~~~~~~~~~~ 2                                                                                 00
  3 Subtract line 2 from line 1. If zero or less, enter -0- and see instructions ••••••••••••••••••••••• 3                                                  21,938                 00
  4 a Enter the amount of the loss incurred by a new business included in line 3 ~~~ 4a                                     00
     b Enter the amount of the loss incurred by an eligible small business included in line 3 4b                         0 00
     c Add line 4a and line 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 4c                                                                                                      00
  5 General NOL. Subtract line 4c from line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 5                                                                        21,938                 00
  6 Current year NOL. Add line 2, line 4c, and line 5. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~ j                          ¥ 6                            21,938                 00

Part II NOL carryover and disaster loss carryover limitations. See instructions.
                                                                                                                            (g) Available balance
 1 Net income - Enter the amount from Form 100, line 18; Form 100W, line 18; Form 100S, line 15 less line 16;
    or Form 109, line 2; (but not less than -0-). If the corporation taxable income is $1,000,000 or more, see inst    j
                                                                                                                       ¥                        0
Prior Year NOLs
       (a)          (b)              (c)                     (d)                    (e)                   (f)                                                  (h)
               Code - See
    Year of   instructions     Type  of NOL  -         Initial loss -            Carryover           Amount   used                                    Carryover to 2021
      loss                      See below *          See instructions           from 2019              in 2020                                       col. (e) minus col. (f)


 ¥2016
2j                                   GEN                   4,453 j
                                                                 ¥                   2,942                             0                        0j
                                                                                                                                                 ¥                    2,942

  ¥2018
  j                                  GEN                 35,734 j
                                                                ¥                  35,734                              0                        0j
                                                                                                                                                 ¥                35,734

  ¥2019
  j                                  GEN                 22,318 j
                                                                ¥                  22,318                              0                        0j
                                                                                                                                                 ¥                22,318

  j
  ¥                                                                    j
                                                                       ¥                                                                            j
                                                                                                                                                    ¥
Current Year NOLs
                                                                                                                                                         col. (d) minus col. (f)
                                                                                                                                                          See instructions.

 3 2020                              DIS


 4 2020                                GEN               21,938                                                                                                   21,938

   2020


   2020


   2020
* Type of NOL: General (GEN), New Business (NB), Eligible Small Business (ESB), or Disaster (DIS).
Part III 2020 NOL deduction
 1 Total the amounts in Part II, line 2, column (f) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                               ¥ 1                                                         00
 2 Enter the total amount from line 1 that represents disaster loss carryover deduction here and on Form 100, line 21;
    Form 100W, line 21; or Form 100S, line 19. Form 109 filers enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~ 2                                                                               00
 3 Subtract line 2 from line 1. Enter the result here and on Form 100, line 19; Form 100W, line 19; Form 100S,
    line 17; or Form 109, line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                          ¥ 3                                                  0      00




                   039271 12-01-20                         022                7521204                                                          FTB 3805Q 2020
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~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA FORM 100S                    PORTFOLIO INCOME                 STATEMENT   1
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DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
PORTFOLIO INTEREST FROM SCHEDULE K                                                9,023.
                                                                          }}}}}}}}}}}}}}
TOTAL TO FORM 100S, PAGE 1, LINE 6                                                9,023.
                                                                          ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA FORM 100S                        FOOTNOTES                    STATEMENT   2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

THIS IS AN AMENDED RETURN. THE FEDERAL FORM 1120S WAS
AMENDED TO CORRECT LINE 1A GROSS RECEIPTS. THIS CORRECTION
INCLUDES A $2,420,670 ADJUSTMENT RELATED TO THE CHANGE IN
THE CORPORATION'S ALLOWANCE FOR DOUBTFUL ACCOUNTS, WHICH WAS
RESTATED FROM THE PRIOR TAX YEAR ON THE REVIEWED FINANCIAL
STATEMENTS.

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA FORM 100S                    OTHER DEDUCTIONS                 STATEMENT   3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
FED/CA DIFFERENCE GAIN ON SALE OF 269GJ
LEARJET                                                                         194,792.
                                                                          }}}}}}}}}}}}}}
TOTAL TO FORM 100S, PAGE 2, LINE 12                                             194,792.
                                                                          ~~~~~~~~~~~~~~




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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
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~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA FORM 100S        LOCATION OF PRINCIPAL ACCOUNTING RECORDS     STATEMENT   4
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43W450 US HIGHWAY 30
SUGAR GROVE, IL 60554



~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA SCH. F     OTHER TRADE/BUS INCOME REPORTED ON FEDERAL RETURN STATEMENT    5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
HHS PROVIDER RELIEF FUND                                                      1,072,245.
MISCELLANEOUS INCOME                                                                 23.
                                                                          }}}}}}}}}}}}}}
TOTAL TO FORM 100S, SCHEDULE F                                                1,072,268.
                                                                          ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA SCHEDULE F           TAXES DEDUCTED ON FEDERAL RETURN         STATEMENT   6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
PAYROLL TAXES                                                                   250,812.
TAXES AND LICENSES                                                               18,131.
CALIFORNIA TAXES - OTHER                                                             129.
FLORIDA TAXES - OTHER                                                             1,087.
ILLINOIS TAXES - OTHER                                                               279.
                                                                          }}}}}}}}}}}}}}
TOTAL TAXES DEDUCTED ON FEDERAL RETURN                                          270,438.
                                                                          ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA SCHEDULE F              COMPENSATION OF OFFICERS              STATEMENT   7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                               (B) SOCIAL  (C) PCT       (D)       (F) AMOUNT
 (A) NAME OF OFFICER            SECURITY   OF TIME    PCT OF STK       OF
                                 NUMBER    DEVOTED      COMMON    COMPENSATION
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
JOSEPH CECE                                  100%      100.00%        137,267.
                                                                  }}}}}}}}}}}}
TOTAL COMPENSATION OF OFFICERS                                        137,267.
  LESS: COMPENSATION CLAIMED ELSEWHERE                                      0.
                                                                  }}}}}}}}}}}}
TOTAL TO FORM 100S, SCHEDULE F                                        137,267.
                                                                  ~~~~~~~~~~~~




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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
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CA SCHEDULE F                  OTHER DEDUCTIONS                  STATEMENT   8
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
BANK CHARGES                                                                     35,112.
COMMISSIONS                                                                      44,162.
COMPUTER AND INTERNET EXPENSES                                                   85,290.
CONSULTING                                                                       21,000.
DUES AND SUBSCRIPTIONS                                                           49,837.
EDUCATION                                                                       239,172.
FREIGHT AND DELIVERY                                                              4,076.
INSURANCE                                                                       263,658.
LEGAL AND ACCOUNTING                                                            189,485.
OFFICE SUPPLIES                                                                  62,879.
POSTAGE AND SUPPLIES                                                              1,504.
SHOP EXPENSE                                                                     16,444.
TELECOMMUNICATIONS                                                               50,884.
TRAVEL                                                                           65,234.
UNIFORMS                                                                          4,539.
UTILITIES                                                                        35,747.
VEHICLE EXPENSE                                                                   2,244.
VEHICLE FUEL                                                                     29,598.
VEHICLE LEASE                                                                     9,808.
VEHICLE LICENSE AND REGISTRATION                                                  4,200.
VEHICLE MAINTENANCE                                                              10,216.
                                                                          }}}}}}}}}}}}}}
TOTAL TO FORM 100S, SCHEDULE F                                                1,225,089.
                                                                          ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA SCHEDULE L                OTHER CURRENT ASSETS                STATEMENT   9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                         BEGINNING OF    END OF TAX
DESCRIPTION                                                TAX YEAR         YEAR
}}}}}}}}}}}                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PREPAID INSURANCE                                              14,474.        18,076.
PREPAID TRAINING                                               43,341.             0.
STATE INCOME TAX PROVISION                                      7,172.             0.
PREPAID EXPENSES                                               29,861.        20,869.
NOTES RECEIVABLE - EMPLOYEES                                    2,594.             0.
TREASURY REFUND                                                     0.        61,993.
                                                        }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 5                                    97,442.       100,938.
                                                        ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




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CA SCHEDULE L                    OTHER ASSETS                    STATEMENT 10
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
DESCRIPTION                                                  TAX YEAR         YEAR
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
DUE FROM RELATED COMPANIES                                      359,925.       359,925.
SECURITY DEPOSITS                                               200,708.         9,076.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 13                                    560,633.       369,001.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA SCHEDULE L             OTHER CURRENT LIABILITIES              STATEMENT 11
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
DESCRIPTION                                                  TAX YEAR         YEAR
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
BANK OVERDRAFT                                                   34,486.             0.
ACCRUED PAYROLL                                                 210,166.       226,167.
OTHER ACCRUAL                                                   699,280.       759,554.
PAYROLL LIABILITIES                                              44,826.             0.
CUSTOMER DEPOSITS                                                17,250.        10,792.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 17                                  1,006,008.       996,513.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

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CA SCHEDULE L                 OTHER LIABILITIES                  STATEMENT 12
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
DESCRIPTION                                                  TAX YEAR         YEAR
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PPP LOAN                                                              0.       840,550.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 20                                          0.       840,550.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

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SCHEDULE L           ADJUSTMENTS TO SHAREHOLDERS' EQUITY         STATEMENT 13
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
DESCRIPTION                                                  TAX YEAR         YEAR
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PRIOR PERIOD ADJUSTMENT                                         391,758.       391,758.
PRIOR PERIOD ALLOWANCE FOR DOUBTFUL
ACCOUNTS RESTATEMENT                                                           -2,420,670.
RETAINED EARNINGS ADJUSTMENT - NO TAX
EFFECT                                                            4,413.         4,413.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 25                                    396,171.    -2,024,499.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~



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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA SCHEDULE M-2             AAA - OTHER REDUCTIONS               STATEMENT 14
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                 }}}}}}}}}}}}}}
ORDINARY INCOME ADJ - SEE CA SCH K ORD INCOME RECON STMT                          196,932.
NONDEDUCTIBLE EXPENSES                                                              1,284.
                                                                            }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-2, LINE 5, COLUMN A                                           198,216.
                                                                            ~~~~~~~~~~~~~~

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CA SCHEDULE M-2             OAA - OTHER REDUCTIONS               STATEMENT 15
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                     AMOUNT
}}}}}}}}}}}                                                                 }}}}}}}}}}}}}}
PPP LOAN EXPENSES                                                                 840,550.
EIDL EXPENSES                                                                      10,000.
                                                                            }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-2, LINE 5, COLUMN B                                           850,550.
                                                                            ~~~~~~~~~~~~~~

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CA SCHEDULE M-2             AAA - OTHER ADDITIONS                STATEMENT 16
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                 }}}}}}}}}}}}}}
PPP LOAN EXPENSES                                                                 840,550.
EIDL EXPENSES                                                                      10,000.
PORTFOLIO INTEREST INCOME                                                           9,023.
                                                                            }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-2, LINE 3, COLUMN A                                           859,573.
                                                                            ~~~~~~~~~~~~~~

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CA SCHED M-1 INCOME INCLUDED ON SCH K, LNS 1-10B, NOT ON BOOKS STATEMENT 17
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                     AMOUNT
}}}}}}}}}}}                                                                 }}}}}}}}}}}}}}
ACCOUNTS RECEIVABLE - PY                                                        9,015,345.
TAX GAIN/LOSS ON SALE OF ASSETS IN EXCESS OF BOOK                                 520,561.
                                                                            }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 2                                                   9,535,906.
                                                                            ~~~~~~~~~~~~~~




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~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA SCH M-1        DEDUCTIONS ON SCH K, NOT CHARGED TO BOOKS      STATEMENT 18
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
ACCOUNTS PAYABLE - PY                                                          2,577,211.
ACCRUED EXPENSES - PY                                                            406,739.
ACCRUED PAYROLL - PY                                                             254,993.
ALLOWANCE FOR BAD DEBTS - PY                                                   4,805,989.
PREPAID EXPENSES - CY                                                             38,945.
                                                                           }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 6                                                  8,083,877.
                                                                           ~~~~~~~~~~~~~~

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CA SCHEDULE M-1 EXPENSES ON BOOKS, NOT INCLUDED ON SCHED. K      STATEMENT 19
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
ACCOUNTS PAYABLE - CY                                                          2,851,253.
ACCRUED EXPENSES- CY                                                             470,893.
ACCRUED PAYROLL - CY                                                             226,167.
ALLOWANCE FOR BAD DEBTS - CY                                                     822,362.
PREPAID EXPENSES - PY                                                             87,676.
                                                                           }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 3                                                  4,458,351.
                                                                           ~~~~~~~~~~~~~~

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CA SCHED M-1   INCOME ON BOOKS, NOT INCLUDED ON SCH K, LNS 1-6   STATEMENT 20
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
EIDL LOAN INCOME                                                                  10,000.
ACCOUNTS RECEIVABLE - CY                                                       4,110,468.
                                                                           }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 5                                                  4,120,468.
                                                                           ~~~~~~~~~~~~~~




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  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                             }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
 CA           RECONCILIATION RETAINED EARNINGS SCHEDS M-2 AND L   STATEMENT 21
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                                                     OTHER
 SCHED M-2 END BAL:       AAA           OAA       OTHER RET EARN ADJUSTMENTS
                    }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}
                       -1,905,872.      -850,550.       205,426.
 ADJUSTMENTS:
 }}}}}}}}}}}}
 NBV OF FIXED ASSETS - BOOK
                          164,785.
 NBV OF FIXED ASSETS - TAX
                         -106,735.
 ACCOUNTS PAYABLE - CY
                       -2,851,253.
 ALLOWANCE FOR BAD DEBT - CY
                         -822,362.
 ACCRUED EXPENSES - CY
                         -470,893.
 ACCRUED PAYROLL - CY
                         -226,167.
 ACCOUNTS RECEIVABLE - CY
                        4,110,468.
 PREPAID EXPENSES - CY
                           38,945.
 UNREC. PY BOOK/TAX DIFFERENCES
                          -83,726.
 SECT 179 CARRYOVER UTILIZED 2019
                           14,708.
 SECT 179 CARRYOVER UTILIZED 2018
                          495,297.
 2019 STATE INCOME TAXES B/T DIFF
                              990.
 FEDERAL/CA DIFFERENCES
                          709,592.
 2020 STATE INCOME TAXES B/T DIFF
                           -5,841.
 2019 ALLOW FOR DOUBTFUL ACCTS RESTATEMENT
                        2,420,670.
                    }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
 SUBTOTALS              1,482,606.      -850,550.       205,426.
                    }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
 TOTAL RECONCILED SCHEDULE M-2 BALANCES                                837,482.
                                                                 ~~~~~~~~~~~~~~
 ENDING RETAINED EARNINGS FROM SCHEDULE L, LINE 23                     837,482.
                                                                 ~~~~~~~~~~~~~~




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CA SCHEDULE V   OTHER COSTS OF GOODS SOLD REPORTED ON F-1120S    STATEMENT 22
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                    AMOUNT
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
AIRCRAFT EXPENSES                                                              1,062,107.
CONTRACT LABOR                                                                   267,479.
DEPRECIATION                                                                      59,819.
GROUND AMBULANCE                                                                 264,390.
OPERATING SUPPLIES                                                                14,933.
                                                                           }}}}}}}}}}}}}}
TOTAL TO FORM 100S, SCHEDULE V, LINE 5                                         1,668,728.
                                                                           ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA SCHEDULE K                  INTEREST INCOME                   STATEMENT 23
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                            ATTRIBUTABLE
DESCRIPTION                                                                 TO CALIFORNIA
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
INTEREST INCOME                                                                    9,023.
                                                                           }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K, LINE 4                                                        9,023.
                                                                           ~~~~~~~~~~~~~~

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CA SCHEDULE K               NONDEDUCTIBLE EXPENSES               STATEMENT 24
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                            ATTRIBUTABLE
DESCRIPTION                                                                 TO CALIFORNIA
}}}}}}}}}}}                                                                }}}}}}}}}}}}}}
EXCLUDED MEALS AND ENTERTAINMENT EXPENSES                                          1,284.
                                                                           }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K, LINE 16C                                                      1,284.
                                                                           ~~~~~~~~~~~~~~




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   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                           }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA                  CALIFORNIA ORDINARY INCOME RECONCILIATION    STATEMENT 25
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                        (B)            (C)            (D)
                                      FEDERAL       CALIFORNIA     CALIFORNIA
                                      AMOUNTS       ADJUSTMENTS     AMOUNTS
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
 1 GROSS SALES . . . . . . . . . .     8,362,378                     8,362,378
 2 COST OF GOODS SOLD . . . . . .      5,544,248        196,346      5,740,594
 3 GROSS PROFIT. LINE 1 LESS 2 .       2,818,130       -196,346      2,621,784
 4 NET GAIN (LOSS) . . . . . . . .       520,087                       520,087
 5 OTHER INCOME (LOSS) . . . . . .     1,072,268                     1,072,268
                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
 6 TOTAL INCOME (LOSS).
      ADD LINES 3 - 5 . . . . . .      4,410,485       -196,346      4,214,139
                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
 7 COMPENSATION OF OFFICERS . . .        137,267                       137,267
 8 SALARIES AND WAGES . . . . . .      1,358,626                     1,358,626
 9 REPAIRS . . . . . . . . . . . .        84,622                        84,622
10 BAD DEBTS . . . . . . . . . . .
11 RENTS . . . . . . . . . . . . .       308,197                       308,197
12 TAXES . . . . . . . . . . . . .       270,438                       270,438
13 DEDUCTIBLE INTEREST EXPENSE . .       237,894                       237,894
14 DEPRECIATION . . . . . . . . .         48,778            586         49,364
15 DEPLETION . . . . . . . . . . .
16 ADVERTISING . . . . . . . . . .       428,909                       428,909
17 PENSION, PROFIT-SHARING PLANS .
18 EMPLOYEE BENEFIT PROGRAMS . . .       249,798                       249,798
19 DEDUCTIBLE TRAVEL/ENTERTAINMENT          1,284                         1,284
20 OTHER DEDUCTIONS . . . . . . .      1,225,089                     1,225,089
                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
21 TOTAL DEDUCTIONS (ADD LNS 7-20)     4,350,902            586      4,351,488
                                   }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
22 ORDINARY INCOME (LOSS) FROM TRADE
   OR BUSINESS. LN 6 LESS LN 21           59,583       -196,932       -137,349
                                   ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~
23 ADJUSTMENT FOR S CORPORATION TAXES . . . . . . . . . . . . .               0
                                                                 }}}}}}}}}}}}}}
24 AMOUNT TO SCHEDULE K, LINE 1, COLUMN D . . . . . . . . . . .       -137,349
                                                                 ~~~~~~~~~~~~~~
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~




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       CA 100S                                      Reconciliation of nonresident income and deductions
  Name                                                                                             Employer ID
         AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                    XX-XXXXXXX
                                                        (a)              (b)             (c)                     (d)            (e)
                                                      Business       CA Source        CA Source            CA Source      Total California
                  Description                       income, loss    Bus. income,     nonbusiness          nonbusiness     Source Amount
                                                      deduction    Loss, Deduction     tangible            intangible      Column b + c


   1   Ordinary business income (loss) ~~           -137,349.          -9,325.                                                -9,325.
   2   Net rental real estate income (loss) ~
   3   Other net rental Income (loss) ~~~
   4   Interest income ~~~~~~~~~                                                                                 9,023.
   5   Ordinary dividends ~~~~~~~~
   6   Royalties ~~~~~~~~~~~~
   7   Total short-term capital gains/losses


   8 Total long-term capital gains/losses ~


   9 Net section 1231 gain (loss) ••••
  10 a Other portfolio income (loss) ~~~~
     b Involuntary conversion ~~~~~~
     c IRC Section 1256 Contracts & straddles
     d Mining exploration costs recapture ~
     e Other income (loss) ~~~~~~~~
  11 Section 179 deduction ~~~~~~
  12 a Charitable contribution ~~~~~~
     b Investment interest expense ~~~~
     c Deductions - royalty income ~~~~
     d Section 59(e)(2) expenditures ~~~
     e Deductions - Portfolio ~~~~~~~
     f Other deductions •••••••••
  15 a Depreciation adjustment on property
     b Adjusted gain or loss ~~~~~~~
     c Depletion (other than oil and gas) ~~
            Gross income from oil, gas, and
     d (1) geothermal properties ~~~~~~
            Deductions allocable to oil, gas, and
       (2) geothermal properties ~~~~~~
     e Other adjustments and tax
       preference items ~~~~~~~~~
  16 a Tax-exempt interest income ~~~~
     b Other tax-exempt income ~~~~~
     c Nondeductible expenses ~~~~~~                                                     1,284.                                 1,284.
  17 a Investment income. See instructions                                                                       9,023.
     b Investment expenses. See instructions




  046831
  04-01-20
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   TAXABLE YEAR                          Shareholder's Share of Income,                                                                             CALIFORNIA SCHEDULE

                  2020                   Deductions, Credits, etc.                                                                                    K-1 (100S)

                  TYB        01-01-2020               TYE         12-31-2020

                  JOSEPH                     D      CECE


                  1936 E MISSOURI AVENUE
                  PHOENIX            AZ 85016


                  0000000          XX-XXXXXXX
                  AEROCARE MEDICAL TRANSPORT SYSTEM INC

                  43W450 US HIGHWAY 30
                  SUGAR GROVE        IL                             60554




 A Shareholder's percentage of stock ownership for the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                ¥       100.000000%

 B Reportable transaction or tax shelter registration number(s):


 C Check here if this is:                ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ (1)                                   A final Schedule K-1     (2)    X     An amended Schedule K-1
 D What type of entity
       is this shareholder? ~~~~~~~~~                   ¥ (1)     X   Individual   (2)     Estate/trust   (3)   Qualified exempt organization   (4)        Single member LLC

 E Is this shareholder a resident of California? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                               Yes |   X   No

 Caution: Refer to the shareholder's instructions for Schedule K-1 (100S) before entering information from this schedule on your California tax return.
                              (a)                                       (b)                         (c)                        (d)                           (e)
                                                                   Amount from                  California          Total amounts using CA               California
                     Pro-rata share items                      federal Schedule K-1                                law. Combine col. (b) and         source amounts
                                                                  (Form 1120-S)                adjustment           col. (c) where applicable           and credits
                   1   Ordinary business income (loss) ~~~~~~                      59,583                 -196,932    ¥        -137,349             |            -9,325
                   2   Net rental real estate income (loss) ~~~~~                                                     ¥                             |
                   3   Other net rental income (loss) ~~~~~~~                                                         j
                                                                                                                      ¥                             j
                                                                                                                                                    ¥
  Income (Loss)




                   4   Interest income ~~~~~~~~~~~~~                                     9,023                         ¥               9,023        |
                   5   Dividends. See instructions ~~~~~~~~                                                            ¥                            |
                   6   Royalties ~~~~~~~~~~~~~~~~                                                                      ¥                            |
                   7   Net short-term capital gain (loss) ~~~~~~                                                       ¥                            |
                   8   Net long-term capital gain (loss) ~~~~~~                                                        ¥                            |
                   9   Net IRC Section 1231 gain (loss) ••••••                                                         ¥                            |
                  10   a Other portfolio income (loss) ~~~~~~~                                                         ¥                            |
Income
 (Loss)
  Other




                       b Other income (loss) •••••••••••                                                               ¥                            |




                       For Privacy Notice, get FTB 1131 ENG/SP.       022                 7871204                               Schedule K-1 (100S) 2020 Side 1
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 AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                                  XX-XXXXXXX



        Shareholder's name                                                                                                       Shareholder's identifying number

 JOSEPH D CECE

  Caution: Refer to the shareholder's instructions for Schedule K-1 (100S) before entering information from this schedule on your California tax return.
                                                                         (b)                         (c)                        (d)                           (e)
                                                                    Amount from                  California          Total amounts using CA               California
                                (a)                             federal Schedule K-1                                law. Combine col. (b) and         source amounts
                       Pro-rata share items                                                     adjustment
                                                                   (Form 1120-S)                                     col. (c) where applicable           and credits


                                11 IRC Section 179 expense deduction.
                                   Attach schedules ~~~~~~~~~~~~~
      Deductions




                                12 a Charitable contributions ~~~~~~~~~
                                   b Investment interest expense ~~~~~~~                                                     ¥                     |
                                   c 1 IRC Section 59(e)(2) expenditures ~~~
                                       2 Type of expenditures ~~~~~~~~~
                                   d Deductions - portfolio ~~~~~~~~~~
                                   e Other deductions ••••••••••••
                                13 a Low-income housing credit. See instructions.
                                      Attach schedule ~~~~~~~~~~~~                                                           ¥                     |
                                   b Credits related to rental real estate activities
                                      other than on line 13(a). Attach schedule ~~                                           ¥                     |
      Credits




                                   c Credits related to other rental activities. See
                                      instructions. Attach schedule ~~~~~~~                                                  ¥                     |
                                   d Other credits. Attach schedule ~~~~~~                                                   ¥                     |
                                14 Total withholding (equals amount on Form 592-B
                                   if calendar year) •••••••••••••                                                           ¥                     |
                                15 a Depreciation adjustment on property placed
Alternative Minimum




                                      in service after 12/31/86 ~~~~~~~~~                                                    j
                                                                                                                             ¥                    j
                                                                                                                                                  ¥
  Tax (AMT) Items




                                   b Adjusted gain or loss ~~~~~~~~~~
                                   c Depletion (other than oil and gas) ~~~~~
                                   d Gross income from oil, gas, and
                                      geothermal properties •••••••••••
                                   e Deductions allocable to oil, gas, and
                                      geothermal properties ~~~~~~~~~~~

                                   f Other AMT items. Attach schedule •••••
Information Shareholder Basis




                                16 a Tax-exempt interest income ~~~~~~~
             Items Affecting




                                   b Other tax-exempt income ~~~~~~~~                                  10,000      -10,000              0
                                   c Nondeductible expenses •••••••••   STMT                            1,284            0          1,284                           1,284
                                      Total property distributions (including cash) other than
                                   d dividends distribution reported on line 17c ~~~~                                        ¥                     |
                                   e Repayment of loans from shareholders ••                                                 ¥                     |
                                17 a Investment income. See instructions ~~~                            9,023            0          9,023                              0
                                   b Investment expenses. See instructions ~~~
   Other




                                      Total taxable dividend distribution paid from
                                   c accumulated earnings and profits. See instructions •                                    ¥                     |
                                   d Other information. See instructions ••••                                                                            STMT
                                18 a Type of income
                                   b Name of state
      Other State Taxes




                                   c Total gross income from sources outside
                                      California. Attach schedule ~~~~~~~~
                                   d Total applicable deductions and losses.
                                      Attach schedule ~~~~~~~~~~~~
                                   e Total other state taxes. Check one:
                                             Paid                 Accrued ••••••                                             ¥                     |




                                      Side 2 Schedule K-1 (100S) 2020                            022     7872204
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AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                                                          XX-XXXXXXX



   Shareholder's name                                                                                                                                   Shareholder's identifying number

JOSEPH D CECE


                                Table 1 - Each shareholder's share of nonbusiness income from intangibles. See instructions.
                                Interest                      $                9,023. Royalties                    $                                   Dividends      $
                                IRC Section 1231 Gains/Losses $                              Capital Gains/Losses $                                    Other          $


                                FOR USE BY SHAREHOLDERS ONLY. SEE INSTRUCTIONS.
                                Table 2 - Shareholder's pro-rata share of business income and factors. See instructions.
Other Shareholder Information




                                A. Shareholder's share of the S corporation's business income $
                                B. Shareholder's share of the nonbusiness income from real and tangible property sourced or allocable to California:
                                    Capital Gains/Losses $                                Rents/Royalties       $
                                    IRC Section 1231
                                    Gains/Losses          $                               Other                 $


                                C. Shareholder's share of the S corporation's property, payroll, and sales:


                                                                               Total within and                 Total within
                                                  Factors                     outside California                 California
                                    Property: Beginning                 $                               $
                                              Ending                    $                               $
                                              Annual Rent Expense       $                               $
                                    Payroll                             $                               $
                                    Sales                               $                               $




                                     039813 12-09-20                                 022               7873204                                     Schedule K-1 (100S) 2020 Side 3
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  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
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CA SCHEDULE K-1 OTHER INFORMATION ATTRIBUTABLE TO CALIFORNIA
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DESCRIPTION                          AMOUNT     SHAREHOLDER INSTRUCTIONS
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
AGGREGATED GROSS RECEIPTS LESS
RETURNS                             10,040,997. SEE FORM 540 INSTRUCTIONS

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
CA SCHEDULE K-1             NONDEDUCTIBLE EXPENSES
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                         AMOUNT      SHAREHOLDER INSTRUCTIONS
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
EXCLUDED MEALS AND ENTERTAINMENT
EXPENSES                                 1,284. SEE FORM 540 INSTRUCTIONS
                                 }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, LINE 16C          1,284.
                                 ~~~~~~~~~~~~~~




       Case 2:23-bk-02376-EPB                                                SHAREHOLDER
                                 Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42  Desc    1
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 GROUP FILING PROGRAM                                     MS L17
 ATTN IVS (732)
                                                                                                                                                       039041 01-06-21

 TAXABLE YEAR                    California Nonresident or Part-Year                                                                           CALIFORNIA FORM

        2020                     Resident Income Tax Return
                                                                          AMENDED              1         DO NOT ATTACH FEDERAL RETURN
                                                                                                                                                   540NR

 XX-XXXXXXX                                   AERO                                                       20        PBA          621900
 C                                               SGNF                                                                                                               A
                                                                                                                                                                    R
 AEROCARE MEDICAL TRANSPORT SYSTEM,                                                                                                                                RP
 43W450 US HIGHWAY 30
 SUGAR GROVE        IL 60554




                     If your California filing status is different from your federal filing status, check the box here ~~~~~~~~

                1     X     Single                                   4        Head of household (with qualifying person). See instructions.
Status
Filing




                2           Married/RDP filing jointly. See inst.    5        Qualifying widow(er). Enter year spouse/RDP died.


                                                                              See instructions.
                            GROUP NONRESIDENT RETURN
                3           Married/RDP filing separately. Enter spouse's/RDP's SSN or ITIN above and full name here


                6    If someone can claim you (or your spouse/RDP) as a dependent, check the box here. See inst ~~             ¥ 6

             | For line 7, line 8, line 9, and line 10: Multiply the number you enter in the box by the pre-printed dollar amount for that line.
                                                                                                                                             Whole dollars only
               7 Personal: If you checked box 1, 3, or 4 above, enter 1 in the box. If you
                   checked box 2 or 5, enter 2. If you checked the box on line 6, see instructions.j   ¥ 7         X $124 = j ¥ $
               8 Blind: If you (or your spouse/RDP) are visually impaired, enter 1;
                   if both are visually impaired, enter 2 ~~~~~~~~~~~~~~~~~~~~ j                       ¥ 8         X $124 = j ¥ $
               9 Senior: If you (or your spouse/RDP) are 65 or older, enter 1;
                   if both are 65 or older, enter 2 •••••••••••••••••••••• ¥ 9                                     X $124 = j ¥ $
              10 Dependents: Do not include yourself or your spouse/RDP.
                                        Dependent 1                               Dependent 2                                 Dependent 3
Exemptions




                      First Name j
                                 ¥                                           j
                                                                             ¥                                           j
                                                                                                                         ¥


                      Last Name j
                                ¥                                            j
                                                                             ¥                                           j
                                                                                                                         ¥

                      SSN.                ¥                                  ¥                                           ¥
                      See instructions.

                      Dependent's
                      relationship        j
                                          ¥                                  j
                                                                             ¥                                           j
                                                                                                                         ¥
                      to you

               Total dependent exemptions          ~~~~~~~~~~~~~~~~~~~~~~ ¥ 10                                X $383 = j
                                                                                                                       ¥ $



                                                                    022          3131204                                        Form 540NR 2020 Side 1
                    Case 2:23-bk-02376-EPB                      Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                     Desc
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                                                                                                                                             039042 12-30-20


  Your name:                      AEROCARE MEDICAL                        Your SSN or ITIN:       363531506

                       11   Exemption amount: Add line 7 through line 10 ~~~~~~~~~~~~~~~~~~~~~~~ j
                                                                                                 ¥ 11 $


                       12   Total California wages from your federal Form(s) W-2,
                            box 16 ~~~~~~~~~~~~~~~~~~~~ ¥ 12                                                                   . 00

                       13   Enter federal AGI from federal Form 1040, 1040-SR, or 1040-NR, line 11 ~~~~~~~~~                    j
                                                                                                                                ¥ 13                   . 00
                       14   California adjustments - subtractions. Enter the amount from Schedule CA (540NR), Part II,
Total Taxable Income




                            line 23, column B ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              ¥ 14                   . 00
                       15   Subtract line 14 from line 13. If less than zero, enter the result in parentheses.
                            See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  15                  . 00
                       16   California adjustments - additions. Enter the amount from Schedule CA (540NR), Part II, line 23,
                            column C ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   ¥ 16                   . 00

                       17   Adjusted gross income from all sources. Combine line 15 and line 16 ~~~~~~~~~~                      ¥ 17                   . 00
                       18   Enter the larger of: Your California itemized deductions from Schedule CA (540NR),
                            Part III, line 30; OR Your California standard deduction. See instructions ~~~~~~~~                 ¥ 18                   . 00
                       19   Subtract line 18 from line 17. This is your total taxable income. If less than zero,
                            enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  j
                                                                                                                                ¥ 19                   . 00

                                                                  Tax Table                Tax Rate Schedule
                       31   Tax. Check the box if from:
                                                          ¥       FTB 3800       ¥         FTB 3803 ~~~~~~~~~~                  ¥ 31                   . 00
                       32   CA adjusted gross income from Schedule CA
                            (540NR), Part IV, line 1 ~~~~~~~~~~~~ ¥ 32                                                         . 00

                       35   CA Taxable Income from Schedule CA (540NR), Part IV, line 5 ~~~~~~~~~~~~~~                          ¥ 35                   . 00

                                                                                                   j
CA Taxable Income




                       36   CA Tax Rate. Divide line 31 by line 19 ~~~~~~~~~~~~~                   ¥ 36


                       37   CA Tax Before Exemption Credits. Multiply line 35 by line 36~~~~~~~~~~~~~~~                         j
                                                                                                                                ¥ 37                   . 00

                       38   CA Exemption Credit Percentage. Divide line 35 by line 19.
                            If more than 1, enter 1.0000 ~~~~~~~~~~~~~~~~~~ j                  ¥ 38
                       39   CA Prorated Exemption Credits. Multiply line 11 by line 38.
                            If the amount on line 13 is more than $203,341, see instructions ~~~~~~~~~~~~~                      j
                                                                                                                                ¥ 39                   . 00

                       40   CA Regular Tax Before Credits. Subtract line 39 from line 37. If less than zero, enter -0-~~        j
                                                                                                                                ¥ 40              0    . 00

                       41   Tax. See instructions. Check the box if from: ¥          Schedule G-1     ¥         FTB 5870A       ¥ 41                   . 00

                       42   Add line 40 and line 41 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           ¥ 42              0    . 00

                       50   Nonrefundable Child and Dependent Care Expenses Credit. See instructions.
                            Attach form FTB 3506 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              ¥ 50                   . 00
                       51   Credit for joint custody head of household.
                            See instructions ~~~~~~~~~~~~~~~ ¥ 51                                                              . 00
Special Credits




                       52   Credit for dependent parent. See instructions ~ ¥ 52                                               . 00
                       53   Credit for senior head of household.
                            See instructions ~~~~~~~~~~~~~~~ ¥ 53                                                              . 00
                       54   Credit percentage. Enter the amount from line 38 here.
                            If more than 1, enter 1.0000. See instructions ~~~~~~~~~              j
                                                                                                  ¥   54


                       55   Credit amount. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                           55               . 00


                            Side 2 Form 540NR 2020                      022              3132204
                            Case 2:23-bk-02376-EPB                    Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                       Desc
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                                                                                                                                                         039043 12-30-20


  Your name:                           AEROCARE MEDICAL                        Your SSN or ITIN:   363531506

                            58   Enter credit name                                        code ¥           and amount~~ ¥ 58                                       . 00
Special Credits continued




                            59   Enter credit name                                        code ¥           and amount~~ ¥ 59                                       . 00

                            60   To claim more than two credits. See instructions ~~~~~~~~~~~~~~~~~~~~ ¥ 60                                                        . 00

                            61   Nonrefundable Renter's Credit. See instructions~~~~~~~~~~~~~~~~~~~~~ ¥ 61                                                         . 00

                            62   Add line 50 and line 55 through 61. These are your total credits ~~~~~~~~~~~~~              j
                                                                                                                             ¥ 62                                  . 00

                            63   Subtract line 62 from line 42. If less than zero, enter -0- ~~~~~~~~~~~~~~~~~               j
                                                                                                                             ¥ 63                             0    . 00


                            71   Alternative Minimum Tax. Attach Schedule P (540NR) ~~~~~~~~~~~~~~~~~~ ¥ 71                                                        . 00

                            72   Mental Health Services Tax. See instructions ~~~~~~~~~~~~~~~~~~~~~~ ¥ 72                                                     0    . 00
Other Taxes




                            73   Other taxes and credit recapture. See instructions ~~~~~~~~~~~~~~~~~~~ ¥ 73                                                       . 00

                            74   Excess Advance Premium Assistance Subsidy (APAS) repayment. See instructions ~~~ ¥ 74                                             . 00

                            75   Add line 63, line 71, line 72, line 73, and line 74. This is your total tax ~~~~~~~~~~ ¥ 75                                  0    . 00


                            81   California income tax withheld. See instructions ~~~~~~~~~~~~~~~~~~~~~ ¥ 81                                                       . 00

                            82   2020 CA estimated tax and other payments. See instructions ~~~~~~~~~~~~~~ ¥ 82                                                    . 00

                            83   Withholding (Form 592-B and/or 593). See instructions ~~~~~~~~~~~~~~~~~ ¥ 83                                                      . 00
Payments




                            84   Excess SDI (or VPDI) withheld. See instructions ~~~~~~~~~~~~~~~~~~~~~ ¥ 84                                                        . 00

                            85   Earned Income Tax Credit (EITC) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 85                                                                 . 00

                            86   Young Child Tax Credit (YCTC). See instructions ~~~~~~~~~~~~~~~~~~~~ ¥ 86                                                         . 00

                            87   Net Premium Assistance Subsidy (PAS). See instructions ~~~~~~~~~~~~~~~~ ¥ 87                                                      . 00

                            88   Add line 81 through line 87. These are your total payments. See instructions   ~~~~~~       j
                                                                                                                             ¥ 88                                  . 00
ISR Penalty




                            91   Individual Shared Responsibility (ISR) Penalty. See instructions ~~~      ¥ 91                                 . 00

                                 ¥          Full-year health care coverage.


                            92   Payments after Individual Shared Responsibility Penalty. If line 88 is more than line 91,
Overpaid Tax/Tax Due




                                 subtract line 91 from line 88 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               j
                                                                                                                             ¥ 92                                  . 00
                            93   Individual Shared Responsibility Penalty Balance. If line 91 is more than line 88,
                                 subtract line 88 from line 91 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               j
                                                                                                                             ¥ 93                                  . 00

                            101 Overpaid tax. If line 92 is more than line 75, subtract line 75 from line 92 ~~~~~~~~~       j
                                                                                                                             ¥ 101                                 . 00

                            102 Amount of line 101 you want applied to your 2021 estimated tax ~~~~~~~~~~~~ ¥ 102                                                  . 00



                                                                              022           3133204                                  Form 540NR 2020 Side 3
                                 Case 2:23-bk-02376-EPB                  Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                Desc
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                                                                                                                              039044 12-30-20


Your name:                AEROCARE MEDICAL                    Your SSN or ITIN:    363531506

                103 Overpaid tax available this year. Subtract line 102 from line 101 ~~~~~~~~~~~~~ ¥ 103                               . 00

                104 Tax due. If line 92 is less than line 75, subtract line 92 from line 75 ~~~~~~~~~~~~   j
                                                                                                           ¥ 104                   0    . 00


                                                                                                            Code   Amount


                    California Seniors Special Fund. See instructions ~~~~~~~~~~~~~~~~~~~~ ¥ 400                                        . 00

                    Alzheimer's Disease and Related Dementia Voluntary Tax Contribution Fund ~~~~~~~ ¥ 401                              . 00

                    Rare and Endangered Species Preservation Voluntary Tax Contribution Program ~~~~ ¥ 403                              . 00

                    California Breast Cancer Research Voluntary Tax Contribution Fund   ~~~~~~~~~~ ¥ 405                                . 00

                    California Firefighters' Memorial Voluntary Tax Contribution Fund ~~~~~~~~~~~~ ¥ 406                                . 00

                    Emergency Food for Families Voluntary Tax Contribution Fund ~~~~~~~~~~~~~ ¥ 407                                     . 00

                    California Peace Officer Memorial Foundation Voluntary Tax Contribution Fund ~~~~~ ¥ 408                            . 00

                    California Sea Otter Voluntary Tax Contribution Fund ~~~~~~~~~~~~~~~~~~ ¥ 410                                       . 00

                    California Cancer Research Voluntary Tax Contribution Fund ~~~~~~~~~~~~~~ ¥ 413                                     . 00
Contributions




                    School Supplies for Homeless Children Fund ~~~~~~~~~~~~~~~~~~~~~~ ¥ 422                                             . 00

                    State Parks Protection Fund/Parks Pass Purchase ~~~~~~~~~~~~~~~~~~~ ¥ 423                                           . 00

                    Protect Our Coast and Oceans Voluntary Tax Contribution Fund ~~~~~~~~~~~~ ¥ 424                                     . 00

                    Keep Arts in Schools Voluntary Tax Contribution Fund ~~~~~~~~~~~~~~~~~ ¥ 425                                        . 00

                    Prevention of Animal Homelessness and Cruelty Voluntary Tax Contribution Fund ~~~~ ¥ 431                            . 00

                    California Senior Citizen Advocacy Voluntary Tax Contribution Fund ~~~~~~~~~~~ ¥ 438                                . 00

                    Native California Wildlife Rehabilitation Voluntary Tax Contribution Fund ~~~~~~~~~ ¥ 439                           . 00

                    Rape Kit Backlog Voluntary Tax Contribution Fund ~~~~~~~~~~~~~~~~~~~ ¥ 440                                          . 00

                    Schools Not Prisons Voluntary Tax Contribution Fund ~~~~~~~~~~~~~~~~~~ ¥ 443                                        . 00

                    Suicide Prevention Voluntary Tax Contribution Fund   ~~~~~~~~~~~~~~~~~~ ¥ 444                                       . 00

                120 Add code 400 through code 444. This is your total contribution ~~~~~~~~~~~~~ ¥ 120                                  . 00




                    Side 4 Form 540NR 2020                  022            3134204
                    Case 2:23-bk-02376-EPB                Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                    Desc
                                                         Main Document    Page 90 of 281
                                                                                                                                                                    039045 12-30-20


  Your name:                          AEROCARE MEDICAL                        Your SSN or ITIN:     363531506

                            121 AMOUNT YOU OWE. Add line 93, line 104, and line 120. See instructions. Do not send cash.
You Owe
Amount




                                Mail to: FRANCHISE TAX BOARD, PO BOX 942867, SACRAMENTO CA 94267-0001. ~ ¥ 121                                                                . 00
                                Pay Online - Go to ftb.ca.gov/pay for more information.

                            122 Interest, late return penalties, and late payment penalties ~~~~~~~~~~~~~~~~~ 122                                                             . 00
Interest and




                            123 Underpayment of estimated tax.
  Penalties




                                Check the box: ¥          FTB 5805 attached       ¥     FTB 5805F attached ~~~~~~~~ ¥ 123                                                     . 00

                            124 Total amount due. See instructions. Enclose, but do not staple, any payment ~~~~~~~ 124                                                       . 00

                            125 REFUND OR NO AMOUNT DUE. Subtract line 120 from line 103. See instructions.
                                Mail to: FRANCHISE TAX BOARD, PO BOX 942840, SACRAMENTO CA 94240-0001. ~ ¥ 125                                                                . 00
Refund and Direct Deposit




                                Fill in the information to authorize direct deposit of your refund into one or two accounts. Do not attach a voided check or a deposit slip.
                                See instructions. Have you verified the routing and account numbers? Use whole dollars only.
                                All or the following amount of my refund (line 125) is authorized for direct deposit into the account shown below:

                                                         ¥ Type
                                 ¥ Routing number                         ¥ Account number                                              ¥ 126 Direct deposit amount
                                                               Checking
                                                                                                                                                                              . 00
                                                               Savings

                                 The remaining amount of my refund (line 125) is authorized for direct deposit into the account shown below:

                                                         ¥ Type
                                 ¥ Routing number                         ¥ Account number                                              ¥ 127 Direct deposit amount
                                                               Checking
                                                                                                                                                                              . 00
                                                               Savings


  IMPORTANT: Attach a copy of your complete federal return.
  To learn about your privacy rights, how we may use your information, and the consequences for not providing the requested information, go to
  ftb.ca.gov/forms and search for 1131. To request this notice by mail, call 800.852.5711.
  Under penalties of perjury, I declare that I have examined this tax return, including accompanying schedules and statements, and to the best of my
  knowledge and belief, it is true, correct, and complete.
  Your signature                                                     Date                     Spouse's/RDP's signature (if a joint tax return, both must sign)



                                       j
                                       ¥ Your email address. Enter only one email address.                                                     j
                                                                                                                                               ¥ Preferred phone number

                                        JDC@AEROCARE.COM
  Sign                                 Paid preparer's signature (declaration of preparer is based on all information of which preparer has any knowledge)
  Here                                  LYUDMILA EISENMAN, CPA
  It is unlawful
  to forge a                           Firm's name (or yours, if self-employed)                                                                            ¥ PTIN
  spouse's/
  RDP's                                 BEACHFLEISCHMAN PLLC                                                                                                P01272545
  signature.
                                       Firm's address                                                                                                      ¥ Firm's FEIN
  Joint tax
  return?
                                        1985 E. RIVER ROAD, SUITE 201 TUCSON, AZ 85718                                                                      860683059
  (See
  instructions)
                                       Do you want to allow another person to discuss this tax return with us? See instructions ~~~¥         X    Yes                No

                                       Print Third Party Designee's Name                                                                         Telephone Number




                                                                           022             3135204                                         Form 540NR 2020 Side 5
                                Case 2:23-bk-02376-EPB                    Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                      Desc
                                                                         Main Document    Page 91 of 281
TAXABLE YEAR                                                                                                                                                                                                          CALIFORNIA SCHEDULE
    2020        Nonresident Group Return Schedule                                                                                                                                            039681 12-29-20                      1067A
Attach this schedule to your California group Form 540NR.
S Corporation /Partnership/Limited Liability Company name                                                                                                                                              FEIN
                                                                            AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                          XX-XXXXXXX
DBA                                                                                                                                                                            CA corporation no. or CA Secretary of State file no.
          AEROCARE MEDICAL TRANSP                                                                                                                                               0000000
Part I Electing Nonresident Individuals (Shareholders/Partners/Members) Included in the Group Nonresident Return (Use additional sheet(s) if necessary)
Note: Column (a) and (b) - If the nonresident individual has a spouse/RDP, include the spouse's/RDP's information in both columns.
        Column (c) - Enter the individual's distributive share of California source income from the business entity's taxable year ending in 2020.
        Column (d) - Amount of deferred compensation deduction. See FTB Pub. 1067, Section H, for more information.
        Column (g) - Tax credit allowable. See FTB Pub. 1067, Section H, for more information.
        Column (h) - See Schedule 1067A Instructions, Part I, for more information.

             (a)                 (b)                            (c)                      (d)                        (e)                          (f)                  (g)                    (h)                           (i)
                                                                                                                                                                                         Mental Health
                                                                                                           CA source income less                                                          Services Tax
          SSN or ITIN                                                                                                                                                               If the individual's total          Total tax
                                                              Total CA                 Deferred                   deferred
      (FEINS not allowed    First name, MI, Last name                                                                                      Col. (e) x 12.3%          Credit            CA taxable income            col. (f) - col. (g)
                                                            source income            compensation             compensation,
        see instructions)                                                                                                                                                         from all sources is more             + col. (h)
                                                                                                              col. (c) - col. (d)
                                                                                                                                                                                        than $1 million,
                                                                                                                                                                                   multiply col. (e) by 1%
                                JOSEPH D. CECE
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1. Total of Part I •••••••••••• O
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                                 Case 2:23-bk-02376-EPB                        Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                                    Desc
                                                                              Main Document    Page 92 of 281
Corporation name                                                                                                                                                                                       FEIN
                         AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                                                          XX-XXXXXXX
DBA                                                                                                                                                                             CA corporation no. or CA Secretary of State file number
    AEROCARE MEDICAL T                                                                                                                                                               0000000
Part II Electing Nonresident Directors Included in the Group Nonresident Return (Use additional sheet(s) if necessary.)

Note: Column (h) - Mental Health Services Tax. See General Information, for more information.

             (a)                      (b)              Director's Compensation from California Sources                      (f)                 (g)                (h)                          (i)                      (j)
                                                          (c)                (d)                   (e)                                                         Mental Health
                                                                                                                                                                                                                       CA Wage
                                                                                                                                                                Services Tax
                                                                                                                                                                                                                      Withholding
                                 Director's Name                                                                           Net tax           No credits    If the director's total          Total tax                  Reported
    Director's SSN or ITIN                             Director's         Director's               Total              col. (e) x 12.3%        allowed                                    col. (f) + col. (h)
                                                       Form 1099          Form W-2                                                                          CA taxable income                                        on Form W-2
                                                                                            col. (c) + col. (d)                                             from all sources is                                    (or CA Sch. W-2)
                                                        Income             Income
                                                                                                                                                          more than $1 million,
                                                                                                                                                          multiply col. (e) by 1%


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2. Total of Part II ••••••••••• O    ¥                               O
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3. Grand Total (Total of Part I plus
   Total of Part II) ••••••••••• O   ¥                               O
                                                                     ¥                  O
                                                                                        ¥                         O
                                                                                                                  ¥                      O
                                                                                                                                         ¥                O
                                                                                                                                                          ¥                          O
                                                                                                                                                                                     ¥                         O
                                                                                                                                                                                                               ¥




                    039682 12-29-20

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TAXABLE YEAR                                                                                                                                        CALIFORNIA FORM

     2020               Group Nonresident Return Election                                                                                                 3864
Attach to Form 540NR and to the appropriate business entity return.
Business entity's/corporation's name                                                             FEIN                       CA corporation no. or CA Secretary of State (SOS) file no.



AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                         XX-XXXXXXX                    0000000
Business address (number and street, suite, PO box, or PMB no.)                                                             Telephone



43W450 US HIGHWAY 30                                                                                                        Nature of business activity

City, state, and ZIP code                                                                                                ¥ AVIATION SERVICES
                                                                                                                         j
                                                                                                                            State in which the principal business activity is conducted

SUGAR GROVE, IL                             60554                                                                        ¥ IL
                                                                                                                         j
Principal California business address                                                                                       Shareholders/Partners/Members/Directors
  43W450 US HIGHWAY 30                                                                                                      Number                          Number
¥ SUGAR GROVE, IL
j                  60554                                                                                                    non-electing   j
                                                                                                                                           ¥       0.       electing   j
                                                                                                                                                                       ¥         1.
TERMS AND CONDITIONS OF FILING A GROUP NONRESIDENT RETURN
The above business entity/corporation and its electing nonresident individuals included in the filing of the group
nonresident return agree to the following terms and conditions:


a. Attach a Signed form FTB 3864 to the Group Nonresident Return. Each year the business entity/corporation must
   make an election to file a group return on behalf of its electing nonresident individuals. Make the election by attaching
   a completed form FTB 3864 to the group nonresident return (Form 540NR). An authorized general partner, member-
   manager, corporate officer, or an attorney-in-fact of the business entity/corporation must sign the form FTB 3864.


b. Group Nonresident Return Must be a Calendar Year. A group nonresident return is not allowed to have a fiscal year
   end. If the business entity has a fiscal year end, report on the 2020 group nonresident return the individual's distributive
   share of California source income from the business entity's taxable year ending in 2020. If the corporation has a fiscal
   year end, report on the 2020 group nonresident return the director's compensation that he or she received in 2020.


c.   Form 540NR, California Nonresident or Part-Year Resident Income Tax Return. Use Form 540NR for the group
     nonresident return. Prepare the Form 540NR as instructed in FTB Pub. 1067, Guidelines for Filing a Group Form 540NR.


d. Individual's Election to be Included in the Group Nonresident Return is Irrevocable. Each year the business
   entity/corporation will allow each nonresident individual the election to be included in the group nonresident return.
   Only a qualified nonresident individual may elect to be included in the group nonresident return. Once the group
   nonresident return is filed for the year, the individual's election is irrevocable.


e. Qualified Nonresident Individual. A qualified individual must be an individual and must be a full-year nonresident of
   California. In addition, the income from the business entity/corporation must be the only California source income of
   the individual, unless the other California source income is being reported on another group nonresident return.
   Partnerships, LLCs, corporations, estates, trusts (other than the grantor of grantor trusts described under IRC
   Sections 671-679 and not recognized as a separate taxable entity for income tax purposes), and other entities cannot
   be included on the group nonresident return.


f.   Power-of-Attorney Maintained by Business Entity/Corporation. The business entity/corporation shall maintain a
     file of power-of-attorney executed by each electing nonresident individual. The power-of-attorney shall authorize the
     business entity/corporation to include the electing nonresident individual in the group nonresident return filed. Do not
     attach the power-of-attorney to the return.


g. Deductions.
   ¥ Shareholders/partners/members are not allowed deductions except those necessary to determine each individual's
      distributive share of income from the business entity. However, a deduction is allowed for contributions to qualified
      deferred compensation plans attributable to earned income of a partner/member as provided in Subchapter D of
      Chapter 1 of Subtitle A of the Internal Revenue Code, as modified by the California Revenue and Taxation Code
      (R&TC) beginning with Section 17501. No deduction to a qualified deferred compensation plan is allowed if the
      individual has earned income from any other source.
   ¥ Directors are not allowed any deductions.
   See FTB Pub.1067 for more information.

                039341
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h. Credits.
   ¥ Shareholders/partners/members are not allowed credits except those directly attributable to the business
       entity's activity. In the event the allowable credits exceed the amount of tax for a given year and credits are available
       for carryover, the business entity will properly account for such credit with respect to each individual included in the
       group nonresident return.
   ¥ Directors are not allowed any credits.
   See FTB Pub.1067 for more information.
i. Tax Assessed at the Highest Marginal Rate. Each individual included in the group nonresident return will be
   assessed tax on his or her California source income at the highest marginal rate of 12.3%.
j. Mental Health Tax. Nonresident individuals with more than $1 million of California taxable income can be included
   in the group return. However, these individuals are subject to an additional 1% tax on their entire California taxable
   income when included in the group return. This differs from when individuals file their own return and only the taxable
   income in excess of $1 million is subject to the additional 1% tax. Individuals should be aware of this difference when
   making their irrevocable election to be included in the group return.
   For individuals included in two or more group returns, the additional 1% tax applies if their combined California taxable
   income from all their group returns is more than $1 million. For example, an individual is included in two group returns.
   The individual's taxable income on each group return is less than $1 million. However, the combined taxable income
   from the two group returns is over $1 million. The individual's income reported on each group return is subject to the
   additional 1% tax. The business entity/corporation is responsible for finding out from each individual included in the
   group return if the individual has total California taxable income in excess of $1 million. If so, it is the business entity/
   corporations' responsibility to report and pay the additional 1% tax on the group return.
k. Estimated Tax. The business entity/corporation shall make estimated tax payments for the group pursuant to
   R&TC Section 19136. Payment for the group will be made under the FEIN of the business entity or corporation as
   instructed in FTB Pub. 1067.
l. Tax Assessments, Protest, Claims, Appeals, and Court Procedures. The business entity/corporation shall receive
   any notices of proposed tax to be assessed and any assessments of tax with respect to the group nonresident
   return. Additionally, the business entity/corporation, or its designated representative, shall represent the individuals
   in protest, claims for refund, appeal procedures, or in court proceeding related to tax matters associated with the
   group nonresident filing. The business entity/corporation shall pay any tax assessments and any attributable interest
   and penalties for the group nonresident return. The penalties will be computed as if all the electing individuals
   included in the return did not participate in any other group nonresident return for that same tax year. The business
   entity's/corporation's agreement to pay tax, interest and penalties does not absolve the individuals of their respective
   obligations to pay their California taxes, interest, and penalties, if such obligations are not satisfied by the business
   entity/corporation.
m. Agree to Act as Withholding Agent. If an electing nonresident individual has a tax deficiency attributable to California
   source income that was distributable by the business entity or paid by the corporation to the individual for any tax year,
   the business entity/corporation agrees that it shall act as a withholding agent. The business entity agrees to accept
   (without contesting jurisdiction) Orders to Withhold against funds to be distributed to such individuals. The funds need
   not be paid over to the Franchise Tax Board until they are clearly identified as being currently distributable.
n. Business Entity to File Appropriate California Return. The business entity shall file Form 100S, California
   S Corporation Franchise or Income Tax Return/Form 565, California Partnership Return of Income/Form 568,
   Limited Liability Company Return of Income, as appropriate. A business entity doing business within and outside
   of California must determine the portion of the total net income that has its source in California using the allocation
   and apportionment provisions in the Uniform Division of Income for Tax Purposes Act (UDITPA). Refer to R&TC
   Sections 25120 through 25141 and applicable regulations.
o. Corporation to File Appropriate California Return. The corporation shall file Form 100, California Franchise or
   Income Tax Return, or Form 100S.




The terms and conditions set forth above are agreed to on behalf of the above-named business entity/corporation and its electing nonresident individuals.
I have been authorized by the above-named business entity/corporation and its electing individuals to accept the terms and conditions set forth above.

Authorized signature (As specified in item a.)                                Title                                                         Date            Telephone


|                                                                            PRESIDENT                                                     03/21/22
Print name                                                                                   Business entity's name


|                                                                                            |AEROCARE                  MEDICAL TRANSPORT SYSTEM, INC

             039342
             12-28-20    Side 2 FTB 3864 2020                        022                  7612204
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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
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CA FORM 540NR                       FOOTNOTES                    STATEMENT 32
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THIS IS AN AMENDED RETURN. THE FEDERAL FORM 1120S WAS
AMENDED TO CORRECT LINE 1A GROSS RECEIPTS. THIS CORRECTION
INCLUDES A $2,420,670 ADJUSTMENT RELATED TO THE CHANGE IN
THE CORPORATION'S ALLOWANCE FOR DOUBTFUL ACCOUNTS, WHICH WAS
RESTATED FROM THE PRIOR TAX YEAR ON THE REVIEWED FINANCIAL
STATEMENTS.




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                                                                   DR 0106 (11/05/20)
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                                2020 Colorado Partnership and S Corporation and
                                   Composite Nonresident Income Tax Return
Fiscal Year Beginning (MM/DD/20)        Ending (MM/DD/YY)
                                                                     X     ¥      Mark for Amended Return                                                 (0043)
Name of Organization                                                                                          Colorado Account Number

 AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                       ¥
Doing Business As                                                                                             Federal Employer ID Number

 AEROCARE MEDICAL TRANSPORT SYSTEMS                                                                           ¥   XX-XXXXXXX
Address                                                                                            City                           State     ZIP

 43W450 US HIGHWAY 30                                                                               SUGAR GROVE                    IL        60554

If you are including a statement disclosing a listed or reportable transaction, mark this box                                ¥


A. This return is being filed for (mark one):


¥         Partnership    X         S Corporation             LLC         LP             LLP            LLLP               Association             Non-Profit

B. Beginning depreciable assets from federal return                            C. Ending depreciable assets from federal return


¥                                                           5,000,838            ¥                                                            3,552,232
D. Business or profession                                                        E. Date of organization or incorporation (MM/DD/YY)

 AVIATION SERVICES                                                               ¥   07/30/87

                                                                   G. If the IRS has made any adjustments to your federal return or have you
F. If this is a final return, mark this box           ¥
                                                                      filed amended federal returns during the last four years, mark this box:

H. Number of partners or shareholders as of year end               Explain:

                                                               1
                                                                                                                                        Round to the
Part I: Computation of Colorado Income                                                                                                  nearest dollar


    1. Ordinary income from line 1 federal Schedule K                                                             ¥   1                           59,583 00

    2. Sum of all other income                                                                                    ¥   2                            9,023 00

    3. Modifications increasing federal income                                                                    ¥   3                                        00

    4. Business Interest Expense Deduction Addback (see instructions)                                             ¥   4                                        00

    5. Sum of lines 1 through 4                                                                                       5                           68,606 00

    6. Allowable deductions from federal Schedule K                                                               ¥   6                                        00

    7. Colorado Marijuana Business Deduction                                                                      ¥   7                                        00
                                                                           ¥ CADA Certificate Number
    8. Agricultural asset lease deduction. Enter CADA
       certificate number and submit a copy with your return.                                                     ¥   8                                        00


              040501 11-19-20
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                                                             DR 0106 (11/05/20)
                                                             COLORADO DEPARTMENT OF REVENUE                     Form 106
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Name                                                                                         Account Number

 AEROCARE MEDICAL TRANSPORT SYSTEM, INC

 9. Other modifications decreasing federal income                                                      ¥    9                       00

10. Sum of lines 6 through 9                                                                               10                       00

11. Modified federal taxable income, subtract line 10 from line 5                                          11              68,606 00
12. Colorado-Source Income from (mark one):

   X     Part IV             Other (include explanation)               Income is all Colorado Income                          944
                                                                                                       ¥ 12                         00

Part II: Composite Nonresident Income Tax Return
Do not complete lines 13-28 unless you are filing a composite nonresident return.

13. Colorado-source Income of nonresident partners or shareholders electing to be
    included in this composite filing                                                                  ¥ 13                   944 00

14. Tax; 4.55% of the amount on line 13                                                                ¥ 14                       43 00
15. Non-refundable credits from the DR 0106CR line 27 column C, you must
    include the DR 0106CR with your return.                                                            ¥ 15                         00
16. Gross Conservation Easement credit allocated to these partners or shareholders
    from the DR 1305G line 33. You must submit the DR 1305G with your return.                          ¥ 16                         00
17. Net tax, sum of lines 15 and 16, then subtract this sum from line 14.
    The sum of lines 15 and 16 may not exceed the amount on line 14.                                       17                     43 00

18. Estimated tax, extension payments, and credits                                                     ¥ 18                 1,387 00

19. Withholding from lottery or gambling winnings                                                      ¥ 19                         00
20. Refundable credits from the DR 0106CR line 31 column C, you must include
    the DR 0106CR with your return.                                                                    ¥ 20                         00

21. Subtotal; sum of lines 18 to 20                                                                        21               1,387 00

22. Penalty (include on Line 25)                                                                       ¥ 22                         00

23. Interest (include on Line 25)                                                                      ¥ 23                         00

24. Estimated tax penalty (include on Line 25)                                                         ¥ 24                         00

25. If line 17 is greater than line 21, enter amount owed                                              ¥ 25


26. Overpayment, subtract line 17 from line 21                                                             26               1,344 00

27. Overpayment to be credited to 2021 estimated tax                                                   ¥ 27                 1,344 00

28. Overpayment to be refunded                                                                         ¥ 28                         00




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           040511 11-17-20
                                                  Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                           Desc
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                                                                                 DR 0106 (11/05/20)                                              Form 106
                                                                                 COLORADO DEPARTMENT OF REVENUE
                                                                                 Tax.Colorado.gov                                                   Part II
                                                                                 Page 3 of 6
Name                                                                                                                        Account Number

 AEROCARE MEDICAL TRANSPORT SYSTEM, INC
I declare this return to be true, correct and complete under penalty of perjury in the second degree.
Declaration of preparer is based on all information of which preparer has any knowledge.


                                           Routing Number                                                               Type:                 Checking                  Savings
                       Direct
                      Deposit              Account Number


Do you want to allow the paid preparer entered below to discuss this return and any related
                                                                                                                                                        ¥     X       Yes                  No
information with the Colorado Department of Revenue? See the instructions.

Signature of partner or signature and title of officer                                                                                                      Date (MM/DD/YY)

                                                                                                                                PRESIDENT
Person or firm preparing return (name and phone number)                                                                                                     Date (MM/DD/YY)

 LYUDMILA EISENMAN, CPA                                                                                          5203214600                                   03/21/22
The State may convert your check to a one-time electronic banking transaction. Your bank account may be debited as early as the same day received by the State. If converted, your check will not be
returned. If your check is rejected due to insufficient or uncollected funds, the Department of Revenue may collect the payment amount directly from your bank account electronically.




                                                                    File and pay at: Colorado.gov/RevenueOnline


       If you are filing this return with a check or payment,                                  If you are filing this return without a check or payment,
       please mail the return to:                                                              please mail the return to:


       COLORADO DEPARTMENT OF REVENUE                                                          COLORADO DEPARTMENT OF REVENUE
       Denver, CO 80261-0006                                                                   Denver, CO 80261-0005


                                        These addresses and ZIP codes are exclusive to the Colorado Department of Revenue,
                                                                so a street address is not required.




              040521 11-17-20
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                                                           DR 0106 (11/05/20)                         Form 106
                                                           COLORADO DEPARTMENT OF REVENUE               Part III
                                                           Tax.Colorado.gov
                                                           Page 4 of 6




                                                    Do not submit federal K-1 schedules

Name                                                                                 Account Number

 AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                 XX-XXXXXXX
Part III: Identification of Partners or Shareholders
Part III must be completed for each partner/shareholder/member. DO NOT submit federal K-1 schedules.
Name of Partner or Shareholder                                                      SSN, ITIN or Colorado Account Number

JOSEPH D. CECE
Address of Partner or Shareholder                                        City                       State   ZIP

1936 E. MISSOURI AVENUE                                                   PHOENIX                    AZ     85016
                                                                                     Profit/Loss or Stock Ownership Percentage
  X     Composite                DR 0107 Included                DR 0108 Filed
                                                                                                   100.000000
Name of Partner or Shareholder                                                      SSN, ITIN or Colorado Account Number



Address of Partner or Shareholder                                        City                       State   ZIP



                                                                                     Profit/Loss or Stock Ownership Percentage
        Composite                DR 0107 Included                DR 0108 Filed

Name of Partner or Shareholder                                                      SSN, ITIN or Colorado Account Number



Address of Partner or Shareholder                                        City                       State   ZIP



                                                                                     Profit/Loss or Stock Ownership Percentage
        Composite                DR 0107 Included                DR 0108 Filed

Name of Partner or Shareholder                                                      SSN, ITIN or Colorado Account Number



Address of Partner or Shareholder                                        City                       State   ZIP



                                                                                     Profit/Loss or Stock Ownership Percentage
        Composite                DR 0107 Included                DR 0108 Filed

Name of Partner or Shareholder                                                      SSN, ITIN or Colorado Account Number



Address of Partner or Shareholder                                        City                       State   ZIP



                                                                                     Profit/Loss or Stock Ownership Percentage
        Composite                DR 0107 Included                DR 0108 Filed




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                                                                  DR 0106 (11/05/20)                              Form 106
                                                                  COLORADO DEPARTMENT OF REVENUE
                                                                  Tax.Colorado.gov                                  Part IV
                                                                  Page 5 of 6
Name                                                                                             Account Number

 AEROCARE MEDICAL TRANSPORT SYSTEM, INC                               XX-XXXXXXX
Part IV - Apportionable Income Apportioned to Colorado by use of the Receipts Factor
Do not send federal return forms or schedules with this return. Complete this form in accordance with section 39-22-303.6 C.R.S., and the
regulations thereunder.


 1. Total modified federal taxable income from the DR 0106, Part I, line 11                                         1             68,606 00
    Apportionable Income Apportioned to Colorado by use of the Receipts Factor
    Do Not Include Foreign-source income modified out on the DR 0106, Part I, Line 9
                                                                  ¥ Colorado                 ¥    Everywhere
 2. Gross receipts from the sale of
    tangible personal property                   ¥    2                148,403 00            10,783,048 00
 3. Gross receipts from the sale
    of services                                  ¥    3                         0 00                           0 00
 4. Gross receipts from the sale, rental, lease,
    or license of real property                  ¥    4                         0 00                           0 00
 5. Gross receipts from the rental, lease, or
    license of tangible personal property        ¥    5                         0 00                           0 00
 6. Gross receipts from the sale, rental, lease,
    or license of intangible property            ¥    6                         0 00                           0 00
 7. Distributive share of partnership
    factors                                      ¥    7                            00                              00
 8. Total receipts (total of lines 2 through 7
    in each column)                              ¥    8                148,403 00            10,783,048 00

  9. Line 8 (Colorado) divided by line 8 (Everywhere)                                9               1.3763        %
Complete lines 10 and 13 only if nonapportionable income is being directly allocated.
If all income is being treated as apportionable income, enter 0 (zero) on lines 10 and 13.


10. Less income directly allocable to any state, including Colorado:


     (a) Net rents and royalties from real or tangible property                      ¥                             00

     (b) Capital gains and losses                                                    ¥                             00

     (c) Interest and dividends                                                      ¥                             00

     (d) Patents and copyright royalties                                             ¥                             00

     (e) Other nonapportionable income                                               ¥                             00

     (f) Total income directly allocable (add lines (a) through (e))                                              10                        0 00

11. Modified federal taxable income subject to apportionment, subtract line 10(f) from line 1                     11              68,606 00

12. Income apportioned to Colorado, line 9 multiplied by line 11                                                  12                    944 00




             040523 11-17-20
         Case 2:23-bk-02376-EPB                    Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                 Desc
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                                                                DR 0106 (11/05/20)                              Form 106
                                                                COLORADO DEPARTMENT OF REVENUE
                                                                Tax.Colorado.gov                                  Part IV
                                                                Page 6 of 6
Name                                                                                           Account Number

 AEROCARE MEDICAL TRANSPORT SYSTEM, IN                                                          XX-XXXXXXX

13. Add income directly allocable to Colorado:


      (a)   Net rents and royalties from real or tangible property                ¥                               00

      (b)   Capital gains and losses                                              ¥                               00

      (c)   Interest and dividends                                                ¥                               00

      (d)   Patents and copyright royalties                                       ¥                               00

      (e)   Other nonapportionable income                                         ¥                               00

    (f) Total income directly allocable (add lines (a) through (e))                                               13               0 00
14. Total income apportioned and allocated to Colorado, sum of lines 12 and 13(f). Enter here
    and on the DR 0106, Part I, line 12                                                                           14           944 00

               Pursuant to ¤39-22-303.6(8) C.R.S., taxpayer elects to treat all income as apportionable income for the
15.
               tax year covered by this return.




               040524 11-17-20
            Case 2:23-bk-02376-EPB                 Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                           Desc
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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
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CO 106                           FOOTNOTES                       STATEMENT   1
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THIS IS AN AMENDED RETURN. THE FEDERAL FORM 1120S WAS
AMENDED TO CORRECT LINE 1A GROSS RECEIPTS. THIS CORRECTION
INCLUDES A $2,420,670 ADJUSTMENT RELATED TO THE CHANGE IN
THE CORPORATION'S ALLOWANCE FOR DOUBTFUL ACCOUNTS, WHICH WAS
RESTATED FROM THE PRIOR TAX YEAR ON THE REVIEWED FINANCIAL
STATEMENTS.




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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
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DR 106                     AMENDED RETURN INFORMATION            STATEMENT   2
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DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
ORIGINAL BALANCE DUE                                                                 172
AMENDED BALANCE DUE                                                                    0
REFUND                                                                               172




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    AMENDED
    COLORADO                                      Shareholder's Information
   SCHEDULE K-1                                  For Calendar Year 2020, or Fiscal Year                                          2020
    EQUIVALENT               Beginning                                     , and Ending
                                                                             FEDERAL EMPL ID NUMBER                            XX-XXXXXXX
  Shareholder's ID Number:                                                  Corporation's ID Number:
  Shareholder's Name, Address & ZIP Code                                    Corporation's Name, Address & ZIP Code

  JOSEPH D. CECE                                                           AEROCARE MEDICAL TRANSPORT SYSTEM, IN
  1936 E. MISSOURI AVENUE                                                  43W450 US HIGHWAY 30
  PHOENIX, AZ 85016                                                        SUGAR GROVE, IL 60554
                             Included in
  Resident                   Composite   X              Nonresident    X    Shareholder stock ownership                        100.000000%
  Share of Income, Loss and Deduction                                                                      Colorado
                                                                                 Federal                                         Colorado
      1.376300 % Apportioned to Colorado                                                                  Modifications
    1    Ordinary income (loss) ~~~~~~~~~~~~~~~~~~~~~~                              59,583.                                                 820.
    2    Rental real estate income (loss) ~~~~~~~~~~~~~~~~~~
    3    Other rental income (loss) ~~~~~~~~~~~~~~~~~~~~
    4    Portfolio income (loss) ~~~~~~~~~~~~~~~~~~~~~~
     a      Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      9,023.                              0.                124.
     b      Dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~
     c      Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~
     d      Short term capital gain (loss) ~~~~~~~~~~~~~~~~~
     e      Long term capital gain (loss) ~~~~~~~~~~~~~~~~~
     f      Other portfolio income (loss) ~~~~~~~~~~~~~~~~~
    5    Section 1231 gain (loss) ~~~~~~~~~~~~~~~~~~~~~
    6    Other income (loss) ~~~~~~~~~~~~~~~~~~~~~~~
         Federal jobs credit wage adjustment ~~~~~~~~~~~~~~~~
         Apportionment or allocation of non-Colorado income ~~~~~~~~                                         -67,662.
         Other modifications: Increasing federal income ~~~~~~~~~~
                                Decreasing federal income ~~~~~~~~~~
    7 Contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~
    8 Section 179 expense deduction ~~~~~~~~~~~~~~~~~~
    9 Deductions related to portfolio income ~~~~~~~~~~~~~~~
        Subject to 2% limitation ~~~~~~~~~~~~~~~~~~~~~
   10a Other deductions ~~~~~~~~~~~~~~~~~~~~~~~~
   16 Sec 59(e) election expenditures ~~~~~~~~~~~~~~~~~~
   17 Non-Colorado state and local bond interest ~~~~~~~~~~~~~                                                                                0.
  FEDERAL INCOME ~~~~~~~~~~~~~~~~~~~~~~~~~~                       68,606.
  MODIFICATIONS TO FEDERAL INCOME ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~          -67,662.
  Adjusted for Form 106, Part IV, Line 14 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  TOTAL COLORADO SOURCE INCOME ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 944.
  (Lines 11 - 15 and 18 - 23 of Federal Schedule K-1 omitted)




           SHAREHOLDER INCLUDED IN THE COMPOSITE RETURN - FOR INFORMATION ONLY


  040601 02-12-21
             Case 2:23-bk-02376-EPB                              8.1 Entered 04/13/23 16:03:42 Desc
                                                 Doc 1 Filed 04/13/23
11000321 759078 16439.0                         Main2020.05091
                                                     Document   AEROCARE
                                                                Page 105 ofMEDICAL
                                                                           281     TRANSPORT 16439_01
                                                            Share of Tax Paid and Credits           Colorado
  Income tax paid to another state by corporation ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Historic property preservation credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Child care contribution credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Child care center family care home investment credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Employer child care investment credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  School to career investment credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Colorado works program credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Contaminated land redevelopment credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Aircraft manufacturer new employee credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Job growth incentive credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Credit for advanced industries ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Gross conservation easement credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Innovative motor vehicle credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Credit Food contributed to hunger relief org credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Low income housing credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Certified auction group license fee credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Business personal property credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Refundable Enterprise zone credits ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Nonrefundable Enterprise zone credits ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Preservation of historic structures credit for Prior Year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Rural jumpstart zone credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Preservation of Historic Structure Credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Strategic Capital Tax Credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Employer contributions to employee 529 plan credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Employer paid leave of absence for live organ donation credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~




  040602 09-18-20
             Case 2:23-bk-02376-EPB                     8.2 Entered 04/13/23 16:03:42 Desc
                                        Doc 1 Filed 04/13/23
11000321 759078 16439.0                Main2020.05091
                                            Document   AEROCARE
                                                       Page 106 ofMEDICAL
                                                                  281     TRANSPORT 16439_01
                                       Illinois Department of Revenue
                                       2020 IL-1120-ST-X
                                       Amended Small Business Corporation Replacement Tax Return
                     For tax years ending on or after December 31, 2020
     Indicate what tax year you are amending: Tax year beginning 01/01/2020 , ending                                                  12/31/2020                        Enter the amount you
                                                                                            month day        year                     month day       year
                                                                                                                                                                             are paying.
                                 If you are filing an amended return for tax years ending before December 31, 2020,
  WARNING                                                                                                                                                      $
                                 you may not use this form. For prior years, see instructions to determine the correct form to use.

Step 1: Identify your small business corporation                                                                                 M Enter your federal employer identification number (FEIN).
              A Enter your complete legal business name.                                                                              XX-XXXXXXX
                If you have a name change, check this box.                                                                      N            Check this box if you are a member of a unitary
                Name: AEROCARE MEDICAL TRANSPORT                                                       SYSTEM,                        business group, and enter the FEIN of the member who
              B Enter your mailing address.                                                                                           prepared the Schedule UB, Combined Apportionment for
                If you have an address change, check this box.                                                          X             Unitary Business Group. Attach Schedule UB to this return.
                            C/O:
                            Mailing address: 43W450 US HIGHWAY 30                                                               O     Enter your North American Industry Classification
                            City: SUGAR GROVE                           State: IL ZIP:60554                                           System (NAICS) Code. See instructions.
              C             Check this box if you are filing this form only to report an increased                                    621900
                            net loss on Line 49, Column B.                                                                      P     Enter your Illinois corporate file (charter) number.
              D             Check this box if you attached Form IL-4562.
              E             Check this box if you attached Schedule M.                                                  X       Q     Check this box if you are filing Form IL-1120-ST-X before
              F             Check this box if you attached Schedule 80/20.                                                            the extended due date and making the election to treat
              G             Check this box if you attached Schedule 1299-A.                                                           all nonbusiness income as business income.
              H             Check this box if you attached the Subgroup Schedule.                                               R     If you have completed the following, check the box
              I             Check the applicable box for the type of change being made.                                               and attach the federal form(s) to this return, if you
                                   NLD            State change         X Federal change                                               have not previously done so.            Federal Schedule
                            If a federal change, check one:                                                                                  Federal Form 8886            X M-3, Part II, Line 10
                                   Partial agreed          X Finalized                                                          S     Check this box if you are making a discharge of
                            Enter the finalization date                                                                               indebtedness adjustment on Line 48. Attach
                            Attach your federal finalization to this return.                                                          federal Form 982 and a detailed statement.
              J             Throwback adjustment - see instructions.                                                            T     Check this box if your business activity is
              K             Double throwback adjustment - see instructions.                                                           protected under Public Law 86-272.
              L             Check this box if you are a 52/53 week filer.

   STOP Explain the changes on this return (Attach a separate sheet if necessary.)
         SEE STATEMENT 1

Step 2: Figure your ordinary income or loss                                                                                               A                                          B
                                                                                                                              As most recently reported or                   Corrected amount
L                                                                                                                             adjusted (Whole dollars only)                 (Whole dollars only)
Form IL-1120-ST-X-V here.




                                                                                                                                     2,480,253 .00                                   59,583
 Attach your payment and




                      1 Ordinary income or loss or equivalent from U.S. Schedule K.                                       1                                         1                              .00
                      2 Net income or loss from all rental real estate activities.                                        2                             .00         2                              .00
                      3 Net income or loss from other rental activities.                                                  3                             .00         3                              .00
                      4 Portfolio income or loss.                                                                         4                 9,023 .00               4                  9,023       .00
                      5 Net IRC Section 1231 gain or loss.                                                                5                             .00         5                              .00
                      6 All other items of income or loss that were not included in the
                        computation of income or loss on Page 1 of U.S. Form 1120S.
                        Identify:                                                                                         6                                  .00    6                              .00
K                     7 Add Lines 1 through 6. This is your ordinary income.                                              7              2,489,276           .00    7                68,606        .00
Step 3: Figure your unmodified base income or loss
                 8 Charitable contributions.                                                                             8                                   .00    8                              .00
                 9 Expense deduction under IRC Section 179.                                                              9                                   .00    9                              .00
                10 Interest on investment indebtedness.                                                                 10                                   .00   10                              .00
                11 All other items of expense that were not deducted in the computation
                   of ordinary income or loss on Page 1 of U.S. Form 1120S.
                   Identify:                                                                                            11                                   .00   11                              .00
                12 Add Lines 8 through 11.                                                                              12                                   .00   12                              .00
                13 Subtract Line 12 from Line 7. This is your
                   total unmodified base income or total loss.                                                          13               2,489,276           .00   13                68,606        .00

                                                                  This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                               ID: 2BX   IL-1120-ST-X (R-12/20)
                                                   information is REQUIRED. Failure to provide information could result in a penalty.
                                Case 2:23-bk-02376-EPB
                               049361 12-22-20                    Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42 Page                  1 of 5
                                                                                                                                      Desc
                                                             Main Document                         Page 107 of 281
                                                                                                     A                                      B
                                                                                              As most recently                          Corrected
Step 4: Figure your income or loss                                                          reported or adjusted                         amount
 14   Enter the amounts from Line 13. Unitary filers, see instructions.            14            2,489,276         .00   14                   68,606           .00
 15   State, municipal, and other interest income excluded from Line 14.           15                              .00   15                                    .00
 16   Illinois replacement tax and surcharge deducted in arriving at Line 14.      16                              .00   16                                    .00
 17   Illinois Special Depreciation addition. Attach Form IL-4562.                 17                              .00   17                                    .00
 18   Related-Party Expenses addition. Attach Schedule 80/20.                      18                              .00   18                                    .00
 19   Distributive share of additions. Attach Schedule(s) K-1-P or K-1-T.          19                              .00   19                                    .00
 20   The amount of loss distributable to a shareholder subject to
      replacement tax. Attach Schedule B.                                          20                              .00   20                                    .00
 21 Other additions. Attach Schedule M (for businesses).                           21                              .00   21                                    .00
 22 Add Lines 14 through 21. This is your total income or loss.                    22            2,489,276         .00   22                   68,606           .00

Step 5: Figure your base income or loss
 23 Interest income from U.S. Treasury and exempt federal obligations.             23                              .00   23                                    .00
 24 Share of income distributable to a shareholder subject to
    replacement tax. Attach Schedule B.                                            24                              .00   24                                    .00
 25 River Edge Redevelopment Zone Dividend subtraction. Attach
    Schedule 1299-A.                                                               25                              .00   25                                    .00
 26 River Edge Redevelopment Zone Interest subtraction. Attach
    Schedule 1299-A.                                                               26                              .00   26                                    .00
 27 High Impact Business Dividend subtraction. Attach Schedule 1299-A.             27                              .00   27                                    .00
 28 High Impact Business Interest subtraction. Attach Schedule 1299-A.             28                              .00   28                                    .00
 29 Contribution subtraction. Attach Schedule 1299-A.                              29                              .00   29                                    .00
 30 Illinois Special Depreciation subtraction. Attach Form IL-4562.                30                              .00   30                                    .00
 31 Related-Party Expenses subtraction. Attach Schedule 80/20.                     31                              .00   31                                    .00
 32 Distributive share of subtractions. Attach Schedule(s) K-1-P or K-1-T.         32                              .00   32                                    .00
 33 Other subtractions. Attach Schedule M (for businesses).                        33              317,719         .00   33               317,719              .00
 34 Total subtractions. Add Lines 23 through 33.                                   34              317,719         .00   34               317,719              .00
 35 Base income or loss. Subtract Line 34 from Line 22.                            35            2,171,557         .00   35              -249,113              .00

         A If the amount on Line 35 is derived inside Illinois only, check this box and enter the amount from Step 5, Line 35
           on Step 7, Line 47. You may not complete Step 6. (You must leave Step 6, Lines 36 through 46 blank.)
            Note    | If you are a unitary filer, do not check this box. Check the box on Line B and complete Step 6.
STOP
         B If any portion of the amount on Line 35 is derived outside Illinois, or you are a unitary filer, check this box and                              X
           complete all lines of Step 6. (Do not leave Lines 40 through 42 blank.) See instructions.

Step 6: Figure your income allocable to Illinois                       (Complete only if you checked the box on Line B, above.)
 36 Nonbusiness income or loss. Attach Schedule NB.                                   36                         0 .00 36                                  0   .00
 37 Business income or loss included in Line 35 from non-unitary
    partnerships, partnerships included on a Schedule UB, S corporations,
    trusts, or estates. See instructions.                                             37                         0 .00 37                    0                 .00
 38 Add Lines 36 and 37.                                                              38                         0 .00 38                    0                 .00
 39 Business income or loss. Subtract Line 38 from Line 35.                           39         2,171,557          .00 39            -249,113                 .00
 40 Total sales everywhere. This amount cannot be negative.                           40        10,783,048 .00 40                   10,783,048                 .00
 41 Total sales inside Illinois. This amount cannot be negative.                      41         1,639,117 .00 41                    1,639,117                 .00
 42 Apportionment  factor. Divide Line 41 by Line 40. Round   to six decimal places.  42        .152009                   42        .152009
 43 Business income or loss apportionable to Illinois. Multiply Line 39 by Line 42.   43             330,096 .00 43                    -37,867                 .00
 44 Nonbusiness income or loss allocable to Illinois. Attach Schedule NB. 44                                     0 .00 44                    0                 .00
 45 Business income or loss apportionable to Illinois from non-unitary
    partnerships, partnerships included on a Schedule UB,
    S corporations, trusts, or estates. See instructions.                             45                         0 .00 45                         0            .00
 46 Base income or loss allocable to Illinois. Add Lines 43 through 45.               46             330,096        .00 46                  -37,867            .00




       Page 2 of 5    049362 12-22-20        Printed by the authority of the State of Illinois                        ID: 2BX     IL-1120-ST-X (R-12/20)
        Case 2:23-bk-02376-EPB                   Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                             Desc
                                                Main Document   Page 108 of 281
                                                                                                          A                                        B
                                                                                                   As most recently                            Corrected
Step 7: Figure your net income                                                                   reported or adjusted                           amount
   47   Base income or net loss from Step 5, Line 35 or Step 6, Line 46.                    47          330,096           .00   47               -37,867            .00
   48   Discharge of indebtedness adjustment. Attach U.S. Form 982.                         48                            .00   48                                  .00
   49   Adjusted base income or net loss. Add Lines 47 and 48.                              49          330,096           .00   49               -37,867            .00
   50   Illinois net loss deduction. If Line 49 is zero or a negative amount, enter zero.   50          330,096           .00   50                     0            .00
        Check this box and attach a detailed statement if you have merged losses.
   51 Net income. Subtract Line 50 from Line 49.                                            51                            .00   51               -37,867            .00

Step 8: Figure your net replacement tax, surcharge, and pass-through withholding you owe
   52   Replacement tax. Multiply Line 51 by 1.5% (.015).                                   52                            .00   52                             0    .00
   53   Recapture of investment credits. Attach Schedule 4255.                              53                            .00   53                                  .00
   54   Replacement tax before investment credits. Add Lines 52 and 53.                     54                            .00   54                                  .00
   55   Investment credits. Attach Form IL-477.                                             55                            .00   55                                  .00
   56   Net replacement tax. Subtract Line 55 from Line 54. If negative, enter zero.        56                        0   .00   56                             0    .00
   57   Compassionate Use of Medical Cannabis Program Act surcharge. See instr.             57                        0   .00   57                             0    .00
   58 Sale of assets by gaming licensee surcharge. See instructions.                        58                        0   .00   58                             0    .00
   59 Pass-through withholding you owe on behalf of your members. Enter the amount
      from Schedule B, Section A, Line 9. See instr. Attach Schedule B.            59                      16,340         .00   59                             0    .00
   60 Total net replacement tax, surcharges, and pass-through
      withholding you owe. Add Lines 56 through 59.                                60                      16,340         .00   60                             0    .00

Step 9: Figure your refund or balance due
   61 Payments. See instructions.
      a Credits from previous overpayments.                                                                              61a                                        .00
      b Total payments made before the date this amended return is filed.                                                61b                                        .00
      c Pass-through withholding reported to you on Schedule(s)
          K-1-P or K-1-T. Attach Schedule(s) K-1-P or K-1-T.                                                             61c                                        .00
      d Illinois gambling withholding. Attach Form(s) W-2G.                                                              61d                                        .00
   62 Total payments. Add Lines 61a through 61d.                                                                          62                                        .00
   63 Previously paid penalty and interest. See instructions.                                                             63                                        .00
   64 Total amount of overpayment (including any carryforward or refund) before the filing of this return
      for the year being amended. See instructions.                                                                       64                                        .00
   65 Add Lines 63 and 64.                                                                                                65                                        .00
   66 Net tax paid. Subtract Line 65 from Line 62.                                                                        66                                        .00
   67 Overpayment. If Line 66 is greater than Line 60, subtract Line 60 from Line 66.                                     67                                        .00
   68 Amount of overpayment from Line 67 to be credited forward. See instructions.                                        68                                        .00
      Check this box and attach a detailed statement if this carryforward is going to a different FEIN.
   69 Refund. Subtract Line 68 from Line 67. This is the amount to be refunded.                                           69                                        .00
   70 Tax due with this amended return . If Line 60 is greater than Line 66, subtract Line 66 from Line 60.               70                                        .00
       Note     | You will be sent a bill for any additional penalty and interest.
   | If you owe tax on Line 70, complete a payment voucher, Form IL-1120-ST-X-V. Write your FEIN, tax year ending, and "IL-1120-ST-X-V" on your


                                        )
      check or money order and make it payable to "Illinois Department of Revenue." Attach your voucher and payment to the first page of this form.
                    Special                Enter the amount of your payment on the top of Page 1 in the space provided.
                             Note

Step 10: Sign below - Under penalties of perjury, I state that I have examined this return and, to the best of my knowledge, it is true, correct, and complete.
Sign                                                                                                                             X   Check if the Department may
Here                                                                    PRESIDENT                                               discuss this return with the paid
      Signature of authorized officer    Date (mm/dd/yyyy) Title                         Phone                   preparer shown in this step.
Paid      LYUDMILA EISENMAN, CPA                                  LYUDMILA EISEN03/21/2022                            Check if P01272545
Preparer   Print/Type paid preparer's name                         Paid preparer's signature Date (mm/dd/yyyy) self-employed Paid Preparer's PTIN
Use Only   Firm's name      | BEACHFLEISCHMAN PLLC                                            Firm's FEIN    | XX-XXXXXXX
           Firm's address |    1985     E.     RIVER       ROAD,      SUITE       201     T   Firm's phone | 520-321-4600
                       | Mail this return to: Illinois Department of Revenue, P.O. Box 19016, Springfield, IL 62794-9016


         049363
         12-22-20    IL-1120-ST-X (R-12/20)   ID: 2BX                                                                                        Page 3 of 5
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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
IL-1120-ST-X                                                     STATEMENT   1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

THE FEDERAL FORM 1120S WAS AMENDED TO CORRECT LINE 1A GROSS RECEIPTS. THIS
CORRECTION INCLUDES A $2,420,670 ADJUSTMENT RELATED TO THE CHANGE IN THE
CORPORATION'S ALLOWANCE FOR DOUBTFUL ACCOUNTS, WHICH WAS RESTATED FROM THE
PRIOR TAX YEAR ON THE REVIEWED FINANCIAL STATEMENTS.




       Case 2:23-bk-02376-EPB                                               STATEMENT(S)
                                 Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42  Desc    1
                                Main Document   Page 110 of 281
                                                              Illinois Department of Revenue
                                                              2020     Form IL-1120-ST
                                                              Small Business Corporation Replacement Tax Return
                                       Due on or before the 15th day of the 3rd month following the close of the tax year.
                       If this return is not for calendar year 2020, enter your fiscal tax year here.                                                                                Enter the amount you are paying.
                         Tax year beginning                          , ending
                                                                       month    day   year         month   day   year
                                                                                                                           $
                                   WARNING This form is for tax years ending on or after December 31, 2020, and before December 31, 2021.
                For all other situations, see instructions to determine the correct form to use.
   Step 1: Identify your small business corporation                                           L Enter your federal employer identification number (FEIN).
     A Enter your complete legal business name.                                                  XX-XXXXXXX
        If you have a name change, check this box.                                           M          Check this box if you are a member of a unitary
        Name: AEROCARE MEDICAL TRANSPORT SYSTEM,
                                                                                                 business group, and enter the FEIN of the member who
                                                                                                 prepared the Schedule UB, Combined Apportionment for
     B Enter your mailing address.                                                               Unitary Business Group. Attach Schedule UB to this return.
        Check this box if either of the following apply:
        ¥ this is your first return, or                                                X     N Enter your North American Industry Classification
        ¥ you have an address change.                                                            System (NAICS) Code. See instructions.
        C/O:                                                                                     621900
                                                                                             O Enter your Illinois corporate file (charter) number issued
        Mailing address:43W450 US HIGHWAY 30                                                     by the Secretary of State.
        City: SUGAR GROVE                                State:IL ZIP:60554
     C If this is the first or final return, check the applicable box(es).                    P Enter the city, state, and ZIP code where your accounting
               First return                                                                      records are kept. (Use the two-letter postal abbreviation,
               Final return (Enter the date of termination.                       )              e.g., IL, GA, etc.)
                                                                mm   dd      yyyy
     D If this is a final return because you sold this business, enter the date sold             SUGAR        GROVE                IL           60554
        (mm dd yyyy)                              , and the new owner's FEIN.                    City                              State ZIP
                                                                                             Q If you are making the business income election to
     E Apportionment Formulas. Check the appropriate box or boxes and see                        treat all nonbusiness income as business income,
        the Apportionment Formula instructions.                                                  check this box and enter zero on Lines 36 and 44.
               Financial organizations                X Transportation companies              R If you have completed the following, check the box and
               Federally regulated exchanges               Sales companies                       attach the federal form(s) to this return.
                                                                                                                                         Federal Sch. M-3,
     F Check this box if you attached Form IL-4562.                                                     Federal Form 8886                Part II, Line 10
     G Check this box if you attached Illinois Schedule M (for businesses).            X      S If you are making a discharge of indebtedness
                                                                                                 adjustment on Form IL-1120-ST, Line 48,
     H Check this box if you attached Schedule 80/20.                                            check this box and attach federal Form 982
     I Check this box if you attached Schedule 1299-A.                                           and a detailed statement.
                                                                                              T Check this box if your business activity is
     J Check this box if you attached the Subgroup Schedule.                                     protected under Public Law 86-272.
     K Check this box if you are a 52/53 week filer.
   Step 2: Figure your ordinary income or loss                                                                                       (Whole dollars only)
      1 Ordinary income or loss, or equivalent from federal Schedule K.                                                      1                  59,583 .00
      2 Net income or loss from all rental real estate activities.                                                           2                              .00
      3 Net income or loss from other rental activities.                                                                     3                              .00
                                                                                                                                                   9,023 .00
   §




      4 Portfolio income or loss.                                                                                            4
Attach your payment and Form IL-1120-ST-V here.




      5 Net IRC Section 1231 gain or loss.                                                                                   5                              .00
      6 All other items of income or loss that were not included in the computation of income or loss on
           Page 1 of U.S. Form 1120-S. See instructions.
           Identify:                                                                                                         6                              .00
      7    Add  Lines  1  through   6. This is your ordinary income or loss.                                                 7                  68,606 .00

                                                  Step 3: Figure your unmodified base income or loss
                                                   8 Charitable contributions.                                                                                                         8                            .00
                                                   9 Expense deduction under IRC Section 179.                                                                                          9                            .00
                                                  10 Interest on investment indebtedness.                                                                                             10                            .00
                                                  11 All other items of expense that were not deducted in the computation of ordinary income or loss on
                                                     Page 1 of U.S. Form 1120-S. See instructions.
                                                     Identify:                                                                                                                        11                            .00


      ;
                                                  12 Add Lines 8 through 11.                                                                                                          12                            .00
                                                  13 Subtract Line 12 from Line 7. This amount is your total unmodified base income or loss.                                          13                  68,606    .00


                                                                               IR     NS      DR                 This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                         Case 2:23-bk-02376-EPB
                                                                            ID: 2BX Doc 1
                                                       049301 12-01-20 IL-1120-ST (R-12/20)
                                                                                            Filed
                                                                                            information04/13/23
                                                                                                        is REQUIRED. FailureEntered         04/13/23
                                                                                                                            to provide information could result16:03:42
                                                                                                                                                               in a penalty.   Desc
                                                                                                                                                                             Page 1 of 5
                                                                                   Main Document             Page 111 of 281
       AEROCARE MEDICAL TRANSPORT SYS                                                                                    XX-XXXXXXX




Step 4: Figure your income or loss
  14   Enter the amount from Line 13. Unitary filers, enter the amount from Schedule UB, Step 2, Col E, Line 30.   14                   68,606            .00
  15   State, municipal, and other interest income excluded from Line 14.                                          15                                     .00
  16   Illinois replacement tax and surcharge deducted in arriving at Line 14.                                     16                                     .00
  17   Illinois Special Depreciation addition. Attach Form IL-4562.                                                17                                     .00
  18   Related-Party Expenses addition. Attach Schedule 80/20.                                                     18                                     .00
  19   Distributive share of additions. Attach Schedule(s) K-1-P or K-1-T.                                         19                                     .00
  20   The amount of loss distributable to a shareholder subject to replacement tax. Attach Schedule B.            20                                     .00
  21   Other additions. Attach Illinois Schedule M (for businesses).                                               21                                     .00
  22   Add Lines 14 through 21. This amount is your income or loss.                                                22                   68,606            .00

Step 5: Figure your base income or loss
  23 Interest income from U.S. Treasury or other exempt federal
     obligations.                                                            23                             .00
  24 Share of income distributable to a shareholder subject to
     replacement tax. Attach Schedule B.                                     24                             .00
  25 River Edge Redevelopment Zone Dividend subtraction.
     Attach Schedule 1299-A.                                                 25                             .00
  26 River Edge Redevelopment Zone Interest subtraction.
     Attach Schedule 1299-A.                                                 26                             .00
  27 High Impact Business Dividend subtraction. Attach Sch. 1299-A.          27                             .00
  28 High Impact Business Interest subtraction. Attach Sch. 1299-A.          28                             .00
  29 Contribution subtraction. Attach Schedule 1299-A.                       29                             .00
  30 Illinois Special Depreciation subtraction. Attach Form IL-4562.         30                             .00
  31 Related-Party Expenses subtraction. Attach Schedule 80/20.              31                             .00
  32 Distributive share of subtractions. Attach Sch(s) K-1-P or K-1-T.       32                             .00
  33 Other subtractions. Attach Schedule M (for businesses).                 33               317,719       .00
  34 Total subtractions. Add Lines 23 through 33.                                                                  34               317,719               .00
  35 Base income or loss. Subtract Line 34 from Line 22.                                                           35              -249,113               .00


           A      If the amount on Line 35 is derived inside Illinois only, check this box and enter the amount from Step 5, Line 35
STOP              on Step 7, Line 47. You may not complete Step 6. (You must leave Step 6, Lines 36 through 46 blank.)
                    Note | If you are a unitary filer, do not check this box. Check the box on Line B and complete Step 6.
           B      If any portion of the amount on Line 35 is derived outside Illinois, or you are a unitary filer, check this box and                    X
                  complete all lines of Step 6. (Do not leave Lines 40 through 42 blank.) See instructions.

Step 6: Figure your income allocable to Illinois (Complete only if you checked the box on Line B, above.)
  36 Nonbusiness income or loss. Attach Schedule NB.                                                        36                                       0   .00
  37 Business income or loss included in Line 35 from non-unitary partnerships, partnerships included on a
     Schedule UB, S corporations, trusts, or estates. See instructions.                                     37                         0                 .00
  38 Add Lines 36 and 37.                                                                                   38                         0                 .00
  39 Business income or loss. Subtract Line 38 from Line 35.                                                39                  -249,113                 .00
  40 Total sales everywhere. This amount cannot be negative.                        40     10,783,048
  41 Total sales inside Illinois. This amount cannot be negative.                   41      1,639,117
  42 Apportionment  factor. Divide Line 41 by Line 40. Round to six decimal places. 42  .152009
  43 Business income or loss apportionable to Illinois. Multiply Line 39 by Line 42.                        43                     -37,867               .00
  44 Nonbusiness income or loss allocable to Illinois. Attach Schedule NB.                                  44                           0               .00
  45 Business income or loss apportionable to Illinois from non-unitary partnerships, partnerships included
     on a Schedule UB, S corporations, trusts, or estates. See instructions.                                45                           0               .00
  46 Base income or loss allocable to Illinois. Add Lines 43 through 45.                                    46                     -37,867               .00




       049302
       12-01-20    Page 2 of 5                                                                                      ID: 2BX   IL-1120-ST (R-12/20)
         Case 2:23-bk-02376-EPB                   Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                     Desc
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        AEROCARE MEDICAL TRANSPORT SYS                                                                                                        XX-XXXXXXX



Step 7: Figure your net income
   47 Base income or net loss from Step 5, Line 35, or Step 6, Line 46.                                                             47                  -37,867              .00
   48 Discharge of indebtedness adjustment. Attach federal Form 982. See instructions.                                              48                        0              .00
   49 Adjusted base income or net loss. Add Lines 47 and 48.                                                                        49                  -37,867              .00

                                                                                                                         ;<    ;<
   50 Illinois net loss deduction. If Line 49 is zero or a negative amount, enter zero.                                             50                        0              .00
      Check this box and attach a detailed statement if you have merged losses.
   51 Net income. Subtract Line 50 from Line 49.                                                                                    51                  -37,867              .00

Step 8: Figure your net replacement tax, surcharge, and pass-through withholding you owe
   52 Replacement tax. Multiply Line 51 by 1.5% (.015).                                                                             52                                       .00
   53 Recapture of investment credits. Attach Schedule 4255.                                                                        53                                       .00
   54 Replacement tax before investment credits. Add Lines 52 and 53.                                                               54                                       .00
   55 Investment credits. Attach Form IL-477.                                                                                       55                                       .00
   56 Net replacement tax. Subtract Line 55 from Line 54. If the amount is negative, enter zero.                                    56                                       .00
   57 Compassionate Use of Medical Cannabis Program Act surcharge. See instructions.                                                57                                       .00
   58 Sale of assets by gaming licensee surcharge. See instructions.                                                                58                                       .00
   59 Pass-through withholding you owe on behalf of your members. Enter the amount from
      Schedule B, Section A, Line 9. See instructions. Attach Schedule B.                                                           59                                0      .00
   60 Total net replacement tax, surcharges, and pass-through withholding you owe.
      Add Lines 56, 57, 58, and 59.                                                                                                 60                                       .00

Step 9: Figure your refund or balance due
   61 Payments. See instructions.
      a Credits from previous overpayments.                                          61a                                      .00
      b Total payments made before the date this return is filed.                    61b                                      .00
      c Pass-through withholding reported to you on Schedule(s)
         K-1-P or K-1-T. Attach Schedule(s) K-1-P or K-1-T.                          61c                                      .00
      d Illinois gambling withholding. Attach Form(s) W-2G.                          61d                                      .00
   62 Total payments. Add Lines 61a through 61d.                                                                                    62                                       .00

                                                                                                                                ;<                                                 ;<
   63 Overpayment. If Line 62 is greater than Line 60, subtract Line 60 from Line 62.                                               63                                       .00


                                                                                                                        ;<    ;<
   64 Amount to be credited forward. See instructions.                                                                              64                                       .00
      Check this box and attach a detailed statement if this carryforward is going to a different FEIN.
   65 Refund. Subtract Line 64 from Line 63. This is the amount to be refunded.                                                     65                                       .00
   66 Complete to direct deposit your refund
       Routing Number                                                         Checking or         Savings
       Account Number
   67 Tax Due. If Line 60 is greater than Line 62, subtract Line 62 from Line 60. This is the amount you owe.                       67                                0      .00

   | If you owe tax on Line 67, make an electronic payment at Tax.Illinois.gov. If you must mail your payment, complete a payment voucher,
     Form IL-1120-ST-V. Write your FEIN, tax year ending, and "IL-1120-ST-V" on your check or money order and make it payable to "Illinois

                                   )
     Department of Revenue." Attach your voucher and payment to the first page of this form.
               Special
                        Note      Enter the amount of your payment on the top of Page 1 in the space provided.
Step 10: Sign below - Under penalties of perjury, I state that I have examined this return and, to the best of my knowledge, it is true, correct, and complete.
                                                                                                                                          X   Check if the Department may
Sign                                                                  PRESIDENT                                                          discuss this return with the paid
Here
      Signature of authorized officer      Date (mm/dd/yyyy) Title                        Phone                     preparer shown in this step.
Paid      LYUDMILA EISENMAN, CPA                                   LYUDMILA EISEN03/21/2022                              Check if P01272545
Preparer   Print/Type paid preparer's name                          Paid preparer's signature Date (mm/dd/yyyy) self-employed Paid Preparer's PTIN
Use Only   Firm's name       | BEACHFLEISCHMAN PLLC                                             Firm's FEIN    | XX-XXXXXXX
           Firm's address |     1985      E.    RIVER     ROAD,        SUITE       201     TU   Firm's phone | 520-321-4600
                     | If a payment is not enclosed, mail this return to:   | If a payment is enclosed, mail this return to:
                         Illinois Department of Revenue                        Illinois Department of Revenue
                         P.O. Box 19032                                        P.O. Box 19053
                         Springfield, IL 62794-9032                            Springfield, IL 62794-9053




        049303
        12-01-20   ID: 2BX     IL-1120-ST (R-12/20)                 Printed by the authority of the State of Illinois                                    Page 3 of 5
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                                                                                                                                                                                                    Year ending
                                                                                                                                                                                                    12         20
          Illinois Department of Revenue                                                                                                                                                          Month        Year
          2020 Schedule B
     Partners' or Shareholders' Information                                                                             Attach to your Form IL-1065 or Form IL-1120-ST.                               IL Attachment No. 1
AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                                               XX-XXXXXXX
Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                                                                            Enter your federal employer identification number (FEIN).

STOP Read this information first
¥ You must read the Schedule B instructions and complete Schedule(s) K-1-P and Schedule(s) K-1-P(3) before completing this schedule.
¥ You must complete Section B of Schedule B and provide all the required information for your partners or shareholders before completing Section A of Schedule B.
 Note | Failure to follow these instructions may delay the processing of your return or result in you receiving further correspondence from the Department. You may also be required to submit further
        information to support your filing.
Section A: Total members' information (from Schedule(s) K-1-P and Schedule B, Section B)
STOP Before completing this section you must first complete Schedule(s) K-1-P, Schedule(s) K-1-P(3) and Schedule B, Section B. You will use the amounts from those schedules when completing
        this section.
Totals for resident and nonresident partners or shareholders (from Schedule(s) K-1-P and Schedule B, Section B)
1   Enter the total of all nonbusiness income or loss you reported on Schedule(s) K-1-P for your members. See instructions.                                                          1


2   Enter the total of all income and replacement tax credits you reported on Schedule(s) K-1-P for your members. See instructions.                                                  2


3   Add the amounts shown on Schedule B, Section B, Column E for all partners or shareholders on all pages for which you have entered a
    check mark in Column D. Enter the total here. See instructions.                                                                                                                  3

Totals for nonresident partners or shareholders only (from Schedule B, Section B)
4   Enter the total pass-through withholding you reported on all pages of your Schedule B, Section B, Column J for your nonresident
    individual members. See instructions.                                                                                                                                            4


5   Enter the total pass-through withholding you reported on all pages of your Schedule B, Section B, Column J for your nonresident
    estate members. See instructions.                                                                                                                                                5


6   Enter the total pass-through withholding you reported on all pages of your Schedule B, Section B, Column J for your partnership
    and S corporation members. See instructions.                                                                                                                                     6


7   Enter the total pass-through withholding you reported on all pages of your Schedule B, Section B, Column J for your nonresident trust
    members. See instructions.                                                                                                                                                       7


8   Enter the total pass-through withholding you reported on all pages of your Schedule B, Section B, Column J for your C corporation
    members. See instructions.                                                                                                                                                       8


9   Add Line 4 through Line 8. This is the total pass-through withholding you owe on behalf of all your nonresident partners or shareholders.
    This amount should match the total amount from Schedule B, Section B, Column J for all nonresident partners or shareholders on all pages.
    Enter the total here and on Form IL-1065 (Form IL-1065-X), Line 60, or Form IL-1120-ST (Form IL-1120-ST-X), Line 59. See instructions.                                           9

                               This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                               information is REQUIRED. Failure to provide information could result in a penalty.              |   Attach all pages of Schedule B, Section B behind this page.
          Page 4 of 5                                                                                                                                                                Schedule B (R-12/20)   ID: 2BX
          049311 12-22-20
                                    Case 2:23-bk-02376-EPB                                Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                      Desc
                                                                                         Main Document   Page 114 of 281
     Illinois Department of Revenue
     2020 Schedule B
AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                                          XX-XXXXXXX
Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                                                                     Enter your federal employer identification number (FEIN).

Section B: Members' information (See instructions before completing.)
               A                            B          C           D                                  E                F               G                    H                                  I                 J
                                                        Partner or            Subject to Illinois   Member's     Excluded from Share of Illinois       Pass-through                   Distributable         Pass-through
                                                       Shareholder   SSN        replacement distributable amount pass-through income subject            withholding                     share of             withholding
                                                          type        or          tax or an          of base      withholding to pass-through              before                        credits               amount
                   Name and Address                                  FEIN           ESOP          income or loss                withholding               credits
                                                                                                                                  (If Column F is blank, complete Column G through Column J. Otherwise, enter zero
1   Name      JOSEPH D. CECE                                                                                                                                in Column G through Column J.)

    C/O

    Addr. 1   1936 E. MISSOURI AVENU
    Addr. 2

    City      PHOENIX          AZ 85016                 I                                        -249,113.00                               0.00                 0.00                               0.00              0.00
                               State         ZIP




2   Name

    C/O

    Addr. 1

    Addr. 2

    City
                               State         ZIP




3   Name

    C/O

    Addr. 1

    Addr. 2

    City
                               State         ZIP




4   Name

    C/O

    Addr. 1

    Addr. 2

    City
                               State         ZIP




5   Name
    C/O

    Addr. 1

    Addr. 2

    City
                               State         ZIP
       049312
       12-22-20   Note    | If you have more members than space provided, attach additional copies of this page as necessary.                          Printed by the authority of the State

       ID: 2BX    Schedule B (R-12/20)
                                         Case 2:23-bk-02376-EPB              Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42
                                                                                                                   of Illinois                                               Desc                         Page 5 of 5
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                           Illinois Department of Revenue                                                                                                       Year ending
                                                                                                                                                             12           20
                           2020 Schedule M                                                                                                                     Month         Year

                           Other Additions and Subtractions (for businesses)
                           For tax years ending on or after December 31, 2020.
                           Attach to your Form IL-1120, IL-1120-ST, IL-1065, or IL-1041.                                                                           IL Attachment No. 15
Step 1: Provide the following information

AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                              XX-XXXXXXX
Enter your name as shown on your tax return.                                                                                      Enter your federal employer identification number (FEIN)




Step 2: Figure your additions
Enter the amount of

  1 Capital gain taxed under IRC Section 852(b)(3).                                                                                                  1                                       .00
  2 Notes, bonds, debentures, or obligations issued by the Governments of American Samoa,
    Guam, the Northern Mariana Islands, Puerto Rico, or the Virgin Islands.                                                                          2                                       .00
  3 Lloyd's plan of operation loss if reported on your behalf on Form IL-1065 and included in
    your federal taxable income.                                                                                                                     3                                       .00
 4    Business expense recapture.                                                                                                                    4                                       .00
 5    Any other state's income tax deducted from federal taxable income. (Form IL-1041 filers only)                                                  5                                       .00
 6    Capital loss to be carried forward. (Form IL-1041 filers only)                                                                                 6                                       .00
 7    Student-Assistance Contribution Credit taken on Schedule 1299-A or 1299-D.                                                                     7                                       .00
 8    Dividends paid by a captive REIT.                                                                                                              8                                       .00
 9    Deduction allowed under IRC Section 250(a)(1)(A). (Form IL-1120 filers only)                                                                   9                                       .00
10    Other additions - Identify each item.                                                                                                         10                                       .00
11    Total additions.


                                                                                                                                      )
      Add Lines 1 through 10. Enter the amount here and on your Form IL-1120, Line 8,
      Form IL-1120-ST, Line 21, Form IL-1065, Line 22 or Form IL-1041, Line 10.                                                                     11                                       .00




Step 3: Figure your subtractions
Enter the amount of

12 Exempt interest dividends paid by regulated investment companies (IRC Section 852(b)(5)).                                                        12                                       .00
13 Notes, bonds, debentures, or obligations issued by the Governments of American Samoa, Guam,
   the Northern Mariana Islands, Puerto Rico, or the Virgin Islands to the extent the amounts were
   required to be added back on Line 2.                                                                                                             13                                       .00
14 Lloyd's plan of operation income if reported on your behalf on Form IL-1065.                                                                     14                                       .00
15 Income for which you claimed a credit under IRC Section 1341.                                                                                    15                                       .00
16 Expenses of federally tax-exempt income and federal credits.
   See instructions.
   Specify any amount relating to the following:
   a Interest expenses relating to municipal income (IRC Section 291)             a                                                           .00
   b Interest and other expenses related to federally tax-exempt
      interest (IRC Section 265)                                                  b                                                           .00
   c Bond premium amortization on federally tax-exempt
      bonds (IRC Section 171)                                                     c                                                           .00
   d Expenses related to certain federal credits (IRC Section 280C)               d                                                           .00
   e Change in insurance company reserves (IRC Section 807 or 832)                e                                                           .00
   f Reduction in depreciation related to railroad maintenance
      credits (IRC Section 45G)                                                    f                                                          .00
   g Gross income resulting from alternative energy credits (IRC Section 87) g                                                                .00
17 Add Lines 16a through 16g.                                                                                                                       17                                       .00
18 Add Lines 12 through 15 and Line 17. Enter the amount here and on Line 19.                                                                       18                                       .00




          049291 12-22-20                          This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                  information is REQUIRED. Failure to provide information could result in a penalty.
             Case 2:23-bk-02376-EPB
                       ID: 2BX
          Schedule M (R-12/20)
                                           Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                                                                 Desc
                                                                                                                                                                           Page 1 of 3
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Step 3: Continued

19 Enter the amount from Line 18.                                                                            19     .00


20 Interest on the following obligations of Illinois state and local government, only if included in
   Illinois income (see instructions). Attach a copy of the statement that identifies the payer
   and the amount of interest for each obligation.
   a Illinois Housing Development Authority bonds and notes (except
        housing-related commercial facilities bonds and notes)                     a                   .00
   b Illinois Development Finance Authority bonds, notes, and other
        obligations (venture fund and infrastructure bonds only)                   b                   .00
   c Illinois Sports Facilities Authority bonds                                    c                   .00
   d Illinois Development Finance Authority bonds (only those issued
        under the Illinois Development Finance Authority Act, Sections 7.80
        through 7.87)                                                              d                   .00
   e Illinois Development Finance Authority bonds or Illinois Finance
        Authority bonds issued under the Asbestos Abatement Finance Act            e                   .00
   f Bonds issued by the Illinois Finance Authority under the Illinois
        Finance Authority Act                                                      f                   .00
   g Southwestern Illinois Development Authority bonds                             g                   .00
   h Illinois Power Agency bonds issued by the Illinois Finance Authority
     under Other Powers Article in the Illinois Finance Authority Act              h                   .00
   i Central Illinois Economic Development Authority bonds issued under
     the Central Illinois Economic Development Authority Act                        i                  .00
   j Eastern Illinois Economic Development Authority bonds issued under
     the Eastern Illinois Economic Development Authority Act                        j                  .00
   k Southeastern Illinois Economic Development Authority bonds issued
     under the Southeastern Illinois Economic Development Authority Act             k                  .00
   l Southern Illinois Economic Development Authority bonds issued
     under the Southern Illinois Economic Development Authority Act                 l                  .00
   m Illinois Urban Development Authority bonds issued under the Illinois
     Urban Development Authority Act                                               m                   .00
   n Downstate Illinois Sports Facilities Authority bonds issued under the
     Downstate Illinois Sports Facilities Authority Act                            n                   .00
   o Western Illinois Economic Development Authority bonds issued under
     the Western Illinois Economic Development Authority Bonds Act                 o                   .00
   p Upper Illinois River Valley Development Authority bonds issued under
     the Upper Illinois River Valley Development Authority Act                     p                   .00
   q Will-Kankakee Regional Development Authority bonds issued under
     the Will-Kankakee Regional Development Authority Law                          q                   .00
   r Tri-County River Valley Development Authority bonds issued under
     the Tri-County River Valley Development Authority Law                          r                  .00
   s Quad Cities Regional Economic Development Authority bonds and
     notes (if declared to be exempt from taxation by the Authority)               s                   .00
   t Quad Cities Interstate Metropolitan Authority bonds                           t                   .00
   u Rural Bond Bank Act bonds and notes                                           u                   .00
   v Bonds issued under the Export Development Act of 1983                         v                   .00
   w College savings bonds issued under the General Obligation
     Bond Act in accordance with the Baccalaureate Savings Act                     w                   .00
   x New Harmony Bridge Authority bonds                                            x                   .00
   y New Harmony Bridge Bi-State Commission bonds                                  y                   .00
21 Add Lines 20a through 20y.                                                                                21     .00
22 Add Lines 19 and 21. Enter the amount here and on Line 23.                                                22     .00




        Case
       Page 2 of 32:23-bk-02376-EPB
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                                                                                             Schedule M (R-12/20)
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Step 3: Continued

23 Enter the amount from Line 22.                                                                23                 .00
24 Federally taxed Illinois state refund from prior years.                                       24                 .00
25 Dividends received, including IRC Section 78 Foreign Dividend Gross-up and
   subpart F income. (Form IL-1120-ST filers only)                                               25                 .00
26 Contributions made to a job training project. See instructions.
   (Form IL-1120-ST and Form IL-1065 filers only)                                                26                 .00
27 Reparations or other amounts received as a victim of persecution
   by Nazi Germany. (Form IL-1041 filers only)                                                   27                 .00
28 Income eligible for a deduction by an attorney-in-fact under IRC Section 835.                 28                 .00
29 Income from Illinois pre-need funeral, burial, and cemetery trusts.                           29                 .00
30 Income earned by nuclear decommissioning trusts established under the Public Utilities Act.   30                 .00
31 Recovery of items previously deducted on Form U.S. 1040 Schedule A, filed by the
   decedent (including refunds of any state and local income taxes, other than Illinois).
   (Form IL-1041, Estate filers only)                                                            31                 .00
32 Refunds of state income taxes added back in a prior year on Schedule M, Line 5.
   (Form IL-1041 filers only)                                                                    32                 .00
33 Excess business loss disallowed by IRC Section 461(l)(1)(B). (Form IL-1041 filers only)       33                 .00
34 Unused patronage or nonpatronage loss amounts from Schedule INL.
   (Form IL-1120 filers only) See instructions. Identify the year you first made
   the Schedule INL, Step 2, Line 1a election.                                                   34                 .00
35 Eligible subtractions from Publication 101 that are not subtracted anywhere else. See
   instructions. Identify each item.     SEE STATEMENT 3                                         35   317,719       .00
36 Total subtractions.
   Add Lines 23 through 35.


                                                                                           )
   Enter the amount here and on Form IL-1120, Line 21, Form IL-1120-ST, Line 33,
   Form IL-1065, Line 33, or Form IL-1041, Line 24.                                              36   317,719       .00




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       Schedule M (R-12/20)049293 12-22-20
                                           Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42              Desc
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                                      Main Document       Page 118 of 281
  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
IL-1120-ST                        FOOTNOTES                      STATEMENT   2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

THIS IS AN AMENDED RETURN. THE FEDERAL FORM 1120S WAS
AMENDED TO CORRECT LINE 1A GROSS RECEIPTS. THIS CORRECTION
INCLUDES A $2,420,670 ADJUSTMENT RELATED TO THE CHANGE IN
THE CORPORATION'S ALLOWANCE FOR DOUBTFUL ACCOUNTS, WHICH WAS
RESTATED FROM THE PRIOR TAX YEAR ON THE REVIEWED FINANCIAL
STATEMENTS.

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
IL SCH M                      OTHER SUBTRACTIONS                 STATEMENT   3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                  AMOUNT
}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
FED/IL DIFFERENCE GAIN ON SALE OF 269GJ LEARJET                              174,756.00
IL DEPRECIATION IN EXCESS OF FEDERAL                                         142,963.00
                                                                         }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M, PAGE 3, LINE 35                                         317,719.00
                                                                         ~~~~~~~~~~~~~~




       Case 2:23-bk-02376-EPB                                           STATEMENT(S)
                                 Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42 Desc 2, 3
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              Illinois Department of Revenue                                                                                                                  Year ending
                                                                                                                                                              12      20
              Schedule K-1-P                                                                                                                                  Month             Year
              Partner's or Shareholder's Share of Income, Deductions, Credits, and Recapture
              To be completed by partnerships filing Form IL-1065 or S corporations filing Form IL-1120-ST. CORRECTED                                        IL Attachment No. 12

              Partners and Shareholders receiving Schedule K-1-P should attach this to their Illinois tax return.

Step 1:          Identify your partnership or S corporation
 1 Check your business type                     partnership     X   S corporation                           3     XX-XXXXXXX
                                                                                                              Enter your federal employer identification number (FEIN).
 2   AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                 4 Enter the apportionment factor from Form IL-1065 or Form
     Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                        IL-1120-ST, Line 42. Otherwise, enter "1."        .152009

Step 2:          Identify your partner or shareholder

 5   JOSEPH D. CECE                                                                                         9a Check the appropriate box. See instructions.
     Name                                                                                                              X      individual                  corporation                     trust
 6   1936 E. MISSOURI AVENUE                                                                                                  partnership                 S corporation                   estate
     Mailing address

     PHOENIX, AZ 85016                                                                                      9b To be completed by the recipient on Line 5 only.
     City                                                                    State          ZIP                 I am a:      grantor trust         disregarded entity
 7                                                                                                              and the amounts on this schedule will be reported by:
     Social Security number or FEIN
                                                                                                                Name:
 8   100.000000                                                                                                 SSN or FEIN:
     Share (%)


Step 3:          Figure your partner's or shareholder's share of your nonbusiness income or loss
                                                                                                                               A                                               B
                                                                                                                       Member's share                                  Member's share
                                                                                                                      (See instructions.)                             allocable to Illinois
10   Interest                                                                                              10
11   Dividends                                                                                             11
12   Rental income                                                                                         12
13   Patent royalties                                                                                      13
14   Copyright royalties                                                                                   14
15   Other royalty income                                                                                  15
16   Capital gain or loss from real property                                                               16
17   Capital gain or loss from tangible personal property                                                  17
18   Capital gain or loss from intangible personal property                                                18
19   Other income and expense                                                                              19
                                      Specify

Step 4:          Figure your partner's or shareholder's share of your business income or loss
                                                                                                                              A                                                 B
                                                                                                                       Member's share
                                                                                                                   from U.S. Schedule K-1,                           Member's share
                                                                                                                  less nonbusiness income                          apportioned to Illinois

20   Ordinary income or loss from trade or business activity                                               20                     59,583                                               9,057
21   Net income or loss from rental real estate activities                                                 21
22   Net income or loss from other rental activities                                                       22
23   Interest                                                                                              23                        9,023                                             1,372
24   Dividends                                                                                             24
25   Royalties                                                                                             25
26   Net short-term capital gain or loss                                                                   26
27   Net long-term capital gain or loss. Total for year.                                                   27
28   Unrecaptured Section 1250 gain                                                                        28
29   Guaranteed payments to partner (U.S. Form 1065 only)                                                  29
30   Net Section 1231 gain or loss (other than casualty or theft). Total for year.                         30
31   Other income and expense                                                                              31
                                      Specify



            049131 12-22-20                                                                 This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                                             information is REQUIRED. Failure to provide this information could result in a penalty.
              Case 2:23-bk-02376-EPB
                               ID: 2BX
            Schedule K-1-P page 1 of 2 (R-12/20)
                                                               Doc 1 Filed 04/13/23           Entered 04/13/23 16:03:42 Desc
                                                              Main Document    Page 120 of 281 SHAREHOLDER NUMBER                                                                             1
         Enter identification number from Line 7.




Step 5:       Figure your partner's or shareholder's share of Illinois additions and subtractions
K-1-P Recipient: Before using the information provided in Step 5, you must read
Schedule K-1-P(2) to correctly report the amounts listed in Columns A and B.                                  A                                   B
                                                                                                     Member's share from             Member's share apportioned or
    Additions                                                                                     Form IL-1065 or IL-1120-ST             allocated to Illinois
 32 Federally tax-exempt interest income                                                  32
 33 Illinois replacement tax and surcharge deducted                                       33
 34 Illinois Special Depreciation addition                                                34
 35 Related-Party Expenses addition                                                       35
 36 Distributive share of additions                                                       36
 37 Other additions (from Illinois Schedule M for businesses)                             37
   Subtractions
38 a Interest from U.S. Treasury obligations (business income)                            38a
   b Interest from U.S. Treasury obligations (nonbusiness income)                         38b
39 River Edge Redevelopment Zone Dividend subtraction                                     39
40 High Impact Business Dividend subtraction                                              40
41 Contribution subtraction (Form IL-1120-ST filers only)                                 41
42 Interest subtraction - River Edge Redevelopment Zone
   (Form IL-1120-ST financial organizations only)                                         42
43 Interest subtraction - High Impact Business within a Foreign
   Trade Zone (Form IL-1120-ST financial organizations only)                              43
44 Illinois Special Depreciation subtraction                                              44
45 Related-Party Expenses subtraction                                                     45
46 Distributive share of subtractions                                                     46
47 Other subtractions (from Illinois Schedule M for businesses)                           47                  317,719                                 48,296

Step 6:       Figure your partner's or shareholder's (except a corporate partner or shareholder)
              share of your Illinois August 1, 1969, appreciation amounts          A                                                              B
                                                                                                      Member's share                      Member's share
                                                                                                   from Illinois Schedule F                apportioned or
                                                                                                (Form IL-1065 or IL-1120-ST)             allocated to Illinois

48   Section 1245 and 1250 gain                                                           48
49   Section 1231 gain                                                                    49
50   Section 1231 gain less casualty and theft gain. See instructions.                    50
51   Capital gain                                                                         51

Step 7:       Figure your partner's or shareholder's share of your Illinois credits, recapture,
              pass-through withholding and federal income subject to surcharge
                                                              Member's share from                                                      Member's share from
                                          Credit               Illinois tax return                                                      Illinois tax return
52   Illinois Income Tax Credits           Code
a    Film Production Services               5000    52a                              52u Other credits                         52u
b    Enterprise Zone Investment             5080    52b                               v Replacement Tax Investment Credits     52v
 c   Enterprise Zone Construction Jobs 5120         52c                                  See instructions.
d    High Impact Business Construction Jobs 5160    52d                              53 Recapture
e    Affordable Housing Donations           5260    52e                               a Enterprise Zone or River
 f   EDGE                                   5300    52f                                  Edge Redevelopment Zone
g    New Construction EDGE                  5320    52g                                  Investment Credit recapture           53a
h    Research and Development               5340    52h                               b Replacement Tax Investment
 i   Wages paid to Ex-Felons                5380    52i                                  Credit recapture                      53b
 j   Student-Assistance Contribution 5420           52j                               c Angel Investment Credit recapture      53c
 k   Angel Investment                       5460    52k                              54 Pass-through withholding
 l   New Markets Development                5500    52l                                  See instructions.                     54
m    River Edge Historic Preservation 5540          52m                              55 Federal income attributable to
n    River Edge Construction Jobs           5560    52n                                  transactions subject to the
                                                                                         Compassionate Use of Medical
o    Live Theater Production                5580    52o                                  Cannabis Program Act surcharge.
p    Hospital                               5620    52p                                  See instructions.                     55
q    Invest in Kids                         5660    52q                              56 Federal income attributable to the
 r   Data Center Construction Employment 5820       52r                                  sale or exchange of assets by a
                                                                                         gaming licensee surcharge.
 s   Apprenticeship Education Expense 0160          52s                                  See instructions.                     56
 t   Historic Preservation                  1030    52t
            Case 2:23-bk-02376-EPB
         049132 12-22-20
                                                         Doc 1 Filed 04/13/23 Entered 04/13/23    16:03:42
                                                                                       ID: 2BX Schedule                Desc
                                                                                                        K-1-P page 2 of 2 (R-12/20)
                                                        Main Document   Page 121 of 281 SHAREHOLDER NUMBER                                                       1
  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
IL SCH K-1-P MEMBER'S SHARE OF DISTRIBUTABLE BASE INCOME OR LOSS
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

1 ENTER THE SHARE OF INCOME FROM IL-1120-ST LINE 14 FOR
  THIS MEMBER (SCHEDULE K-1-P COLUMN A LINES 10-27 & 30-31)                $         68,606

2 ENTER THE SHARE OF ADDITIONS DISTRIBUTABLE TO THIS MEMBER
  FROM IL-1120-ST LINES 15-19 AND LINE 21                                                    0

3 ADD LINES 1 AND 2                                                                  68,606

4 ENTER THE SHARE OF SUBTRACTIONS DISTRIBUTABLE TO THIS MEMBER
  FROM IL-1120-ST LINES 23 AND 26-33                                                317,719

5 SUBTRACT LINE 4 FROM LINE 3                                              $       -249,113




       Case 2:23-bk-02376-EPB                                                SHAREHOLDER
                                 Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42  Desc    1
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                                                                                                                                                                            Year ending
            Illinois Department of Revenue                               Pass-through Withholding Calculation                                                               12      20
            2020 Schedule K-1-P(3)                                       for Nonresident Members                                                                           Month     Year
            To be completed by partnerships filing Form IL-1065 or S corporations filing Form IL-1120-ST.


Read this information first:
¥ For tax years ending on or after December 31, 2020, and before December 31, 2021.
¥ You must complete Schedule K-1-P(3) for each of your nonresident partners or shareholders who have not submitted a Form IL-1000-E to you.
¥ Do not complete Schedule K-1-P(3) for any member who is a resident or who has submitted Form IL-1000-E to you.
 Note | Keep this schedule with your income tax records. You must send us this information if we request it.

Step 1: Identify your partnership or S corporation
 1 AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                         2   XX-XXXXXXX
    Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                                 Enter your federal employer identification number (FEIN).

Step 2: Identify your nonresident partner or shareholder
 3 JOSEPH D. CECE                                                                                                 4
    Name                                                                                                              Social Security number or FEIN

  5 Check the appropriate box to identify this nonresident partner's or shareholder's organization type.
        X    individual              corporation                    trust                  partnership                 S corporation                    estate


Step 3:       Figure your nonresident partner's or shareholder's pass-through withholding
 Note     | If this member is a resident or has submitted Form IL-1000-E to you, do not complete this schedule for this member.
 6 Add the amounts from this member's Schedule K-1-P, Step 3, Column B, Lines 12 through 17 and 19 and
   enter the total here. This is your member's share of nonbusiness income allocable to Illinois
   before modifications and credits. See instructions before completing.                                                                                          6                         0
 7 Add the amounts from this member's Schedule K-1-P, Step 4, Column B, Lines 20 through 27 and 29
   through 31 and enter the total here. This is your member's share of business income allocable to Illinois
   before modifications and credits. See instructions before completing.                                                                                          7                10,429
 8 Add Line 6 and Line 7 and enter the result.                                                                                                                    8                10,429
 9 Add the amounts from this member's Schedule K-1-P, Column B, Lines 32 through 37 and enter the total
   here. This is your member's share of additions allocable to Illinois.                                                                                          9                     0
10 Add Line 8 and Line 9 and enter the result.                                                                                                                   10                10,429
11 Add the amounts from this member's Schedule K-1-P, Column B, Lines 38a through 47 and enter the total here.
   If this member is an individual, partnership, trust, or estate and received Illinois August 1, 1969, appreciation
   amounts from you, see instructions. This is your member's share of subtractions allocable to Illinois.                                                        11                48,296
12 Subtract Line 11 from Line 10. If negative, enter zero. This is your member's share of Illinois income
   subject to pass-through withholding. See instructions.                                                                                                        12                         0
Note | If this member is a nonresident individual or estate, enter zero on Lines 13 through 15 and go to Line 16.
13 Replacement tax before credits. If this member is a
      partnership, S corporation, or nonresident trust, multiply Line 12 by 1.5% (.015) and enter the result.
      corporation, multiply Line 12 by 2.5% (.025) and enter the result.                                                                                         13                         0
14 Enter the amount of Illinois replacement tax investment credits passed to this member and available for use this year.                                        14                         0
15 Subtract Line 14 from Line 13. If negative, enter zero. This is your member's share of replacement tax after credits.                                         15                         0
Note | If this member is a nonresident partnership or S corporation, enter zero on Lines 16 through 18 and go to Line 19.
16 Income Tax before credits. See instructions.                                                                                                               16                            0
17 Enter the amount of Illinois income tax credits passed to this member and available for use this year. See instructions.                                   17                            0
18 Subtract Line 17 from Line 16. If negative, enter zero. This is your member's share of income tax after credits.                                           18                            0

19 Add Lines 15 and 18 and enter the result. This is your member's total pass-through withholding.
   Report this amount on this member's Schedule K-1-P, Step 7, Line 54. You must also report this amount on your
   Form IL-1065 or Form IL-1120-ST, Schedule B, Section B, Column J, on the line which reports this member's amounts. 19                                                                    0
| Keep a copy of this schedule for each member with your income tax records. Do not send Schedule K-1-P(3) to your members
  or submit it to Illinois Department of Revenue unless we specifically request it from you.




                                                      This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                    information is REQUIRED. Failure to provide this information could result in a penalty.

            Case 2:23-bk-02376-EPB                                            Printed by the authority
                                       Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42             Desc of the State
                                 ID: 2BX
        049681 12-22-20 Schedule K-1-P(3) (R-12/20)                           of Illinois
                                   Main Document      Page 123 of 281
  2020 Form 355S
  MA20347011019
  S Corporation Excise Return

  Year beginning    01012020         Ending   12312020


  AEROCARE MEDICAL TRANSPORT SYSTE 36 3531506
  43W450 US HIGHWAY 30     SUGAR GROVE                                                                         IL 60554


        Check if:     X Amended return                X Federal amendment                    Federal audit        Member of lower-tier entity
                Enclosing Schedule TDS                  Final Massachusetts return                Initial return          Name change          X Address change
           Enclosing Schedule FCI           S election termination or revocation
  1. Check if the corporation is incorporated within Massachusetts
  2. Date of incorporation in Massachusetts
  3. Type of corporation               Section 38 manufacturer             Mutual fund service
  4. Type of corporation               R&D                                 Classified manufacturing
  5. Check if the corporation is filing a Massachusetts combined return
  6. FID of principal reporting corporation if answer to line 5 is Yes                                                              6
  7. Check if the corporation's tax year is different from the 355U
  8. Check if the corporation is the parent of another corporation
  9. Check if the corporation is requesting alternate apportionment
 10. Principal business code                                                                                                      10                    621900
 11. Average number of employees in Massachusetts                                                                                 11
 12. Average number of employees worldwide                                                                                        12
 13. Foreign corporation: first date of business in Massachusetts                                                                 13                07301987
 14. Last year audited by IRS                                                                                                     14
 15. Check if adjustments have been reported to Massachusetts
 16. Check if the corporation is deducting intangible or interest expenses paid to a related entity
 17. Check if:               Taxable only with respect to partnership activity             Taxpayer is claiming exemption from the income measure of the excise
      pursuant to PL 86-272
SIGN HERE. Under penalties of perjury, I declare that to the best of my knowledge and belief this return and enclosures are true, correct and complete.
Signature of appropriate officer                      Date                 Print paid preparer's name                       Paid preparer's SSN or PTIN
                                                                      LYUDMILA EISENMAN,                             P01272545
Title                                             Date                Paid preparer's phone                          Paid preparer's EIN
  PRESIDENT                                                           520 321 4600                                   86 0683059
Are you signing as an authorized delegate
of the appropriate officer of the corporation?                        Paid preparer's signature                      Date                  Check if self-employed
(see instructions)         Yes X No                      LYUDMILA EISENMAN, CPA                                      03212022
Taxpayer's e-mail address
JDC@AEROCARE.COM

Name of designated tax matters partner            Identifying number of tax matters partner


057921 12-08-20




                                                         PRIVACY ACT NOTICE AVAILABLE UPON REQUEST
                     03/21/2022 11:00:27


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  2020 Form 355S, pg. 2
  MA20347021019

  S Corporation Excise Return
  36 3531506




  1.   Taxable Massachusetts tangible property, if applicable                                                                   x .0026 = 1
  2.   Taxable net worth, if applicable                                                                                         x .0026 = 2
  3.   Qualifying taxable income and passive investment income                                                                  x .0800 = 3
  4.   Income                                                                                                                             4    9963756
  5.   Income taxable in Massachusetts                                                                                                    5        840
  6.   If line 4 is less than $6 million, enter "0." If line 4 is $6 million or more, but less than $9 million, multiply
       line 5 by .02. If line 4 is $9 million or more, multiply line 5 by .03                                                             6          25
  7.   Credit recapture                                                                                                                   7
  8.   Tax on installment sales                                                                                                           8
  9.   Excise before credits                                                                                                              9          25
 10.   Total credits                                                                                                                     10
 11.   Excise after credits                                                                                                              11          25
 12.   Combined filer tax due                                                                                                            12
 13.   Minimum excise                                                                                                                    13          456
 14.   Excise due before voluntary contribution                                                                                          14          456
 15.   Voluntary contribution for endangered wildlife conservation                                                                       15
 16.   Excise due plus voluntary contribution                                                                                            16          456
 17.   2019 overpayment applied to your 2020 estimated tax                                                                               17          190
 18.   2020 Massachusetts estimated tax payments                                                                                         18
 19.   Payment made with extension                                                                                                       19
 20.   Payment with original return                                                                                                      20
 21.   Pass-through entity withholding. Payer ID number                                                                                  21
 22.   Total refundable credits                                                                                                          22
 23.   Total payments                                                                                                                    23          190
 24.   Amount overpaid                                                                                                                   24
 25.   Amount overpaid to be credited to 2021 estimated tax                                                                              25
 26.   Amount overpaid to be refunded                                                                                                    26
 27.   Balance due                                                                                                         Balance due 27            266
 28.   a. M-2220 penalty                          b. Late file/pay penalties                                                     a + b = 28
 29.   Interest on unpaid balance                                                                                                        29
 30.   Total payment due at time of filing                                                                                    Total due 30           266


057922 12-08-20




                   03/21/2022 11:00:27


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   2020 Schedule A
   MA20060011019
   Balance Sheet




   AEROCARE MEDICAL TRANSPORT SYSTE 36 3531506

                                                                     A.          B. Accumulated        C.
                                                                  Original       depreciation and   Net book
Tangible Assets                                                     cost           amortization      value
   1. Capital assets in Massachusetts:
      a. Buildings                                         1a
      b. Land                                              1b
      c. Motor vehicles and trailers                       1c
      d. Machinery taxed locally                           1d
      e. Machinery not taxed locally                       1e
      f. Equipment                                         1f
      g. Fixtures                                          1g
      h. Leasehold improvements taxed locally              1h
      i. Leasehold improvements not taxed locally          1i
      j. Other fixed depreciable assets                    1j
      k. Construction in progress                          1k
      l. Total capital assets in Massachusetts             1l
   2. Inventories in Massachusetts:
      a. General merchandise                               2a
      b. Exempt goods                                      2b
   3. Supplies and other non-depreciable assets in Mass.    3
   4. Total tangible assets in Massachusetts                4
   5. Capital assets outside of Massachusetts:
      a. Buildings and other depreciable assets            5a
      b. Land                                              5b
   6. Leaseholds/leasehold improvements outside Mass.       6
   7. Total capital assets outside Massachusetts            7



 057403 12-08-20




                   03/21/2022 11:00:27


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   2020 Schedule A, pg. 2
   MA20060021019

   Business or Manufacturing Corporation Excise Return
   36 3531506




   8.   Inventories outside Massachusetts                                                  8
   9.   Supplies and other non-depreciable assets outside Massachusetts                    9
  10.   Total tangible assets outside of Massachusetts                                    10
  11.   Total tangible assets. Add lines 4 and 10                                         11
  12.   Investments:
        a. Investments in subsidiary corporations at least 80% owned                      12a
        b. Other investments                                                              12b
  13.   Notes receivable                                                                   13
  14.   Accounts receivable                                                                14
  15.   Intercompany receivables                                                           15
  16.   Cash                                                                               16
  17.   Other assets                                                                       17
  18.   Total assets                                                                       18


Liabilities and Capital
  19. Mortgages on:
      a. Massachusetts tangible property taxed locally                                    19a
      b. Other tangible assets                                                            19b
  20. Bonds and other funded debt                                                          20
  21. Accounts payable                                                                     21
  22. Intercompany payables                                                                22
  23. Notes payable                                                                        23
  24. Miscellaneous current liabilities                                                    24
  25. Miscellaneous accrued liabilities                                                    25
  26. Total liabilities                                                                    26
  27. Total capital stock issued                                                           27
  28. Paid-in or capital surplus                                                           28
  29. Retained earnings and surplus reserves                                               29
  30. Undistributed S corporation net income                                               30
  31. Total capital                                                                        31
  32. Treasury stock                                                                       32
  33. Total liabilities and capital                                                        33


 057404 12-08-20




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   2020 Schedule B
   MA20061011019
   Tangible or Intangible Property Corp. Classification




   AEROCARE MEDICAL TRANSPORT SYSTE 36 3531506

   1.   Total Massachusetts tangible property                                                1
   2.   Massachusetts real estate                                                            2
   3.   Massachusetts motor vehicles and trailers                                            3
   4.   Massachusetts machinery taxed locally                                                4
   5.   Massachusetts leasehold improvements taxed locally                                   5
   6.   Massachusetts tangible property taxed locally                                        6
   7.   Massachusetts tangible property not taxed locally                                    7
   8.   Total assets                                                                         8
   9.   Massachusetts tangible property taxed locally                                        9
  10.   Total assets not taxed locally                                                      10
  11.   Investments in subsidiaries at least 80% owned                                      11
  12.   Assets subject to allocation                                                        12
  13.   Income apportionment percentage                                                     13          .014347
  14.   Allocated assets                                                                    14
  15.   Tangible property percentage                                                        15          .000000

Schedule C. Tangible Property Corporation
   1. Total Massachusetts tangible property                                                  1
   2. Exempt Massachusetts tangible property:
      a. Massachusetts real estate                                                          2a
      b. Massachusetts motor vehicles and trailers                                          2b
      c. Massachusetts machinery taxed locally                                              2c
      d. Massachusetts leasehold improvements taxed locally                                 2d
      e. Exempt goods                                                                       2e
      f. Certified Massachusetts industrial waste/air treatment facilities                  2f
      g. Certified Massachusetts solar or wind power deduction                              2g
   3. Total exempt Massachusetts tangible property                                           3
   4. Taxable Massachusetts tangible property                                                4




 057405 12-08-20




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   2020 Schedule D
   MA20062011019
   Intangible Property Corporation
   36 3531506




   1.   Total assets                                                                         1
   2.   Total liabilities                                                                    2
   3.   Massachusetts tangible property taxed locally                                        3
   4.   Mortgages on Massachusetts tangible property taxed locally                           4
   5.   Subtract line 4 from line 3                                                          5                0
   6.   Investments in subsidiaries at least 80% owned                                       6
   7.   Deductions from total assets                                                         7
   8.   Allocable net worth                                                                  8                0
   9.   Income apportionment percentage                                                      9          .014347
  10.   Taxable net worth                                                                   10                0

Schedule E-1.                Dividends Deduction
   1.   Total dividends                                                                      1
   2.   Dividends from Massachusetts corporate trusts                                        2
   3.   Dividends from non-wholly-owned DISCs                                                3
   4.   Dividends, if less than 15% of voting stock owned                                    4
   5.   Dividends from RICs                                                                  5
   6.   Dividends from REITs                                                                 6
   7.   Total taxable dividends                                                              7
   8.   Dividends eligible for deduction                                                     8
   9.   Dividends deduction                                                                  9



 057406 12-08-20




                   03/21/2022 11:00:27


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  2020 Schedule E
  MA20064011019
  Taxable Income




  AEROCARE MEDICAL TRANSPORT SYSTE 36 3531506

  1.   Gross receipts or sales                                                                                           1    8362378
  2.   Gross profit                                                                                                      2    2818130
  3.   Other deductions                                                                                                  3    1226373
  4.   Net income                                                                                                        4      58281
  5.   Allowable U.S. wage credit                                                                                        5
  6.   Subtract line 5 from line 4                                                                                       6      58281
  7.   State and municipal bond interest not included in U.S. net income                                                 7
  8.   Foreign, state or local income, franchise, excise or capital stock taxes deducted from U.S. net income            8          1495
  9.   Section 168(k) "bonus" depreciation adjustment                                                                    9
 10.   Section(s) 31l and 31K intangible expenses                                                                       10
 11.   Section(s) 31J and 31K interest expenses                                                                         11
 12.   Reserved for future use                                                                                          12
 13.   Other adjustments, including research and development expenses                                                   13
 14.   Add lines 6 through 13                                                                                           14      59776
 15.   Abandoned building renovation deduction                                                                  x .10 = 15
 16.   Dividends deduction                                                                                              16
 17.   Add back of intangible expenses exception                                                                        17
 18.   Add back of interest expenses exception                                                                          18
 19.   Income subject to apportionment                                                                                  19      59776
 20.   Income apportionment percentage                                                                                  20    .014347
 21.   Multiply line 19 by line 20                                                                                      21        858
 22.   Income not subject to apportionment                                                                              22
 23.   Total net income allocated or apportioned to Massachusetts                                                       23           858
 24.   Certified Massachusetts solar or wind power deduction                                                            24
 25.   Massachusetts taxable income before NOL deduction                                                                25           858
 26.   Net operating loss deduction                                                                                     26            18
 27.   Massachusetts taxable income                                                                                     27           840
 28.   Net operating loss carryover                                                                                     28




057407 12-08-20




                  03/21/2022 11:00:27


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  2020 Schedule F
  MA20066011019
  Income Apportionment




  AEROCARE MEDICAL TRANSPORT SYSTE 36 3531506

  Fill in:        Section 38 manufacturer
                  Mutual fund service corporation reporting sales of mutual funds only
                  Mutual fund service corporation reporting sales of non-mutual funds
              X   Other
                  Change in method of calculating one or more factors from prior year

                                                                                                   ACCEPTS   REG. IN   FILES IN
  LOCATION                                                  STATE FACILITY TYPE                    ORDERS    STATE     STATE




Apportionment Factors
  1. Tangible property
     a. Property owned                                                    Massachusetts              Worldwide
     b. Property rented                                                   Massachusetts              Worldwide
     c. Total property owned and rented                                   Massachusetts              Worldwide
     d. Tangible property apportionment percentage                                                         1d
  2. Payroll
     a. Total payroll                                                     Massachusetts        0     Worldwide                     3145135
     b. Payroll apportionment percentage                                                                   2b                      .000000
  3. Sales
     a. Tangible (destination)                                            Massachusetts   232056
     b. Tangible (throw back)                                             Massachusetts        0     Worldwide                    10783048
     c. Services                                                          Massachusetts              Worldwide
     d. Rents and royalties                                               Massachusetts              Worldwide
     e. Other sales factors                                               Massachusetts              Worldwide
     f. Total sales factors                                               Massachusetts   232056     Worldwide                    10783048
     g. Sales apportionment percentage                                                                     3g                      .021520
  4. Apportionment percentage                                                                                4                     .043040
  5. Massachusetts apportionment percentage                                                                  5                     .014347

057691 12-08-20




                    03/21/2022 11:00:27


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    2020 Schedule NOL
    MA20639011019


    Year beginning   01012020         Ending   12312020


    AEROCARE MEDICAL TRANSPORT SYSTE 36 3531506
    Date of most recent ownership change 07301987
    1. Corporation's total income allocated or apportioned in Massachusetts for the year                                              1          858
    2. Fill in if the amount of NOL available for any year below is different from the NOL remaining as shown on last year's tax return
       Explain difference (see instructions)
    3. List the available losses by tax year end

                                 Post apportionment
     Period end date               NOL available                   NOL used or shared                   Remaining NOL
    12312013                                         0                                  0                                  0
    12312014                                         0                                  0                                  0
    12312015                                         0                                  0                                  0
    12312016                                         0                                  0                                  0
    12312018                                        18                                 18                                  0




078391 12-07-20




                      03/21/2022 12:25:53


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  2020 Schedule NOL, pg. 2
  MA20639021019

  36 3531506




  4. Total NOL available                                                              4                18
  5. Total NOL used or shared this year                                               5                18
  6. Total NOL not used                                                               6                 0
  7. Total NOL expired (if applicable)                                                7                 0
  8. Total NOL available for carryover to future years                                8                 0
  Complete if filing Form 355U


  9. Amount of NOL used by member against its own income (not shared)                 9




078392 12-07-20




                  03/21/2022 12:25:53


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                                              Massachusetts Department of Revenue
                                                         Schedule M-1                                                     2020
                                                      Federal Reconciliation
   For calendar year 2020 or taxable year beginning                                        and ending
   Name of corporation                                     Federal Identification number
    AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                              XX-XXXXXXX

   Part 1. Income and expenses
   1 Net sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1      8,362,378.

   2 Cost of goods sold ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2      5,544,248.

   3 Gross profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3      2,818,130.

   4 Dividends and inclusions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     4

   5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         5         9,023.

   6 Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           6

   7 Gross royalties~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         7

   8 Capital gains on net income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   8

   9 Net Gain or loss (from Form 4797) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                9       520,087.

   10 Other income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 10                                              1,072,268.

   11 Total income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 11                                             4,419,508.

   12 Compensation of officers deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 12                                    137,267.

   13 Salaries and wages deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 13                                      1,358,626.

   14 Repairs and maintenance deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 14                                      84,622.

   15 Bad debts deduction~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 15

   16 Rents deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 16                                             308,197.

   17 Taxes and licenses deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 17                                       270,438.

   18 Interest expense deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 18                                        237,894.

   19 Charitable contributions deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 19

   20 Depreciation deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 20                                           59,103.

   21 Depletion deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 21

   22 Advertising deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 22                                          428,909.

   23 Pension and profit sharing deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 23

   24 Employee benefit programs deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 24                                    249,798.

   25 Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 25

   26 Other deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 26                                            1,226,373.

   27 Total deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 27                                           4,361,227.

   28 Taxable income before NOL deduction and special deductions ~~~~~~~~~~~~~~~~~~~~~~~~~ 28                          58,281.




                 057181 01-26-21
          Case 2:23-bk-02376-EPB                               11
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11000321 759078 16439.0                       Main2020.05091
                                                   Document   AEROCARE
                                                              Page 134 ofMEDICAL
                                                                         281       TRANSPORT 16439_01
                                                                                                  2020 SCHEDULE M-1, PAGE 2



   Name of corporation                                             Federal Identification number
    AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                            XX-XXXXXXX

   Part 2. Corporate ownership
   1 At the end of the tax year did any foreign or domestic corporation, partnership, including any entity treated as a partnership, trust or
     tax-exempt organization own, directly or indirectly, more than 50% of the total voting power of all the corporation's stock entitled to vote?
                                                                                                                                              Yes
                                                                                                                                                     X No
                        a.                                 b. Federal                   c.                   d. Country of            e. Ownership
                   Name of entity                    Identification number         Type of entity            organization              percentage




   2 At the end of the tax year did the corporation own, directly or indirectly, 50% or more of the total voting power of all classes of
     stock entitled to vote of any foreign or domestic corporation?                                                                           Yes    X No

                        a.                                     b. Federal                        c. Country of                     d. Ownership
                Name of corporation                      Identification number                  incorporation                       percentage




                  057182 01-26-21
          Case 2:23-bk-02376-EPB                                   12
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11000321 759078 16439.0                           Main2020.05091
                                                       Document   AEROCARE
                                                                  Page 135 ofMEDICAL
                                                                             281       TRANSPORT 16439_01
  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                  FOOTNOTES                      STATEMENT   1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

THIS IS AN AMENDED RETURN. THE FEDERAL FORM 1120S WAS
AMENDED TO CORRECT LINE 1A GROSS RECEIPTS. THIS CORRECTION
INCLUDES A $2,420,670 ADJUSTMENT RELATED TO THE CHANGE IN
THE CORPORATION'S ALLOWANCE FOR DOUBTFUL ACCOUNTS, WHICH WAS
RESTATED FROM THE PRIOR TAX YEAR ON THE REVIEWED FINANCIAL
STATEMENTS.




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                                                           281       TRANSPORT 16439_01
   2020 Schedule S
   MA20090011019
   S Corporation Distributive Income




   AEROCARE MEDICAL TRANSPORT SYSTE 36 3531506

Classification Information
   1.   Gross receipts                                                                                                1    8362378
   2.   Net gain                                                                                                      2     520087
   3.   Gross income from rental real estate                                                                          3
   4.   Gross income from other rental activity                                                                       4
   5.   Interest income                                                                                               5          9023
   6.   Dividend income                                                                                               6
   7.   Royalty income                                                                                                7
   8.   Net short-term capital gain                                                                                   8
   9.   Net long-term capital gain                                                                                    9
  10.   Net gain under Section 1231                                                                                  10
  11.   Other income                                                                                                 11    1072268
  12.   Total income                                                                                                 12    9963756
  13.   Receipts from inter-company transactions                                                                     13
  14.   Total receipts excluding inter-company transactions                                                          14
  15.   Total aggregate receipts of related entities                                                                 15
  16.   Total of lines 14 and 15                                                                                     16
  17.   Amount from line 12 or 16                                                                                    17    9963756

S Corporation Information
  18. S-election effective date                                                                                      18   01012009
  19. Accounting method X Cash                    Accrual           Other
  20. How many Schedules SK-1 are attached to this return? Attach one for each person who was a shareholder at any
      time during the tax year                                                                                       20            1
  21. Fill in if any shareholders in this S corporation file as part of a nonresident composite income tax return    21
  22. If Yes, enter Federal Identification number under which the composite return is filed                          22
  23. Number of shareholders included in composite return                                                            23




 057501 12-09-20




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  MA20090021019

  S Corporation Distributive Income
  36 3531506




S Corporation Income
 24.   Ordinary business income or loss                                                                                          24      59583
 25.   Other income                                                                                                              25
 26.   Taxes deducted                                                                                                            26       1495
 27.   Subtotal                                                                                                                  27      61078
 28.   Other Massachusetts gains or losses                                                                                       28     520087
 29.   Subtotal                                                                                                                  29    -459009
 30.   Other adjustments                                                                                                         30
 31.   Massachusetts ordinary income or loss                                                                                     31    -459009
 32.   Real estate net income or loss                                                                                            32
 33.   Adjustments, if any, to line 32. Enter the line number and amount from U.S. Form 1120S to which the adjustment applies.
       a. Line number              Amount
       b. Line number              Amount
                                                                                                             Total adjustments   33
 34.   Adjusted Massachusetts net income or loss from rental real estate activities. Combine lines 32 and 33                     34
 35.   Other rental activity net income or loss                                                                                  35
 36.   Adjustments, if any, to line 35. Enter the line number and amount from U.S. Form 1120S to which the adjustment applies.
       a. Line number              Amount
       b. Line number              Amount
                                                                                                             Total adjustments   36
 37.   Adjusted Massachusetts net income or loss from other rental activities. Combine lines 35 and 36                           37
 38.   U.S. portfolio income                                                                                                     38          9023
 39.   Interest on U.S. obligations                                                                                              39
 40.   5.0% interest income                                                                                                      40
 41.   Other interest and dividend income                                                                                        41          9023
 42.   Foreign state and municipal bond interest                                                                                 42
 43.   Royalty income                                                                                                            43
 44.   Other income                                                                                                              44
 45.   Total short-term capital gains                                                                                            45
 46.   Total short-term capital losses                                                                                           46
 47.   Gain on property                                                                                                          47
 48.   Loss on property                                                                                                          48



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   AEROCARE MEDICAL TRANSPORT SYSTE 36 3531506

  49.   Net long-term capital gain or loss                                                49
  50.   Section 1231 net gain or loss                                                     50
  51.   Other long-term gains or losses                                                   51           520087
  52.   Long-term gains on collectibles                                                   52
  53.   Differences and adjustments                                                       53


Resident and Nonresident Reconciliation
  54. Nonresident shareholder portion of the following Schedule S lines
      a. Line 31                                                                          54a         -459009
      b. Line 34                                                                          54b
      c. Line 37                                                                          54c
      d. Line 40                                                                          54d
      e. Line 41                                                                          54e               9023
      f. Line 42                                                                          54f
      g. Line 43                                                                          54g
      h. Line 44                                                                          54h
      i. Line 45                                                                          54i
      j. Line 46                                                                          54j
      k. Line 47                                                                          54k
      l. Line 48                                                                          54l
      m. Line 49                                                                         54m
      n. Line 50                                                                          54n
      o. Line 51                                                                          54o          520087
      p. Line 52                                                                          54p
      q. Line 53                                                                          54q




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  MA20090041019

  S Corporation Distributive Income
  36 3531506




 55. Nonresident taxable income
     a. Line 54a times apportionment percentage                                     55a           -6585
     b. Line 54b times apportionment percentage                                     55b
     c. Line 54c times apportionment percentage                                     55c
     d. Line 54d times apportionment percentage                                     55d
     e. Line 54e times apportionment percentage                                     55e                129
     f. Line 54f times apportionment percentage                                     55f
     g. Line 54g times apportionment percentage                                     55g
     h. Line 54h times apportionment percentage                                     55h
     i. Line 54i times apportionment percentage                                     55i
     j. Line 54j times apportionment percentage                                     55j
     k. Line 54k times apportionment percentage                                     55k
     l. Line 54l times apportionment percentage                                     55l
     m. Line 54m times apportionment percentage                                    55m
     n. Line 54n times apportionment percentage                                     55n
     o. Line 54o times apportionment percentage                                     55o               7462
     p. Line 54p times apportionment percentage                                     55p
     q. Line 54q times apportionment percentage                                     55q




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  MA20090051019

  S Corporation Distributive Income
  36 3531506




 56. Resident shareholder value of Schedule S lines
     a. Line 31                                                                          56a
     b. Line 34                                                                          56b
     c. Line 37                                                                          56c
     d. Line 40                                                                          56d
     e. Line 41                                                                          56e
     f. Line 42                                                                          56f
     g. Line 43                                                                          56g
     h. Line 44                                                                          56h
     i. Line 45                                                                          56i
     j. Line 46                                                                          56j
     k. Line 47                                                                          56k
     l. Line 48                                                                          56l
     m. Line 49                                                                         56m
     n. Line 50                                                                          56n
     o. Line 51                                                                          56o
     p. Line 52                                                                          56p
     q. Line 53                                                                          56q




057505 12-09-20




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  S Corporation Distributive Income
  36 3531506




 57. Apportioned Massachusetts total
     a. Line 55a plus line 56a                                                57a           -6585
     b. Line 55b plus line 56b                                                57b
     c. Line 55c plus line 56c                                                57c
     d. Line 55d plus line 56d                                                57d
     e. Line 55e plus line 56e                                                57e                129
     f. Line 55f plus line 56f                                                57f
     g. Line 55g plus line 56g                                                57g
     h. Line 55h plus line 56h                                                57h
      i.   Line 55i plus line 56i                                             57i
      j.   Line 55j plus line 56j                                             57j
      k.   Line 55k plus line 56k                                             57k
      l.   Line 55l plus line 56l                                             57l
      m.   Line 55m plus line 56m                                            57m
      n.   Line 55n plus line 56n                                             57n
      o.   Line 55o plus line 56o                                             57o               7462
      p.   Line 55p plus line 56p                                             57p
      q.   Line 55q plus line 56q                                             57q




057506 12-09-20




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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
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MASSACHUSETTS                     OTHER INCOME                   STATEMENT   2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                         AMOUNT
}}}}}}}}}}}                                                     }}}}}}}}}}}}}}
INCOME FROM FORM 1120S, LINE 5 AND SCH K, LINES 10, 16A AND 16B     1,082,268.
PPP LOANS AND OTHER COVID LOANS                                       -10,000.
                                                                }}}}}}}}}}}}}}
TOTAL TO SCHEDULE S, LINE 11                                        1,072,268.
                                                                ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
MASSACHUSETTS          OTHER INTEREST AND DIVIDEND INCOME        STATEMENT   3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                  AMOUNT
}}}}}}}}}}}                                                              }}}}}}}}}}}}}}
INTEREST INCOME                                                                  9,023.
                                                                         }}}}}}}}}}}}}}
TOTAL TO SCHEDULE S, LINE 41                                                     9,023.
                                                                         ~~~~~~~~~~~~~~




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  AEROCARE MEDICAL TRANSPORT SYSTE 36 3531506

        TAXPAYER                                     NON-
                                   RESIDENT        RESIDENT           OTHER              SHAREHOLDER'S NAME
                                                      X                       CECE JOSEPH D




      Fill in if enclosing additional page(s) for additional shareholder(s)


057507 12-09-20




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                                                      Massachusetts Proforma 1120                                     2020
Taxable income calculated as if this S corporation was a C corporation for the use of Form 355S, Schedule E


Income
  1 a.     Merchant card and third-party payments ~~~~~~~~~~~~~~~~~~~~~
     b.    Gross receipts or sales not reported on Line 1a ~~~~~~~~~~~~~~~~~~
     c.    Total: Add Lines 1a and 1b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  8,362,378.
     d.    Less: Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                8,362,378.

 2    Cost of goods sold ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         5,544,248.

 3    Gross profit (line 1(d) less line 2) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             2,818,130.
 4    Dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
 5    Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  9,023.
 6    Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
 7    Gross royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
 8    Capital gain net income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
 9    Net gain (loss) from Form 4797, Part II, line 17 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          520,087.
10    Other income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1,072,268.

11    Total income - Add lines 3 through 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               4,419,508.

Deductions
12 Compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            137,267.
13 Salaries and wages ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~       1,358,626.
    Less: Employment credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       1,358,626.

14    Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           84,622.
15    Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
16    Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  308,197.
17    Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            270,438.
18    Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                237,894.
19    Contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
20a   Depreciation ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~             118,922.
20b   Less: Depreciation claimed elsewhere ~~~~~~~~~~~~~~~~~~~~~~~~~  59,819.                                         59,103.

21    Depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
22    Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               428,909.
23    Pension, profit-sharing, etc. plans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
24    Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         249,798.
25    Domestic production activities deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
26    Other deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          1,226,373.

27    Total deductions. Add lines 12 through 26~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              4,361,227.

28    Taxable income as a C corporation ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      58,281.




078271 04-01-20
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   2020 Schedule SK-1
   MA20091011019
   Shareholder's Massachusetts Information




   JOSEPH D. CECE
   1936 E. MISSOURI A PHOENIX                                                      AZ 85016
   AEROCARE MEDICAL TRANSPORT SY 36 3531506
   43W450 US HIGHWAY SUGAR GROVE                                                   IL 60554
   Type of shareholder: Individual resident X Individual nonresident Trust or estate
                                 Bank                        Exempt organization


   Check if:         Final    X Amended               The S corporation participated in any installment sale transaction(s)
   If yes, indicate whether information has been communicated to the shareholder to calculate additional Massachusetts tax under IRC provisions (check all that
   apply):        IRC 453A          IRC 453(I)(2)(B)
        There was a sale, transfer or liquidation of any part of this shareholder interest during the tax year
Shareholder's Distributive Share
   1.   Massachusetts ordinary income or loss                                                                                      1                      -6585
   2.   Separately stated deductions                                                                                               2
   3.   Add lines 1 and 2                                                                                                          3                      -6585
   4.   Credits available
        a. Taxes paid to another jurisdiction (full-year and part-year residents only)                                           4a
        b. Lead Paint Credit                                                                                                     4b
        c. Economic Opportunity Area Credit                                                                                      4c
        d. Economic Development Incentive Program Credit                                                                         4d
        e. Brownfields Credit                                                                                                    4e.
        f. Low-Income Housing Credit                                                                                              4f
        g. Historic Rehabilitation Credit                                                                                         4g
        h. Refundable Film Credit                                                                                                 4h
        i.   Film Incentive Credit                                                                                                4i
        j.   Medical Device Credit                                                                                                4j
        k.   Refundable Dairy Credit                                                                                              4k
        l.   Refundable Life Science Credit                                                                                       4l
        m.   Life Sciences Tax Credit                                                                                            4m
        n.   Refundable Economic Development Incentive Credit                                                                     4n
        o.   Conservation Land Credit                                                                                             4o
        p.   Employer Wellness Program Credit                                                                                     4p
        q.   Refundable Community Investment Credit                                                                               4q
        r.   Certified Housing Development Credit                                                                                 4r

     PPP LOANS AND OTHER COVID LOANS                                                                                                                  143

           NOTE: CORPORATION -
 057511 12-08-20
   PPP INCOME IS NOT TAXABLE. EXP IS DEDUCTIBLE AND REPORTED ON RETURN



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  Shareholder's Massachusetts Information




      s. Veterans Hire Credit                                                                              4s
      t. Low Income Housing Donation Credit                                                                 4t
      u. Angel Investor Credit                                                                             4u
      v. Apprentice Credit                                                                                 4v
      w. Vacant Store Front Credit                                                                         4w
      x. Total credits                                                                                     4x
  5.  Adjusted Massachusetts net income or loss from rental real estate activity                             5
  6.  Adjusted Massachusetts net income or loss from other rental real estate activity                       6
  7.  Interest from U.S. obligations                                                                         7
  8.  Interest from Massachusetts banks                                                                      8
  9.  Other interest and dividend income                                                                     9           129
 10.  Non-Massachusetts state and municipal bond interest                                                  10
 11.  Royalty income                                                                                       11
 12.  Other income                                                                                         12
 13.  Short term capital gains                                                                             13
 14.  Short term capital losses                                                                            14
 15.  Gain on trade or business property                                                                   15
 16.  Loss on trade or business property                                                                   16
 17.  Net long term capital gain or loss                                                                   17
 18.  Net gain or loss under Section 1231                                                                  18
 19.  Other long-term gains and losses                                                                     19           7462
 20. Long-term gains on collectibles                                                                       20
 21. Differences and adjustments                                                                           21
 22. Property distributions made to shareholder                                                            22




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   MA20091031019

   Shareholder's Massachusetts Information




Shareholder's Basis Information
  23. Taxpayer's beginning information
      a. Date of the federal basis                                                                              23a    12311985
      b. Number of shares owned                                                                                 23b
      c. Shareholder's percentage of stock ownership                                                            23c    1.000000
      d. Dollar value of basis as of the date in line 23a                                                       23d
  24. Massachusetts basis at the beginning of the tax year
      a. Stock                                                                                                  24a
      b. Indebtedness                                                                                           24b
  25. Net Massachusetts adjustments
      a. Stock                                                                                                  25a
      b. Indebtedness                                                                                           25b
  26. Net federal adjustment
      a. Stock                                                                                                  26a
      b. Indebtedness                                                                                           26b
  27. Massachusetts year-end basis
      a. Stock                                                                                                  27a
      b. Indebtedness                                                                                           27b


Pass-through Entity Payment and Credit Information
   Declaration election code:      Withholding            Composite       Member self-file   Exempt PTE   Non-profit
  28. Withholding amount                                                                                          28
  29. Estimated payments                                                                                          29
  30. Credit for amounts withheld by lower-tier entity(ies)                                                       30
       Payer ID number
  31. Credit for amount of estimated payments made by lower-tier entity(ies)                                     31
       Payer ID number




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MASSACHUSETTS           SHAREHOLDER OTHER INFORMATION
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PRE-APPORTIONED OTHER INTEREST AND DIVIDENDS                                       9,023.




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2020 M8X, Amended S Corporation Return
Claim for Refund
Explain each change on page 2 of Form M8X.

Tax year beginning (MM/DD/YYYY)            01 /01 /2020                  ,and ending (MM/DD/YYYY)                   12 /31 /2020

AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                          363531506                                                      3762004
Name of Corporation                                                                             Federal ID Number                                              Minnesota Tax ID Number
43W450 US HIGHWAY 30                                                                            Check this box if the name or address has changed since
Mailing Address                                                                                 filing your original return. Fill in former information below.
SUGAR GROV                                               IL       60554
City                                                     State    ZIP Code                      Former Name or Address, if Changed
                                                                                                          1                                                          1
                                                                                                Number of Amended Schedule KS                              Number of Shareholders

Place an X in
all that apply:         Composite Income Tax                Financial Institution              QSSS                   Installment Sale of Pass-through Assets or Interests



Check box to indicate the              Amended                                      Changes Affect
reason you are amending:       X       Federal Return                               IRS Adjustment
                                                                                                                                          Changes Affect
                                                                                                                                          Schedules KS



                                                                                                                                      Public Law
                                       Changes Affect M8A                           Nonresident Withholding                           86-272




  1 S corporation taxes (enclose computation):
       Original:         Sch D taxes         Passive income


                         LIFO recapture

                                                                                                         A - As previously reported           B - Net change         C - Corrected amounts
       Amended:          Sch D taxes         Passive income


                         LIFO recapture ~~~~~~~~~~~~~~~~~~~~~~ 1                                     m                                m

  2 Minimum fee (from line 2 of Form M8) ~~~~~~~~~~~~~~~~~ 2                                         m                                m

  3 Composite income tax (enclose Schedules KS) ~~~~~~~~~~~~~~ 3                                     m                                m

  4 Nonresident Minnesota withholding~~~~~~~~~~~~~~~~~~~ 4                                           m                 1654 m                        -1654

  5 Add lines 1 through 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~ 5                                               m                 1654 m                        -1654

  6 Employer Transit Pass Credit not passed through to shareholders,
    limited to the sum of lines 1 and 2 (enclose Schedule ETP) ~~~~~~~~ 6                            m                                m

  7 Tax Credit for Owners of Agricultural Assets not passed through to
    shareholders, limited to the sum of lines 1 and 2 above ~~~~~~~~~ 7                              m                                m
    Enter the certificate number from the certificate you received from the
    Rural Finance Authority:


       AO


  8 Add lines 6 and 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 8                                                 m                                m

  9 Subtract line 8 from line 5 (if result is zero or less, leave blank) ~~~~~~ 9                    m                 1654 m                        -1654


                                                                                                                                      Continued next page
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AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                 363531506                                      3762004
Name of Corporation                                                                                    Federal ID Number                              Minnesota Tax ID Number

                                                                                                      A - As previously reported           B - Net change          C - Corrected amounts


10    Enterprise Zone Credit (enclose Schedule EPC) ~~~~~~~~~~~~~~ 10                             m                                m

11    Estimated tax and/or extension payments ~~~~~~~~~~~~~~~~ 11                                 m                  3765 m                                                       3765

12 Amount due from original Form M8, line 15 (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                12 m                          0

13 Total credits and tax paid (add lines 10C and 11C and line 12)~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              13 m                   3765

14 Refund amount from original Form M8, line 20 (see instructions)~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               14 m                   2111

15 Subtract line 14 from line 13 (if result is less than zero, enter the negative amount) ~~~~~~~~~~~~~~~~                                                 15 m                   1654

16 Tax you owe. If line 9C is more than line 15, subtract line 15 from line 9C
   (if line 15 is a negative amount, see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  16 m


17 If you failed to timely report federal changes or the IRS assessed a penalty (see instructions) ~~~~~~~~~~~~                                            17 m


18 Add lines 16 and 17 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    18 m


19 Interest (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                               19 m


20 AMOUNT DUE (add lines 18 and 19). Skip lines 21-22 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                      20 m


      Check payment method:                Electronic (see instructions) , or          Check (see instructions)


21 REFUND. If line 15 is more than line 9c, 17, and 19, subtract lines 9c, 17, and 19 from line 15 ~~~~~~~~~~~                                             21 m                   1654

22 To have your refund direct deposited, enter the following. Otherwise, you will receive a check.
Account type:


     Checking           Savings     Routing number                                   Account number (use an account not associated with any foreign banks)

                                                                                                                 /        /
Signature of Officer                                                                                      Date (MM/DD/YYYY)                                    Officer's Daytime Phone

                                                 JDC@AEROCARE.COM
Print Name of Officer                            Email Address for Correspondence, if Desired             This email address belongs to:

                                                                                                                 Employee                  Paid Preparer      X      Other



LYUDMILA EISENMAN, CPA
                     P01272545                                                                            03 /21/2022                                         5203214600
Preparer's Signature                             Preparer's PTIN                                          Date (MM/DD/YYYY)                                   Preparer's Daytime Phone

Explain net changes below and show computations in detail. Enclose your list of changes,
amended schedules, and a complete copy of the amended federal Form 1120s, if any.                                    I authorize the Minnesota Department of Revenue to discuss
Mail to:     Minnesota S Corporation Tax                                                                    X        this tax return with the preparer.
             Mail Station 1770
                                                                                                                     I do not want my paid preparer to file my return electronically.
             St. Paul, MN 55145-1770



  EXPLANATION OF CHANGE - Enclose a detailed explanation for each change. If the changes involve items requiring supporting
  information, be sure to attach the appropriate schedule, statement or form to Form M8X to verify the correct amount.




             059532 12-07-20                                                          1116
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2020 KS, Shareholder's Share of Income,
Credits and Modifications
S corporation: Complete and provide Schedule KS to each nonresident shareholder and Minnesota shareholder who has
adjustments to income.
Tax year beginning (MM/DD/YYYY)           01 / 01 / 2020             ,and ending (MM/DD/YYYY)      12 / 31 / 2020                   Amended KS:        X

                                                                                363531506                           3762004
Shareholder's Federal ID or Social Security Number                              S Corporation's Federal ID Number   S Corporation's Minnesota Tax ID
JOSEPH D CECE                                                                   AEROCARE MEDICAL TRANSPORT SYSTEM,
Shareholder's Name                                                              S Corporation's Name
1936 E. MISSOURI AVENUE                                                         43W450 US HIGHWAY 30
Mailing Address                                                                 Mailing Address
PHOENIX                                       AZ          85016                 SUGAR GROVE                              IL         60554
City                                          State       ZIP Code              City                                     State      ZIP Code


Entity of Shareholder          X    Individual              Estate                          Shareholder's percentage of
(place an X in one box):            Trust                   Exempt Organization             stock ownership for tax year:   100.0000
Calculate lines 1-26 the same for all resident and nonresident shareholders. Calculate lines 27-41 for nonresident shareholders only. Round amounts
to the nearest whole dollar.
                                                                                                                                  Form M1 filers,
Modifications to Federal Taxable Income                                                                                           include on:
 1 Interest income from non-Minnesota state and municipal bonds ~~~~~~~~~~ 1 m                                                    M1M, line 1


 2 State taxes deducted in arriving at s corporation's net income~~~~~~~~~~~~ 2 m                                                 M1M, line 5
 3 Expenses deducted that are attributable to income not taxed by Minnesota
   (other than interest or mutual fund dividends from U.S. bonds) ~~~~~~~~~~ 3 m                                                  M1M, line 6


 4 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 4 m


 5 100% of shareholder's pro rata share of federal bonus depreciation ~~~~~~~~ 5 m                                  7367          M1M, see line 3 inst.


 6 Foreign-derived intangible income (FDII) deduction ~~~~~~~~~~~~~~~~ 6 m                                                        M1M, line 7


 7 Special deduction under section 965 ~~~~~~~~~~~~~~~~~~~~~~~~ 7 m                                                               See inst.


8a Shareholder's pro rata gross profit from installment sales of pass-through
   businesses (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 8a m                                                                 M1AR, line 1


8b Shareholder's pro rata installment sale income from pass-through
   businesses (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 8b m                                                                 M1AR, line 3


 9 Addition due to federal changes not adopted by Minnesota ~~~~~~~~~~~~ 9 m
   (Schedule KSNC, line 24)
10 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~ 10 m


11 This line intentionally left blank ~~~~~~~~~~~~~~~~~~~~~~~~~ 11 m


12 Interest from U.S. government bond obligations, minus any expenses
   deducted on the federal return that are attributable to this income~~~~~~~~ 12 m                                               M1M, line 18


13 Deferred foreign income (section 965) ~~~~~~~~~~~~~~~~~~~~~~ 13 m                                                              M1M, line 43


14 Global intangible low-taxed income (GILTI) ~~~~~~~~~~~~~~~~~~~~ 14 m                                                           M1M, line 44

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JOSEPH D CECE
Shareholder's Name                                                                       Shareholder's Federal ID or Social Security Number
AEROCARE MEDICAL TRANSPORT SYS363531506                                                  3762004
S Corporation's Name                                 S Corporation's Federal ID Number   S Corporation's Minnesota ID Number




15 Disallowed section 280E expenses of medical cannabis manufacturers ~~~~~~ 15 m                                       M1M, line 31


16 Subtraction due to federal changes not adopted by Minnesota ~~~~~~~~~~ 16 m
   (Schedule KSNC, line 24 as a positive number)
17 Credit for increasing research activities ~~~~~~~~~~~~~~~~~~~~~~ 17 m                                                M1C, line 12


18 Tax Credit for Owners of Agricultural Assets ~~~~~~~~~~~~~~~~~~~ 18 m                                                M1C, line 11
   Enter the certificate number from the certificate received from the
   Rural Finance Authority:


    AO


19 Credit for historic structure rehabilitation ~~~~~~~~~~~~~~~~~~~~~ 19 m                                              M1REF, line 6


    Enter National Park Service (NPS) number


20 Employer Transit Pass Credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 20 m                                                        M1C, line 5


21 Enterprise Zone Credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 21 m                                                           M1REF, line 7


22 Minnesota backup withholding    ~~~~~~~~~~~~~~~~~~~~~~~~~ 22 m                                                       M1W, line 7, col C


Relating to Alternative Minimum Tax
23 Intangible drilling costs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 23 m                                                       Lines 23-26 are used to
                                                                                                                       compute M1MT, lines
24 Gross income from oil, gas and geothermal properties ~~~~~~~~~~~~~~ 24 m                                            6 and 7. See M1MT
                                                                                                                       instructions for details.

25 Deductions allocable to oil, gas and geothermal properties ~~~~~~~~~~~~ 25 m


26 Depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 26 m                                                                (see schedule KS inst.)


Minnesota Portion of Amounts From Federal Schedule K-1 (1120S)
27 Minnesota source gross income ~~~~~~~~~~~~~~~~~~~~~~~~~ 27 m                                       29743             information only
28 Ordinary Minnesota source income (loss)
   from trade or business activities ~~~~~~~~~~~~~~~~~~~~~~~~~ 28 m                                       401           M1NR, line 6, col B
29 Income (loss) from Minnesota rental real estate
   and other Minnesota rental activities ~~~~~~~~~~~~~~~~~~~~~~~ 29 m                                                   M1NR, line 6, col B


30 Interest income~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 30 m                                                    61         M1NR, line 2, col B


31 Ordinary dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 31 m                                                             M1NR, line 2, col B


32 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 32 m                                                                 M1NR, line 6, col B


33 Net Minnesota short-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~ 33 m                                                M1NR, line 4, col B


34 Net Minnesota long-term capital gain (loss)~~~~~~~~~~~~~~~~~~~~ 34 m                                                 M1NR, line 4, col B



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JOSEPH D CECE
Shareholder's Name                                                                               Shareholder's Federal ID or Social Security Number
AEROCARE MEDICAL TRANSPORT SYS363531506                                                          3762004
S Corporation's Name                                      S Corporation's Federal ID Number      S Corporation's Minnesota ID Number




35 Section 1231 Minnesota net gain (loss) ~~~~~~~~~~~~~~~~~~~~~~ 35 m                                                           M1NR, line 4 or 8, col B
36 Other Minnesota income (loss). (Describe type of income
   or include separate sheet:                              ) ~~~~~~~~~~~ 36                                                     M1NR, line 8, col B
                                                                            m

37 Section 179 expense deduction apportionable to Minnesota ~~~~~~~~~~~ 37 m                                                    M1NR inst, line 6, col B
38 S corporation's Minnesota apportionment factor
   (line 5, column C of M8A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 38                                               .00673              information only
                                                                           m

Composite Income Tax or Nonresident Withholding
39 Minnesota source distributive income (see instructions) ~~~~~~~~~~~~~ 39 m                                     502           see schedule KS inst.
40 Minnesota composite income tax paid by S corporation. If the
   shareholder elected composite income tax, mark an X in this box: ~~~~~~ 40 m                                                 composite income tax
41 Minnesota income tax withheld for nonresident shareholder
   not electing to file composite income tax. If the shareholder
   completed and signed a Form AWC, mark an X in this box:          ~~~~~~ 41 m                                                 M1W, line 7, col C


 S corporations: Include this schedule and copies of federal Schedules K and K-1 when you file your Form M8.
 Shareholders: Include this schedule when you file your Minnesota Form M1.




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Entity name AEROCARE          MEDICAL TRANSPORT SYSTEM, INC                                                FEIN     363531506
                                                           Minnesota Source Income for
                                                        Nonresident Shareholder                1

   W/S Step
                                                               Description                                              Amounts
   Number


  Step 1          Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


  Step 2          Bonus depreciation taken on Federal return (4562 lines 14 and 25) ~~~~~~~~~~~~~~~~            +            7,367.

  Step 3          Bonus depreciation subject to addback ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       7,367.
                  Addback percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    x            .80000

  Step 4          Addback for current year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             5,894.

  Step 5          Combine lines 6, 7*, and 9 of the Shareholder's Schedule KS ~~~~~~~~~~~~~~~~~~~               +


  Step 6          Sum of Steps 4 and 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                5,894.
                  Apportionment percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 x            .00673

  Step 7          Apportioned adjustments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   40.

  Step 8          Add Schedule KS lines 28-36 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               +                 462.

  Step 9          Combine Steps 7 and 8     •••••••••••••••••••••••••••••••••••••                                                 502.

  Step 10         Combine lines 13, 14, and 16 of the Shareholder's Schedule KS     ~~     +


  Step 11         20% of section 179 addback from prior year(s) ~~~~~~~~~~~


  Step 12         20% of bonus addback from prior year(s) ~~~~~~~~~~~~~~


  Step 13         Sum of Steps 10 through 12 ~~~~~~~~~~~~~~~~~~~~
                  Apportionment percentage ~~~~~~~~~~~~~~~~~~~~~                           x           .00852

  Step 14         Apportioned adjustments ~~~~~~~~~~~~~~~~~~~~~~


  Step 15         Section 179 expense deduction     ~~~~~~~~~~~~~~~~~~


  Step 16         Add Steps 14 and 15 •••••••••••••••••••••••••••••••••••••••                                   (                    )


  Step 17         Total to Schedule KS line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                502.

  Note*: Only include an amount from line 7 of Schedule KS if the shareholder is an estate or trust.




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                                                                            CORPORATION BUSINESS TAX
                                                                              PAYMENT WORKSHEET

                                                                                            CBT-100-V




                                BEGINNING TAX YEAR 2016, YOU NEED TO PAY YOUR NEW JERSEY
                                       CORPORATION BUSINESS TAX ELECTRONICALLY

            You need to pay the tax by one of these methods:


                  1.   Electronic Check or Credit Card: Visit www.njtaxation.org and select "Make a Payment."
                  2.   Electronic Funds Transfer (EFT): To register visit www.nj.gov/treasury/revenue/eft1.shtml


            If you do not have access to the internet, call our Customer Service Center at 609-292-6400 to make a
            payment.




             RETURN MUST BE FILED ONLINE OR E-FILED.
                                This form cannot be paper filed - this
                               copy is for informational purposes only.


                                                       Corporation Business Tax Payment Worksheet
                                                                        CBT-100-V

                                                                             Beginning    01/01/2020               and ending       12/31/2020
          2020
  363-531-506/000   AERO
  AEROCARE MEDICAL TRANSPORT SYS
  43W450 US HIGHWAY 30
  SUGAR GROVE, IL 60554


          Payments should be made electronically.


                                                                                                    Enter amount of payment here:

                                                                                                                           767.00




066521 04-01-20                              022023635315060006AERO20120600000076700
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          2020                                                                                                                                                   1019
                                                                   New Jersey Corporation Business Tax Return
         CBT-100                                       For Tax Years Ending On or After July 31, 2020, Through June 30, 2021
                                                                      Tax year beginning JAN    1       , 2020 and ending DEC 31                , 2020
                                                                                                      AMENDED RETURN
   FEDERAL EMPLOYER I.D. NUMBER                              N.J. CORPORATION NUMBER
                                                                                                State and date of incorporation IL               07301987
                363-531-506/000                              3635-3150-6                        Date authorized to do business in New Jersey     07301987
   CORPORATION NAME
   AEROCARE MEDICAL TRANSPORT SYSTEM,                                                           Federal business activity code       621900
   MAILING ADDRESS                                                                              Corporation books are in the care of   JOE CECE
                                                                                                at 43W450        US     HIGHWAY        30, SUGAR             G
   43W450 US HIGHWAY 30                                                                         Phone Number
    CITY                                        STATE                             ZIP CODE
                                                                                       Check if applicable (see instructions):     Professional Corporation
   SUGAR GROVE                                   IL                      60554                 Investment Company                  Regulated Invest. Company
   Check applicable return type:         Initial X Amended                                     Real Estate Investment Trust      X Federal 1120-S Filer
    1. Tax Base - Enter amount from line 4 of Schedule A, Part III ~~~~~~~~~~~~~~~~~~~~~~                                     1.                          0.
    2. Amount of Tax - Multiply line 1 by the applicable tax rate (see instructions) ~~~~~~~~~~~~~~~                          2.
    3. Tax Credits - Enter amount from Schedule A-3, Part I, line 28 (see instructions) ~~~~~~~~~~~~~                         3.
    4. CBT TAX LIABILITY - Subtract line 3 from line 2 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           4.                          0.
    5. a. Surtax on taxable net income - Multiply the amount on Schedule A, Part III, line 2a, 2b, or 2c
          (whichever is applicable) by the applicable surtax rate (see instructions)~~~~~~~~~~~~~~~ 5a.                                                   0.
       b. Pass-Through Business Alternative Income Tax Credit from Form 329         (see  instructions)  (Amount     entered
          cannot be more than amount on line 5a) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 5b.                                                                     0.
       c. Balance of surtax - Subtract line 5b from line 5a ~~~~~~~~~~~~~~~~~~~~~~~~~~                                       5c.                          0.
    6. Tax Due - Add line 5c to the greater of line 4  or minimum tax due from Schedule A-GR          (see instructions) ~~   6.                        500.
    7. Installment Payment - Only applies if line 6 is $500 or less (see instructions) ~~~~~~~~~~~~~~                         7.                        250.
    8. Professional Corporation Fees (from Schedule PC, line 7) ~~~~~~~~~~~~~~~~~~~~~~~                                       8.                          0.
    9. TOTAL TAX AND PROFESSIONAL CORPORATION FEES - Add lines 6, 7, and 8 ~~~~~~~~~~~~                                       9.                        750.
   10. a. Payments and Credits (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 10a.
       b. Payments made by partnerships on behalf of taxpayer (include copies of all NJK-1s) ~~~~~~~~ 10b.
       c. Refundable Tax Credits from Schedule A-3, Part II, line 5 (see instructions) ~~~~~~~~~~~~~ 10c.
       d. Total Payments and Credits - Add lines 10a, 10b, and 10c ~~~~~~~~~~~~~~~~~~~~~ 10d.
   11. Balance of Tax Due - If line 10d is less than line 9, subtract line 10d from line 9 ~~~~~~~~~~~~ 11.                                             750.
                                                                 SEE      STATEMENT
   12. Penalty and Interest Due (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                 1                          12.                         17.
   13. Total Balance Due - Add line 11 and line 12 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            13.                        767.
   14. Amount Overpaid - If line 10d is greater than the sum of line 9 and 12, enter amount of overpayment ~~ 14.
   15. Amount of line 14 to be Refunded ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 15.
   16. Amount of line 14 to be Credited to 2021 Tax Return ••••••••••••••••••••••••• 16.
   17. Amount of line 14 to be Credited to a Combined Group and tax year to             Unitary ID Number

       which it is to be applied         2020 or           2021 •••••••••                NU                                  17.
               If the corporation is inactive, page 1, the Annual General Questionnaire, and Schedules A (Parts I, II, and III), A-2, A-3, A-4, and A-GR must
       (See Instructions)
        CERTIFICATION
        OF INACTIVITY




               be completed. A corporate officer must sign and certify below:
                     By marking the check box to the left, I certify that the corporation did not conduct any business, did not have any income, receipts, or
                     expenses, and did not own any assets during the entire period covered by the tax return.



                             (Date)                        (Signature of Corporate Officer)                                                              (Title)


                             RETURN MUST BE FILED ONLINE OR E-FILED.
                            Under penalties of perjury, I declare that I have examined this return, including accompanying schedules, forms, and statements, and to the
                            best of my knowledge and belief, it is true, correct, and complete. If prepared by a person other than the taxpayer, this declaration is based
     SIGNATURE AND

      (See Instruction)
       VERIFICATION




                            on all information of which the preparer has any knowledge.


                             (Date)
                                               This(Signature
                                                      form        cannot             be      paper
                                                              of Duly Authorized Officer of Taxpayer)
                                                                                                      filed   -   this
                                                                                                               PRESIDENT
                                                                                                                                (Title)


                             (Date)
                                             copy is     for informational purposes
                                             LYUDMILA EISENMAN, CPA
                                                     (Signature of Individual Preparing Return)          (Address)
                                                                                                                   only. (Preparer's ID Number)
                                                                                                                        P01272545


                                              BEACHFLEISCHMAN PLLC                           XX-XXXXXXX
            (Name of Tax Preparer's Employer) 1985  E. RIVER ROAD,  SUITE   (Address)         (Employer's ID Number)
     066601 01-29-21                          TUCSON, AZ 85718
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11000321 759078 16439.0                       Main2020.05091
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                                                                                                                                                        2020 - CBT-100 - Page 2
                                                                                                                                                                                1019
  NAME AS SHOWN ON RETURN                                                                                                                                       FEDERAL ID NUMBER

  AEROCARE MEDICAL TRANSPORT SYSTEM,                                                                                                                          363-531-506/000
  ANNUAL GENERAL QUESTIONNAIRE (See Instructions)
  PART I All taxpayers must answer the following questions. Riders must be provided where necessary.
  1. Type of business


       Principal products handled


  2. State the location of the actual seat of management or control of the corporation


  3. Did one or more other corporations own beneficially, or control, a majority of the stock of taxpayer corporation or did the same interests own
     beneficially, or control, a majority of the stock of taxpayer corporation and of one or more other corporations?                      Yes. Provide a rider indicating
     the name and FEIN of the controlled corporation, the name and FEIN of the controlling/parent corporation, and the percentage of stock owned or
     controlled. OR            X No.
  4. These     questions  must   be answered by corporations with a controlling interest in certain commercial property.
     a.     During  the period   covered  by the return, did the taxpayer acquire or dispose of directly or indirectly a controlling interest in certain commercial
            property?            Yes. Answer question 4b below.          OR             No.
     b.     Was  the  CITT-1,   Controlling  Interest  Transfer    Tax, or  CITT-1E, Statement     of Waiver of Transfer Tax, filed with the Division of Taxation?
                 Yes. Provide a rider. indicating the information and include a copy of the CITT-1 or CITT-1E filed. OR                    No. Provide a rider indicating the
            name and FEIN of the transferee, the name and FEIN of the transferor, and the assessed value of the property.
  5. Does this corporation own any Qualified Subchapter S Subsidiaries (QSSS)?                          Yes. Provide a rider indicating the name, address, and FEIN of the
     subsidiary, whether the subsidiary made a New Jersey QSSS election, and whether the activities of the subsidiary are included in this return. OR
        X No.
  6. Did   the taxpayer receive any deemed repatriation dividends reported under IRC ¤965 from a subsidiary in the taxpayer's federal tax year 2017 or 2018
     for which the taxpayer files a New Jersey 2017, 2018, or 2019 tax return?                    Yes. Provide a rider indicating the name and FEIN of the subsidiary, the
     amount of deemed repatriation dividends, and indicate on which New Jersey return the income was included. OR                          X No.
  7. If the  taxpayer  is a  unitary subsidiary of a combined     group filing a New Jersey   combined   return   from  which the  taxpayer  is excluded, did the taxpayer
     distribute dividends or deemed dividends in the current tax year?                  Yes. Provide a rider indicating the name and FEIN of the entity to which the
     dividends were paid (deemed), the amount of dividends, and unitary ID number of the combined group. OR                             No.
  8. Is  the  taxpayer  an  intangible holding  company   or  is the taxpayer's  income,  directly or indirectly,  from intangible  property  or related service activities
     that are deductible against the income of members of a combined group?                       Yes. Provide a rider indicating the names and ID numbers of the
     combined group or the related members and detail the taxpayer's income that is deductible against their income. OR                       X No.
  9. Is  income   from  sources    outside the United States   included  in taxable net income   on Schedule   A?
               Yes             No         X    NA
       If yes, provide a rider indicating such items of gross income, the source, the deductions and the amount of foreign taxes paid. Enter on Schedule A,
       Part II, line 10, the difference between the net of such income and the amount of foreign taxes paid not previously deducted (include a rider).

  10. Does the taxpayer have related parties or affiliates that file combined returns in New Jersey?            Yes. OR X No.
  11. Does   the taxpayer file as part of a group filing combined  returns/reports in other states with corporations that either do not file New Jersey returns or
      file separate New Jersey returns?               Yes. OR X No.
  12. Is the taxpayer part of a group that files a New Jersey combined return, but is excluded from the combined return?                Yes. Provide information
      below. OR        X No.
      Name of the managerial member of the combined group:
  13. Has the taxpayer or the preparer completing this return on the taxpayer's behalf taken any uncertain tax positions when filing this return or their
      federal tax return?           Yes. Include a rider detailing the information. OR        X No.
       For more information see Financial Accounting Standards Board (FASB) Accounting Standards Codification (ASC) 740-10, formerly FASB
       Interpretation No. 48 (FIN 48).

  14. Does the taxpayer own or lease real or tangible property:
      a. In New Jersey?                 Yes. OR X No.
      b. Outside New Jersey?                Yes. Provide information below. OR            X No.
           List the states, political subdivisions, and foreign nations (as applicable):
  15. What percentage of the taxpayer's worldwide property, real or tangible, is inside the United States?
  16. Does the taxpayer have payroll:
      a. In New Jersey?                 Yes. OR X No.
      b. Outside New Jersey?                Yes. Provide information below. OR            X No.
           List the states, political subdivisions, and foreign nations (as applicable):
  17. What percentage of the taxpayer's worldwide payroll is inside the United States?
  18. Is 20 percent or more of either or both the taxpayer's property and payroll inside the United States?          Yes. OR X No.
  19. Does  the  taxpayer own   a  disregarded  entity or utilize a disregarded entity of a related party?  Yes. Include a rider with the entity's name and tax
      ID number. OR          X No.
  066599
  01-29-21
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  NAME AS SHOWN ON RETURN                                                                                                             FEDERAL ID NUMBER

  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                             363-531-506/000
  ANNUAL GENERAL QUESTIONNAIRE (Continued)
  PART II REGULATED INVESTMENT COMPANIES (Riders must be provided where necessary)
  1. Is this taxpayer registered and regulated under the Federal Investment Company Act of 1940 (54 Stat. 789, as amended)?        Yes. Provide
     information below (include rider if necessary).    X No.

                                                    Securities and Exchange Commission Information
                                   Registration Number                                                              Registration Date


     IMPORTANT NOTE: If the taxpayer's certificate under the Act was not obtained prior to the commencement of the period covered in the return or
     if such authority was not continued during such entire period, then the taxpayer is not entitled to report as a Regulated Investment Company.
  2. Has the taxpayer satisfied the requirements of IRC ¤ 852(a)?         Yes OR       X No. If no, taxpayer cannot file as a Regulated Investment Company.
  3. Every taxpayer seeking  to report as a regulated investment company MUST  SUBMIT  WITH THIS RETURN ITS PRINTED ANNUAL REPORT TO
     STOCKHOLDERS for the period covered by this return together with all other stockholder reports issued by the company during such period.




  066600
  01-29-21
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  NAME AS SHOWN ON RETURN                                                                                                    FEDERAL ID NUMBER

  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                   363-531-506/000
                                       CALCULATION OF NEW JERSEY TAXABLE NET INCOME (SEE INSTRUCTIONS)
   Schedule A                         EVERY CORPORATION MUST COMPLETE PARTS I, II, AND III OF THIS SCHEDULE

   PART I - COMPUTATION OF ENTIRE NET INCOME (All data must match the federal pro forma or federal return, whichever is applicable.)

                                                       Income
   1. a. Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1a.                8,362,378.
      b. Less: Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          1b.
      c. Total - Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   1c.                8,362,378.
   2. Less: Cost of goods sold (from Schedule A-2, line 8) ~~~~~~~~~~~~~~~~~~~~~~                               2.                5,544,248.
   3. Gross profit - Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  3.                2,818,130.
   4. a. Dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   4a.
      b. Gross Foreign Derived Intangible Income (see instructions) (include copy of federal Form 8993)        4b.
      c. Gross Global Intangible Low-Taxed Income (see instructions) (include copy of federal Form 8992)       4c.
   5. Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     5.                      9,023.
   6. Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    6.
   7. Gross royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  7.
   8. Capital gain net income (include a copy of federal Schedule D) ~~~~~~~~~~~~~~~~~                          8.
   9. Net gain or (loss) (from federal Form 4797, include a copy) ~~~~~~~~~~~~~~~~~~~                           9.                  520,087.
  10. Other income (include schedule(s)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                       STMT 5          10.                1,072,268.
  11. Total Income    - Add  lines 3 through 10 •••••••••••••••••••••••••••••                                  11.                4,419,508.
                                                     Deductions
  12. Compensation of officers (from Schedule F) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    12.                  137,267.
  13. Salaries and wages (less employment credits) ~~~~~~~~~~~~~~~~~~~~~~~~~                                   13.                1,358,626.
  14. Repairs (Do not include capital expenditures) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                 14.                   84,622.
  15. Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    15.
  16. Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      16.                   308,197.
  17. Taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      17.                   270,438.
  18. Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    18.                   237,894.
  19. Charitable contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            19.
  20. Depreciation (from federal Form 4562, include a copy) less depreciation claimed elsewhere on return      20.                     59,103.
  21. Depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    21.
  22. Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   22.                   428,909.
  23. Pension, profit-sharing plans, etc. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      23.
  24. Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             24.                   249,798.
  25. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             25.
  26. Other deductions (include schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                   STMT 4              26.                1,226,373.
  27. Total Deductions - Add lines 12 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    27.                4,361,227.
  28. Taxable income before federal net operating loss deductions and federal special deductions -
      Subtract line 27 from line 11 (Must agree with line 28, page 1 of the Unconsolidated federal
      Form 1120, or the appropriate line of any other federal corporate return filed) (See instructions) •     28.                     58,281.

   PART II - NEW JERSEY MODIFICATIONS TO ENTIRE NET INCOME

   1. Taxable income/(loss) before federal net operating loss deductions and special deductions (from
      Schedule A, Part I, line 28) •••••••••••••••••••••••••••••••                                              1.                     58,281.
                                                    Additions
   2. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              2.
   3. Other federally exempt income not included in line 1 (see instructions) ~~~~~~~~~~~~~                     3.
   4. Interest on federal, state, municipal, and other obligations not included in line 1 (see instructions)    4.
   5. New Jersey State and other states taxes deducted in line 1 (see instructions) ~~~~~~~~~~                  5.
   6. Related party interest addback (from Schedule G, Part I) ~~~~~~~~~~~~~~~~~~~~                             6.
   7. Related party intangible expenses and costs addback (from Schedule G, Part II) ~~~~~~~~                   7.
   8. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              8.
   9. Depreciation modification being added to income (from Schedule S) ~~~~~~~~~~~~~~                          9.                   118,922.
  10. Other additions. Explain on separate rider (see instructions) ~~~~~~~~~~~~~~~~~~                         10.
  11. Taxable income/(loss) with additions - Add line 1 through line 10 and enter the total •••••••            11.                   177,203.
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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                        363-531-506/000
                                        CALCULATION OF NEW JERSEY TAXABLE NET INCOME (SEE INSTRUCTIONS)
   Schedule A                          EVERY CORPORATION MUST COMPLETE PARTS I, II AND III OF THIS SCHEDULE
                                                       Deductions
    12. Depreciation modification being subtracted from income (from Schedule S) ~~~~~~~~~~                        12.
    13. Previously Taxed Dividends (from Schedule PT) ~~~~~~~~~~~~~~~~~~~~~~~                                      13.
    14. a. Enter the I.R.C. ¤ 250(a) deduction amount allowed federally for GILTI if GILTI income is
             included on line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               14a.
        b. Enter the I.R.C. ¤ 250(a) deduction amount allowed federally for FDII if FDII income is
             included on line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               14b.
        c. Net GILTI previously taxed by New Jersey not deducted or excluded elsewhere ~~~~~                       14c.
    15. I.R.C. ¤ 78 Gross-up included in line 1 (do not include dividends that were excluded/deducted elsewhere)    15.
    16. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 16.
    17. a. Elimination of nonoperational activity (from Schedule O, Part I) ~~~~~~~~~~~~~~                         17a.
        b. Elimination of nonunitary partnership income/loss (from Schedule P-1, Part II, line 4)~~~~              17b.
    18. Other deductions. Explain on separate rider (see instructions) ~~~~~~~~~~~~~~~~                             18.
    19. Total deductions - Add line 12 through line 18 and enter the total •••••••••••••••                          19.
                                      Taxable Net Income/(Loss) Calculation
    20. Entire Net Income/(Loss) Subtotal - Subtract line 19 from line 11 ~~~~~~~~~~~~~~~                          20.                    177,203.
    21. Allocation factor from Sch J (if all receipts were derived from only New Jersey sources, enter 1.000000)   21.
    22. Allocated entire net income/(loss) before net operating loss deductions and dividend exclusion -
        Multiply line 20 by line 21 and enter the result here (if zero or less, enter zero on line 29) ~~~         22.                             0.
    23. Prior year net operating loss (PNOL) deduction (from Form 500, Section A) (Amount entered
        cannot be more than amount on line 22) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         23.
    24. Allocated entire net income before post allocation net operating loss deduction - Subtract line
        23 from line 22 (If zero or less, enter zero here and on line 29)~~~~~~~~~~~~~~~~~                         24.                             0.
    25. Post allocation net operating loss (NOL) deduction (from Form 500, Section B) (Amount entered
        cannot be more than amount on line 24) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         25.
    26. Allocated entire net income before allocated dividend exclusion - Subtract line 25 from line 24
        (If zero or less, enter zero here and on line 29) ~~~~~~~~~~~~~~~~~~~~~~~~                                 26.                             0.
    27. Allocated Dividend Exclusion (from Schedule R) (see instructions) ~~~~~~~~~~~~~~~~                         27.
    28. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                28.
    29. Taxable net income - Subtract line 27 from line 26 ~~~~~~~~~~~~~~~~~~~~~~                                  29.                             0.
        Did the taxpayer have any discharge of indebtedness excluded from federal taxable income
        in the current tax year pursuant to subparagraph (A), (B), or (C) of paragraph (1) of
        subsection (a) of IRC ¤ 108            Yes. See instructions for Form 500. OR X No.
   PART III - COMPUTATION OF NEW JERSEY TAX BASE
     1. Enter taxable net income from Schedule A, Part II, line 29 ~~~~~~~~~~~~~~~~~~                               1.
     2. a. Investment Company - Enter 40% of line 1 ~~~~~~~~~~~~~~~~~~~~~~~~                                       2a.
        b. Real Estate Investment Trust - Enter 4% of line 1 ~~~~~~~~~~~~~~~~~~~~~                                 2b.
        c. All Others - Enter the amount from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~                                     2c.                             0.
     3. a. New Jersey Nonoperational Income (from Schedule O, Part III) (if zero or less, enter zero) ~            3a.
        b. Nonunitary Partnership Income (from Schedule P-1, Part II, line 5) (if zero or less, enter zero)        3b.
     4. Tax Base - Add lines 3a and 3b to line 2a, 2b, or 2c, whichever is applicable. Enter total here and
        on line 1, page 1 •••••••••••••••••••••••••••••••••••••••                                                   4.                             0.




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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                         363-531-506/000
  Schedule A-2   COST OF GOODS SOLD (See Instructions) All data must match amounts reported on federal
                                  Form 1125-A of the federal pro forma or federal return, whichever is applicable.
   1.   Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1.                    43,424.
   2.   Purchases ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        2.                 2,227,016.
   3.   Cost of labor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     3.                 1,605,080.
   4.   Additional section 263A costs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4.
   5.   Other costs (include schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~  SEE STATEMENT 6                           5.                 1,668,728.
   6.   Total - Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6.                 5,544,248.
   7.   Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               7.
   8.   Cost of goods sold - Subtract line 7 from line 6. Include here and on Schedule A, Part I,
        line 2 ••••••••••••••••••••••••••••••••••••••••••••••                                                        8.                 5,544,248.

  Schedule A-3             SUMMARY OF TAX CREDITS (See Instructions)
  PART I - Tax Credits Used Against Liability
  1. New Jobs Investment Tax Credit from Form 304 ~~~~~~~~~~~~~~~~~~~~~~~~~                                          1.
  2. Angel Investor Tax Credit from Form 321 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           2.
  3. Business Employment Incentive Program Tax Credit from Form 324 ~~~~~~~~~~~~~~~                                  3.
      EITHER:          a) Urban Enterprise Zone Employee Tax Credit from Form 300 ~~~~~~~~~~
  4.
      OR               b) Urban Enterprise Zone Investment Tax Credit from Form 301 ~~~~~~~~~                        4.
  5. Redevelopment Authority Project Tax Credit from Form 302 ~~~~~~~~~~~~~~~~~~~                                    5.
  6. Manufacturing Equipment and Employment Investment Tax Credit from Form 305 ~~~~~~~~                             6.
  7. Research and Development Tax Credit from Form 306 ~~~~~~~~~~~~~~~~~~~~~~                                        7.
  8. Neighborhood Revitalization State Tax Credit from Form 311 ~~~~~~~~~~~~~~~~~~~                                  8.
  9. Effluent Equipment Tax Credit from Form 312 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                          9.
  10. Economic Recovery Tax Credit from Form 313 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                          10.
  11. AMA Tax Credit from Form 315 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 11.
  12. Business Retention and Relocation Tax Credit from Form 316 ~~~~~~~~~~~~~~~~~~                                  12.
  13. Sheltered Workshop Tax Credit from Form 317 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                         13.
  14. Film Production Tax Credit from Form 318 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          14.
  15. Urban Transit Hub Tax Credit from Form 319 ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         15.
  16. Grow NJ Tax Credit from Form 320 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               16.
  17. Wind Energy Facility from Form 322 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             17.
  18. Residential Economic Redevelopment and Growth Tax Credit from Form 323 ~~~~~~~~~~~                             18.
  19. Public Infrastructure Tax Credit from Form 325 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                      19.
  20. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  20.
  21. Film and Digital Media Tax Credit from Form 327 ~~~~~~~~~~~~~~~~~~~~~~~~~                                      21.
  22. Tax Credit for Employers of Employees With Impairments from Form 328 ~~~~~~~~~~~~~                             22.
  23. Pass-Through Business Alternative Income Tax Credit from Form 329 ~~~~~~~~~~~~~~                               23.
  24. Apprenticeship Program Tax Credit from Form 330 ~~~~~~~~~~~~~~~~~~~~~~~~                                       24.
  25. Tax Credit for Employer of Organ/Bone Marrow Donor from Form 331~~~~~~~~~~~~~~~                                25.
  26. Tiered Subsidiary Dividend Pyramid Tax Credit from Form 332 ~~~~~~~~~~~~~~~~~~                                 26.
  27. Other Tax Credit (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           27.
  28. Total tax credits - Add lines 1 through 27. Enter here and on page 1, line 3 ••••••••••••                      28.
  PART II - Refundable Tax Credits
   1. Refundable portion of New Jobs Investment Tax Credit from Form 304 ~~~~~~~~~~~~~~                              1.
   2. Refundable portion of Angel Investor Tax Credit from Form 321 ~~~~~~~~~~~~~~~~~~                               2.
   3. Refundable portion of Business Employment Incentive Program Tax Credit from Form 324 ~~~~                      3.
   4. Other Tax Credit to be refunded ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              4.
   5. Total amount of tax credits to be refunded. Enter here and on page 1, line 10c ••••••••••                      5.




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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                 363-531-506/000

  Schedule A-4                        SUMMARY SCHEDULE (See Instructions)

   PNOL Deduction and Carryover                                                 Net Operational Income Information
   1. Form 500, Section A, line 5 minus line 7 1.                12,275.        8. Schedule O, Part III ••••••• 8.                       0.
   NOL Deduction and Carryover                                                Schedule A-GR Information
   2. Form 500, Section B, line 6 minus line 8 2.                          0. 9. Schedule A-GR, line 6 •••••            9.               0.
   Interest and Intangible Costs and Expenses                                 Dividend Exclusion Information
   3. Schedule G, Part I, line b ••••••        3.                          0. 10. Schedule R, line 7 •••••••            10.              0.

   4. Schedule G, Part II, line b ••••••       4.                          0. 11.   Schedule R, line 9 •••••••          11.              0.
   Schedule J Information
   5. Schedule J, line 1f •••••••••            5.                          0. 12.
                                                                          Schedule R, line 11 ••••••                    12.              0.
                                                                     Schedule P Information
   6. Schedule J, line 1g •••••••••            6.        10,783,048. 13. Schedule P, Part III, line 1 ••••              13.              0.

   7. Schedule J, line 1h •••••••••            7.            .000000            14. Schedule P, Part III, line 2 ••••   14.              0.

  Schedule A-GR                  COMPUTATION OF NEW JERSEY GROSS RECEIPTS AND MINIMUM TAX (See Instructions)
                                 Complete this schedule only if the amount reported on page 1, line 4 is less than $2,000.
   1.   Enter sales of tangible personal property shipped to points within New Jersey ~~~~~~~~~~~~~~~~                     1.           0.
   2.   Enter services if the benefit of the service is received in New Jersey ~~~~~~~~~~~~~~~~~~~~~                       2.           0.
   3.   Enter rentals of property situated in New Jersey ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   3.           0.
   4.   Enter royalties for the use in New Jersey of patents, copyrights, and trademarks ~~~~~~~~~~~~~~~                   4.           0.
   5.   Enter all other business receipts earned in New Jersey ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                5.           0.
   6.   Total New Jersey Gross Receipts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             6.           0.
   7.   Enter minimum tax per instructions. Include here and on page 1, line 6 ••••••••••••••••••••                        7.         500.




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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                                  363-531-506/000
  Schedule B BALANCE SHEET AS OF    DECEMBER 31, 2020
                    Figures appearing below must be the same as year-end figures shown on the taxpayer's books. If not, explain and reconcile on rider. Consolidated information is not permitt-
                    ed on single returns. See instructions. Where applicable, data must match amounts reported on Schedule L of the federal pro forma or federal return, whichever is applicable.

                                         Assets                                                                               Beginning of Tax Year                  End of Tax Year
    1. Cash ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                   470,382.
    2. Trade notes and accounts receivable ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9,015,345.                         4,110,468.
       a. Reserve for bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               (     2,385,319.)                  (       822,363.)
    3. Loans to stockholders/affiliates ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 556,512.                           573,356.
    4. Stock of subsidiaries ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
    5. Corporate stocks ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
    6. Bonds, mortgages, and notes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
    7. New Jersey state and local government obligations ~~~~~~~~~~~~~~~~~~~
    8. All other government obligations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
    9. Patents and copyrights ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   10. Deferred charges ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   11. Goodwill ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                                                             STATEMENT 7
   12. All other intangible personal property (itemize) ~~~~~~~~~~~~~~~~~~~~~~                                                        658,075.                           469,939.
   13. Total intangible   personal  property (total lines 1 to 12) ~~~~~~~~~~~~~~~~~~                                               7,844,613.                         4,801,782.
   14. Land ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   15. Buildings and other improvements ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 5,000,838.                         3,552,232.
       a. Less accumulated depreciation ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           (     3,797,188.)                  (     3,387,447.)
   16. Machinery and equipment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
       a. Less accumulated depreciation ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           (                               ) (                                   )
   17. Inventories ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  43,424.
   18. All other tangible personalty (net) (itemize on rider) ~~~~~~~~~~~~~~~~~~~
   19. Total real and tangible personal property (total lines 14 to 18) ~~~~~~~~~~~~~~~                                             1,247,074.                           164,785.
   20. Total assets (add lines 13 and 19) ••••••••••••••••••••••••••••                                                              9,091,687.                         4,966,567.
       Liabilities and Stockholder's Equity
   21. Accounts payable ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         2,577,211.                         2,851,253.
   22. Mortgages, notes, bonds payable in less than 1 year (incl. schedule) STATEMENT  8
                                                                             ~~~~~~~~~~~                                              916,243.                         1,049,597.
   23. Other current liabilities (include schedule) ~~~~~~~~~~~~~~~~~~~~~~~~ STATEMENT 9                                            1,006,008.                           996,513.
   24. Loans from stockholders/affiliates ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                                                                  STMT 10
   25. Mortgages, notes, bonds payable in 1 year or more (include schedule) ~~~~~~~~~~                                              1,272,628.                               393,671.
   26. Other liabilities (include schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~     STATEMENT 11                                                                                    840,550.
   27. Capital stock:       (a) Preferred stock ~~~~~~~~~~~~~~~~~~~~~~~~~~
                            (b) Common stock ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                      2,000.                             2,000.
   28. Paid-in or capital surplus ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          20,000.                            20,000.
   29. Retained earnings - appropriated (include schedule) ~~~~~~~~~~~~~~~~~~~
   30. Retained earnings - unappropriated ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               2,901,426.                          837,482.
                                                                             STATEMENT 12
   31. Adjustments to shareholders' equity (include schedule) ~~~~~~~~~~~~~~~~~                                                       396,171.                       -2,024,499.
   32. Less cost of treasury stock ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   33. Total liabilities and stockholder's equity (total lines 21 to 32) •••••••••••••••                                            9,091,687.                         4,966,567.




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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                  363-531-506/000
                              RECONCILIATION OF INCOME PER BOOKS WITH INCOME PER RETURN (See Instructions)
  Schedule C                  Data must match amounts reported on Schedule M-1 of the federal pro forma or federal return, whichever is applicable.
                              If the taxpayer completed federal Schedule M-3 (Form 1120 /1120-F), include a copy.
  1. Net income per books                               -2,063,944. 7. Income recorded on books this year not
  2. Federal income tax per books                                                 included in this return (itemize)
  3. Excess of capital losses over capital                                        a. Tax-exempt interest $
      gains                                                                       b. STMT 15                   4,120,468.
  4. Income subject to tax not recorded on books                                  c.
      this year (itemize)                                                                                                          4,120,468.
                                                                               8. Deductions in this tax return not charged
    SEE STATEMENT 13                                      9,535,906.              against book income this year (itemize)
  5. Expenses recorded on books this year not                                     a. Depreciation $
     deducted in this return (itemize)                                            b. Contributions Carryover $
     a. Depreciation  $                325,188.                                        STMT 16                 8,083,877.
     b. Contributions Carryover  $                                                                                                 8,083,877.
     c. Other (itemize) $         4,465,476.           4,790,664.            9. Total of lines 7 and 8                            12,204,345.
                                   STMT 14                                   10. Income (Schedule A, Part I, line 28) -
  6. Total of lines 1 through 5                      12,262,626.                 line 6 less 9                                           58,281.


                           ANALYSIS OF UNAPPROPRIATED RETAINED EARNINGS PER BOOKS (See Instructions)
  Schedule C-1
                           Data must match amounts reported on Schedule M-2 of the federal pro forma or federal return, whichever is applicable.
  1. Balance at beginning of year                  2,901,426. 5. Distributions
  2. Net income per books                        -2,063,944.             a. Cash $
  3. Other increases (itemize)                                           b. Stock $
                                                                         c. Property $
                                                                      6. Other decreases (itemize)




                                                                          7. Total of lines 5 and 6
  4. Total of lines 1, 2, and 3                          837,482.         8. Balance end of year (line 4 less 7)                       837,482.
                            CORPORATE OFFICERS - GENERAL INFORMATION AND COMPENSATION (See Instructions)
  Schedule F
                            Data must match amounts reported on federal Form 1125-E of the federal pro forma or federal return, whichever is applicable.
                 (1)                    (2)               (3)                      (4)                          (5)                        (6)
      Name and Current            Social Security       Title              Dates Employed           Percentage of Corporation         Amount of
       Address of Officer             Number                                in this position              Stock Owned                Compensation

                                                                         From              To           Common        Preferred
    SEE STATEMENT 17




  a. Total compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       137,267.
  b. Less: Compensation of officers claimed elsewhere on the return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  c. Balance of compensation of officers (include here and on Schedule A, Part I, line 12) ••••••••••••••••••                          137,267.




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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                  363-531-506/000

  Schedule G - Part I                  INTEREST (See Instructions)

        Was interest paid, accrued, or incurred to a related member(s) deducted from entire net income?
             Yes. Fill out the following schedule.        X No.

                     Name of Related Member                         Federal ID Number          Relationship to Taxpayer             Amounts




    a. Total amount of interest deducted ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
    b. Subtract: Exceptions (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ (                                                               )
    c. Related Party Interest Expenses Disallowed for New Jersey Purposes (include here and on Schedule A,
       Part II, line 6). •••••••••••••••••••••••••••••••••••••••••••••••••••

  Schedule G - Part II                 INTEREST EXPENSES AND COSTS AND INTANGIBLE EXPENSES AND COSTS (See Instr.)

    1. Were intangible expenses and costs, including intangible interest expenses and costs, paid, accrued or incurred to related members, deducted
       from entire net income?       Yes. Fill out the following schedule.       X No.
                                                                                                      Type of Intangible
           Name of Related Member                Federal ID Number       Relationship to Taxpayer     Expense Deducted              Amounts




   a. Total amount of intangible expenses and costs deducted ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   b. Subtract: Exceptions (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ (                                                                )
   c. Related Party Intangible Expenses and Costs addback (include here and on Schedule A, Part II, line 7) •••••••
  NOTE: For tax years beginning on or after January 1, 2018, the treaty exceptions have been limited pursuant to P.L. 2018, c. 48. See Schedule G-2
        instructions for more information.




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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                      363-531-506/000
                             TAXES (See Instructions)
  Schedule H
                             Include all taxes paid or accrued during the accounting period wherever deducted on Schedule A.
                                                      (a)               (b)                               (d)              (e)
                                                                   Corporation           (c)                                                       (f)
                                                 Corporation                                           U.C.C. or     Other Taxes/
                                                                    Business/         Property                                                    Total
                                                  Franchise        Occupancy                            Payroll         Licenses
                                                                                       Taxes
                                               Business Taxes         Taxes                             Taxes        (include sch.)
     1. New Jersey Taxes
     2. Other States & U.S. Possessions
     3. City and Local Taxes
     4. Taxes Paid to Foreign Countries *
     5. Total
     6. Combine lines 5(a) and 5(b)
     7. Sales & Use Taxes Paid by a Utility Vendor
     8. Add lines 6 and 7
     9. Federal Taxes
   10. Total (Combine line 5 and line 9)
  * Include on line 4 taxes paid or accrued to any foreign country, state, province, territory, or subdivision thereof.


  Schedule J                 COMPUTATION OF ALLOCATION FACTOR (See Instructions)

  All taxpayers, regardless of entire net income reported on Schedule A, Part II, line 20, Form CBT-100, must complete Schedule J. This schedule
  can be omitted if the taxpayer does not have receipts outside New Jersey, in which case the allocation factor will be 100% (1.000000).
              For tax years ending on and after July 31, 2019, services are sourced based on market sourcing not cost of performance.
   1. Receipts:                                                                                                                    AMOUNTS (omit cents)
        a. From sales of tangible personal property shipped to points within New Jersey ~~~~~~~~~~~~~~                          a.                          0.
        b. From services if the benefit of the service is received in New Jersey ~~~~~~~~~~~~~~~~~~~~                           b.
        c. From rentals of property situated in New Jersey ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        c.
        d. From royalties for the use in New Jersey of patents, copyrights, and trademarks ~~~~~~~~~~~~~                        d.
        e. All other business receipts earned in New Jersey (See instructions) ~~~~~~~~~~~~~~~~~~~~                             e.
        f. Total New Jersey receipts (Total of lines 1a to 1e, inclusive) ~~~~~~~~~~~~~~~~~~~~~~~~                              f.                          0.
        g. Total receipts from all sales, services, rentals, royalties, and other business transactions everywhere ~~~          g.       10,783,048.
        h. Allocation Factor (Percentage in New Jersey (line 1f divided by line 1g). Carry the fraction 6 decimal
            places. Do not express as a percent. Include here and on Schedule A, Part II, line 21 •••••••••••                   h.               .000000
  NOTE: Include the GILTI and the receipts attributable to the FDII, net of the respective allowable IRC ¤ 250(a) deductions, in the allocation factor. The
           net amount of GILTI (i.e., the GILTI reduced by the I.R.C. ¤250(a) GILTI deduction) and the net FDII (i.e., the receipts attributable to the FDII
           reduced by the I.R.C. ¤ 250(a) FDII deduction) amounts are included in the numerator (if applicable) and the denominator.




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  NAME AS SHOWN ON RETURN                                                                                                           FEDERAL ID NUMBER

  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                            363-531-506/000

  Schedule P-1                                          PARTNERSHIP INVESTMENT ANALYSIS (See Instructions)

  Part I - Partnership Information
                         (1)                                                                                (5)              (6)
                                                         (2)       (3)           (4)                                        New                  (7)
    Partnership, LLC, or Other Entity Information                                                  Tax Accounting Method
                                                      Date and Percentage                                                  Jersey      Tax Payments Made on
                                                     State where   of     Limited General           Flow        Separate Nexus           Behalf of Taxpayer
           Name             Federal ID Number         Organized Ownership Partner Partner          Through     Accounting* Yes No          by Partnerships




  Enter total of column 7 here and on page 1, line 10b ••••••••••••••••••••••••••••••••
  *Taxpayers using a separate accounting method must complete Part II.
  Part II - Separate Accounting of Nonunitary Partnership Income
                         (1)                             (2)               (3)                                                                (4)
                                                                                                                                 Taxpayer's Share of Income
               Nonunitary Partnership's             Distributive Share of Income/Loss    Partnership's Allocation Factor           Allocated to New Jersey
                 Federal ID Number                     from Nonunitary Partnership             (See Instructions)              (Multiply Column 2 by Column 3)
    1.
    2.
    3.
    4.     Total column 2. Enter amount here and Schedule A, Part II, line 17b ••••••••••••••••••••
    5.     Total column 4. Enter amount here and Schedule A, Part III, line 3b ••••••••••••••••••••
    If additional space is needed, include a rider.




  Schedule PC                                           PER CAPITA LICENSED PROFESSIONAL FEE (See Instructions)
    1. Is the corporation a Professional Corporations (PC) formed pursuant to N.J.S.A. 14A:17-1 et seq. or any similar law from a possession or territory
         of the United States, a state, or political subdivision thereof?       Yes. This schedule must be included with the return.           X No.
    2. How many licensed professionals are owners, shareholders, and/or employees from this Professional Corporation (PC) as of the first day of the
         privilege period?        2 or less, complete Part I.            More than 2, complete Part I and Part II (if additional space is needed, include a rider).
  Part I - Provide the following information for each of the licensed professionals in the PC. Include a rider if additional space is needed.
                                 Name                                                       Address                                            FID/SSN
    1.
    2.
    3.
    4.
    5.
  Part II - Complete only if there are more than 2 licensed professional listed above.
   1. Enter number of resident and nonresident professionals with physical nexus with
         New Jersey                   x $150 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              1.
   2. Enter number of nonresident professionals without physical nexus with
         New Jersey                  x $150 x allocation factor of the PC ~~~~~~~~~~~~~~~~~~~~~                               2.
   3. Total Fee Due - Add line 1 and line 2 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                3.
   4. Installment Payment - 50% of line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 4.
   5. Total Fee Due (line 3 plus line 4) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                5.
   6. Less prior year 50% installment payment and credit (if applicable) ~~~~~~~~~~~~~~~~~~~~                                 6. (                                  )
   7. Balance of Fee Due (line 5 minus line 6). If the result is zero or more, include the amount here
         and on Form CBT-100, page 1, line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               7.
   8. Credit to next year's Professional Corporation Fee (if line 7 is less than zero, enter the
         amount here) ••••••••••••••••••••••••••••••••••••••••••••••                                                          8.

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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                       363-531-506/000

  Schedule P                                        SUBSIDIARY INVESTMENT ANALYSIS (See Instructions)

  NOTE:    Taxpayers must hold 80% of the combined voting power of all classes of stock entitled to vote and at least 80% of the total number of shares
           of all other classes of stock, except non-voting stock which is limited and preferred as to dividends, for each subsidiary. Do not include
           advances to subsidiaries in book value. Do not include any previously taxed dividends. Instead, report those amounts on Schedule PT.
  PART I DOMESTIC SUBSIDIARY
                                                   (1)                                      (2)                         (3)                       (4)
                                                                               Percentage of Interest            Book  Value (as      Domestic  Dividend Income
    Federal ID Number                      Name of Subsidiary                    (a) Voting   (b) Non-Voting reported in Schedule B) (as reported on Schedule A)




  Totals ••••••••••••••••••••••••••••••••••••••••••••
  PART II FOREIGN SUBSIDIARY
                             (1)               (2)                                                                    (3)                       (4)
                                                                                Percentage of Interest         Book  Value (as       Foreign Dividend Income
    Federal ID Number                      Name of Subsidiary                    (a) Voting (b) Non-Voting reported in Schedule B) (as reported on Schedule A)




  Totals ••••••••••••••••••••••••••••••••••••••••••••
  PART III TOTAL OF 80% OR MORE OWNED SUBSIDIARY DIVIDENDS
   1. Enter total from Part I, column 4 (include here and on Schedule A-4) ~~~~~~~~~~~~~~~~~~~~~~~~~                                 1.
   2. Enter total from Part II, column 4 (include here and on Schedule A-4) ~~~~~~~~~~~~~~~~~~~~~~~~~                                2.
   3. Total dividends. Add lines 1 and 2 (include here and on Schedule R) •••••••••••••••••••••••••                                  3.




  Schedule R              DIVIDEND EXCLUSION (See Instructions)

   1.   Enter the total dividends and deemed dividends reported on Schedule A ~~~~~~~~~~~~~~~~~~~                               1.
   2.   Enter amount from Schedule PT, Section D, line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         2.
   3.   Dividends eligible for dividend exclusion - Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~                           3.
   4.   Enter amount from Schedule P, Part III, line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         4.
   5.   Multiply line 4 by .95 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    5.
   6.   Subtract line 4 from line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  6.
   7.   Dividend income from investments where taxpayer owns less than 50% of voting
        stock and less than 50% of all other classes of stock (do not incl. amounts subtracted on line 2) ~~~~~~~               7. (                         )
   8.   Subtract line 7 from line 6 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  8.
   9.   Multiply line 8 by 50% ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     9.
  10.   Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    10.
  11.   DIVIDEND EXCLUSION: Add lines 5 and 9 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               11.
  12. Allocation factor from current Schedule J (if all receipts are derived from only NJ sources, enter 1.000000) ~~          12.
  13. ALLOCATED DIVIDEND EXCLUSION: Multiply line 11 by line 12 (include here and on Schedule A, Part II, line 27)             13.




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  AEROCARE MEDICAL TRANSPORT SYSTEM,                                                                                        363-531-506/000

   Schedule S - Part I                     DEPRECIATION AND SAFE HARBOR LEASING (See Instructions)

    1.   IRC ¤ 179 Deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     1.           10,325.
    2.   Special Depreciation Allowance - for qualified property placed in service during the tax year ~~~~~~~~~~             2.                0.
    3.   MACRS ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            3.          104,025.
    4.   ACRS ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            4.
    5.   Other Depreciation ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     5.
    6.   Listed Property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      6.            4,572.
    7.   Total depreciation claimed in arriving at Schedule A, Part II, line 1 •••••••••••••••••••••••                        7.          118,922.
                                            Include Federal Form 4562 and Federal Depreciation Worksheet
                       Modification at Schedule A, Part II, line 9 or line 12 - Depreciation and Certain Safe Harbor Lease Transactions

  Additions
    8. Amounts from lines 3, 4, 5, and 6 above ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       8. 108,597.
    9. Special Depreciation Allowance from line 2 above ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   9.
   10. Distributive share of the special depreciation allowance from a partnership ~~~~~~~~~~~~~~~~~~                   10.
   11. Distributive share of ACRS, MACRS, and other depreciation from a partnership ~~~~~~~~~~~~~~~~                    11.
   12. Deductions on federal return resulting from an election made pursuant to IRC ¤ 168(f)(8) exclusive of
       elections made with respect to mass commuting vehicles
       a. Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 12a.
       b. Rent ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 12b.
       c. Amortization of Transactional Costs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 12c.
       d. Other Deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 12d.
   13. IRC ¤ 179 depreciation in excess of New Jersey allowable deduction ~~~~~~~~~~~~~~~~~~~~~                         13.  10,325.
   14. Other additions (include an explanation/reconciliation) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             14.
   15. Total lines 8 through 14 •••••••••••••••••••••••••••••••••••••••••••                                             15. 118,922.
  Deductions
   16. New Jersey depreciation ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               16.
   17. Recomputed depreciation attributable to distributive share of recovery property from a partnership ~~~~~~        17.
   18. Any income included in the return with respect to property solely as a result of an IRC ¤ 168(f)(8) election ~~~ 18.
   19. The lessee/user should enter the amount of depreciation that would have been allowable under the Internal
       Revenue Code on December 31, 1980, had there been no safe harbor lease election ~~~~~~~~~~~~~                    19.
   20. Excess of accumulated ACRS, MACRS, or bonus depreciation over accumulated New Jersey depreciation
       on physical disposal of recovery property (include computations) ~~~~~~~~~~~~~~~~~~~~~~~                         20.
   21. Other deductions (include an explanation/reconciliation) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             21.
   22. Total lines 16 through 21 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             22.
   23. ADJUSTMENT - Subtract line 22 from line 15 and enter the result. (If line 23 is positive, enter at Schedule
       A, Part II, line 9. If line 23 is negative, enter as a positive number at Schedule A, Part II, line 12) •••••••• 23. 118,922.
                                                 NEW JERSEY DEPRECIATION FOR GAS, ELECTRIC, AND GAS AND ELECTRIC PUBLIC
   Schedule S - Part II
                                                 UTILITIES (See Instructions)
    1. Total depreciation claimed in arriving at Schedule A, Part II, line 1 ~~~~~~~~~~~~~~~~~~~~~~                      1.
    2. Federal depreciation for assets placed in service after January 1, 1998 ~~~~~~~~~~~~~~~~~~~~                      2.
    3. Net - Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         3.
    4. New Jersey depreciation allowable on the Single Asset Account (Assets placed in service prior to
       January 1, 1998)
       a. Total adjusted federal depreciable basis as of December 31, 1997 ~~~~~~~~~~~~~~~~~~~~                         4a.
       b. Excess book depreciable basis over federal tax basis as of December 31, 1997 ~~~~~~~~~~~~~~                   4b.
       c. Less accumulated federal basis for all Single Asset Account property sold, retired or disposed of to date ~   4c.
       d. Total (line 4a plus line 4b less line 4c)~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  4d.
    5. New Jersey Depreciation - Divide line 4d by 30 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   5.
    6. New Jersey Adjustment
       a. Depreciation adjustment for assets placed in service prior to Jan. 1, 1998 - Subtract line 5 from line 3 ~~~  6a.
       b. Special bonus depreciation adjustment from Schedule S, Part I, line 23 (see instructions) ~~~~~~~~~           6b.
    7. Total Adjustment - Add lines 6a and 6b and enter the result. (If line 7 is positive, enter at Schedule A,
       Part II, line 9. If line 7 is negative, enter as a positive number at Schedule A, Part II, line 12 ••••••••••     7.
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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                XX-XXXXXXX
                              Computation of the 2020 Post Allocation Net Operating Loss (NOL) and
   Form 500
                              Prior Net Operating Loss Conversion Carryover (PNOL) Deductions (See Instructions)
  Section A - Computation of Prior Net Operating Losses (PNOL) Deduction from periods ending PRIOR to July 31, 2019
  Complete the section only if the Allocated Entire Net Income/(Loss) before net operating loss deductions and dividend exclusion on Schedule A, Part
  II, line 22 is positive (income).
    1. Prior Net Operating Loss Conversion Carryover (PNOL) - Enter the total of Worksheet 500-P, Part II,
         column 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          1.        152,700.
    2. Enter the portion of line 1 previously deducted ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            STMT   18  2.        140,425.
    3. Enter the portion of line 1 that expired ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3.
    4. Enter any discharge of indebtedness excluded from federal taxable income in the current tax period
         pursuant to subparagraph (A), (B), or (C) of paragraph (1) of subsection (a) of IRC ¤ 108* ~~~~~~~~~~~               4.
    5. PNOL available in the current tax year - Subtract lines 2, 3, and 4 from line 1 (if zero or less, enter zero) ~~~~     5.          12,275.
    6. Enter the allocated net income from Schedule A, Part II, line 22                                                       6.                    0.
    7. Current tax year's PNOL deduction - Enter the lesser of line 5 or line 6 here and on Schedule A,
         Part II, line 23 ••••••••••••••••••••••••••••••••••••••••••••••••                                                    7.                    0.
  * If the allocated discharge of indebtedness exceeds the amount of PNOL that is available and the taxpayer has post allocation net operating loss
     carryover in Form 500 Section B, carry the remaining balance to line 5 of Section B.
  Section B - Post Allocation Net Operating Losses (NOLs) For Tax Years Ending ON AND AFTER July 31, 2019
    Check the box next to each period if the unused, unexpired, post allocation NOL carryovers are from a tax period in which the taxpayer was a
    taxable member on a New Jersey combined return. Otherwise, leave the box blank.
    1. Allocated Net Operating Loss Carryover - See instructions.
         a. Return Period Ending                                   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             1a.
         b. Return Period Ending                                   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             1b.
         c. Return Period Ending                                   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             1c.
         d. Return Period Ending                                   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             1d.
         e. Return Period Ending                                   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             1e.
         f. Return Period Ending                                   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              1f.
         g. Return Period Ending                                   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             1g.
         h. Return Period Ending                                   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             1h.
         i. Return Period Ending                                   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              1i.
         j. Return Period Ending                                   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              1j.
    2. Total Post Allocation Net Operating Losses (NOLs) - Add lines 1a through 1j ~~~~~~~~~~~~~~~~~                          2.
    3. Portion of line 2 previously deducted ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            3.
    4. Portion of line 2 that expired (after 20 privilege periods) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               4.
    5. Enter any discharge of indebtedness excluded from federal taxable income in the current tax period
         pursuant to subparagraph (A), (B), or (C) of paragraph (1) of subsection (a) of IRC ¤ 108* ~~~~~~~~~~~               5.
    6. NOLs available for current tax year - Subtract lines 3, 4, and 5 from line 2 ~~~~~~~~~~~~~~~~~~~                       6.
    7. Enter Allocated Entire Net Income Before Post Allocation Net Operating Loss Deduction from
         Schedule A, Part II, line 24 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              7.
    8. Current tax year's NOL deduction - Enter the lesser of line 6 or line 7 here and on Schedule A,
         Part II, line 25 ••••••••••••••••••••••••••••••••••••••••••••••••                                                    8.
  * If the taxpayer has any allocated discharge of indebtedness that was not used in Form 500 Section A, enter the balance.
  Note: When filing a combined return, post allocation net operating loss (NOL) carryovers are available to be shared by other taxable members of the
            combined group with which the taxpayer is a member and included as part of the same New Jersey combined return in the year the NOL
            carryover was generated, pursuant to N.J.S.A. 54:10A-4.6.h. The taxpayer cannot share the NOL carryovers with members of the combined
            group which were not included in the same New Jersey combined return in the year the NOL carryover was originally generated.




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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                       XX-XXXXXXX
  WORKSHEET                   NEW JERSEY CORPORATION BUSINESS TAX
  500-P                                              Prior Net Operating Loss Conversion Worksheet
                                                Use this worksheet to calculate the converted prior net operating losses for use
                                                      for tax years ending on and after July 31, 2019. (See Instructions)
  NOTE: This is used to calculate your converted prior net operating losses from pre-allocated net operating loss carryovers to post-allocated net
        operating loss carryovers for the last tax periods ending before July 31, 2019. Use the allocation factor calculated on Schedule J in the last
        tax period ending prior to July 31, 2019, for Part I, line 1. This is the taxpayer's base year allocation factor for the last tax period ending before
        July 31, 2019, pursuant to N.J.S.A. 54:10A-4(u). Submit a copy of this worksheet to substantiate calculations and to determine usable
        amounts for future years. If more space is needed, enclose a rider listing the information.

  Part I


   1. Allocation Factor For The Last Tax Period Ending Prior to July 31, 2019 (from Schedule J)      ••••••••••                                   100.0000%

  Part II
                       Column 1                                            Column 2                                              Column 3
                                                                                                                      Converted Prior Net Operating
                                                                  Prior Net Operating Losses                             Loss Carryover Multiply
                    Tax Period Ending                                   (see instructions)                    line I, Part I by amount in column 2, Part II


   2.               12/31/2016                                                           139,550.                                             139,550.

   3.               12/31/2018                                                             13,150.                                              13,150.

   4.


   5.


   6.


   7.


   8.


   9.


  10.


  11.


  12.


  13.


  14.


  15.


  16.


  17.


  18.


  19.


  20.
  066412 01-29-21                                         Enclose a Copy with Tax Return
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       CBT-160-A                                       Underpayment of Estimated N.J. Corporation Business Tax                                           1019
  N.J. Division of Taxation                                    For Taxpayers With Gross Receipts of Less Than $50 Million
           (4-21)                                           Submit with your tax return (Form CBT-100, CBT-100S, or CBT-100U)
 Name as Shown on Return                                                                 Federal ID Number                   Unitary ID Number, if applicable

AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                    363-531-506/000                    NU
 Part I How to Calculate Your Underpayment

                  Note: If you meet any of the exceptions that eliminate the underpayment charge for any quarter, complete Part II.


 1. Amount of 2020 tax - See instructions for line 1 on page 2 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             500.
 2. 90% of line 1 - If you were qualified and elected to make a single payment in lieu of paying
    installments of estimated tax, enter zero (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           450.
 3. Prior year's tax - Enter the amount from line 6, page 1 of the 2019 CBT-100 or line 4,
    page 1 of the 2019 CBT-100S, or line 5, page 1 of the 2019 CBT-100U ~~~~~~~~~~~~~~~~~~~~~~~                                                          750.

 4. Enter the lesser of lines 2 or 3 •••••••••••••••••••••••••••••••••••••••••••                                                                         450.
                                                (a)          (b)          (c)                                                                   (d)
 5. Enter in columns (a) through (d) the
    installment dates that correspond to the
    15th day of the fourth, sixth, ninth, and
    12th months of your tax year (see inst)                  06/15/2020              07/15/2020              09/15/2020                12/15/2020

 6.   Enter 25% of line 4 in columns (a) through (d)   ~~                     112.                  113.                    112.                         113.

 7. (a) Amount paid or credited for each period
    (b) Overpayment of previous installment
        (enter any overpayment shown on line 9
        that is more than the total of all prior
        underpayments as a credit against the
        next installment) ~~~~~~~~~~~

 8. Add lines 7a and 7b ~~~~~~~~~
 9. Underpayment (subtract line 8 from line 6) or
    overpayment (subtract line 6 from line 8) •                                      REFER TO STATEMENT
 Part II         Exceptions (See Instructions)
 10. Total amount paid or credited from the begin-
     ning of the tax year through the installment
     dates that correspond to the 15th day of the
     fourth, sixth, ninth, and 12th months of your
     tax year ~~~~~~~~~~~~~~~
 11. Exception 1 - Tax based on the facts shown                  25% of tax            50% of tax              75% of tax                 100% of tax
     on the prior year's return but using current
     year's rates. See instructions regarding
     periods of less than one year ~~~~~~
                                                                22.5% of tax           45% of tax             67.5% of tax                  90% of tax


 12. Exception 2 - Tax based on annualized tax ~
 Part III         Installment Interest Due (See Instructions)

 13. Amount of underpayment from line 9 ~


 14. Enter same installment dates used above at line 5
 15. Enter the date of payment or the 15th day of
     the fourth month after the close of the tax
     year, whichever is earlier ~~~~~~~~
 16. Number of months from the date on line 14
     to the date on line 15. (A part of a month is
     deemed to be a full month.) ~~~~~~~


 17. Interest ~~~~~~~~~~~~~~~
 18. Installment interest due - Add columns (a), (b), (c), and (d) of line 17. Enter the total here and on page 1, line 12,
                                                                                                 SEE STATEMENT 19
     of Form CBT-100, page 1, line 12, of CBT-100S, or page 1, line 14, of CBT-100U ••••••••••••••••••                                                   17.
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NJ CBT-100                PENALTY AND INTEREST SUMMARY           STATEMENT   1
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LATE PAYMENT PENALTY
LATE FILING PENALTY
LATE PAYMENT INTEREST
UNDERPAYMENT PENALTY                                                                  17
                                                                          }}}}}}}}}}}}}}
TOTAL PENALTIES AND INTEREST INCLUDED IN RETURN                                       17
                                                                          ~~~~~~~~~~~~~~

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NJ CBT-100                    NEW JERSEY FOOTNOTES               STATEMENT   2
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THIS IS AN AMENDED RETURN. THE FEDERAL FORM 1120S WAS
AMENDED TO CORRECT LINE 1A GROSS RECEIPTS. THIS CORRECTION
INCLUDES A $2,420,670 ADJUSTMENT RELATED TO THE CHANGE IN
THE CORPORATION'S ALLOWANCE FOR DOUBTFUL ACCOUNTS, WHICH WAS
RESTATED FROM THE PRIOR TAX YEAR ON THE REVIEWED FINANCIAL
STATEMENTS.

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
NJ CBT-100            NEW JERSEY AMENDED RETURN INFORMATION      STATEMENT   3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
ORIGINAL BALANCE DUE                                                                 767
AMENDED BALANCE DUE                                                                  767
                                                                          }}}}}}}}}}}}}}
NO PAYMENT REQUIRED                                                                    0
                                                                          ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                      COMPUTATION OF FEDERAL TAXABLE INCOME      STATEMENT   4
                               OTHER DEDUCTIONS
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
BANK CHARGES                                                                     35,112.
COMMISSIONS                                                                      44,162.
CONSULTING                                                                       21,000.
EDUCATION                                                                       239,172.
SHOP EXPENSE                                                                     16,444.
TRAVEL                                                                           65,234.
VEHICLE FUEL                                                                     29,598.
VEHICLE MAINTENANCE                                                              10,216.
VEHICLE LEASE                                                                     9,808.
VEHICLE LICENSE AND REGISTRATION                                                  4,200.
COMPUTER AND INTERNET EXPENSES                                                   85,290.
TELECOMMUNICATIONS                                                               50,884.
UNIFORMS                                                                          4,539.
FREIGHT AND DELIVERY                                                              4,076.
DUES AND SUBSCRIPTIONS                                                           49,837.
INSURANCE                                                                       263,658.
UTILITIES                                                                        35,747.
VEHICLE EXPENSE                                                                   2,244.
LEGAL AND ACCOUNTING                                                            189,485.
OFFICE SUPPLIES                                                                  62,879.
POSTAGE AND SUPPLIES                                                              1,504.
MEALS                                                                             1,284.
                                                                          }}}}}}}}}}}}}}
TOTAL OTHER DEDUCTIONS                                                        1,226,373.
                                                                          ~~~~~~~~~~~~~~




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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
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                      COMPUTATION OF FEDERAL TAXABLE INCOME      STATEMENT   5
                                 OTHER INCOME
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
HHS PROVIDER RELIEF FUND                                                      1,072,245.
MISCELLANEOUS INCOME                                                                 23.
                                                                          }}}}}}}}}}}}}}
TOTAL OTHER INCOME                                                            1,072,268.
                                                                          ~~~~~~~~~~~~~~

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NJ CBT-100              COST OF GOODS SOLD - OTHER COSTS         STATEMENT   6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
AIRCRAFT EXPENSES                                                             1,062,107.
CONTRACT LABOR                                                                  267,479.
DEPRECIATION                                                                     59,819.
GROUND AMBULANCE                                                                264,390.
OPERATING SUPPLIES                                                               14,933.
                                                                          }}}}}}}}}}}}}}
TOTAL TO SCHEDULE A-2, LINE 5                                                 1,668,728.
                                                                          ~~~~~~~~~~~~~~

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SCHEDULE B             OTHER INTANGIBLE PERSONAL PROPERTY        STATEMENT   7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            BEGINNING        END
                                                             OF YEAR       OF YEAR
DESCRIPTION                                                   AMOUNT        AMOUNT
}}}}}}}}}}}                                              }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PREPAID INSURANCE                                               14,474.        18,076.
PREPAID TRAINING                                                43,341.              0.
STATE INCOME TAX PROVISION                                       7,172.              0.
PREPAID EXPENSES                                                29,861.        20,869.
NOTES RECEIVABLE - EMPLOYEES                                     2,594.              0.
DUE FROM RELATED COMPANIES                                     359,925.       359,925.
SECURITY DEPOSITS                                              200,708.          9,076.
TREASURY REFUND                                                       0.       61,993.
                                                         }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE B, LINE 12                                   658,075.       469,939.
                                                         ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




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SCHEDULE B              MORTGAGES, NOTES, BONDS PAYABLE          STATEMENT   8
                              IN LESS THAN 1 YEAR
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            BEGINNING        END
                                                             OF YEAR       OF YEAR
DESCRIPTION                                                   AMOUNT        AMOUNT
}}}}}}}}}}}                                              }}}}}}}}}}}}}} }}}}}}}}}}}}}}
MORTGAGE PAYABLE - CURRENT PORTION                             916,243.     1,049,597.
                                                         }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE B, LINE 22                                   916,243.     1,049,597.
                                                         ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

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SCHEDULE B                 OTHER CURRENT LIABILITIES             STATEMENT   9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                          BEGINNING OF    END OF TAX
DESCRIPTION                                                 TAX YEAR         YEAR
}}}}}}}}}}}                                              }}}}}}}}}}}}}} }}}}}}}}}}}}}}
BANK OVERDRAFT                                                  34,486.             0.
ACCRUED PAYROLL                                                210,166.       226,167.
OTHER ACCRUAL                                                  699,280.       759,554.
PAYROLL LIABILITIES                                             44,826.             0.
CUSTOMER DEPOSITS                                               17,250.        10,792.
                                                         }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE B, LINE 23                                 1,006,008.       996,513.
                                                         ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

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SCHEDULE B              MORTGAGES, NOTES, BONDS PAYABLE          STATEMENT 10
                               IN 1 YEAR OR MORE
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            BEGINNING        END
                                                             OF YEAR       OF YEAR
DESCRIPTION                                                   AMOUNT        AMOUNT
}}}}}}}}}}}                                              }}}}}}}}}}}}}} }}}}}}}}}}}}}}
LONG-TERM MORTGAGES                                          1,272,628.       393,671.
                                                         }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE B, LINE 25                                 1,272,628.       393,671.
                                                         ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




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SCHEDULE B                     OTHER LIABILITIES                 STATEMENT 11
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
DESCRIPTION                                                  TAX YEAR         YEAR
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
PPP LOAN                                                              0.       840,550.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE B, LINE 26                                          0.       840,550.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

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SCHEDULE B            ADJUSTMENTS TO SHAREHOLDERS' EQUITY        STATEMENT 12
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                           BEGINNING OF    END OF TAX
DESCRIPTION                                                  TAX YEAR         YEAR
}}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
RETAINED EARNINGS ADJUSTMENT - NO TAX
EFFECT                                                             4,413.           4,413.
PRIOR PERIOD ADJUSTMENT                                          391,758.         391,758.
PRIOR PERIOD ALLOWANCE FOR DOUBTFUL
ACCOUNTS RESTATEMENT                                                  0.    -2,420,670.
                                                          }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE B, LINE 31                                    396,171.    -2,024,499.
                                                          ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

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SCHEDULE C        INCOME SUBJECT TO TAX NOT RECORDED ON BOOKS    STATEMENT 13
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                     AMOUNT
}}}}}}}}}}}                                                                 }}}}}}}}}}}}}}
ACCOUNTS RECEIVABLE - PY                                                        9,015,345.
TAX GAIN/LOSS ON SALE OF ASSETS IN EXCESS OF BOOK                                 520,561.
                                                                            }}}}}}}}}}}}}}
TOTAL TO SCHEDULE C, LINE 4                                                     9,535,906.
                                                                            ~~~~~~~~~~~~~~

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SCHEDULE C          EXPENSES RECORDED ON BOOKS NOT DEDUCTED      STATEMENT 14
                                 ON THIS RETURN
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                     AMOUNT
}}}}}}}}}}}                                                                 }}}}}}}}}}}}}}
ACCOUNTS PAYABLE - CY                                                           2,851,253.
ACCRUED EXPENSES- CY                                                              470,893.
ACCRUED PAYROLL - CY                                                              226,167.
ALLOWANCE FOR BAD DEBTS - CY                                                      822,362.
PREPAID EXPENSES - PY                                                              87,676.
EXCLUDED MEALS AND ENTERTAINMENT EXPENSES                                           1,284.
STATE INCOME TAX BOOK/TAX DIFFERENCE                                                5,841.
                                                                            }}}}}}}}}}}}}}
TOTAL TO SCHEDULE C, LINE 5(C)                                                  4,465,476.
                                                                            ~~~~~~~~~~~~~~


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SCHEDULE C           INCOME RECORDED ON BOOKS NOT INCLUDED       STATEMENT 15
                                 ON THIS RETURN
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
EIDL LOAN INCOME                                                                 10,000.
ACCOUNTS RECEIVABLE - CY                                                      4,110,468.
                                                                          }}}}}}}}}}}}}}
TOTAL TO SCHEDULE C, LINE 7(B)                                                4,120,468.
                                                                          ~~~~~~~~~~~~~~

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SCHEDULE C           DEDUCTIONS ON THIS RETURN NOT CHARGED       STATEMENT 16
                         AGAINST BOOK INCOME THIS YEAR
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
ACCOUNTS PAYABLE - PY                                                         2,577,211.
ACCRUED EXPENSES - PY                                                           406,739.
ACCRUED PAYROLL - PY                                                            254,993.
ALLOWANCE FOR BAD DEBTS - PY                                                  4,805,989.
PREPAID EXPENSES - CY                                                            38,945.
                                                                          }}}}}}}}}}}}}}
TOTAL TO SCHEDULE C, LINE 8(B)                                                8,083,877.
                                                                          ~~~~~~~~~~~~~~




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SCHEDULE F    CORPORATE OFFICERS - INFORMATION AND COMPENSATION STATEMENT 17
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                             DATES EMPLOYED                          AMOUNT OF
NAME, ADDRESS, TITLE, SSN                     FROM      TO             % STOCK      COMPENSATION
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}}}}          }}}}}}}      }}}}}}}}}}}}

JOSEPH CECE
1936 E. MISSOURI AVENUE,
PHOENIX, AZ 85251
PRESIDENT                                   01/01/19 12/31/19            100.00%        137,267.
                                                                                    }}}}}}}}}}}}
TOTAL TO SCHEDULE F                                                                     137,267.
                                                                                    ~~~~~~~~~~~~

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FORM 500           PRIOR NET OPERATING LOSS CARRYOVER DEDUCTED   STATEMENT 18
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

 YEAR ENDING                      TOTAL                   FACTOR                       AMOUNT
 }}}}}}}}}}}                  }}}}}}}}}}}}}               }}}}}}}                  }}}}}}}}}}}}}}
 12/31/2016                        139,550.        X       100.0000%      =              139,550.
 12/31/2018                             875.       X       100.0000%      =                   875.
                                                                                   }}}}}}}}}}}}}}
 TOTAL TO SECTION A, LINE 2                                                              140,425.
                                                                                   ~~~~~~~~~~~~~~

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FORM CBT-160           COMPUTATION OF UNDERPAYMENT PENALTY       STATEMENT 19
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
Q
T      EVENT     REMAINING          PERIOD OF       MONS INTEREST AMOUNT OF
R   AMOUNT TYPE UNDERPAYMENT       UNDERPAYMENT             RATE     PENALTY
- }}}}}}}}}}}}}} }}}}}}}}}}}} }}}}}}}}}} }}}}}}}}}} }}} }}}}}}}}} }}}}}}}}}}}
A
         112. Q         112. 06/15/2020 04/15/2021 10        6.25%           6.

B
           113.   Q            113.   07/15/2020 04/15/2021        9          6.25%            5.

C
           112.   Q            112.   09/15/2020 04/15/2021        7          6.25%            4.

D
           113.   Q            113.   12/15/2020 04/15/2021        4          6.25%            2.
                                                                                      }}}}}}}}}}}
    TOTAL TO FORM CBT-160, LINE 18                                                            17.
                                                                                      ~~~~~~~~~~~
     EVENT TYPE: Q    =   AMOUNT UNDERPAID AT START OF QUARTER
                 P    =   PAYMENT OR PAYMENT NOT FULLY USED IN OTHER QUARTER(S)
                 R    =   INTEREST RATE CHANGE
                 L    =   SWITCH TO OR FROM A LEAP YEAR




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PA-20S/PA-65                                  2020 Pennsylvania
(06-20) (Page 1 of 3)           PA S Corporation/Partnership Information Return                                                Extension Requested     N
                                          ENTER ONE LETTER OR NUMBER IN EACH BOX.
                                                                                                                               Initial Year            N

                                                                                                                               Final Return            N
               Filing Status:    PA-20S         Y        PA-65       N                P-S KOZ           N
                                                                                                                               FEIN/Name/Address       Y
363531506               C                                  621900               N            Inactive                          Change
                                                                                                                               Amended Information     Y
AEROCARE MEDICAL TRANSPORT SYSTEM INC                                                                                          Return
                                                                                                                               Method of Accounting:   C
43W450 US HIGHWAY 30                                                          Fiscal Year:         N    Short Year:   N        A=Accrual, C=Cash,
                                                                                                                               O=Other, Describe

                                                                                                                               Date activity
                                                                                                                               began in PA     01012013
SUGAR GROVE                             IL          60554


SECTION I. Total Taxable Business Income (Loss) from Operations Everywhere
1a Taxable Business Income (Loss) from Operations Everywhere                                                              1a                   -461788
1b Share of Business Income (Loss) from All Other Entities                                                                1b                         0
1c Total Income (Loss). Add Line 1a and Line 1b                                                                           1c                   -461788
1d Previously Disallowed CNI Deductions - PA S Corporations only                                                          1d                         0
1e Total Adjusted Business Income (Loss). Subtract Line 1d from Line 1c                                                   1e                   -461788

SECTION II. Apportioned/Allocated PA-Taxable Business Income (Loss)
2   Net Business Income (Loss)                                                                                            2a                   -454119
    (2a = Outside PA) (2e = PA Source)                                                                                    2e                     -7669
2   Share of Business Income (Loss) from Other Entities                                                                   2b                         0
    (2b = Outside PA) (2f = PA Source)                                                                                    2f                         0
2   Previously Disallowed PA Source CNI Deductions - PA S Corporations only                                               2c                         0
    (2c = Outside PA) (2g = PA Source)                                                                                    2g                         0
2   Calculate Adjusted/Apportioned Net Business Income (Loss)                                                             2d                   -454119
    (2d = Outside PA) (2h = PA Source)                                                                                    2h                     -7669

SECTION III. Allocated Other PA PIT Income (Loss)
3   Interest Income from PA Schedule A                                                                                    3                            0
4   Dividend Income from PA Schedule B                                                                                    4                            0
5   Net Gain (Loss) from PA Schedule D                                                                                    5a                           0
    (5a = Outside PA) (5b = PA Source)                                                                                    5b                           0
6   Rent/Royalty Net Income (Loss) from PA Schedule M, Part B                                                             6a                           0
    (6a = Outside PA) (6b = PA Source)                                                                                    6b                           0
7   Estates or Trusts Income from PA Schedule J                                                                           7a                           0
    (7a = Outside PA) (7b = PA Source)                                                                                    7b                           0
8   Gambling and Lottery Winnings (Loss) from PA Schedule T                                                               8a                           0
    (8a = Outside PA) (8b = PA Source)                                                                                    8b                           0
9   Total Other PA PIT Income (Loss)                                                                                      9                            0
      CCH    074501 12-09-20

     SUBMIT ALL SUPPORTING SCHEDULES


                                                                         Page 1 of 3
                                                                                                   EC       OFFICIAL USE ONLY            FC



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363531506                C              AEROCARE MEDICAL TRANSPORT SYSTEM INC



SECTION IV. Total PA S Corporation or Partnership Income (Loss)
10 Total Income (Loss) per Books and Records                                                                                  10         -2063944
11 Total Reportable Income (Loss). Add Lines 1e and 9 or Add Lines 2h and 9                                                   11            -7669
12 Total Nontaxable/Nonreportable Income (Loss). Subtract Line 11 from Line 10                                                12         -2056275

SECTION V. Pass Through Credits - See the PA-20S/PA-65 instructions
13a Total Other Credits. Submit PA-20S/PA-65 Schedule OC                                                                      13a                  0
13b Resident Credit                                                                                                           13b                  0
14a PA 2020 Quarterly Tax Withholding/Extension Payments for Nonresident Owners                                               14a                  0
14b Final Payment of Nonresident Withholding Tax                                                                              14b                  0
14c Total PA Income Tax Withheld. Add Lines 14a and 14b                                                                       14c                  0
SECTION VI. Distributions - See the PA-20S/PA-65 instructions
                   Partnerships Only
15 Distributions of Cash, Marketable Securities, and Property                                                                 15                   0
16 Guaranteed Payments for Capital or Other Services                                                                          16                   0
17 All Other Guaranteed Payments for Services Rendered                                                                        17                   0
18 Guaranteed Payments to Retired Partners                                                                                    18                   0
                   Distributions - See the PA-20S/PA-65 instructions
                   PA S Corporations Only
19 Distributions from PA Accumulated Adjustments Account                                                                      19                   0
20 Distributions of Cash, Marketable Securities, and Property                                                                 20                   0



SECTION VII. Other Information - See the PA-20S/PA-65 instructions for each line
1   During the entity's tax year, did the entity own any interest in another partnership or in any foreign entity that                       1     N
    was disregarded as an entity separate from its owner under federal regulations Sections 301.7701-2 and 301.7701-3?
    If yes, submit statement.
2   Does the entity have any tax-exempt partners/members/shareholders? If yes, submit statement.                                             2     N
3   Does the entity have any foreign partners/members/shareholders (outside the U.S.)? If yes, submit statement.                             3     N
4   Was there a distribution of property or a transfer (e.g., by sale or death) of a partner/member interest                                 4     N
    during the tax year? (Partnership only) If yes, submit statement.


5    Has the federal government changed taxable income as originally reported for any prior period? If yes, indicate
     period on supplemental statement, and submit final IRS determination paperwork.                                                         5     N
6    Does the entity elect to be subject to assessment at the entity level under Act 52 of 2013?                                             6     N
7    Is this entity involved in a reportable transaction, listed transaction, or registered tax shelter within this return?                  7     N
     If yes, submit statement.


8    Does the entity filing as a partnership have other partnerships as partners?                                                            8     N
9    Has the entity sold any tax credits? If yes, submit statement.                                                                          9     N
10   Has the entity changed its method of accounting for federal income tax purposes during this tax year? If yes,                          10     N
     submit federal Form 3115.
11   Has the entity entered into any like-kind exchanges under IRC Section 1031? If yes, submit federal Form 8824.                          11     N

12   PA Apportionment as reported on PA-20S/PA-65 Schedule H-Corp                                                                   12     0000000

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363531506                     C               AEROCARE MEDICAL TRANSPORT SYSTEM INC

SECTION VIII. PA S Corporations Only - Accumulated Adjustments Account (AAA) and Accumulated Earnings and Profits (AE&P)
                                                                                                                                                      AAA                             AE&P
1    Balance at the beginning of the taxable year.                                                                               1                     -45505                                0
2    Total reportable income from Section IV, Line 11                                                                            2                          0                         N/A
3    Other additions. Submit an itemized statement.                                                                              3                          0                                0
4    Loss from Section IV, Line 11                                                                                               4                      -7669                         N/A
5    Other reductions. Submit an itemized statement.                                                                             5                          0                                0
6    Sum of Lines 1 through 5                                                                                                    6                     -53174                                0
7    Distributions                                                                                                               7                          0                                0
8    Balance at taxable year-end. Subtract Line 7 from Line 6.                                                                   8                     -53174                                0

SECTION IX. Ownership In Pass Through Entities If the entity received income (loss) from an S corporation, partnership, estate or trust, limited
liability company, qualified subchapter S subsidiary (QSSS) or disregarded entity, list below the FEIN, name and address for each entity. If the income
(loss) is from a QSSS, enter "yes" in the QSSS box. If the income (loss) is from a disregarded entity other than a QSSS, enter "yes" in the D box. See
Instructions for further details.
                 FEIN               QSSS       D                                                         NAME & ADDRESS



A



B



C



D




SECTION X. Signature and Verification
Under penalties of perjury, I declare I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true, correct
and complete. Declaration of paid preparer is based on all information of which preparer has any knowledge.
Print/Type name of general partner, principal                                Signature of general partner, principal                    Date                          Daytime Phone no.
officer or authorized individual                                             officer or authorized individual


Paid Preparer's Use Only
Print/Type preparer's name                                                   Preparer's signature                                       Date                          Check if
                                                                                                                                                                      self-employed
LYUDMILA EISENMAN CPA                                LYUDMILA EISENMAN, CPA 03/21/22
Firm's name (or yours if self-employed) BEACHFLEISCHMAN PLLC
                                                                                                                                                                      Daytime Phone no.

Firm's address 1985 E. RIVER ROAD, SUITE 201 TUCSON AZ 85718                                                                                                         5203214600

                                                                                                                                          Preparer's PTIN                    Firm's FEIN


074503 12-09-20 CCH                                                          E-File Opt Out                  N                         P01272545                       860683059


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PENNSYLVANIA                        FOOTNOTES                    STATEMENT   1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

THIS IS AN AMENDED RETURN. THE FEDERAL FORM 1120S WAS
AMENDED TO CORRECT LINE 1A GROSS RECEIPTS. THIS CORRECTION
INCLUDES A $2,420,670 ADJUSTMENT RELATED TO THE CHANGE IN
THE CORPORATION'S ALLOWANCE FOR DOUBTFUL ACCOUNTS, WHICH WAS
RESTATED FROM THE PRIOR TAX YEAR ON THE REVIEWED FINANCIAL
STATEMENTS.

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                           AMENDED RETURN INFORMATION            STATEMENT   2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                         AMOUNT
}}}}}}}}}}}                                                     }}}}}}}}}}}}}}
PA-20S ORIGINAL BALANCE DUE                                                999
PA-20S AMENDED BALANCE DUE                                                 999
PA-20S NO PAYMENT REQUIRED                                                   0
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}




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                      PARTNER/MEMBER/
                      SHAREHOLDER DIRECTORY - 2020
                      PA-20S/PA-65 Directory (07-20)



AEROCARE MEDICAL TRANSPORT SYSTEM INC                                                                                  363531506                  C


The entity must list its partners/members/shareholders on this schedule. CODE - Enter the type of owner code: RI=Resident Individual, NR=Nonresident Individual,
PI=Part-year Resident Individual (S Corp Only), P=Partnership, C=C Corp, E=Estate, T=Trust, S=S Corp, L=LLC taxed as a Partnership, LC=LLC taxed as a C Corp,
LS=LLC taxed as an S Corp, DE=Disregarded Entity, B=Bank/Financial Institution, I=Insurance Company, X=Exempt SSN/FEIN; Revenue ID; Ownership % - (enter
each owner's percentage); and Name and Address.



1        Code         NR         SSN/FEIN                                     Revenue ID                                        Ownership %         10000000

         JOSEPH D CECE
Name & Address:
1936 E MISSOURI AVENUE
PHOENIX AZ 85016


2        Code                    SSN/FEIN                                     Revenue ID                                        Ownership %


Name & Address:




3        Code                    SSN/FEIN                                     Revenue ID                                        Ownership %


Name & Address:




4        Code                    SSN/FEIN                                     Revenue ID                                        Ownership %


Name & Address:




5        Code                    SSN/FEIN                                     Revenue ID                                        Ownership %


Name & Address:




6        Code                    SSN/FEIN                                     Revenue ID                                        Ownership %


Name & Address:




                                                                                     074511 11-09-20 CCH                   2007614510
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                                          PA Schedule NRK-1 (07-20)
                                          2020 Nonresident Schedule
                                          of Shareholder/Partner/Beneficiary Pass Through Income, Loss and Credits



                                                   CECE                                                                              JOSEPH                                 D

                                                                                                                                                                    Final       N



             1936 E MISSOURI AVENUE                                                                       (Individual=1, PA S Corp=2, All Other Corp=3,             Owner     1
                                                                                                          Estate/Trust=4, Partnership=5, LLC=6, Exempt=7)
                                                                                                                                  Shareholder's Stock Ownership %         10000
                                                                                                    Amended       Y
             PHOENIX                                           AZ         85016                                                Beneficiary's year-end Distribution %      00000
                                                                                                                                                     Partner's % of:
             AEROCARE MEDICAL TRANSPORT SYSTEM                                                  INC                                                 Profit sharing %      00000

             SUGAR GROVE                                       IL         60554               363531506                                          Loss sharing %       00000
                                                                                                                                                   Capital
             Fiscal Year              N                           (Estate/Trust=E, Partnership=P, PA S Corp=S, LLC=L)           S                  Ownership %        00000

             Short Year               N                           General Partner or        N          Limited Partner or       N
                                                                  LLC Member-Manager                   Other LLC Member


                     NOTE: Amounts from this schedule must be reported on the appropriate PA Tax Return.
                     1 PA-Taxable Business Income (Loss) from Operations                                                                   1                       -7669
SECTION




                     2 Net Gain (Loss) from the Sale, Exchange or Disposition of Property                                                  2                           0
                     3 Net Income (Loss) from Rents, Royalties, Patents and Copyrights                                                     3                           0
   II




                     4 Income of/from Estates or Trusts                                                                                    4                           0
                     5 Gambling and Lottery Winnings (Loss)                                                                                5                           0
SECTIONSECTION




                     6    PA Nonresident Tax Withheld                                                                                      6                                0
          III




                     7    Total Other Credits. Submit statement.                                                                           7                                0
                     8    Distributions of Cash, Marketable Securities, and Property - not including guaranteed payments                   8                                0
                     9    Guaranteed Payments for Capital or Other Services                                                                9                                0
   IV




                     10   All Other Guaranteed Payments for Services Rendered (PA-Apportioned Amount Only)                                 10                               0
                     11   Guaranteed Payments to the Retired Partner                                                                       11                               0
SECTION SECTION SECTION




                     12 Distributions from PA Accumulated Adjustments Account                            Liquidating        N              12                               0
                   V




                     13 Distributions of Cash, Marketable Securities, and Property                                                         13                               0
                     14 Nontaxable income (loss) or nondeductible expenses required to calculate owner's economic                          14                               0
                        investment. Submit statement.
           VI




                     Note: Lines 15 through 18 are for information purposes only.
                     15 Owner's Share of IRC Section 179 allowed according to PA rules                                                     15                               0
                     16 Owner's Share of Straight-Line Depreciation                                                                        16                               0
                     17 Partner's Share of Nonrecourse Liabilities at year-end                                                             17                               0
  VII




                     18 Partner's Share of Recourse Liabilities at year-end                                                                18                               0

             074601 11-13-20          CCH




                                                                                                                                         2007317619
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                                                                             2007016013
                       PA SCHEDULE M - 2020
                       Reconciliation of Federal-Taxable Income (Loss)
                       to PA-Taxable Income (Loss)
                       PA-20S/PA-65 M (09-20)
                       PA Department of Revenue

AEROCARE MEDICAL TRANSPORT SYSTEM INC                                                                363531506

PA Schedule M, Part I. Classifying Federal Income (Loss) for PA Personal Income Tax Purposes
Classify, without adjustment, the federal income (loss) from Schedule K of federal Form 1120S or from Schedule K of federal Form 1065. The entity must allocate or
apportion the amounts from the federal categories to the reportable PA PIT classes. The total of the specific federal line items should equal the total of the federal schedule.

                Federal Form                                                 Classified for Pennsylvania Personal Income Tax purposes
Form 1120S, Schedule
K line description Form       (a)                       (b)                        (c)                      (d)                      (e)                        (f)
1065, Schedule K line       Federal                 PA Business             Interest Income          Dividend Income          Gain (loss) From         Rent & Royalty Income
                         Income (loss)             Income (loss)             PA Schedule A            PA Schedule B          Sales PA Schedule D       (loss) PA Schedule E
description
 1 Ordinary                     59583                 -460504                                 0                        0              520087                               0
   income (loss)
   from trade or
   business
   activities

 2 Net income                             0                         0                         0                        0                         0                         0
   (loss) from
   rental real
   estate activities


 3 Other gross                            0                         0                         0                        0                         0                         0
   rental income
   (loss)

 4 Interest income                 9023                             0                 9023                             0                         0                         0

 5 Dividends                              0                         0                         0                        0                         0                         0

 6 Royalty income                         0                         0                         0                        0                         0                         0

 7 Net short-term                         0                         0                         0                        0                         0                         0
   capital gain
   (loss)

 8 Net long-term                          0                         0                         0                        0                         0                         0
   capital gain
   (loss)

 9 Net gain (loss)                        0                         0                         0                        0                         0                         0
   from disposal
   of IRC Section
   179 property


10 Net IRC                                0                         0                         0                        0                         0                         0
   Section 1231
   gain (loss) from
   Form 4797


11 Other income                           0                         0                         0                        0                         0                         0
   (loss)

12 Total Federal                68606                 -460504                         9023                             0              520087                               0
   income (loss)
   by Pennsylvania
   classification.
   Total the amounts
   in each column.
074661 11-09-20      CCH




                                                                               Page 1 of 2



                                                                                                                                 2007016013
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                                                                                           2007116029
                           PA SCHEDULE M - 2020
                           Reconciliation of Federal-Taxable Income (Loss)
                           to PA-Taxable Income (Loss)
                           PA-20S/PA-65 M (09-20)
                           PA Department of Revenue

AEROCARE MEDICAL TRANSPORT SYSTEM INC                                                                                 363531506

PA Schedule M, Part II. Determining PA Reportable Income (Loss) by Classification
The entity may need to prepare a PA Schedule M, Part II, if it must make adjustments to properly determine its reportable                                  Total Rental Income (Loss)
classified income (loss) for its PA-20S/PA-65 Information Return. This specific list of adjustments applies to income (loss)       PA Allocated             or Total Business Income
from a business or farm and rental/royalty income (loss).                                                                         Income (Loss)           (Loss) Before Apportionment
Enter whole dollars only.
Section I. Federal Classified Income (Loss). Income class from Part I, Column:        B                                   1                       0   2             -460504
Enter the initial of Column (b) or (f) only.
Section II. Itemize income adjustments that increase PA reportable income (reduce the loss).
a       Deferred income relating to advance payments for goods and services                                               1                       0   2                         0
b       Difference in qualified gain (loss) for each business sale of property                                            3                       0   4                         0
c       Gain from business like-kind exchanges, see PA PIT Guide for instructions                                         5                       0   6                         0
d       RESERVED FOR FUTURE USE
e       Income from cancellation of debt that PA treats differently from federal rules                                    9                       0   10                        0
f       Increases in income in the year of change resulting from spread in the year of change associated with IRC         11                      0   12                        0
        Section 481(a) adjustment

g       Income from obligations of other states and organizations that is not exempt for PA purposes                      13                      0   14                        0
h       Other income adjustments that increase PA-reportable income. Submit statement                                     15                      0   16                        0
 II. Total                                                                                                                17                      0   18                        0
Section III. Itemize income adjustments that decrease the PA reportable income (increase the loss).
    a   Difference in qualified gain (loss) for each business sale of property                                            1                       0   2                   0
    b   Income from obligations of the U.S. government and other organizations that is not taxable for PA purposes        3                       0   4                   0
    c   Decreases for previously reported income in prior year resulting from spread associated with IRC Section 481(a)   5                       0   6                   0
    d   Other income adjustments that decrease PA-reportable income. Submit statement                                     7                       0   8                   0
 III. Total                                                                                                               9                       0   10                  0
Section IV. Adjusted PA Reportable Income. See PA-20S/PA-65 Schedule M instructions.                                      1                       0   2             -460504
Section V. Itemize those expenses that PA law does not allow that the entity deducted on its federal form.
These adjustments increase PA reportable income (reduce the loss).
    a   Taxes paid on income. Submit REV-1190                                                                             1                       0   2                         0
    b   Differences in depreciation/amortization taken for PA and federal purposes                                        3                       0   4                         0
    c   Key man life insurance premiums (owners as beneficiaries)                                                         5                       0   6                         0
    d   Differences in PA treatment of guaranteed payments for capital                                                    7                       0   8                         0
    e   Differences in depreciation for bonus depreciation (PA law does not allow bonus depreciation.)                    9                       0   10                        0
    f   Expense adjustments to qualify for the PA credits claimed in Section V of the PA-20S/PA-65                        11                      0   12                        0
    g   Other expenses the entity deducted on its federal return that PA does not allow. Submit statement                 13                      0   14                        0
 V. Total                                                                                                                 15                      0   16                        0
Section VI. Itemize those expenses that PA law allows that the entity could not deduct on its federal form.
These adjustments decrease PA reportable income (increase the loss).
    a   Business meals and entertainment expenses that the entity could not deduct                                        1                       0   2                1284
    b   Sales tax on depreciable assets                                                                                   3                       0   4                   0
    c   Differences in depreciation/amortization taken for PA and federal purposes                                        5                       0   6                   0
    d   IRC Section 179 expenses (the maximum for PA purposes is $25,000)                                                 7                       0   8                   0
    e   Expenses for employees, including PA S corporation shareholder-employees                                          9                       0   10                  0
    f   Life insurance premiums (PA S corporation or partnership as beneficiary)                                          11                      0   12                  0
    g   Expense adjustments to qualify for federal credits                                                                13                      0   14                  0
    h   Current expensing of Intangible Drilling costs - Schedule I, Line 5                                               15                      0   16                  0
    i   Other expenses PA allows that the entity did not deduct on the federal return. Submit statement                   17                      0   18                  0
 VI. Total                                                                                                                19                      0   20               1284
Section VII. Total Taxable Income (Loss). Add Section IV, plus V, minus VI.                                               1                       0   2             -461788

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                                                                                                            074662 11-09-20 CCH


                                                                                                                                             2007116029
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                      PA SCHEDULE A                                      2008610020
                      Interest Income
                      PA-20S/PA-65 A (DR) 05-20 (I)
                      PA Department of Revenue        2020                                                                    OFFICIAL USE ONLY

 Name as shown on PA-20S/PA-65 Information Return                                                                     FEIN

  AEROCARE MEDICAL TRANSPORT SYSTEM INC                                                                               363531506

  See the PA-20S/PA-65 Schedule A instructions on the department's website.
  1   Interest income from federal Schedule K                                                                     1                   9023
  2   Less business or rental interest income (working capital) - report on PA-20S/PA-65 Schedule M, Part I       2                      0
  3   Adjusted federal interest income - subtract Line 2 from Line 1                                              3                   9023
  4   Federal-exempt interest income taxable for PA PIT - itemize below                                           4                      0
  5   Other interest income not included on Line 3 and Line 4                                                     5                      0
  6   Gross PA interest income - add Lines 3 through 5                                                            6                   9023
  7   PA-exempt interest income included on Line 6 - itemize below                                                7                      0
  8   PA-taxable interest income - subtract Line 7 from Line 6. Enter the result on the PA-20S/PA-65
      Information Return, Page 1, Section III, Line 3.                                                            8                   9023
  Federal-exempt interest income - list sources and amounts
                                                                                                                                             0
                                                                                                                                             0
                                                                                                                                             0
                                                                                                                                             0
                                                                                                                                             0
                                                                                                                                             0
                                                                                                                                             0
                                                                                                                                             0
                                                                                                                                             0
  PA-exempt interest income - list sources and amounts
                                                                                                                                             0
                                                                                                                                             0
                                                                                                                                             0
                                                                                                                                             0
                                                                                                                                             0
                                                                                                                                             0
                                                                                                                                             0
                                                                                                                                             0
                                                                                                                                             0




074521 10-05-20 CCH




                                                                                                              2008610020
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                    PA SCHEDULE H                                          2006910026
                    Apportioned Business Income
                    (Loss)/Calculation of PA Net
                    Business Income (Loss)
                    PA-20S/PA-65 H (DR) 05-20 (I)
                    PA Department of Revenue          2020                                                                                              OFFICIAL USE ONLY



Name as shown on PA-20S/PA-65 Information Return                                                                        FEIN
AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                   363531506
APPORTIONED INCOME (LOSS) FROM A BUSINESS, PROFESSION, OR FARM DERIVED FROM SOURCES BOTH WITHIN
AND OUTSIDE PENNSYLVANIA.
Complete this schedule and submit it with the PA-20S/PA-65 Information Return if a PA S corporation, partnership or limited liability company filing as a partnership
or PA S corporation for federal income tax purposes derives business income from sources within and outside Pennsylvania or is located in a KOZ. If one or more of
the partners is a C corporation, the partnership must also complete PA-20S/PA-65 Schedule H-Corp and submit a copy to each corporate partner. DO NOT USE THIS
SCHEDULE TO APPORTION PA-SOURCE INCOME FROM OTHER ENTITIES.
The entity must calculate a figure as required in 1C, 2C and 3C to apply to net business income (loss) to determine the amount from within Pennsylvania. Line 5 is an
average of the sum of three fractions shown below.
                                                       NET BUSINESS INCOME (LOSS) APPORTIONMENT FORMULA
                        Submit a statement listing all places BOTH WITHIN AND OUTSIDE PENNSYLVANIA where the entity operates its business.
TABLE 1 - PROPERTY FACTOR                  Description                                                          Total Everywhere                  Within Pennsylvania
Real and Tangible Property Owned (original cost value)
    Land and Buildings, including property rented* ~~~~~~~~~~~~~~~~~~~~~
    Machinery and Equipment, including property rented * ~~~~~~~~~~~~~~~~~~
    Furniture and Fixtures, including property rented *~~~~~~~~~~~~~~~~~~~~
    Automobiles and Trucks, including property rented * ~~~~~~~~~~~~~~~~~~
    Inventories ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
    Other Tangible Property, including property rented * ~~~~~~~~~~~~~~~~~~~
Total Property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    1 (A)                         0   1 (B)                             0
*Eight times net annual rental rate (Attach Schedule)
1C Property factor (divide 1(B) by 1(A) - calculate to six decimal places) ¥
TABLE 2 - PAYROLL FACTOR                   Description                                                          Total Everywhere                  Within Pennsylvania
Wages, salaries, commissions and other compensation
    to employees in:
    Cost of goods sold ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
    Compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
    Salesmen's salaries and commissions ~~~~~~~~~~~~~~~~~~~~~~~~~
    Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        3145135                                71555
Total Payroll ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    2 (A)            3145135          2 (B)                 71555
2C Payroll factor (divide 2(B) by 2(A) - calculate to six decimal places) .022751
                                                                          ¥
TABLE 3 - SALES FACTOR                     Description                                                          Total Everywhere                  Within Pennsylvania
Sales (Net of Returns and Allowances) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     10783048                                112841
Interest, Dividends, Rents, Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
Other Income (receipts only) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
Gross Sales Price of Assets (except securities**) ~~~~~~~~~~~~~~~~~~~~~~
Total Sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      3 (A)         10783048            3 (B)               112841
**Unless you are a securities dealer
3C  Sales factor (divide 3(B) by 3(A) - calculate to six decimal places)            .010465
                                                                                     ¥
 1  Real and Tangible Property. Enter the amount from Line 1C.                                                                             1      .000000
                                                                                                                                                   ¥
 2  Wages, Salaries, Commissions, and Other Compensation. Enter the amount from Line 2C.                                                   2      .022751
                                                                                                                                                   ¥
 3  Sales. Enter the amount from Line 3C.                                                                                                  3      .010465
                                                                                                                                                   ¥
 4  Total Lines 1 through 3.                                                                                                               4      .033216
                                                                                                                                                   ¥
 5  Apportionment - Divide Line 4 by 3, if all three factors apply; by 2, if only two factors apply;
    or by 1, if only one factor applies. Calculate to six decimal places.                                                                  5      .016608
                                                                                                                                                   ¥
 6 Total Net Income (Loss) from business. Schedule M, Part II, Section VII, Line 2                                                         6                  -461788
 7 Net Income (Loss) for Pennsylvania. Multiply Line 6 by Line 5.
    Enter on the PA-20S/PA-65 Information Return, Section II, Line 2e.                                                                     7                    -7669
Special Apportionment to be completed only by railroad, truck, bus, and airline entities, pipeline or natural gas entities and water transportation entities.
(Refer to PA-20S/PA-65 Schedule H instructions) (A) Numerator                (A)                                 =      ¥
                                                        (B) Denominator (B)
074561 11-23-20 CCH



                                                                                                                               2006910026
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  ¥   Provide the general partner, limited liability company             withdrawal from the account designated in the electronic
      member, S corporation officer, authorized partner or               payment portion of my 2020 PA S Corporation/Partnership
      representative with a corrected copy of PA-8879-P if               Information Return (PA-20S/ PA-65) - Directory of Corporate
      changes are made to the return.                                    Partners (PA-65 Corp) for payment of my Pennsylvania
                                                                         withholding. I also authorize my financial institution to debit
       IMPORTANT: The federal Office of Foreign Assets                   the entry to my account and the financial institutions involved
       Control has imposed additional reporting requirements             in the processing of my electronic payment to receive
  on all electronic banking transactions that directly involve a         confidential information necessary to answer inquiries and
  financial institution outside of the territorial jurisdiction of the   resolve issues related to my payment.
  U.S. These transactions are called international ACH
                                                                         I understand that the federal Office of Foreign Assets Control
  transactions (IAT). Presently, the PA Department of Revenue
                                                                         has imposed additional reporting requirements on all
  does not support IAT ACH debit transactions. Taxpayers who
                                                                         electronic banking transactions that directly involve a
  instruct the department to process electronic banking
                                                                         financial institution outside of the territorial jurisdiction of the
  transactions on their behalf are certifying that the
                                                                         U.S. These transactions are called international ACH
  transactions do not directly involve a financial institution
                                                                         transactions (IAT). I understand that presently the PA
  outside of the territorial jurisdiction of the U.S. at any point
                                                                         Department of Revenue does not support IAT ACH debit
  in the process.
                                                                         transactions. I certify that the transactions do not directly
                          SECTION III                                    involve a financial institution outside of the territorial
                                                                         jurisdiction of the U.S. at any point in the process.
  CERTIFICATION AND AUTHENTICATION
  The PA Department of Revenue requires the ERO to enter                 To revoke a payment, I must notify the PA Department of
  its six-digit EFIN followed by its five-digit federal self-            Revenue no later than two business days prior to the debit
  selected PIN, sign this form thereby verifying its federal             date. I understand that notification must be made by email
  self-selected PIN, participation in the Practitioner PIN               to ra-achrevok@pa.gov or fax at 717-772-9310.
  Program and the financial institution for the withdrawal of
  funds is within the territorial jurisdiction of the U.S. and retain    SIGNATURE OF THE GENERAL PARTNER, LIMITED
  this form and the supporting documents for three years.                LIABILITY COMPANY MEMBER, S CORPORATION
                                                                         OFFICER, AUTHORIZED PARTNER OR
  PURPOSE OF ELECTRONIC SIGNATURE
                                                                         REPRESENTATIVE
  SPECIFICATIONS
                                                                         I am signing this return and Electronic Funds Withdrawal
  The electronic signature specifications identifies the perjury,
                                                                         Consent, if applicable, by entering my federal self-selected
  consent to disclosure and electronic funds withdrawal text
                                                                         PIN below.
  selections used to develop jurat language statements for
  electronic filing tax preparation software where the                                                    93461
                                                                                   AUTHORIZED PIN:
  practitioner federal self-selected PIN method is selected.
  The software must provide the capability to incorporate
                                                                                   DATE:
  these into the appropriate text for presentation to a taxpayer
  for their review.
                                                                         ELECTRONIC RETURN ORIGINATOR DECLARATION
  PERJURY STATEMENT                                                      I declare that the information contained in this electronic
  Under penalties of perjury, I declare I am a general partner,          return is the information furnished to me by the entity. If the
  limited liability company member, S corporation officer,               entity furnished to me a completed return, I declare the
  authorized partner or representative of the above entity, and          information contained in this electronic return is identical to
  I have examined a copy of the entity's 2020 electronic PA S            that contained in the return provided by the entity. If the
  Corporation/ Partnership Information Return (PA-20S/PA-                furnished return was signed by a paid preparer, I declare I
  65) and/or Directory of Corporate Partners (PA-65 Corp) and            have entered the paid preparer's identifying information in
  accompanying schedules and statements. To the best of my               the appropriate portion of this electronic return. If I am the
  knowledge and belief, all are true, correct and complete.              paid preparer, under the penalties of perjury, I declare I have
                                                                         examined this electronic return, and to the best of my
  CONSENT TO DISCLOSURE                                                  knowledge and belief it is true, correct and complete.
  I consent to allow my electronic return originator (ERO) or
  transmitter to send the entity's return to the Internal Revenue        ELECTRONIC RETURN ORIGINATOR SIGNATURE
  Service (IRS) and subsequently by the IRS to the PA                    I am signing this return by entering my federal self-selected
  Department of Revenue.                                                 PIN below.


  ELECTRONIC FUNDS WITHDRAWAL CONSENT                                    ERO PIN:     864825           and   08600
  I authorize the PA Department of Revenue and its                                         (EFIN)               (PIN)
  designated financial institution to initiate an electronic funds

  075572 10-20-20 CCH

  2   PA-8879P                                                                                                                 www.revenue.pa.gov
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                                                        Doc 1 Filed 04/13/23  Entered 04/13/23 16:03:42 Desc
11000321 759078 16439.0                                Main2020.05091
                                                            Document   AEROCARE
                                                                       Page 191 ofMEDICAL
                                                                                  281       TRANSPORT 16439_01
759078S        080701

TX2021              05-102                                   Texas Franchise Tax Public Information Report
Ver.   12.0         (Rev.9-15/33)           To be filed by Corporations, Limited Liability Companies (LLC), Limited Partnerships (LP),
                                                            Professional Associations (PA) and Financial Institutions
             n Tcode                13196
n Taxpayer number                                                                     n Report year                                                  You have certain rights under Chapter 552 and 559,
                                                                                                                                                 Government Code, to review, request and correct information
  363531506                                  2021                                                                                                   we have on file about you. Contact us at 1-800-252-1381.

         AEROCARE MEDICAL TRANSPORT SYSTEM, INC
 Taxpayer name                                                                                                                        n X          Check box if the mailing address has changed.

 Mailing address                                                                                                                                               Secretary of State (SOS) file number or
  43W450 US HIGHWAY 30                                                                                                                                         Comptroller file number

 City SUGAR GROVE                                                   State    IL                                ZIP code plus 4   60554

       Check box if there are currently no changes from previous year; if no information is displayed, complete the applicable information in Sections A, B and C.

 Principal office      43W450 US HIGHWAY 30, SUGAR GROVE, IL 60554
 Principal place of business 43W450 US HIGHWAY 30, SUGAR GROVE, IL 60554

You must report officer, director, member, general partner and manager information as of the date you complete this report.
Please sign below!
                       This report must be signed to satisfy franchise tax requirements.                                                                                   0363531506021
SECTION A Name, title and mailing address of each officer, director, member, general partner or manager.
 Name                                                                               Title                                         Director
                                                                                                                                                                           m m d         d     y    y
                                                                                                                                         YES           Term
  JOSEPH CECE                                                                      PRESIDENT                                                           expiration

         1936 E. MISSOURI AVENUE
 Mailing address                                                                   City PHOENIX                                                        State    AZ                  ZIP Code       85251
 Name                                                                               Title                                         Director
                                                                                                                                                                           m m d         d     y    y
                                                                                                                                         YES           Term
                                                                                                                                                       expiration

 Mailing address                                                                    City                                                               State                        ZIP Code

 Name                                                                               Title                                         Director
                                                                                                                                                                           m m d         d     y    y
                                                                                                                                         YES           Term
                                                                                                                                                       expiration

 Mailing address                                                                    City                                                               State                        ZIP Code



SECTION B Enter information for each corporation, LLC, LP, PA or financial institution, if any, in which this entity owns an interest of 10 percent or more.
 Name of owned (subsidiary) corporation, LLC, LP, PA or financial institution                          State of formation                    Texas SOS file number, if any     Percentage of ownership



 Name of owned (subsidiary) corporation, LLC, LP, PA or financial institution                          State of formation                    Texas SOS file number, if any     Percentage of ownership



SECTION C Enter information for each corporation, LLC, LP, PA or financial institution, if any, that owns an interest of 10 percent or more in this entity.
 Name of owned (parent) corporation, LLC, LP, PA or financial institution                              State of formation                    Texas SOS file number, if any     Percentage of ownership



 Registered agent and registered office currently on file (see instructions if you need to make changes)                           You must make a filing with the Secretary of State to change registered
                                                                                                                                   agent, registered office or general partner information.
 Agent:
 Office:                                                                                                         City                                                State              ZIP Code
The information on this form is required by Section 171.203 of the Tax Code for each corporation, LLC, LP, PA or financial institution that files a Texas Franchise Tax Report. Use additional

sheets for Sections A, B and C, if necessary. The information will be available for public inspection.

 I declare that the information in this document and any attachments is true and correct to the best of my knowledge and belief, as of the date below, and that a copy of this report has

 been mailed to each person named in this report who is an officer, director, member, general partner or manager and who is not currently employed by this or a related corporation,




            =
 LLC, LP, PA or financial institution.

 sign                                                                                          Title                              Date                                 Area code and phone number
 here                                                                                         PRESIDENT                                                                (
                                                                             Texas Comptroller Official Use Only
                                                                                                                                                        VE/DE                   PIR IND




                                                                                                                                                                             1019
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TX2021                 05-169                                              Texas Franchise Tax EZ Computation Report
Ver.   12.0            (Rev.9-16/8)                                Annualized total revenue must be $20,000,000 or less to file this form
             n Tcode                          13262 ANNUAL AMENDED
n Taxpayer number                                           n Report year                                                          Due date

  363531506                                                                                      2021                                  06/15/2021
 Taxpayer name                                                                                                                                                                        Secretary of State file number
  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                                                                              or Comptroller file number

 Mailing address 43W450 US HIGHWAY 30
 City                                                                         State                                       Country                         ZIP code plus 4             Check box if the         nX
  SUGAR GROVE                                                                IL                                          USA                              60554                       address has changed

 Check box if this is a combined report                        n              Check box if Total Revenue is adjusted for                        n
                                                                              Tiered Partnership Election, see instructions

 Is this entity a corporation, limited liability company, professional association, limited partnership or financial institution?                                    X      Yes        No

Accounting year m m d d y y                                                     Accounting year                m m d               d    y   y                                               NAICS code
begin date**n     0 1 0 1 2 0                                                   end date    n                 1 2 3 1 2 0                                                         n
REVENUE     (Whole dollars only, items 1 -12)
1. Gross receipts or sales                                                                                          1.   n                                                                     8362378.00

2. Dividends                                                                                                        2.   n                                                                                0.00
3. Interest                                                                                                         3.   n                                                                             9023.00

4. Rents (can be negative amount)                                                                                   4.   n                                                                                     0.00
5. Royalties                                                                                                        5.   n                                                                                     0.00

6. Gains/losses (can be negative amount)                                                                            6.   n                                                                      520087.00
7. Other income (can be negative amount)                                                                            7.   n                                                                     1072268.00

8. Total gross revenue (Add items 1 thru 7)                                                                         8.   n                                                                     9963756.00
9. Exclusions from gross revenue (see instructions)                                                                 9.   n                                                                           0.00

10. TOTAL REVENUE (item 8 minus item 9 if less than zero, enter 0) 10.                                                   n                                                                     9963756.00
11. Gross receipts in Texas                                        11.                                                   n                                                                      351626.00

12. Gross receipts everywhere                                     12. n                                                                                                                     10783048.00
13. Apportionment factor (Divide item 11 by item 12) (Round to 4 decimal places)                                                                    13. n                                        0.0326

14. Apportioned revenue (Multiply item 10 by item 13) (Dollars and cents)                                                                           14.   n                                       324818.45
15. Tax due before discount (Multiply item 14 by 0.00331) (Dollars and cents)                                                                       15.   n                                         1075.15

16. Discount (see instructions, applicable to report years 2008 and 2009)                                  16. n                                       0.00
17. TOTAL TAX DUE      (item 15 minus item 16) (Do not include payment if this amount is less than $1,000) 17. n                                1075.15
        Do not include payment if item 17 is less than $1,000 or if annualized total revenue is less than the no tax due threshold (see instructions).
                      If the entity makes a tiered partnership election, ANY amount in item 17 is due. Complete Form 05-170 if making a payment.
 Print or type name        JOSEPH D CECE                                                                 Area code and phone number  ( 630) 46610800
 I declare that the information in this document and any attachments is true and correct to the best of my knowledge and belief.                                                  Mail original to:
                                                                                                                                                                         Texas Comptroller of Public Accounts


             =
 sign                                                                                                                     Date                                                    P.O. Box 149348
                                                                                                                                                                                Austin, TX 78714-9348
 here
                  Instructions for each report year are online at www.comptroller.texas.gov/taxes/franchise/forms/. If you have any questions, call 1-800-252-1381.


                                                                                 ** If not 12 months, see instructions for annualized revenue.
                                                                                              Texas Comptroller Official Use Only
                                                                                                                                                                     VE/DE


                                                                                                                                                                     PM Date




                                                                                                                                                                                       1019
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               Vermont Department of Taxes

                        Form BI-471
                                                                                            * 1 9 4 7 1 1 1 0 2 *
  Vermont Business Income Tax Return
    for Partnerships, Subchapter S Corporations, and LLCs


Check                   X   Composite
                            Return
                                                             Accounting
                                                             Period Change
                                                                                                  Initial
                                                                                                  Return
                                                                                                                                                Public Law
                                                                                                                                                86-272 Applies
Appropriate
Box(es)
                        X   Amended
                            Return
                                                             Extended
                                                             Return
                                                                                            X     Federal
                                                                                                  Extension Requested
                                                                                                                                            Final Return
                                                                                                                                            (Cancels Account)
 Entity Name                                                                       FEIN                                        Primary 6-digit NAICS number
   AEROCARE MEDICAL TRANSPORT SYSTEM,                                                363531506                                       621900
 Address                                                                           Tax year BEGIN date (YYYYMMDD)              Tax year END date (YYYYMMDD)
   43W450 US HIGHWAY 30                                                                20200101                                      20201231
 Address (Line 2)

                                                                                   Federal tax
 City                                                State    ZIP Code             return filed
   SUGAR GROVE                                        IL      60554                (Check one               X   1120S                    1065              Other
 Foreign Country (if not United States)                                            box)




A. Were any shareholders, partners, or members nonresidents of Vermont during this tax year? ~~~~~                      A.   X     Yes                No


B. Did this entity have income or losses derived from at least one state other than Vermont? ~~~~~~~ B.                      X     Yes                No
   If Yes, complete and attach Schedule BA-402
C. Net adjustment to income resulting from Vermont's disallowance of                              Check to
   "bonus depreciation" (IRC 168(k)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               s indicate
                                                                                                  loss     C.                                                      .00

D. Total number of Shareholders, Partners, or Members ~~~~~~~~~~~~~~~~~~~~~~~~~                                         D.                                         1

E. How many are Vermont Residents? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    E.


F. How many are nonresidents? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ F.                                                                                              1
G. Check box if ¤ 5920(f), (g), or (h) applies (regarding nonresident estimated payments for affordable housing projects,
   federal new market tax credit projects, or publicly traded partnerships). Attach authorization or documentation ~~~~~~~~~~~~ G.

TAX COMPUTATION (see instructions):                                                           Enter all amounts in whole dollars.
 Check box if exception                   SMALL FARM ¤ 5832(2)(A)        NO VERMONT ACTIVITY /                  INVESTMENT CLUB ¤ 5921                  IRC SEC. 761
 to minimum tax applies:                  ($75 minimum)                  INACTIVE ($0)                          ($0)                                    ($0)



1. Vermont minimum entity tax ($250) or above exception (see instructions)     ~~~~~~~~~~~~~~                           1.                                 250 .00

2. For non-composite entities
         2a. Nonresident estimated payment requirement
             (Schedule BI-472, Line 19) ~~~~~~~~~~~~~~~~~ 2a.                                                                .00
           2b. Overpayment distributed to owners (Enter the sum of all
               K-1VT's Lines 5 and 6, minus Schedule BI-472, Line 19) ~~~ 2b.                                                .00

2c. Enter the sum of Lines 2a and 2b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 2c.                                                                                        .00

3. For composite entities, Vermont composite tax due (Schedule BI-473, Line 24) ~~~~~~~~~~~~~ 3.                                                            11 .00

4. Vermont apportionment of entity level taxes (see instructions) ~~~~~~~~~~~~~~~~~~~~~ 4.                                                                         .00

5. Use Tax for taxable items on which no sales tax was charged, including online purchases         ~~~~~~~ 5.                                                      .00

6. Total tax due (Add Lines 1, 2c, 3, 4, and 5) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 6.                                                                         261 .00

                                                                                                                                           Form BI-471
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               Entity Name
               AEROCARE MEDICAL TRANSPORT SYSTEM,
               FEIN                                                Fiscal Year Ending (YYYYMMDD)
                   363531506                                              20201231                      * 1 9 4 7 1 1 2 0 2 *

PAYMENTS AND CREDITS                                                                                     Enter all amounts in whole dollars.
 7. Prior Year Overpayment Applied ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       7.                                 .00

 8. Payments with Extension ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           8.                                 .00

 9. Real estate withholding paid for this entity with Form RW-171, REW Schedule A ~~~~~~~~~~~ 9.                                                                .00
10. Real estate withholding distributed to this entity by a different company
    through a Schedule K-1VT ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 10.                                                                                         .00

11. Nonresident estimated payments paid by this entity with Form WH-435 ~~~~~~~~~~~~~~~~ 11.                                                                    .00
12. Nonresident estimated payments distributed to this entity by a different company through a
    Schedule K-1VT ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 12.                                                                                              .00

13. Total payments (Add Lines 7 through 12) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 13.                                                                                 .00
RECONCILIATION
14. Balance Due: If Line 6 is greater than Line 13, enter the difference ~~~~~~~~~~~~~~~~~~ 14.                                                        261 .00

15. Payment attached to this return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 15.                                                                            261 .00

16. Overpayment: If Line 6 is less than the sum of Lines 13 and 15, enter the difference ~~~~~~~~~ 16.                                                          .00

17. Overpayment to be credited to the next tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 17.                                                                             .00

18. Overpayment to be refunded ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 18.                                                                                         .00
SIGNATURE
I hereby certify that I am an officer or authorized agent responsible for the taxpayer's compliance with the requirements of Title 32 of the
Vermont Statutes and that this return is true, correct, and complete to the best of my knowledge. If prepared by a person other than the
taxpayer, this declaration further provides that under 32 V.S.A. ¤ 5901, this information has not been and will not be used for any other
purpose, or made available to any other person, other than for the preparation of this return unless a separate valid consent form is signed
by the taxpayer and retained by the preparer.

 Signature of Responsible Officer                                                            Date (MMDDYYYY)                      Daytime Telephone Number




 Printed Name                                                Email Address (optional)
                                                              JDC@AEROCARE.COM

            X   Check if the Department of Taxes may discuss this return with the preparer shown.


 Paid Preparer's Signature                                                                   Date (MMDDYYYY)                      Preparer's Telephone Number


 LYUDMILA EISENMAN, CP                                                                         03212022                               520-321-4600
 Preparer's Printed Name                                     Email Address (optional)


 Firm's Name (or yours if self-employed)                                                     EIN                                  Preparer's SSN or PTIN
 BEACHFLEISCHMAN PLLC                                                                               860683059                       P01272545
 Firm's Address (or yours if self-employed) (Street, City, State, ZIP Code)
 1985 E. RIVER ROAD,                                                      TUCSON, AZ 85718                                             Check if self-employed

            Send return                   Vermont Department of Taxes
            and check to:                 133 State Street
                                          Montpelier, VT 05633-1401                                 For Department Use Only
                                                                                                                                          Form BI-471
                 1019          082561
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                                                                                             Ck. Amt.                Init.
                                                                                                                                           Rev. 10/19
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                 Schedule BI-473
                                                                                                * 1 9 4 7 3 1 1 0 2 *
                  Vermont Composite

PRINT in BLUE or BLACK INK                                                                             Attach to Form BI-471

 Entity Name (same as on Form BI-471)                                                    Fiscal Year Ending (YYYYMMDD)         FEIN
   AEROCARE MEDICAL TRANSPORT SYSTEM, I                                                       20201231                             363531506


Place an "X" in the box left of the line number to indicate a loss amount.                                              Enter all amounts in whole dollars.

1. Ordinary Business Income (federal Form 1120S, Line 21 or               Check to
   federal Form 1065, Line 22) ~~~~~~~~~~~~~~~~                       s   indicate
                                                                                   1.                         59583 .00
                                                                          loss

2. Net Rental Real Estate Income
   (federal Form 1120S, Schedule K, Line 2, or                            Check to
   federal Form 1065, Schedule K, Line 2) ~~~~~~~~~~~                 s   indicate
                                                                          loss     2.                                        .00
3. Other Net Rental Income (federal Form 1120S, Schedule K,         Check to
   Line 3c, or federal Form 1065, Schedule K, Line 3c)~~~~~       s indicate
                                                                    loss     3.                                              .00
4. Guaranteed Payments
   (Partnership only - federal Form 1065, Schedule K, Line 4) ~~~~~~~~ 4.                                                    .00
5. Net short term and long term capital gains or losses.
   (federal Form 1120S, Schedule K, Lines 7 and 8a, or                    Check to
   federal Form 1065, Schedule K, Lines 8 and 9a.) ~~~~~~             s   indicate
                                                                          loss     5.                                        .00
6. Net section 1231 gain or loss. (federal Form 1120S,                    Check to
   Schedule K, Line 9, or Federal 1065, Schedule K Line 10)~~         s   indicate
                                                                          loss     6.                                        .00
7. Other income or loss. (federal Form 1120S, Schedule K,                 Check to
   Line 10, or federal Form 1065, Schedule K, Line 11.) ~~~~          s   indicate
                                                                          loss     7.                                        .00
8. Section 179 Deduction (federal Form 1120S, Schedule K, Line 11 or
   federal Form 1065, Schedule K, Line 12) ~~~~~~~~~~~~~~~~~ 8.                                                              .00
9. Deduction for Charitable Contributions (federal Form 1120S,
   Schedule K, Line 12a, or federal Form 1065, Schedule K, Line 13a) ~~~~ 9.                                                 .00
                                                                                                              Check to
10. Apportionable income (Add Lines 1 through 7. Then subtract Lines 8 and 9) ~~~~~~~                     s   indicate
                                                                                                              loss     10.                    59583 .00

                                                                                                                                         .238151
11. Apportionment percentage (From BA-402, or 100%) ~~~~~~~~~~~~~~~~~~~~~~~~~~11.                                                                         %
12. Business Income Apportioned to Vermont                   Check to
    (Multiply Line 10 by Line 11) ~~~~~~~~~~~~~~~~         s indicate
                                                             loss     12.    142                                             .00
13. Income directly allocable to Vermont generated by this entity
    (Capital gain on real estate and physical assets located in           Check to
    Vermont, royalties on property located in Vermont, etc.)~~~       s   indicate
                                                                          loss     13.                                       .00
14. Vermont business income distributed to this entity by a               Check to
    different entity via Schedule K-1VT ~~~~~~~~~~~~~                 s   indicate
                                                                          loss     14.                                       .00
15. Vermont sourced capital gain distributed to this entity               Check to
    via Schedule K-1VT ~~~~~~~~~~~~~~~~~~~~                           s   indicate
                                                                          loss     15.                                       .00
16. Other Vermont sourced income distributed to this entity by a          Check to
    different entity via Schedule K-1VT ~~~~~~~~~~~~~                 s   indicate
                                                                          loss     16.                                       .00
                                                                                                              Check to
17. Total Vermont Net Income (Add Lines 12 through 16) ~~~~~~~~~~~~~~~~~~~                                s   indicate
                                                                                                              loss     17.                           142 .00




                                                                                                                                   Schedule BI-473
               1019         082801 10-20-20                         Page 1 of 2                                                        Rev. 10/19
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             Entity Name
           AEROCARE MEDICAL TRANSPORT SYSTEM, I
             FEIN                                       Fiscal Year Ending (YYYYMMDD)
                 363531506                                    20201231                    * 1 9 4 7 3 1 2 0 2 *


Amount from Line 17 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             142.


Place an "X" in the box left of the line number to indicate a loss amount.                                        Enter all amounts in whole dollars.



18. Percentage of income from Line 17 passed through to nonresidents ~~~~~~~~~~~~~~~~~ 18.                                 100.000000             %
                                                                                                       Check to
19. Total nonresident income (Multiply Line 17 by Line 18) ~~~~~~~~~~~~~~~~~~                     s    indicate
                                                                                                                19.                         142 .00
                                                                                                       loss


20. Vermont net operating loss deduction applied (attach Vermont NOL statement in PDF format) ~~~~~ 20.                                          .00
                                                                                                       Check to
21. Vermont taxable composite income (Subtract Line 20 from Line 19) ~~~~~~~~~~~~                 s    indicate
                                                                                                                21.                         142 .00
                                                                                                       loss


22. Composite Tax (Multiply Line 21 by 7.6%. If negative, enter -0-) ~~~~~~~~~~~~~~~~~~~~ 22.                                                11 .00

23. Tax credits available for composite shareholders/partners/members (attach BA-404 and BA-406) ~~~ 23.                                         .00

    NOTE: Line 23 Tax Credits may not reduce your tax liability to less than the minimum tax. Review
    program guidelines to determine if there are other limitations regarding usage of tax credits.


24. Vermont Composite Tax due (Subtract Line 23 from Line 22) ~~~~~~~~~~~~~~~~~~~~~ 24.                                                      11 .00




                                                                                                                          Schedule BI-473
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                 Schedule BA-402
                                                                                            * 1 9 4 0 2 1 1 0 2 *
   Vermont Apportionment & Allocation

           For Unitary filers, complete a separate                                                 Attach to Form CO-411
          Schedule BA-402 for each taxable affiliate                                                   or Form BI-471


 Entity Name (same as on Form CO-411 or Form BI-471)                                 Fiscal Year Ending (YYYYMMDD)      FEIN
    AEROCARE MEDICAL TRANSPORT SYSTEM,                                                    20201231                           363531506
 FOR UNITARY GROUPS ONLY - Name of Affiliate                                                                            Affiliate's FEIN


PART 1       Directly Allocated Non-Business Income, Other Non-Apportionable Income and Foreign Dividends
Place an "x" in the box left of the line number to indicate a loss amount.                                   Enter all amounts in WHOLE DOLLARS.

                                                                       Everywhere                                                 Vermont
1a-b. Non-Business Income or
      Other Non-Apportionable                      Check to                                              Check to
      Income ~~~~~~~~~~~                       s   indicate
                                                   loss       1a.                        .00         s   indicate
                                                                                                         loss     1b.                             .00
                                                   Check to                                              Check to
1c-d. Foreign Dividends ~~~~~~                 s   indicate
                                                   loss       1c.                        .00         s   indicate
                                                                                                         loss     1d.                             .00

PART 2       Sales and Receipts Factor
Section A     Sales and Receipts Factor
                                                                       Everywhere                                                 Vermont


  2. Sales or gross receipts ~~~~~~~~~~                        2.            10783048 .00

  3. Services received in or delivered to Vermont ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    3.                              .00

  4. Sales delivered or shipped to purchasers in Vermont from outside Vermont ~~~~~~~~~~~~~                       4.                              .00

  5. Sales delivered or shipped to purchasers in Vermont from within Vermont ~~~~~~~~~~~~~~                       5.                        38520 .00

  6. Sales shipped from Vermont to the U.S. Government ~~~~~~~~~~~~~~~~~~~~~~~~                                   6.                              .00

  7. Sales shipped from Vermont to purchasers in a state where the entity is not taxable ~~~~~~~~~                7.                              .00

  8. Business interest and dividends ~~~~~                    8a.                        .00                    8b.                               .00

  9. Royalties ~~~~~~~~~~~~~~~~~                              9a.                        .00                    9b.                               .00

 10. Gross rents ~~~~~~~~~~~~~~~~ 10a.                                                   .00                   10b.                               .00
 11. Other business income (attach detailed
     supporting statement) ~~~~~~~~~~ 11a.                                               .00                   11b.                               .00
 12. TOTAL INCOME, SALES, AND
     GROSS RECEIPTS (Add Lines 2-11)~~~~ 12a.                                10783048 .00                      12b.                         38520 .00

          12c. Vermont Sales and Receipts factor as percent of Everywhere.
               (Divide Line 12b by Line 12a).
                                                                                                                                    .357227
               Calculate percentage to six places to the right of the decimal point ~~~~~~~~~~~~~ 12c.                                            %




                                                                                                                           Schedule BA-402
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            Entity Name (same as on Form CO-411 or Form BI-471)
            AEROCARE MEDICAL TRANSPORT SYSTEM, I
            FEIN                                          Fiscal Year Ending (YYYYMMDD)
                363531506                                         20201231                   * 1 9 4 0 2 1 2 0 2 *



Section B     Salaries and Wages Factor                             Everywhere                                          Vermont

13. TOTAL SALARIES AND WAGES~~~~~~ 13a.                                  3145135 .00                      13b.                        .00
        13c. Vermont as percent of Everywhere (Divide Line 13b by Line 13a).
             Calculate percentage to six places to the right of the decimal point ~~~~~~~~~~~~            13c.                        %
Section C     Property Factor (Average value during year)
                                                                    Everywhere                                          Vermont

14.   Inventories ~~~~~~~~~~~~~~~ 14a.                                                    .00             14b.                        .00
15.   Buildings and other depreciable
      assets (original cost) ~~~~~~~~~~~ 15a.                                             .00             15b.                        .00

16.   Depletable assets (original cost) ~~~~~ 16a.                                        .00             16b.                        .00

17.   Land ~~~~~~~~~~~~~~~~~~ 17a.                                                        .00             17b.                        .00

18.   Other assets (Attach schedule)~~~~~~ 18a.                                           .00             18b.                        .00
19.   Rented real and personal property
      (Multiply annual rent by 8) ~~~~~~~~ 19a.                                           .00             19b.                        .00
20.   TOTAL PROPERTY
      (Add Lines 14 through 19) ~~~~~~~~ 20a.                                             .00             20b.                        .00
        20c. Vermont as percent of Everywhere (Divide Line 20b by Line 20a)
             Calculate percentage to six places to the right of the decimal point ~~~~~~~~~~~~            20c.                        %
Section D     Vermont Apportionment Factors
21.   VERMONT COMBINED FACTORS (Sales and Receipts, Double-weighted)
      (Add Line 12c twice, and Lines 13c and 20c above).
      Calculate percentage to six places to the right of the decimal point ~~~~~~~~~~~~~~~~~ 21.                          .714454     %
22.   VERMONT APPORTIONMENT FACTOR (Divide Line 21 by 4 or as indicated below).
      Calculate percentage to six places to the right of the decimal point ~~~~~~~~~~~~~~~~~ 22.                          .238151     %
                          Express as a decimal to six places. If there are fewer than three factors with
                              an "Everywhere" denominator, then divide Line 21 as follows:
        ¥   Sales/Receipts and Salaries and Wages - divide by 3                     ¥     Sales/Receipts only - divide by 2
        ¥   Sales/Receipts and Property - divide by 3                               ¥     Salaries and Wages only - divide by 1
        ¥   Salaries and Wages and Property - divide by 2                           ¥     Property only - divide by 1
                                    (Transcribe to Form CO-411, Line 6; or Schedule CO-421, Line 1;
                                       or Schedule BI-472, Line 10; or Schedule BI-473, Line 11.)




                                                                                                                    Schedule BA-402
              1019             082581 10-20-20                       Page 2 of 2                                         Rev. 10/20
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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                           AMENDED RETURN INFORMATION            STATEMENT   1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                         AMOUNT
}}}}}}}}}}}                                                     }}}}}}}}}}}}}}
ORIGINAL BALANCE DUE                                                         0
AMENDED BALANCE DUE                                                        261
BALANCE DUE                                                                261
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
VT                                FOOTNOTES                      STATEMENT   2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

THIS IS AN AMENDED RETURN. THE FEDERAL FORM 1120S WAS
AMENDED TO CORRECT LINE 1A GROSS RECEIPTS. THIS CORRECTION
INCLUDES A $2,420,670 ADJUSTMENT RELATED TO THE CHANGE IN
THE CORPORATION'S ALLOWANCE FOR DOUBTFUL ACCOUNTS, WHICH
WAS
RESTATED FROM THE PRIOR TAX YEAR ON THE REVIEWED FINANCIAL
STATEMENTS.




       Case 2:23-bk-02376-EPB                                           STATEMENT(S)
                                 Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42 Desc 1, 2
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                  Vermont Department of Taxes
                                                                              * AMENDED
                       Schedule K-1VT
                                                                                                       * 1 9 K 1 V 1 1 0 2 *
      Vermont Shareholder, Partner, or
           Member Information                                                                              This schedule is REQUIRED.
                                                                                                              Attach to Form BI-471

 Entity Name (same as on Form BI-471)                                                           Fiscal Year Ending (YYYYMMDD)             FEIN
   AEROCARE MEDICAL TRANSPORT SYSTE                                                                   20201231                                 363531506


                                                HEADER INFORMATION - REQUIRED ENTRIES
         Entity Name (Shareholder, Partner, or Member)                                                                               FEIN

 OR                                                                                                                       OR
         Individual Last Name (Shareholder, Partner, or Member)      First Name                                 Initial              Social Security Number
          CECE                                                        JOSEPH                                    D
  Address                                                                                                                    Recipient Type
   1936 E. MISSOURI AVENUE                                                                                                   (I, C, S, L, P, X, or T)   I
  Address, Line 2 (if needed)                                                                                                Residency Status


  City                                                                            State   ZIP Code                                       Vermont Resident
   PHOENIX                                                                        AZ        85016
  Foreign Country (if not United States)                                                                                             X   Nonresident



Percentage of Entity's income or loss to this recipient.
                                                                                                                                               100.000000
     Calculate percentage to six places to the right of the decimal point ~~~~~~~~~~~~~~~~~~~                                                                           %
Did this entity pay tax on this income as part of a composite return ~~~~~~~~~~~~~~~~~~~~~~                                            X    Yes               No


Place an "X" in the box left of the line number to indicate a loss amount                                             Enter all amounts in whole dollars.

                                                                                                                      Check to
1. Vermont Business Income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       s   indicate
                                                                                                                               1.                                  142 .00
                                                                                                                      loss
                                                                                                                      Check to
2. Capital gains allocated to Vermont                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 s   indicate
                                                                                                                      loss
                                                                                                                               2.                                      .00
                                                                                                                      Check to
3. Other income allocated to Vermont ~~~~~~~~~~~~~~~~~~~~~~~~~~~                      s                               indicate
                                                                                                                      loss     3.                                      .00
4. Exempt Income - Vermont income not characterized as Unrelated
   Business Income (UBI) for Federal purposes (tax-exempt entities only) ~~~~~~~~~~~~~~~~~ 4.                                                                          .00

5. Total annual nonresident estimated payments allocated to this shareholder ~~~~~~~~~~~~~~~ 5.                                                                        .00

6. Total annual real estate withholding payments allocated to this shareholder ~~~~~~~~~~~~~~~ 6.                                                                      .00
7. Share of total federal bonus depreciation difference                                     Check to
   (Enter on Schedule IN-112, Line 4 or Line 8) ~~~~~~~~~~~~~~~~~~~~~~~                   s indicate 7.               loss
                                                                                                                                                                       .00




                                                                                                                                               Schedule K-1VT
                    1019            082311 10-20-20                               Page 1 of 1                                                      Rev. 10/19
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                  Vermont Department of Taxes
                                                                              * AMENDED
                       Schedule K-1VT
                                                                                                       * 1 9 K 1 V 1 1 0 2 *
      Vermont Shareholder, Partner, or
           Member Information                                                                              This schedule is REQUIRED.
                                                                                                              Attach to Form BI-471

 Entity Name (same as on Form BI-471)                                                           Fiscal Year Ending (YYYYMMDD)             FEIN
   AEROCARE MEDICAL TRANSPORT SYSTE                                                                   20201231                                 363531506


                                                HEADER INFORMATION - REQUIRED ENTRIES
         Entity Name (Shareholder, Partner, or Member)                                                                               FEIN
          AEROCARE MEDICAL TRANSPORT SYSTEM, I                                                                                           363531506
 OR                                                                                                                       OR
         Individual Last Name (Shareholder, Partner, or Member)      First Name                                 Initial              Social Security Number


  Address                                                                                                                    Recipient Type
   43W450 US HIGHWAY 30                                                                                                      (I, C, S, L, P, X, or T)   S
  Address, Line 2 (if needed)                                                                                                Residency Status


  City                                                                            State   ZIP Code                                       Vermont Resident
   SUGAR GROVE                                                                    IL        60554
  Foreign Country (if not United States)                                                                                             X   Nonresident



Percentage of Entity's income or loss to this recipient.
                                                                                                                                               100.000000
     Calculate percentage to six places to the right of the decimal point ~~~~~~~~~~~~~~~~~~~                                                                           %
Did this entity pay tax on this income as part of a composite return ~~~~~~~~~~~~~~~~~~~~~~                                              X   Yes              No


Place an "X" in the box left of the line number to indicate a loss amount                                             Enter all amounts in whole dollars.

                                                                                                                      Check to
1. Vermont Business Income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       s   indicate
                                                                                                                               1.                                  142 .00
                                                                                                                      loss
                                                                                                                      Check to
2. Capital gains allocated to Vermont                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 s   indicate
                                                                                                                      loss
                                                                                                                               2.                                      .00
                                                                                                                      Check to
3. Other income allocated to Vermont ~~~~~~~~~~~~~~~~~~~~~~~~~~~                      s                               indicate
                                                                                                                      loss     3.                                      .00
4. Exempt Income - Vermont income not characterized as Unrelated
   Business Income (UBI) for Federal purposes (tax-exempt entities only) ~~~~~~~~~~~~~~~~~ 4.                                                                          .00

5. Total annual nonresident estimated payments allocated to this shareholder ~~~~~~~~~~~~~~~ 5.                                                                        .00

6. Total annual real estate withholding payments allocated to this shareholder ~~~~~~~~~~~~~~~ 6.                                                                      .00
7. Share of total federal bonus depreciation difference                                     Check to
   (Enter on Schedule IN-112, Line 4 or Line 8) ~~~~~~~~~~~~~~~~~~~~~~~                   s indicate 7.               loss
                                                                                                                                                                       .00




                                                                                                                                               Schedule K-1VT
                    1019            082311 10-20-20                               Page 1 of 1                                                      Rev. 10/19
             Case 2:23-bk-02376-EPB                                Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                           Desc
                                                                  Main Document   Page 202 of 281
Form         5S         Wisconsin Tax-Option (S)
                        Corporation Franchise or
                        Income Tax Return                                                                                                            2020
For calendar year 2020 or tax year beginning                                    and ending
                                                 MM    D D   Y Y Y Y                              MM     D D    Y Y Y Y

This form must be filed ELECTRONICALLY.                                                      Due Date: 15th day of 3rd month following close of taxable year.
 Corporation Name                                                                                                         FEIN
     AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                       36 3531506
    Number and Street                                                                                                                                Suite Number
     43W450 US HIGHWAY 30
    City                                                                                      State       ZIP (+ 4 digit suffix if known) Business Activity (NAICS) Code
     SUGAR GROVE                                                                                  IL      60554                            621900
    Number of Shareholders                Number of Nonresident Shareholders   State of Incorporation and Year
              1                                     1                               IL                         1987
A       Check U if applicable and attach explanation:


        1    X     Amended return (Include Schedule AR)                             6         Short period - termination of S corporation election
        2          First return - new corporation or entering Wisconsin             7         Electing to pay tax at the entity level pursuant s. 71.365(4m)(a)
        3          Final return - corporation dissolved or withdrew                 8         A lower-tier entity made an election pursuant to s.71.21(6)(a)
        4          Short period - change in accounting method
        5          Short period - stock purchase or sale

Check U if applicable and see instructions:
B                If you have an extension of time to file, enter the extended due date
                                                                                             MM    D D    Y Y Y Y

C               If no business was transacted in Wisconsin during the taxable year, attach a complete copy of your federal return.
D               If you are filing a Form 1CNS on behalf of nonresident shareholders.
E       Effective date of Wisconsin tax-option corporation election      01 01 2009
                                                                           MM     D D    Y Y Y Y

F        If you have related entity expenses and are required to file Schedule RT with this return.
G 1 Wisconsin Property ~~~~ G1                                             H1 Wisconsin Payroll ~~~~~~ H1


     2 Total Company Property ~~ G2                                           2 Total Company Payroll ~~~ H2
I            Internal Revenue Service adjustments became final during the year. Enter years adjusted ~~~ I



    1 Federal, state, and municipal government interest (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                   1
    2 Wisconsin apportionment percentage. This is a required field.


           Enter the apportionment schedule used: ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ A                           01                      2                   1.5261          %
                                              U
           If 100% apportionment, check ( ) the space after the arrow ~~~~~~~~~~~~~~~~~~~ |
           If using separate accounting, check (U) the space after the arrow ~~~~~~~~~~~~~~~~ |
    3      Multiply line 1 by line 2 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   3
    4      Enter 7.9% (0.079) of the amount on line 3. This is gross tax ~~~~~~~~~~~~~~~~~~~~~~~~                                  4
    5      Manufacturer's sales tax credit (from Sch. MS, line 3) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     5
    6      Subtract line 5 from line 4. If line 5 is more than line 4, enter zero (0) ~~~~~~~~~~~~~~~~~~~~                         6
    7      Additional tax on tax-option (S) corporations (page 2, Schedule Q plus Schedule 5S-ET) ~~~~~~~~~~~                      7
    8      Economic development surcharge (from page 2, Schedule S, line 6) ~~~~~~~~~~~~~~~~~~~~                                   8                                25

 9         Endangered resources donation (decreases refund or increases amount owed) ~~~~~~~~~~~~~~~                               9
10         Veterans trust fund donation (decreases refund or increases amount owed)~~~~~~~~~~~~~~~~~                              10
11         Add lines 6 through 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     11                                25
12         Estimated tax payments less refund from Form 4466W ~~~~~~~~~~~~~~~~~~~~~~~~~~                                          12
13         Wisconsin tax withheld (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           13
14         Amended Return Only - amount previously paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            14
15         Add lines 12 through 14 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     15
16         Amended Return Only - amount previously refunded ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          16


 17 Subtract line 16 from 15 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 17
 18 Interest, penalty, and late fee due (from Form U, line 17 or 26). If you annualized check (U) the box | 18
             Case 2:23-bk-02376-EPB
IC-049 (R. 8-20) CCH 087581 11-11-20
                                                    Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                                   Desc
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2020 Form 5S            Name   AEROCARE MEDICAL TRANSPOR                                                ID Number      36 3531506                       Page 2 of 6



 19     Amount due. If the total of lines 11 and 18 is larger than line 17, enter amount owed ~~~~~~~~~~~                         19                           25
 20     Overpayment. If line 17 is larger than the total of lines 11 and 18, enter amount overpaid ~~~~~~~~~                      20
 21     Enter amount of line 20 you want credited to 2021 estimated tax ~~~~~~~~~~~~~~~~~~~~~                                     21
 22     Subtract line 21 from line 20. This is your refund ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          22


 23 Enter total company gross receipts from all activities (see instructions) ~~~~~~~~~~~~~~~~~~~ 23                                                  10050997
 24 Enter total company assets from federal Form 1120S, item F ~~~~~~~~~~~~~~~~~~~~~~~ 24                                                              4966567
 25 If the tax-option corporation paid withholding tax on income distributable to nonresident
    shareholders, enter total amount paid for all shareholders for the taxable year ••••••••••••••• 25
Schedule Q - Additional Tax on Certain Built-In Gains
  1 Excess of recognized built-in gains over recognized built-in losses (attach schedule) ~~~~~~~~~~~~ 1


  2     Wisconsin taxable income before apportionment (attach computation schedule) ~~~~~~~~~~~~~~                                  2
  3     Enter the smaller of line 1 or line 2. This is the net recognized built-in gain (see instructions) ~~~~~~~~~                3
  4     Wisconsin apportionment percentage. This is a required field.
        Enter the apportionment schedule used: ~~~~~~~~~~~~~~~~~~~~~~~~~~~A 0                                     1                 4                 1.5261     %
  5     Multiply line 3 by line 4 (see instructions)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            5
  6     Wisconsin net business loss carryforward (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~                                         6
  7     Subtract line 6 from line 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       7
  8     Enter 7.9% (0.079) of the amount on line 7. Enter on Form 5S, page 1, line 7 ••••••••••••••••                               8

 Schedule S - Economic Development Surcharge

  1     Enter net income (loss) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                1                    70101
  2     Wisconsin apportionment percentage. This is a required field.
        Enter the apportionment schedule used: ~~~~~~~~~~~~~~~~~~~~~~~~~~~A 0       1                                               2                 1.5261 %
  3     Multiply line 1 by line 2 (see instructions)~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              3                     1070

  4   Nonapportionable and separately apportioned income ~~~~~~~~~~~~~~~~~~~~~~~~~~                       4
  5   Add lines 3 and 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     5                                                1070
  6   Enter the greater of $25 or 0.2% (0.002) of the amount on line 5, but not more than $9,800.
      This is the economic development surcharge to enter on Form 5S, page 1, line 8 •••••••••••••        6                                                    25
Additional Information Required
  1 Person to contact concerning this return:                                                     Phone #


  2     City and state where books and records are located for audit purposes:
  3     Are you the sole owner of any QSubs or LLCs?      Yes      X No Attach a list of the names and federal EINs of your solely owned QSubs
        and LLCs and enclose Schedule DE. Did you include the incomes of these entities in this return? Yes     X No

  4     Did you purchase any taxable tangible personal property or taxable services for storage, use, or consumption in Wisconsin without
        payment of a state sales or use tax?       Yes    X No If yes, you owe Wisconsin use tax. See instructions.
  5     List the locations of your Wisconsin operations:
  6     Did you file federal Form 8886 - Reportable Transaction Disclosure Statement with the Internal Revenue Service?      Yes     X No
        If yes, enclose federal Form 8886 with your Wisconsin return.
                        Do you want to allow another person to discuss this return with the department?           X   Yes   Complete the following.      No
Third
                        Print Designee's Name | LYUDMILA EISENMAN, CPA                                                       Phone Number L
Party
Designee                Personal Identification Number (PIN) |00232                                                520 321 4600

Under penalties of law, I declare that this return and all attachments are true, correct, and complete to the best of my knowledge and belief.


9
 Signature of Officer                                                     Title                                                                  Date

                                                                           PRESIDENT

9LYUDMILA
 Preparer's Signature                                                     Preparer's Federal Employer ID Number                                  Date

                           EISENMAN, CPA                                   P01272545                                                            03 21 2022
You must file a copy of your federal Form 1120S with Form 5S, even if no Wisconsin activity.



087582 11-11-20         CCH
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2020 Form 5S                   Name   AEROCARE MEDICAL TRANSP                                ID Number 36     3531506                   Page 3 of 6

Schedule 5K - Shareholder's Pro Rata Share Items

                            (a) Pro rata share items                   (b) Federal amount    (c) Adjustment              (d) Amount under Wis. law
                                                STMT 2
                 1        Ordinary business income (loss) ~      1                  59583                   1495    1                     61078
                 2        Net rental real estate income
                          (loss) (attach Form 8825) ~~~~         2                                                  2
                 3        Other net rental income (loss)
                          (attach schedule) ~~~~~~~~             3                                                  3
Income (Loss)




                 4        Interest income ~~~~~~~~~              4                    9023                          4                       9023
                 5        Ordinary dividends ~~~~~~~             5                                                  5
                 6        Royalties ~~~~~~~~~~~~                 6                                                  6
                 7        Net short-term capital gain (loss)     7                                                  7


                 8        Net long-term capital gain (loss) ~ 8                                                     8
                 9        Net section 1231 gain (loss)
                          (attach Form 4797) ~~~~~~~ 9                                                              9
                10        Other income (loss)
                          (attach schedule) ~~~~~~~~ 10                                                            10


                11        Section 179 deduction
                          (attach Form 4562) ~~~~~~~ 11                                                            11
                12 a      Contributions ~~~~~~~~~~ 12a                                                             12a
Deductions




                     b    Investment interest expense ~~ 12b                                                       12b
                     c    Section 59(e)(2) expenditures


                          (1) Type
                          (2) Amount ~~~~~~~~~~ 12c                                                                12c
                     d    Other deductions
                          (attach schedule) ~~~~~~~~ 12d                                                           12d


                13        Wisconsin credits
                     a    Schedule            ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 13a


                     b    Schedule            ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 13b
                     c    Schedule            ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 13c
                     d    Schedule            ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 13d


                     e    Schedule            ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 13e
                     f    Schedule            ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 13f
                     g    Schedule            ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 13g
Credits




                     h    Schedule            ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 13h
                     i    Tax paid to other states
                          (enter postal abbreviation
                          of state) ~~~~~~~~~~~ 13i-1        ~~~~~~~~~~~~~~~~~~~~~~~~~ 13i-1


                                                               13i-2       ~~~~~~~~~~~~~~~~~~~~~~~~~ 13i-2
                                                               13i-3       ~~~~~~~~~~~~~~~~~~~~~~~~~ 13i-3
                     j    Wisconsin tax withheld (do
                          not include tax properly
                          claimed on page 1, line 13) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 13j




087583 11-11-20               CCH
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                                                                 Main Document   Page 205 of 281
2020 Form 5S                         Name   AEROCARE MEDICAL TRANSP                                ID Number 36   3531506                 Page 4 of 6
                                  (a) Pro rata share items               (b) Federal amount         (c) Adjustment         (d) Amount under Wis. law
                         14a Name of country or U.S.
                             possession ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 14a


                           b Gross income from all sources ~ 14b                                                     14b
                           c Gross income sourced at
                             shareholder level ~~~~~~~~ 14c                                                          14c
                                Foreign gross income sourced
                                at corporate level:

                           d Passive category ~~~~~~~~ 14d                                                           14d
                           e General category ~~~~~~~~ 14e                                                           14e


                           f    Other (attach statement) ~~~~ 14f                                                    14f
  Foreign Transactions




                                Deductions allocated and
                                apportioned at shareholder level:

                           g Interest expense ~~~~~~~~ 14g                                                           14g
                           h Other ~~~~~~~~~~~~~ 14h                                                                 14h
                             Deductions allocated and
                             apportioned at corporate level
                             to foreign source income:


                           i Passive category ~~~~~~~~ 14i                                                           14i
                           j General category ~~~~~~~~ 14j                                                           14j
                           k Other (attach statement) ~~~~ 14k                                                       14k


                           l    Total foreign taxes (check one):
                                    Paid         Accrued ~~~ 14l                                                     14l
                           m Reduction in taxes available for
                             credit (attach statement) ~~~~ 14m                                                      14m


                           n Other foreign tax information
                             (attach statement) ~~~~~~~ 14n                                                          14n

                         15a Post-1986 depreciation
                             adjustment ~~~~~~~~~~~ 15a                                       14
                           b Adjusted gain or loss ~~~~~~ 15b
Alternative Minimum
  Tax (AMT) Items




                           c Depletion (other than oil and gas) 15c
                           d Oil, gas, and geothermal
                             properties - gross income ~~~~ 15d
                           e Oil, gas, and geothermal
                             properties - deductions ~~~~~ 15e

                           f    Other AMT items
                                (attach schedule) ~~~~~~~~ 15f




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2020 Form 5S           Name   AEROCARE MEDICAL TRANSP                                   ID Number 36      3531506                  Page 5 of 6
                    (a) Pro rata share items               (b) Federal amount           (c) Adjustment              (d) Amount under Wis. law


         16 a      Tax-exempt interest income ~~~ 16a                                                         16a
            b      Other tax-exempt income ~~~~ 16b                      10000                                16b                    10000
            c      Nondeductible expenses ~~~~ 16c                        1284                         1495   16c                     2779

              d    Property distributions ~~~~~ 16d                                                           16d
              e    Repayment of loans from
                   shareholders ~~~~~~~~~~ 16e                                                                16e


         17 a      Investment income ~~~~~~~ 17a                           9023                               17a                      9023
            b      Investment expenses ~~~~~~ 17b                                                             17b
Other




            c      Dividend distributions paid from
                   accumulated earning and profits 17c                                                        17c


              d    Other items and amounts
                   (attach schedule) ~~~~~~~~ 17d                                       17d
         18 a      Related entity expense addback 18a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 18a
            b      Related entity expense allowable 18b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 18b


         19        Income (loss) (see instructions) ~ 19         68606 ~~~~~~~~~~~~~~~ 19                                            70101
         20        Gross income (before deducting
                   expenses) from all activities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 20                                      10050997


Schedule 5M - Analysis of Wisconsin Accumulated Adjustments Account and Other Adjustments Account

                                                                                      (a) Accumulated                 (b) Other Adjustments
                                                                                    Adjustments Account                      Account

1       Balance at beginning of taxable year ~~~~~~~~~~~~~~~~~~~                                127634        1
2       Ordinary income from Schedule 5K, line 1, column d ~~~~~~~~~~~                           61078        2


3       Other additions (including separately stated items which increase
        income) (attach schedule) STMT      3
                                   ~~~~~~~~~~~~~~~~~~~~~~~~~                                    859573        3
4       Loss from Schedule 5K, line 1, column d (enter as positive) ~~~~~~~~                                  4
5       Other reductions (including separately stated items) (enter as positive)
                                               STMT 4 STMT 5
        (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             2779      5                    850550

6       Combine lines 1 through 3, and subtract lines 4 and 5 from the total ~~~              1045506         6                  -850550
7       Distributions other than dividend distributions ~~~~~~~~~~~~~~                                        7
8       Subtract line 7 from line 6. This is balance at end of taxable year ~~~~~             1045506         8                  -850550
                                               STMT 6        STMT 7




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2020 Form 5S     AEROCARE MEDICAL TRANSP
                  Name                                            ID Number 36 3531506                        Page 6 of 6
Schedule 5K - Shareholder's Pro Rata Share of Additions and Subtractions
Additions:


 1   State taxes accrued or paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             1            1495
 2   Related entity expenses (from Schedule RT, Part I) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                 2
 3   Expenses related to nontaxable income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         3
 4   Section 179, depreciation, amortization difference (attach schedule) ~~~~~~~~~~~~~~~~~~~        4
 5   Amount by which the federal basis of assets disposed of exceeds the Wisconsin basis
     (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  5
 6   Total additions for certain credits computed:
     a Business development credit ~~~~~~~~~~~~~~~~~                        6a
     b Community rehabilitation program credit ~~~~~~~~~~~~                 6b
     c Development zones credits ~~~~~~~~~~~~~~~~~~                         6c
     d Economic development tax credit ~~~~~~~~~~~~~~~                      6d


     e    Electronics and information technology manufacturing zone credit 6e
     f    Employee college savings account contribution credit ~~~~~       6f
     g    Enterprise zone jobs credit ~~~~~~~~~~~~~~~~~~~                  6g
     h    Jobs tax credit ~~~~~~~~~~~~~~~~~~~~~~~~                         6h
     i    Manufacturing and agriculture credit (computed in 2019) ~~~~     6i
     j    Manufacturing investment credit ~~~~~~~~~~~~~~~~                 6j
     k    Research credits ~~~~~~~~~~~~~~~~~~~~~~~                         6k
     l    Total credits (add lines 6a through 6k) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                   6l


 7   IRC provisions not adopted for Wisconsin purposes ~~~~~~~~~~~~~~~~~~~~~~~~~~~                   7
 8   Adjustment for built-in gains tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         8
 9   Additions for federal capital gains and excess net passive income taxes ~~~~~~~~~~~~~~~~~       9
10   Other additions:
     a                                                                      10a
     b                                                                      10b
     c                                                                      10c
     d Total other additions (add lines 10a through 10c) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                10 d


11 Total additions (add lines 1 through 5 and 6l through 9, and 10d) ~~~~~~~~~~~~~~~~~~~            11            1495
Subtractions:
12 Related entity expenses eligible for subtraction (from Schedule RT, Part II) ~~~~~~~~~~~~~~~~    12
13 Income from related entities whose expenses were disallowed (obtain Schedule RT-1 from related
    entity and submit with your return) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        13
14 Section 179, depreciation/amortization of assets (attach schedule) ~~~~~~~~~~~~~~~~~~~~          14
15 Amount by which the Wisconsin basis of assets disposed of exceeds the federal basis
    (attach schedule)~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  15
16 IRC provisions not adopted for Wisconsin purposes ~~~~~~~~~~~~~~~~~~~~~~~~~~~                    16
17 Adjustment for built-in gains tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          17


18 Federal wage credits ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 18
19 Federal research credit expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            19
20 Other subtractions:
   a                                                              20a
   b                                                              20b
   c                                                              20c
   d Total other subtractions (add lines 20a through 20c) ~~~~~~~~~~~~~~~~~~~~~~~~~                 20d
21 Total subtractions (add lines 12 through 19 and 20d) ~~~~~~~~~~~~~~~~~~~~~~~~~                   21


22 Total adjustment (subtract line 21 from line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                    22            1495




087586 11-11-20   CCH
           Case 2:23-bk-02376-EPB         Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                   Desc
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Schedule                       Wisconsin Single Sales Factor Apportionment
              A-01                  Data for Nonspecialized Industries
                                                File with Wisconsin Form 1NPR, 2, 3, 4, 4T, 5S, or 6
                                                                                                                                 2020
  Wisconsin Department                             Read instructions before filling in this schedule
       of Revenue
Name                                                                                                            Identifying Number
  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                            36 3531506

Round Amount to Nearest Dollar


                                                                                           Wisconsin                        Total Company
  1 Sales of tangible personal property delivered or shipped to
    Wisconsin purchasers:

      a Shipped from outside Wisconsin ~~~~~~~~~~~~~~~~ 1a                                                      .

    b Shipped from within Wisconsin ~~~~~~~~~~~~~~~~~ 1b                                               164561 .
  2 Sales of tangible personal property shipped from Wisconsin to:


      a The federal government within Wisconsin ~~~~~~~~~~~~ 2a                                                 .
      b The federal government in a state where the
        taxpayer would not be taxable under P.L. 86-272 ~~~~~~~~ 2b                                             .

    c Purchasers in a state where the taxpayer would not be
      taxable under P.L. 86-272 ~~~~~~~~~~~~~~~~~~~~ 2c                                                         .
  3 Double throwback sales ~~~~~~~~~~~~~~~~~~~~~~ 3                                                             .

  4 Total sales of tangible personal property (for Wisconsin column,
    add lines 1a through 3) ~~~~~~~~~~~~~~~~~~~~~~ 4                                                   164561 .      4               10783048 .
  5 Gross receipts from the use of computer software if the
    purchaser or licensee used the software in Wisconsin ~~~~~~~ 5                                              .

  6 Total gross receipts from the use of computer software ~~~~~~~~~~~~~~~~~~~~~~~~~                                 6                        .
  7 Gross receipts from services provided to a purchaser who
    received the benefit of the service in Wisconsin ~~~~~~~~~~ 7                   .

  8 Total gross receipts from services ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          8                        .

  9 Other apportionable gross receipts:
    a Sales, leases, rentals or licensing of real property ~~~~~~~~ 9a                                          .    9a                       .

      b Sales of intangible property ~~~~~~~~~~~~~~~~~~~ 9b                                                     .    9b                       .
      c Royalties, licensing, or allowing the use of intangible property ~~ 9c                                  .    9c                       .

      d Other apportionable gross receipts not identified above ~~~~~ 9d                                        .    9d                       .
      e Total (for both columns add lines 9a through 9d) ~~~~~~~~ 9e                                            .    9e                       .

10 For Wisconsin column, add lines 4, 5, 7, and 9e.
   For Total Company column, add lines 4, 6, 8, and 9e ~~~~~~~~ 10                                     164561 .     10               10783048 .


Separate return filers and pass-through entities:


11 Divide Wisconsin column, line 10 by Total Company Column,
   line 10 and multiply by 100. This is the Wisconsin apportionment
   percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   11                  1.5261      %




CCH
087721
10-28-20
IC-043 (R. 6-20)
             Case 2:23-bk-02376-EPB                  Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                  Desc
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2020 Schedule A-01      Name   AEROCARE MEDICAL TRANSPORT S          ID Number   36 3531506              Page 2 of 2
Combined return filers:
                                                                     Wisconsin                Total Company

12 Enter sales included above, that are
   intercompany sales between combined group members ~~~~~~ 12                       .   12                        .
13 Enter sales included above, that are not included
   in the computation of combined unitary income ~~~~~~~~~~ 13                       .   13                        .

14 Add lines 12 and 13 for each column ~~~~~~~~~~~~~~~ 14                            .   14                        .
15 Subtract line 14 from line 10 for each column ~~~~~~~~~~~ 15                      .   15                        .

16 Enter intercompany sales previously excluded from the sales
   factor due to the deferral of income, if the deferred income is
   included in combined unitary income on this return ~~~~~~~~ 16                    .   16                        .
17 Add lines 15 and 16 for each column. Enter Wisconsin column
   amount on Form 6, Part III, line 1a. Total Company column
   amount on Form 6, Part III, line 1b ~~~~~~~~~~~~~~~~~ 17                          .   17                        .




CCH
087722
10-28-20
           Case 2:23-bk-02376-EPB         Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42            Desc
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                                                             Explanation of
                  AR
Schedule


Wisconsin
                                                            Amended Return
                                   File with Amended Form 1, 1CNS, 1CNP, 1NPR, 2, 3, 4, 4T, 5S, 6, or
                                                                                                                                  2020
Department of Revenue
                                                      PW-1 or Schedule H or H-EZ
 Your name (if an estate, decedent's name)                                                                              Social security number


 Spouse's name if filing a joint amended return                                                                         Spouse's social security number



 Estate's or trust's legal name                                                                                         Estate's or trust's federal EIN


 Entity name                                                                                                            Identifying number
  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                                                                                  36 3531506

                                     Explanation of Changes on the Amended Return
If you are amending your return for any of the reasons below, place a check mark in the space indicated.

 Check here                                             Check here                                           Check here
     L                                                      L                                                    L
01          Dependent change                           08           Exempt pensions                        15          Federal audit


02          Pass-through entity (partnership,          09           Repayment of income                    16          Nonresident Schedule K-1
            tax-option (S) corporation, estate                      previously taxed                                   income allocation
            or trust) change

03          Form W-2 / 1099 change                     10           Apportionment percentage               17    X     Federal amended return


04          Tuition expense subtraction                11           Non-unitary income / separate          18          Adding or removing members
                                                                    accounting                                         of combined group
05          Interest / dividends change                12           Protective claim                       19          IRA change


06          Filing status change                       13           Net business loss                      20          P.L. 86-272


07          Wisconsin modifications to                 14           Tax credits                            21          Other
            federal income

  Indicate the line reference(s) from the form or schedule for which you are reporting a change and explain in detail the reason for
  the change.

THE FEDERAL FORM 1120S WAS AMENDED TO CORRECT LINE 1A GROSS RECEIPTS. THIS
CORRECTION INCLUDES A $2,420,670 ADJUSTMENT RELATED TO THE CHANGE IN THE
CORPORATION'S ALLOWANCE FOR DOUBTFUL ACCOUNTS, WHICH WAS RESTATED FROM THE
PRIOR TAX YEAR ON THE REVIEWED FINANCIAL STATEMENTS.




Enclose Schedule AR and all supporting documentation with your amended
return. Do not enclose your original return and schedules. CAUTION:
Schedule AR must be filed with one of the amended forms or schedules
listed on the top of this schedule.
I-113 (R. 06-20) CCH2:23-bk-02376-EPB
              Case      087111 11-10-20             Doc 1 Filed 04/13/23                 Entered 04/13/23 16:03:42                      Desc
                                                  Main Document                   Page 211 of 281
   AEROCARE MEDICAL TRANSPORT SYSTEM, INC                           XX-XXXXXXX
   }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                           }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
WI                                 FOOTNOTES                     STATEMENT   1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

THIS IS AN AMENDED RETURN. THE FEDERAL FORM 1120S WAS
AMENDED TO CORRECT LINE 1A GROSS RECEIPTS. THIS CORRECTION
INCLUDES A $2,420,670 ADJUSTMENT RELATED TO THE CHANGE IN
THE CORPORATION'S ALLOWANCE FOR DOUBTFUL ACCOUNTS, WHICH WAS
RESTATED FROM THE PRIOR TAX YEAR ON THE REVIEWED FINANCIAL
STATEMENTS.




       Case 2:23-bk-02376-EPB                                               STATEMENT(S)
                                 Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42  Desc    1
                                Main Document   Page 212 of 281
  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
WI SCHEDULE 5K             ORDINARY INCOME ADJUSTMENT            STATEMENT   2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
NET STATE TAX PAID OR ACCRUED                                                     1,495.
                                                                          }}}}}}}}}}}}}}
TOTAL TO FORM 5S, SCHEDULE 5K, LINE 1(C)                                          1,495.
                                                                          ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
WI SCHEDULE 5M            AAA - OTHER INCOME AND GAINS           STATEMENT   3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
PPP LOAN EXPENSES                                                               840,550.
EIDL EXPENSES                                                                    10,000.
INTEREST INCOME                                                                   9,023.
                                                                          }}}}}}}}}}}}}}
TOTAL WI OTHER INCOME AND GAINS TO FORM 5S,                                     859,573.
  SCHEDULE 5M, LINE 3(A)                                                  ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
WI SCHEDULE 5M            AAA-NONDEDUCTIBLE EXPENSES             STATEMENT   4
                          AND NON-TIMING DIFFERENCES
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
NET STATE TAX PAID OR ACCRUED                                                     1,495.
EXCLUDED MEALS AND ENTERTAINMENT EXPENSES                                         1,284.
                                                                          }}}}}}}}}}}}}}
TOTAL WI NONDEDUCTIBLE EXPENSES AND NON-TIMING DIFFERENCES                        2,779.
  TO FORM 5S, SCHEDULE 5M, LINE 5(A)                                      ~~~~~~~~~~~~~~


~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
WI SCHEDULE 5M               OAA - OTHER REDUCTIONS              STATEMENT   5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                   AMOUNT
}}}}}}}}}}}                                                               }}}}}}}}}}}}}}
PPP LOAN EXPENSES                                                               840,550.
EIDL EXPENSES                                                                    10,000.
                                                                          }}}}}}}}}}}}}}
TOTAL FORM 5S, SCHEDULE 5M, LINE 5(B)                                           850,550.
                                                                          ~~~~~~~~~~~~~~




       Case 2:23-bk-02376-EPB                                   STATEMENT(S)
                                 Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42 2, 3, 4, 5
                                                                                 Desc
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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
WI SCHEDULE 5M         ACCUMULATED ADJUSTMENTS ACCOUNT           STATEMENT   6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                          FEDERAL          WISCONSIN         WISCONSIN
                                            BAL.              ADJ.              BAL.
                                        }}}}}}}}}}}}      }}}}}}}}}}}}      }}}}}}}}}}}}

BALANCE AT BEGINNING OF
  TAXABLE YEAR                           -2,329,578.        2,457,212.          127,634.

ADDITIONS TO AAA:

ORDINARY INCOME (LOSS) FROM
   TRADE OR BUSINESSS ACTIVITIES             59,583.             1,495.           61,078.

OTHER ADDITIONS:

OTHER INCOME AND GAINS
   (SEE STATEMENT)                          859,573.                            859,573.

NONTAXABLE INCOME EARNED IN
   TAXABLE YEAR 1987 AND AFTER
   (SEE STATEMENT)

TOTAL OTHER ADDITIONS                   }}}}}}}}}}}}      }}}}}}}}}}}}      }}}}}}}}}}}}
   SCHEDULE 5M, LINE 3(A)                   859,573.                0.          859,573.
                                        }}}}}}}}}}}}      }}}}}}}}}}}}      }}}}}}}}}}}}
BALANCE BEFORE DECREASES
   TO THE AAA                            -1,410,422.        2,458,707.        1,048,285.
                                        }}}}}}}}}}}}      }}}}}}}}}}}}      }}}}}}}}}}}}
DECREASES TO AAA:

DISTRIBUTIONS FROM AAA

OTHER DECREASES:

DEDUCTIBLE LOSSES AND EXPENSES
   (SEE STATEMENT)

NONDEDUCTIBLE EXPENSES, NOT DUE
   TO TIMING DIFFERENCES
   (SEE STATEMENT)                             1,284.            1,495.            2,779.

SUPPLEMENT TO THE FEDERAL
   HISTORIC REHABILITATION
   TAX CREDIT

TOTAL OTHER DECREASES                   }}}}}}}}}}}}      }}}}}}}}}}}}      }}}}}}}}}}}}
   SCHEDULE 5M, LINE 5(A)                     1,284.            1,495.            2,779.
                                        }}}}}}}}}}}}      }}}}}}}}}}}}      }}}}}}}}}}}}
BALANCE AT END OF TAXABLE YEAR           -1,411,706.        2,457,212.        1,045,506.
                                        ~~~~~~~~~~~~      ~~~~~~~~~~~~      ~~~~~~~~~~~~




       Case 2:23-bk-02376-EPB                                               STATEMENT(S)
                                 Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42  Desc    6
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  AEROCARE MEDICAL TRANSPORT SYSTEM, INC                            XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}                            }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
WI SCHEDULE 5M            OTHER ADJUSTMENTS ACCOUNT              STATEMENT   7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                           FEDERAL         WISCONSIN        WISCONSIN
                                             BAL.             ADJ.             BAL.
                                         }}}}}}}}}}}}     }}}}}}}}}}}}     }}}}}}}}}}}}

BALANCE AT BEGINNING OF
   TAXABLE YEAR                                     0.                                0.

ADDITIONS TO THE OTHER
   ADJUSTMENTS ACCOUNT:

OTHER ADDITIONS
  SCHEDULE 5M, LINE 3(B)                       10,000.        -10,000.
(SEE STATEMENT)

BALANCE BEFORE DECREASES                 }}}}}}}}}}}}     }}}}}}}}}}}}     }}}}}}}}}}}}
   TO THE ACCOUNT                             10,000.         -10,000.               0.
                                         }}}}}}}}}}}}     }}}}}}}}}}}}     }}}}}}}}}}}}
DECREASES TO THE OTHER
   ADJUSTMENTS ACCOUNT:

DISTRIBUTIONS APPLICABLE
   TO THE OAA

OTHER DECREASES:

OTHER DECREASES
   SCHEDULE 5M, LINE 5(B)                    850,550.                          850,550.
(SEE STATEMENT)
                                         }}}}}}}}}}}}     }}}}}}}}}}}}     }}}}}}}}}}}}
TOTAL DECREASES                              850,550.               0.         850,550.
                                         }}}}}}}}}}}}     }}}}}}}}}}}}     }}}}}}}}}}}}
BALANCE AT THE END OF
   THE TAXABLE YEAR                         -840,550.         -10,000.        -850,550.
                                         ~~~~~~~~~~~~     ~~~~~~~~~~~~     ~~~~~~~~~~~~




       Case 2:23-bk-02376-EPB                                               STATEMENT(S)
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                                                Tax-Option (S) Corporation Shareholder's                                                               2020
Schedule


        5K-1                                    Share of Income, Deductions, Credits, etc.
Wisconsin Department                   For calendar year 2020 or tax year beginning                                   and ending
     of Revenue                                                                       MM DD YYYY                                        MM DD YYYY


Part I: Information About the Corporation

 Corporation's Name                                                                                                           Corporation's FEIN
    AEROCARE MEDICAL TRANSPORT SYSTEM, I                                                                                      36 3531506
 Corporation's Address                                               Corporation's City                                       State     Corporation's ZIP Code
    43W450 US HIGHWAY 30                                              SUGAR GROVE                                             IL         60554

Part II: Information About the Shareholder
 Business Name                                                                                                                   FEIN


 Individual's Last Name                                              First Name                                        M.I.      Individual's SSN

    CECE                                                              JOSEPH                                              D
 Shareholder's Address                                               Shareholder's City                                       State     Shareholder's ZIP Code
    1936 E. MISSOURI AVENUE                                           PHOENIX                                                 AZ         85016

If the shareholder is a disregarded entity, estate, or trust, enter the name and identifying number of the taxpayer to whom this income will be reported:
 Trust Name                                                                                                                      FEIN


 Last Name                                                           First Name                                        M.I.      SSN



A Type of shareholder:


    1     X        Individual
    2              Estate
    3              Trust


    4              Exempt organization
    5              Other


B Check if applicable:
  1         Final 5K-1


    2     X        Amended 5K-1 (Include Schedule AR)
    3              Election to pay tax at the entity level pursuant to s. 71.365(4m)(a), Wis. Stats.
    4              A lower-tier entity made an election pursuant to s. 71.21(6)(a), Wis. Stats.



C    Shareholder's percentage of stock ownership for taxable year ~~~~~~~~~~~~~~~~~~~~~~~~ C                                             100.0000           %
D    Shareholder's state of residence (if a full-year Wisconsin resident, items E, F, and G do not apply) ~~~~~~ D                      AZ

E    X      Check if shareholder's Wisconsin amount is determined by apportionment. Apportionment percentage ~ E                                   1.5261        %


F           Check if shareholder's Wisconsin amount is determined by separate accounting.
G           Check if the shareholder is a nonresident and received an approved Form PW-2 to opt out of pass-through
            entity withholding, or received a continuous PW-2 exemption.


H           Check if the nonresident shareholder elected Wisconsin composite income tax be paid by the
            tax-option (S) corporation on a Form 1CNS. Amount of Wisconsin composite income tax paid on behalf
            of the nonresident shareholder ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ H



IC-056 (R. 9-20)    087591 11-10-20   CCH
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2020 Schedule 5K-1             Shareholder's Name      JOSEPH D. CECE                   ID Number                            Page 2 of 4
Part III Shareholder's Share of Current Year Income, Deductions, Credits, and Other Items

                      (a)                                    (b)              (c)                       (d)                  (e)
                                                                                                    Amount under    Wis. source amount
             Pro rata share items                       Federal amount     Adjustment                 Wis. law       (see instructions)


1           Ordinary business income (loss) 1                      59583            1495    1              61078                   932
2           Net rental real estate income (loss) 2                                          2


3           Other net rental income (loss) ~ 3                                              3
4           Interest income ~~~~~~~ 4                               9023                    4                9023                  138

5           Ordinary dividends ~~~~~~ 5                                                     5
6           Royalties ~~~~~~~~~~~ 6                                                         6


7           Net short-term capital gain (loss) 7                                            7
8           Net long-term capital gain (loss) 8                                             8


9a          Net section 1231 gain (loss) ~~ 9a                                             9a
9b          Portion of the amount on line 9a
            attributable to gains on
            sales of farm assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           9b
10          Other income (loss) (see instructions)
  a                                           10a                                          10a


 b                                             10b                                         10b
 c          Total (add lines 10a and 10b) ~ 10c                                            10c


11          Section 179 deduction ~~~~ 11                                                  11

12          Other deductions:

 a          Contributions ~~~~~~~~ 12a                                                     12a
 b          Investment interest expense ~ 12b                                              12b


 c          Section 59(e)(2) expenditures ~ 12c                                            12c
 d          Other deductions
            (attach schedule) ~~~~~~~ 12d                                                  12d

13          Wisconsin credits

        a Schedule                ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         13a
        b Schedule                ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         13b


        c Schedule                ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         13c
        d Schedule                ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         13d


        e Schedule                ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         13e
        f Schedule                ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         13f


        g Schedule                ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         13g
        h Schedule                ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         13h


        i   Tax paid to other states
            (enter postal abbreviation) ~~13i-1               ~~~~~~~~~~~~~~~~~~           13i-1
                                          13i-2               ~~~~~~~~~~~~~~~~~~           13i-2


                                               13i-3          ~~~~~~~~~~~~~~~~~~           13i-3
    j       Wisconsin tax withheld ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          13j



 087592 11-10-20         CCH
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2020 Schedule 5K-1         Shareholder's Name   JOSEPH D. CECE                      ID Number                            Page 3 of 4

                   (a)                                 (b)                 (c)                      (d)                  (e)
                                                                                                Amount under    Wis. source amount
          Pro rata share items                   Federal amount        Adjustment                 Wis. law       (see instructions)

14       Foreign transactions (list):


     a                                  14a                                           14a
     b                                  14b                                           14b


15       Alternative minimum tax (AMT)
         items (list):
     a POST-1986            DEPN        15a                       14
     b                                  15b


16 a     Tax-exempt interest income 16a                                               16a


     b   Other tax-exempt income ~ 16b                   10000                        16b              10000
     c   Nondeductible expenses ~ 16c                     1284                1495    16c               2779

     d   Property distributions ~~~ 16d                                               16d
     e   Repayment of loans from
         shareholders ~~~~~~~ 16e                                                     16e
17 a     Investment income ~~~~ 17a                        9023                       17a                9023                  138

     b   Investment expenses ~~~ 17b                                                  17b
     c   Dividend distributions paid
         from accumulated earnings
         and profits ~~~~~~~~ 17c                                                     17c
     d   Other items and amounts (list):


         1                              17d-1                                         17d-1
         2                              17d-2                                         17d-2


         3 Total (add lines 17d-1 and
           17d-2) ~~~~~~~~~ 17d-3                                  17d-3
18 a     Related entity expense addback ~~~~~~~~~~~~~~~~~~~~~~~~~~ 18a


     b   Related entity expense allowable ~~~~~~~~~~~~~~~~~~~~~~~~~~ 18b
19       Income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 19                                         70101                 1070
20       Gross income (before deducting
         expenses) from all activities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 20                           10050997               153388




087593 11-10-20    CCH
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2020 Schedule 5K-1   Shareholder's Name   JOSEPH D. CECE                      ID Number                           Page 4 of 4
Part IV Schedule 5K-1 - Shareholder's Share of Additions and Subtractions

Additions:


 1   State taxes accrued or paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             1                1495
 2   Related entity expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               2
 3   Expenses related to nontaxable income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         3
 4   Section 179, depreciation, amortization difference (attach schedule) ~~~~~~~~~~~~~~~~~~~        4
 5   Amount by which the federal basis of assets disposed of exceeds the Wisconsin basis
     (attach schedule)~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  5
 6   Total additions for certain credits computed:
     a Business development credit ~~~~~~~~~~~~~~~~~ 6a
     b Community rehabilitation program credit ~~~~~~~~~~~~ 6b
     c Development zones credits ~~~~~~~~~~~~~~~~~~ 6c
     d Economic development tax credit ~~~~~~~~~~~~~~~ 6d
     e Electronics and information technology manufacturing zone credit ~~~ 6e
     f Employee college savings account contribution credit ~~~~~ 6f


     g   Enterprise zone jobs credit ~~~~~~~~~~~~~~~~~~~ 6g
     h   Jobs tax credit~~~~~~~~~~~~~~~~~~~~~~~~~ 6h
     i   Manufacturing and agriculture credit (computed in 2019) ~~~~ 6i
     j   Manufacturing investment credit ~~~~~~~~~~~~~~~~ 6j
     k   Research credits ~~~~~~~~~~~~~~~~~~~~~~~ 6k
     l   Total credits (add lines 6a through 6k) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                    6l


 7   IRC provisions not adopted for Wisconsin purposes ~~~~~~~~~~~~~~~~~~~~~~~~~~~                   7
 8   Adjustment for built-in gains tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         8
 9   Additions for federal capital gains and excess net passive income taxes ~~~~~~~~~~~~~~~~~       9
10   Other additions:
     a                                                                 10a
     b                                                                 10b
     c                                                                 10c
     d Total other additions (add lines 10a through 10c) ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 10d
11   Total additions (add lines 1 through 5, 6l through 9, and 10d) ~~~~~~~~~~~~~~~~~~~~~ 11                          1495

Subtractions:
12 Related entity expenses eligible for subtraction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                  12
13 Income from related entities whose expenses were disallowed (obtain Schedule RT-1 from related
    entity and submit with your return) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        13
14 Section 179, depreciation/amortization of assets (attach schedule) ~~~~~~~~~~~~~~~~~~~~          14
15 Amount by which the Wisconsin basis of assets disposed of exceeds the federal basis
    (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  15
16 IRC provisions not adopted for Wisconsin purposes ~~~~~~~~~~~~~~~~~~~~~~~~~~~                    16
17 Adjustment for built-in gains tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          17
18 Federal wage credits ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  18


19   Federal research credit expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 19
20   Other subtractions:
     a                                                              20a
     b                                                              20b
     c                                                              20c
     d Total other subtractions (add lines 20a through 20c) ~~~~~~~~~~~~~~~~~~~~~~~~~~ 20d
21   Total subtractions (add lines 12 through 19 and 20d) ~~~~~~~~~~~~~~~~~~~~~~~~~ 21
22   Total adjustment (subtract line 21 from line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 22                                 1495




                                                                                                          CCH   087594 11-10-20
         Case 2:23-bk-02376-EPB              Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                 Desc
                                            Main Document   Page 219 of 281
Fill in this information to identify the case:

Debtor name         Aerocare Medical Transport System, Inc.

United States Bankruptcy Court for the:     DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 13, 2023                  X /s/ Joseph Cece
                                                           Signature of individual signing on behalf of debtor

                                                            Joseph Cece
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




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                                                  Main Document   Page 220 of 281
Fill in this information to identify the case:
Debtor name Aerocare Medical Transport System, Inc.
United States Bankruptcy Court for the: DISTRICT OF ARIZONA                                                                             Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
AEG Fuels                                           Trade debt                                                                                                $211,121.91
Associated Energy
Group LLC
8686 New Trails Dr.,
Ste. 170
The Woodlands, TX
77381
AeroMan 257 LLC                                     Trade debt                                                                                                  $77,520.00
1060 NW 118th Ave.
Plantation, FL 33323
Air Axis, LLC                                       Trade debt                                                                                                  $46,241.37
1600 NE 1st Ave.
Miami, FL 33132
Air EMS, Inc.                                       Trade debt                                                                                                  $37,986.00
7601 E Apache St,
Hanger 22
Tulsa, OK 74115
AMEX Corporate                                      Trade debt                                                                                                $134,266.06
Card
PO Box 0001
Los Angeles, CA
90096
Anthem Blue Cross                                   health insurance                                                                                          $117,000.00
Blue Shield
Attn: John Skerl
PO Box 951254
Cleveland, OH 44193
Blue Cross Blue                                     health insurance                                                                                            $34,221.34
Shield of Illinois
Healthcare Service
Corp
PO Box 1186
Chicago, IL
60690-1186
Everest EBF                                                                   Contingent                  $155,540.00                        $0.00            $155,540.00
8200 NW 52nd                                                                  Unliquidated
Terrace, 2nd Floor                                                            Disputed
Doral, FL 33166

Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




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                                                    Main Document   Page 221 of 281
Debtor     Aerocare Medical Transport System, Inc.                                                  Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
First Class Business                                                          Contingent                  $302,031.00                        $0.00            $302,031.00
Group Capital, LLC                                                            Unliquidated
c/o Savent financial                                                          Disputed
212 River Park North
Woodstock, GA
30188
First Fidelity Bank                                                                                       $408,804.00                        $0.00            $408,804.00
16277 N. Greenway clepley@ffb.com
Hayden Loop
Attn: Chris Lepley
Scottsdale, AZ
85260
Fora Financial                                                                Contingent                  $138,000.00                        $0.00            $138,000.00
1385 Broadway,                                                                Unliquidated
15th Floor                                                                    Disputed
NY 10018
Fundamental                                                                   Contingent                   $99,513.00                        $0.00              $99,513.00
Capital, LLC                                                                  Unliquidated
100 Garden City                                                               Disputed
Plaza, Ste. 410
Garden City, NY
11530
Jet Logistics                                       Trade debt                                                                                                $104,666.55
PO Box 19596
Charlotte, NC 28219
Kalamata Capital                                                              Contingent                   $94,974.00                        $0.00              $94,974.00
Group, LLC                                                                    Unliquidated
80 Broad Street,                                                              Disputed
Suite 1201
New York, NY 10014
Kalitta Charters                                    Trade debt                                                                                                $235,193.75
2820 Tyler Rd.
Ypsilanti, MI 48198
McDonald Hopkins,                                   Trade debt                                                                                                  $39,222.00
LLC
600 Superior
Avenue East, Ste.
2100
Cleveland, OH 44114
N335RC LLC                                          leased aircraft -                                                                                           $47,778.10
9830 SW 77 Ave.,                                    month to month
Ste. 105                                            when needed
Miami, FL 33156
N531K, LLC                                          leased aircraft -                                                                                         $187,529.00
9830 SW 77 Ave.,                                    month to month
Ste. 105                                            when needed
Miami, FL 33156
Synergi Partners,                                   Trade debt                                                                                                $165,322.44
Inc.
PO Box 5599
Florence, SC
29502-5599

Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                    Case 2:23-bk-02376-EPB           Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                                     Desc
                                                    Main Document   Page 222 of 281
Debtor     Aerocare Medical Transport System, Inc.                                                  Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
U.S. Small Business                                                                                       $150,000.00                        $0.00            $150,000.00
Administration
2 North Street, Suite
320
Birmingham, AL
35203




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3




                    Case 2:23-bk-02376-EPB           Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                                     Desc
                                                    Main Document   Page 223 of 281
 Fill in this information to identify the case:

 Debtor name            Aerocare Medical Transport System, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF ARIZONA

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $       1,485,981.30

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $       1,485,981.30


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       1,369,962.84


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $         117,934.45

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       1,620,899.85


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          3,108,797.14




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
             Case 2:23-bk-02376-EPB                                       Doc 1 Filed 04/13/23 Entered 04/13/23 16:03:42                                                                       Desc
                                                                         Main Document   Page 224 of 281
Fill in this information to identify the case:

Debtor name          Aerocare Medical Transport System, Inc.

United States Bankruptcy Court for the:      DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Chase                                             operating                             7851                                        $293.96




           3.2.     First Fidelity                                    checking                              7759                                         $78.19



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                       $372.15
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepaid insurance to Assured Partners                                                                                          $2,576.00


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                      page 1


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               Name




9.         Total of Part 2.                                                                                                           $2,576.00
           Add lines 7 through 8. Copy the total to line 81.

Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                     47,204.56      -                                   0.00 = ....                 $47,204.56
                                        face amount                            doubtful or uncollectible accounts




           11b. Over 90 days old:                     1,481,874.36      -                          695,496.54 =....                    $786,377.82
                                        face amount                            doubtful or uncollectible accounts



12.        Total of Part 3.                                                                                                        $833,582.38
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:        Investments
13. Does the debtor own any investments?

      No.   Go to Part 5.
      Yes Fill in the information below.

Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No.   Go to Part 6.
      Yes Fill in the information below.

Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No.   Go to Part 7.
      Yes Fill in the information below.

Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.
           General description                                              Net book value of         Valuation method used   Current value of
                                                                            debtor's interest         for current value       debtor's interest
                                                                            (Where available)

39.        Office furniture

40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software
Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                        page 2

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          four laptops; computer equipment/software                                  $1,439.77      Tax records                        $1,439.77



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $1,439.77
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   OWNED 2011 Chevy Suburban VIN
                  1GNSKJE34BR101690                                                $11,000.00       Comparable sale                   $11,000.00


          47.2.   OWNED 2015 Chevy Suburban VIN
                  1GNSKJKC8FR522418                                                $23,000.00       Comparable sale                   $23,000.00


          47.3.   OWNED 2005 Chevy Suburban VIN
                  3GNFK16Z25G110851                                                  $1,500.00      Comparable sale                    $1,500.00


          47.4.   LEASED 2018 Chevy Suburban VIN
                  1GNSKHKCXJR313280                                                $26,000.00       Comparable sale                   $26,000.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)

51.       Total of Part 8.                                                                                                        $61,500.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
           No
           Yes
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3

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53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
Part 9:       Real property
54. Does the debtor own or lease any real property?

    No.    Go to Part 10.
    Yes Fill in the information below.

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of          Valuation method used   Current value of
                                                                        debtor's interest          for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.aerocare.com                                                              $0.00                                              $0.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           customer lists including names, addresses,
           medical history, and emergency contact
           information                                                                   $0.00                                              $0.00



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                             $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4

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            Name



                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.      Notes receivable
         Description (include name of obligor)
                                                                   1,113,022.00 -                          556,511.00 =
         Due from Officer, Joseph Cece                         Total face amount    doubtful or uncollectible amount               $556,511.00



72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims
         Former landlord, ALB Properties, seized all of debtor's
         Illinois based servers, workstation computers, and
         various personal property. Property includes, but is not
         limited to: 12 desktop style computers, approximately
         14 flat screen monitors, approximately five R 710
         servers, seven hon desk modules, and various other
         personal property.                                                                                                         $30,000.00
         Nature of claim          property
         Amount requested                        $30,000.00



76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                                      $586,511.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                       page 5

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Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $372.15

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $2,576.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $833,582.38

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $1,439.77

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $61,500.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                $586,511.00

91. Total. Add lines 80 through 90 for each column                                                         $1,485,981.30            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,485,981.30




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 6

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Fill in this information to identify the case:

Debtor name          Aerocare Medical Transport System, Inc.

United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
       Equipment Leasing
2.1                                                                                                                       $21,100.84               $26,000.00
       Services, LLC                                Describe debtor's property that is subject to a lien
       Creditor's Name                              LEASED 2018 Chevy Suburban VIN
       9977 N. 95th Street, Ste.                    1GNSKHKCXJR313280
       110
       Scottsdale, AZ 85258
       Creditor's mailing address                   Describe the lien
                                                    auto lease
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



2.2    Everest EBF                                  Describe debtor's property that is subject to a lien                $155,540.00                         $0.00
       Creditor's Name
       8200 NW 52nd Terrace, 2nd
       Floor
       Doral, FL 33166
       Creditor's mailing address                   Describe the lien
                                                    MCA Loan
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0872
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 4


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       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                    Disputed


2.3
      First Class Business Group
      Capital, LLC                                Describe debtor's property that is subject to a lien                     $302,031.00      $0.00
      Creditor's Name
      c/o Savent financial
      212 River Park North
      Woodstock, GA 30188
      Creditor's mailing address                  Describe the lien
                                                  MCA loan
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                    Disputed

2.4   First Fidelity Bank                         Describe debtor's property that is subject to a lien                     $408,804.00      $0.00
      Creditor's Name
      16277 N. Greenway Hayden
      Loop
      Attn: Chris Lepley
      Scottsdale, AZ 85260
      Creditor's mailing address                  Describe the lien
                                                  Blanket Lien on all business assets
                                                  Is the creditor an insider or related party?
      clepley@ffb.com                              No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.5   Fora Financial                              Describe debtor's property that is subject to a lien                     $138,000.00      $0.00
      Creditor's Name

      1385 Broadway, 15th Floor
       NY 10018
      Creditor's mailing address                  Describe the lien
                                                  MCA loan

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                          page 2 of 4


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            Name

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      3/2022                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                    Disputed

2.6   Fundamental Capital, LLC                    Describe debtor's property that is subject to a lien                     $99,513.00      $0.00
      Creditor's Name
      100 Garden City Plaza, Ste.
      410
      Garden City, NY 11530
      Creditor's mailing address                  Describe the lien
                                                  MCA loan
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      12/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4304;4369
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                    Disputed

      Kalamata Capital Group,
2.7                                                                                                                        $94,974.00      $0.00
      LLC                                         Describe debtor's property that is subject to a lien
      Creditor's Name

      80 Broad Street, Suite 1201
      New York, NY 10014
      Creditor's mailing address                  Describe the lien
                                                  MCA loan
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      5/2022                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9782
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                    Disputed

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                         page 3 of 4


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2.8
       U.S. Small Business
       Administration                              Describe debtor's property that is subject to a lien                     $150,000.00                    $0.00
       Creditor's Name

       2 North Street, Suite 320
       Birmingham, AL 35203
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
       6/2020                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.




                                                                                                                            $1,369,962.8
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       4

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Ally - Payment Processing Center
        PO Box 9001948                                                                                      Line   2.1                                1646
        Louisville, KY 40290

        Ariel Bouskila
        80 Broad Street, Ste. 3303                                                                          Line   2.7
        New York, NY 10004




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 4


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Debtor name        Aerocare Medical Transport System, Inc.

United States Bankruptcy Court for the:         DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00     $0.00
          Arizona Department of Revenue                       Check all that apply.
          1600 W. Monroe St.                                   Contingent
          Phoenix, AZ 85007                                    Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              NOTICE PURPOSES ONLY
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $8,173.65        $8,173.65
          Brian Mikalauskas                                   Check all that apply.
          4604 Bluejay Lane                                    Contingent
          Plainfield, IL 60586                                 Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
          2/20/23 thru 4/2/23                                 payroll
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 17
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Debtor      Aerocare Medical Transport System, Inc.                                                   Case number (if known)
            Name

2.3       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,763.00    Unknown
          Internal Revenue Service                           Check all that apply.
                                                              Contingent
          Cincinnati, OH 45999-0039                           Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:


          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.4       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00     $0.00
          Internal Revenue Service                           Check all that apply.
          Department of The Treasury                          Contingent
          Ogden, UT 84201                                     Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             NOTICE PURPOSES ONLY
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.5       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $51.62     $51.62
          James Goniwicha                                    Check all that apply.
          2649 Jenna Circle                                   Contingent
          Montgomery, IL 60538                                Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             employee expense reimbursement
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                              Yes

2.6       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,269.23    $3,269.23
          Jennifer Etzel-Elaqad                              Check all that apply.
          2120 E. Crocus Dr.                                  Contingent
          Phoenix, AZ 85022                                   Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
          3/20/23 - 4/2/23                                   payroll
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                              Yes




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            Name

2.7       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $89,379.37    $15,150.00
          Joseph Cece                                        Check all that apply.
          1936 E Missouri Ave.                                Contingent
          Phoenix, AZ 85016                                   Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
          10/24/22 thru 4/2/23                               officer wages
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                              Yes

2.8       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,094.18    Unknown
          New Jersey Division of Taxation                    Check all that apply.
          Revenue Proc Center - Corp                          Contingent
          Business Tax                                        Unliquidated
          PO Box 257                                          Disputed
          Trenton, NJ 08646-0257
          Date or dates debt was incurred                    Basis for the claim:
                                                             corporation tax
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.9       Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $526.62     Unknown
          State of Vermont                                   Check all that apply.
          Vermont Dept of Taxes                               Contingent
          133 State Street                                    Unliquidated
          Montpelier, VT 05633-1401                           Disputed
          Date or dates debt was incurred                    Basis for the claim:


          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                              Yes

2.10      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $238.21     $238.21
          Stephanie Mahaney                                  Check all that apply.
          431 E. Dekalb Dr.                                   Contingent
          Maple Park, IL 60151                                Unliquidated
                                                              Disputed
          Date or dates debt was incurred                    Basis for the claim:
                                                             PTO payout
          Last 4 digits of account number                    Is the claim subject to offset?
          Specify Code subsection of PRIORITY                 No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                              Yes




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2.11       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $9,519.24         $9,519.24
           Tim Ryan                                             Check all that apply.
           412 Whipple Ave.                                      Contingent
           Batavia, IL 60510                                     Unliquidated
                                                                 Disputed
           Date or dates debt was incurred                      Basis for the claim:
           2/20/23 thru 4/5/23                                  payroll
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes

2.12       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                 $428.46        Unknown
           United States Treasury                               Check all that apply.
           Internal Revenue Service                              Contingent
           PO Box 7122                                           Unliquidated
           San Francisco, CA 94127-7122                          Disputed
           Date or dates debt was incurred                      Basis for the claim:


           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

2.13       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                 $290.68        $290.68
           William Kost                                         Check all that apply.
           4123 W. Maggie Dr.                                    Contingent
           Queen Creek, AZ 85142                                 Unliquidated
                                                                 Disputed
           Date or dates debt was incurred                      Basis for the claim:
                                                                termed employee PTO payout
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes

2.14       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                 $200.19        Unknown
           Wisconsin Dept of Revenue                            Check all that apply.
           Box 930208                                            Contingent
           Milwaukee, WI 53293-0208                              Unliquidated
                                                                 Disputed
           Date or dates debt was incurred                      Basis for the claim:


           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




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3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,685.00
         A-Tec Ambulance, Inc.                                      Contingent
         PO Box 1115                                                Unliquidated
         Bedford Park, IL 60499                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,250.00
         ACID REMAP, LLC                                            Contingent
         3547 Springhill Rd.                                        Unliquidated
         Lafayette, CA 94549                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $211,121.91
         AEG Fuels                                                  Contingent
         Associated Energy Group LLC                                Unliquidated
         8686 New Trails Dr., Ste. 170                              Disputed
         The Woodlands, TX 77381
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $77,520.00
         AeroMan 257 LLC                                            Contingent
         1060 NW 118th Ave.                                         Unliquidated
         Plantation, FL 33323                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $741.60
         AIM EMS Software & Services                                Contingent
         892 New Castle Rd.                                         Unliquidated
         Slippery Rock, PA 16057                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $46,241.37
         Air Axis, LLC                                              Contingent
         1600 NE 1st Ave.                                           Unliquidated
         Miami, FL 33132                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $37,986.00
         Air EMS, Inc.                                              Contingent
         7601 E Apache St, Hanger 22                                Unliquidated
         Tulsa, OK 74115                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $24,345.00
         ALB Properties                                             Contingent
         Attn: Cara Martin                                          Unliquidated
         1901 Devonshire Ct.                                        Disputed
         Oswego, IL 60543
         Date(s) debt was incurred
                                                                                   Former landlord in Illinois; landlord seized debtor's
                                                                   Basis for the claim:
                                                                   property - see Schedules A/B
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $248.66
         Americanchecked Inc.                                       Contingent
         11911 S. Oxford Ave., Ste. 100                             Unliquidated
         Tulsa, OK 74137                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $134,266.06
         AMEX Corporate Card                                        Contingent
         PO Box 0001                                                Unliquidated
         Los Angeles, CA 90096                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,125.80
         AMR Maricopa                                               Contingent
         PO Box 847102                                              Unliquidated
         Dallas, TX 75284-7102                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $117,000.00
         Anthem Blue Cross Blue Shield                              Contingent
         Attn: John Skerl                                           Unliquidated
         PO Box 951254                                              Disputed
         Cleveland, OH 44193
                                                                   Basis for the claim:    health insurance
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,756.00
         Argus International Inc.                                   Contingent
         6021 S. Syracuse Way, Ste. 301                             Unliquidated
         Greenwood Village, CO 80111                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $4,131.37
         ASM Corp                                                   Contingent
         Miguel Hidalgo Pte.                                        Unliquidated
         825 L14, Col. Centro Monterrey                             Disputed
         N.L.CP. 64000 Mexico
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3.00
         Assured Partners dba Horizon Insurance                     Contingent
         14805 N 73rd St.                                           Unliquidated
         Scottsdale, AZ 85260                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    company insurance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $11,948.25
         Banyan Air                                                 Contingent
         Fort Lauderdale Executive Airport                          Unliquidated
         5360 NW 20th Terrace                                       Disputed
         Fort Lauderdale, FL 33309
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $34,221.34
         Blue Cross Blue Shield of Illinois                         Contingent
         Healthcare Service Corp                                    Unliquidated
         PO Box 1186                                                Disputed
         Chicago, IL 60690-1186
                                                                   Basis for the claim:    health insurance
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,670.00
         Cacuoa                                                     Contingent
         c/o Airport Property Specialists, LLC                      Unliquidated
         14605 N. Airport Dr., Ste. 210                             Disputed
         Scottsdale, AZ 85260
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $8,833.00
         CAE Simuflite                                              Contingent
         PO Box 846135                                              Unliquidated
         Dallas, TX 75284-6135                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $40.00
         CAK Landing Fee                                            Contingent
         5400 Lauby Dr., Ste. 9                                     Unliquidated
         North Canton, OH 44720-1598                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,800.00
         Camelback Moving                                           Contingent
         2330 N. 31st Ave.                                          Unliquidated
         Phoenix, AZ 85009                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $30.00
         CardConnect                                                Contingent
         PO Box 780960                                              Unliquidated
         Philadelphia, PA 19178-0960                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $210.00
         Cavu Companies                                             Contingent
         103 Burrows Rd.                                            Unliquidated
         West Winfield, NY 13491                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $655.14
         Cintas Corp                                                Contingent
         PO Box 88005                                               Unliquidated
         Chicago, IL 60680-1005                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $195.00
         Cision US Inc.                                             Contingent
         12051 Indian Creek Court                                   Unliquidated
         Beltsville, MD 20705                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $10,800.00
         City of Aurora, IL                                         Contingent
         Revenue and Collection Division                            Unliquidated
         44 E. Downer Pl.                                           Disputed
         Aurora, IL 60507-2067
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $45.90
         Cleveland Airport System                                   Contingent
         Bank of New York Mellon Trust                              Unliquidated
         PO Box 70275                                               Disputed
         Cleveland, OH 44190-0275
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $244.02
         Cox Business                                               Contingent
         PO Box 53249                                               Unliquidated
         Phoenix, AZ 85072                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,890.96
         Department of Minnesota                                    Contingent
         Mail Station 4110                                          Unliquidated
         Saint Paul, MN 55146-4110                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,499.02
         Done Deal Promotions                                       Contingent
         8224 Lehigh Ave.                                           Unliquidated
         Morton Grove, IL 60053                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $261.61
         eFax Corporate                                             Contingent
         c/o j2 Cloud Services, LLC                                 Unliquidated
         PO Box 51873                                               Disputed
         Los Angeles, CA 90051
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $7,369.31
         Elite Medical Transportation                               Contingent
         PO Box 992                                                 Unliquidated
         Mokena, IL 60448-5606                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,556.80
         Emmet County EMS                                           Contingent
         1201 Eppler Rd.                                            Unliquidated
         Petoskey, MI 49770-9202                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $5,214.00
         EMS Charts, Inc. (Zoll)                                    Contingent
         Dept. #42374                                               Unliquidated
         PO Box 650823                                              Disputed
         Dallas, TX 75265
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,783.72
         Eyemed Vision Care                                         Contingent
         FSL/Eyemed Premiums                                        Unliquidated
         PO Box 632530                                              Disputed
         Cincinnati, OH 45263-2530
                                                                   Basis for the claim:    health insurance
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,783.72
         Global Parts Aero Services                                 Contingent
         914 Industrial Rd.                                         Unliquidated
         Augusta, KS 67010                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,344.73
         Hawthorne Global Aviation Services                         Contingent
         3800 Starr Ave.                                            Unliquidated
         Eau Claire, WI 54703                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $10,936.70
         Imperial PFS Corp                                          Contingent
         PO Box 100391                                              Unliquidated
         Pasadena, CA 91189-0391                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    cancelled insurance policy
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,771.23
         Iron Mountain                                              Contingent
         PO Box 27128                                               Unliquidated
         New York, NY 10087-7128                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $11,872.68
         JA Air, Inc.                                               Contingent
         43W730 US Rt. 30                                           Unliquidated
         Sugar Grove, IL 60554                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $4,783.39
         Jeppesen                                                   Contingent
         PO Box 840864                                              Unliquidated
         Dallas, TX 75284-0864                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $104,666.55
         Jet Logistics                                              Contingent
         PO Box 19596                                               Unliquidated
         Charlotte, NC 28219                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $235,193.75
         Kalitta Charters                                           Contingent
         2820 Tyler Rd.                                             Unliquidated
         Ypsilanti, MI 48198                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $7,252.68
         Kansas City Life                                           Contingent
         KCL Group Benefits                                         Unliquidated
         PO Box 219846                                              Disputed
         Kansas City, MO 64121-9846
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $590.49
         KKC Imaging Systems                                        Contingent
         1550 N. Farnsworth Ave.                                    Unliquidated
         Aurora, IL 60505                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,339.00
         Leviton Law Firm Ltd.                                      Contingent
         One Pierce Pl., Ste. 725W                                  Unliquidated
         Itasca, IL 60143                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $111.00
         Litchfield Cavo, LLP                                       Contingent
         303 W. Madison St., Ste. 300                               Unliquidated
         Chicago, IL 60606-3300                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,000.00
         Lumanair                                                   Contingent
         43W752 US Highway 30                                       Unliquidated
         Sugar Grove, IL 60554                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $39,222.00
         McDonald Hopkins, LLC                                      Contingent
         600 Superior Avenue East, Ste. 2100                        Unliquidated
         Cleveland, OH 44114                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,276.16
         Mediacom - 1054                                            Contingent
         PO Box 5744                                                Unliquidated
         Carol Stream, IL 60197-5744                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $9,296.00
         Mobile Medical                                             Contingent
         15027 State Rd. 1                                          Unliquidated
         Leo, IN 46765                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,142.80
         Mutual of Omaha                                            Contingent
         Mutual of Omaha Plaza                                      Unliquidated
         Omaha, NE 68175                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $47,778.10
         N335RC LLC                                                 Contingent
         9830 SW 77 Ave., Ste. 105                                  Unliquidated
         Miami, FL 33156                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    leased aircraft - month to month when needed
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $187,529.00
         N531K, LLC                                                 Contingent
         9830 SW 77 Ave., Ste. 105                                  Unliquidated
         Miami, FL 33156                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    leased aircraft - month to month when needed
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $69.95
         NATA Compliance Services                                   Contingent
         9400 Gateway Dr., Suite D                                  Unliquidated
         Reno, NV 89521                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $237.46
         NAV Canada                                                 Contingent
         Attn: Accounts Receivable                                  Unliquidated
         PO Box 9632, Station T                                     Disputed
         Ottawa OM K19 6HI Canada
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $7,039.49
         Nexair LLC                                                 Contingent
         PO Box 125                                                 Unliquidated
         Memphis, TN 38101-0125                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,470.00
         Ninth Brain Suite LLC                                      Contingent
         PO Box 21                                                  Unliquidated
         Frankenmuth, MI 48734-0021                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $139.29
         Pecos County EMS                                           Contingent
         PO Box 226683                                              Unliquidated
         Dallas, TX 75222-6683                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,844.10
         Praxair - AZ FY316                                         Contingent
         Praxair Distribution, Inc. - Dept. 0812                    Unliquidated
         PO Box 120812                                              Disputed
         Dallas, TX 75312-0612
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $8,765.00
         Praxair - IL Linde Gas & Equipment                         Contingent
         965-Praxair Dist., Inc.                                    Unliquidated
         Dept. CH 10660                                             Disputed
         Palatine, IL 60055-0660
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $156.29
         Quadient Finance USA, Inc.                                 Contingent
         PO Box 6813                                                Unliquidated
         Carol Stream, IL 60197-6813                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $39.40
         Quest Diagnostics                                          Contingent
         PO Box 740709                                              Unliquidated
         Atlanta, GA 30374-0709                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $355.00
         Renew Biomedical                                           Contingent
         PO Box 11476                                               Unliquidated
         Jackson, TN 38308                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $125.00
         Secretary of State - Vehicle Services                      Contingent
         ERT Section, RM. 424                                       Unliquidated
         501 S. Second St.                                          Disputed
         Springfield, IL 62756
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      Unknown
         Starr Indemnity & Liability Co                             Contingent
         399 Park Avenue                                            Unliquidated
         New York, NY 10022                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    workers comp policy that was cancelled
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $165,322.44
         Synergi Partners, Inc.                                     Contingent
         PO Box 5599                                                Unliquidated
         Florence, SC 29502-5599                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $94.17
         Teterboro Airport                                          Contingent
         The Port Authority of NY & NJ                              Unliquidated
         LBX #1523 - PO Box 95000                                   Disputed
         Philadelphia, PA 19195-0001
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $138.29
         The Calgary Airport Authority                              Contingent
         YYC Calgary Int'l Airport                                  Unliquidated
         2000 Airport Rd. N.E.                                      Disputed
         Calgary, Alberta T2E 6W5
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $39.20
         Toledo-Lucas County Port Authority                         Contingent
         11013 Airport Hwy, Box 11                                  Unliquidated
         Swanton, OH 43558                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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3.71      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $794.98
          Udall Shumway, PLC                                                Contingent
          PO Box 1446                                                       Unliquidated
          Mesa, AZ 85211-1446                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.72      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $53.10
          Vector - Portland Jetport                                         Contingent
          PO Box 787061                                                     Unliquidated
          Philadelphia, PA 19178-7061                                       Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.73      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $150.25
          Vuria                                                             Contingent
          Vincit Arizona, Inc.                                              Unliquidated
          2 North Central ave., Ste. 1800                                   Disputed
          Phoenix, AZ 85004
                                                                           Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.74      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,280.50
          Waste Management                                                  Contingent
          Attn Billing Dept                                                 Unliquidated
          PO Box 4648                                                       Disputed
          Carol Stream, IL 60197
                                                                           Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.75      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $206.12
          Winipeg Airports Authority Inc.                                   Contingent
          249-2000 Wellington Ave.                                          Unliquidated
          R3H 1C2 Winnipeg                                                  Disputed
          MB
                                                                           Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.76      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          Wisconsin Aviation                                                Contingent
          3606 Corben Court                                                 Unliquidated
          Madison, WI 53704                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any




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         Name and mailing address                                                On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                           any
4.1      Assured Partners
         7600 N. 16th St.                                                        Line   3.15
         Phoenix, AZ 85020
                                                                                       Not listed. Explain

4.2      Blue Cross Blue Shield of Illinois
         PO Box 7344                                                             Line   3.17
         Chicago, IL 60680-7344
                                                                                       Not listed. Explain

4.3      Boeing Digital Solutions, Inc.
         55 Inverness Drive East                                                 Line   3.41                               0758
         Englewood, CO 80112
                                                                                       Not listed. Explain

4.4      CardConnect
         1000 Continental Dr., Ste. 300                                          Line   3.22
         King of Prussia, PA 19406
                                                                                       Not listed. Explain

4.5      Cleveland Airport System
         Cleveland Hopkins Int'l Airport                                         Line   3.27                               88CP
         PO Box 81009
         Cleveland, OH 44181-0009                                                      Not listed. Explain


4.6      Enforced Recovery
         Attn: Louise Pytura                                                     Line   3.56
         151 Slater
         Ottawa, ON K1P 5H3                                                            Not listed. Explain


4.7      Enniet Torres - NJ Division of Taxation
         Pioneer Credit Recovery                                                 Line   2.8                                dba R&M Aviatio
         PO Box 1009                                                                                                       n
         Moorestown, NJ 08057-0909                                                     Not listed. Explain


4.8      Fox Rothschild LLP - Attn: Heather Ries
         Phillips Point                                                          Line   3.3
         777 S. Flagler Dr., Ste. 1700 West Tower
         West Palm Beach, FL 33401                                                     Not listed. Explain


4.9      Iron Mountain
         2 Sun Court                                                             Line   3.39                               T020
         Norcross, GA 30092
                                                                                       Not listed. Explain

4.10     KCL Group Benefits
         Attn: Christina James                                                   Line   3.44
         PO Box 219425
         Kansas City, MO 64121-9425                                                    Not listed. Explain


4.11     Linde Gas & Equipment Inc.
         Dept CH 10660                                                           Line   3.61
         Palatine, IL 60055-0660
                                                                                       Not listed. Explain

4.12     Nexair LLC
         4090 Steve Reynolds Blvd                                                Line   3.57                               0766
         Norcross, GA 30093
                                                                                       Not listed. Explain

4.13     NexAir LLC
         8600 NW 93rd St.                                                        Line   3.57                               0766
         Miami, FL 33166
                                                                                       Not listed. Explain

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            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                       related creditor (if any) listed?              account number, if
                                                                                                                                      any
4.14      RAM Software System Inc
          dba AIM EMS Software & Services                                              Line      3.34
          892 New Castle Rd.
          Slippery Rock, PA 16057                                                            Not listed. Explain


4.15      Secretary of State - Vehicle Services
          213 State Capitol                                                            Line      3.65
          Springfield, IL 62756
                                                                                             Not listed. Explain

4.16      Teterboro Airport Accounting Office
          Avports, LLC/Teterboro Airport                                               Line      3.68
          111 Industrial Ave.
          Teterboro, NJ 07608                                                                Not listed. Explain


4.17      Udall Shumway, PLC
          1138 N. Alma School Rd., Ste. 101                                            Line      3.71
          Mesa, AZ 85201
                                                                                             Not listed. Explain

4.18      Waste Managementof Illinois, Inc.
          PO Box 42390                                                                 Line      3.74                                 3005
          Phoenix, AZ 85080
                                                                                             Not listed. Explain

4.19      Wisconsin Aviation
          Four Lakes, Inc.                                                             Line      3.76
          3603 Corben St.
          Madison, WI 53704                                                                  Not listed. Explain


4.20      Wisconsin Dept of Revenue
          PO Box 8901                                                                  Line      2.14                                 2430
          Madison, WI 53708-8901
                                                                                             Not listed. Explain

4.21      Zoll Data Systems
          11802 Ridge Parkway, Ste. 400                                                Line      3.34
          Broomfield, CO 80021
                                                                                             Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                            Total of claim amounts
5a. Total claims from Part 1                                                               5a.          $                    117,934.45
5b. Total claims from Part 2                                                               5b.    +     $                  1,620,899.85
5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                    5c.          $                    1,738,834.30




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 17 of 17



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Fill in this information to identify the case:

Debtor name        Aerocare Medical Transport System, Inc.

United States Bankruptcy Court for the:      DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           one vehicle - 2018
             lease is for and the nature of       Chevy Suburban VIN
             the debtor's interest                1GNSKHKCXJR313280

                State the term remaining          ends 9/1/2023
                                                                                    Equipment Leasing Services, LLC
             List the contract number of any                                        9977 N. 95th Street, Ste. 110
                   government contract                                              Scottsdale, AZ 85258




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1


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Fill in this information to identify the case:

Debtor name      Aerocare Medical Transport System, Inc.

United States Bankruptcy Court for the:   DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:
   2.1                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code


   2.2                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code


   2.3                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code


   2.4                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1

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Fill in this information to identify the case:

Debtor name         Aerocare Medical Transport System, Inc.

United States Bankruptcy Court for the:    DISTRICT OF ARIZONA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                                $155,925.00
      From 1/01/2023 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                              $4,819,123.00
      From 1/01/2022 to 12/31/2022
                                                                                       Other


      For year before that:                                                            Operating a business                              $6,909,014.00
      From 1/01/2021 to 12/31/2021
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1


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      Creditor's Name and Address                              Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                   Check all that apply
      3.1.
              AEG Fuel                                         1/4/23                           $15,000.00          Secured debt
                                                                                                                    Unsecured loan repayments
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.2.
              Aeroman 257                                      1/4/23                           $15,000.00          Secured debt
                                                                                                                    Unsecured loan repayments
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.3.
              Air Axis, LLC                                    1/4/23 and                       $40,000.00          Secured debt
                                                               1/5/23                                               Unsecured loan repayments
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.4.
              ALB Properties                                   1/4/23 and                       $30,000.00          Secured debt
              Attn: Cara Martin                                1/5/23                                               Unsecured loan repayments
              1901 Devonshire Court                                                                                 Suppliers or vendors
              Oswego, IL 60543                                                                                      Services
                                                                                                                    OtherRent on property that
                                                                                                                   was vacated as of 2/2023

      3.5.
              Beach Fleischman                                 1/6/23                           $17,600.00          Secured debt
                                                                                                                    Unsecured loan repayments
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other

      3.6.
              Blue Cross Blue Shield of Illinois               1/12/23 and                      $50,906.71          Secured debt
                                                               3/2/23                                               Unsecured loan repayments
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other   health insurance

      3.7.
              CBIZ                                             January 2023                    $117,704.49          Secured debt
                                                               and March                                            Unsecured loan repayments
                                                               2023                                                 Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other   Payroll Taxes and
                                                                                                                   Fees

      3.8.
              Derek Poole                                      1/6/23                           $35,066.00          Secured debt
                                                                                                                    Unsecured loan repayments
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other   customer refund

Official Form 207                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 2


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      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.9.
              EBF Holdings                                         12/20/22 and                     $10,725.00          Secured debt
                                                                   1/17/23                                              Unsecured loan repayments
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other

      3.10
      .    First Fidelity                                          1/4/23 and                         $9,004.84         Secured debt
                                                                   2/28/23                                              Unsecured loan repayments
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other

      3.11
      .    Fora Financial Business Loan                            12/20/22 and                     $16,314.48          Secured debt
                                                                   1/3/23                                               Unsecured loan repayments
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other

      3.12
      .    Gateway International                                   1/4/23                           $13,230.00          Secured debt
                                                                                                                        Unsecured loan repayments
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other

      3.13
      .    Peak Medevac                                            2/28/23                          $28,980.00          Secured debt
                                                                                                                        Unsecured loan repayments
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.    Jennifer Etzel-Elaqad                                1/4/23                           $13,493.22         Employee Expense
              2120 E Crocus Dr.                                                                                        Reimbursement
              Phoenix, AZ 85022
              employee

      4.2.    Joseph Cece                                          1/4/23                           $37,118.49         Owner Expense
              1936 E. Missouri Ave.                                                                                    Reimbursement
              Phoenix, AZ 85016
              Owner




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3


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      Insider's name and address                                    Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.3.    Karl Boubouleix                                       1/4/23; 1/6/23                   $10,542.04           Employee Expense
              138 White Fawn Trail                                                                                        Reimbursement
              Downers Grove, IL 60516
              former employee

      4.4.    Becky Werth                                           1/4/23                           $41,070.20           Employee Expense
              18530 W 300N Road                                                                                           Reimbursement
              Reddick, IL 60961
              former employee

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                         Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                          Date action was                 Amount
                                                                                                                        taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
              Case title                               Nature of case               Court or agency's name and                 Status of case
              Case number                                                           address
      7.1.    Aerocare Medical Transport               Contract/Insuranc            US District Court - N                       Pending
              System, Inc. v. Advanced                 e                            District of IL                              On appeal
              Homecare                                                                                                            Concluded
              1:20-cv-01735

      7.2.    Kalamata Capital Group, LLC              Breach of                    Supreme Court of the State                    Pending
              v. Aerocare Medical Transport            Contract/Personal            of New York                                 On appeal
              System, Inc., et al                      Guaranty                     County of Ontario
                                                                                                                                Concluded
              135047-2023

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None

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Debtor        Aerocare Medical Transport System, Inc.                                             Case number (if known)



               Recipient's name and address            Description of the gifts or contributions                  Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and             Amount of payments received for the loss                   Dates of loss            Value of property
      how the loss occurred                                                                                                                             lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
                Who was paid or who received              If not money, describe any property transferred              Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Cross Law Firm, P.L.C.
                PO Box 45469                                                                                           3/13/23 and
                Phoenix, AZ 85064                         Attorney Fees                                                3/21/23                   $21,738.00

                Email or website address
                jcross@crosslawaz.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value
      13.1 N888CP Aviation Corp.
      .    251 Little Falls Dr.                        Learjet Model 31 - Serial #31-003 - Reg
               Wilmington, DE 19808                    #N888CP                                                    4/6/23                       $120,516.00

               Relationship to debtor



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 5


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 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     43 W 776 US Highway 30                                                                              termed February 2023
                Sugar Grove, IL 60554

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

      No. Go to Part 9.
          Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services             If debtor provides meals
                                                       the debtor provides                                                      and housing, number of
                                                                                                                                patients in debtor’s care
      15.1.     Aerocare Medical Transport,            Medevac services and subcontract air ambulance
                Inc.                                   services
                43 W 450 US Highway 30
                                                       Location where patient records are maintained (if different from         How are records kept?
                Sugar Grove, IL 60554                  facility address). If electronic, identify any service provider.
                                                       472 N Route 47, Grove, IL 60554                                          Check all that apply:

                                                                                                                                 Electronically
                                                                                                                                 Paper

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      No.
          Yes. State the nature of the information collected and retained.

                 Names, addresses, medical history, and emergency contact
                 information
                 Does the debtor have a privacy policy about that information?
                  No
                  Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    R&M Aviation, Inc                                                                   EIN: 817635 - plan number

                    Has the plan been terminated?

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                     No
                     Yes

Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
                Financial Institution name and         Last 4 digits of           Type of account or          Date account was                Last balance
                Address                                account number             instrument                  closed, sold,               before closing or
                                                                                                              moved, or                            transfer
                                                                                                              transferred
      18.1.     First Fidelity Bank                    XXXX-7759                   Checking                  closed 2023 by                           $0.00
                5100 N. Classen Blvd.                                              Savings                   the bank
                Oklahoma City, OK 73118
                                                                                   Money Market
                                                                                   Brokerage
                                                                                   Other

      18.2.     First Fidelity Bank                    XXXX-0290                   Checking                  closed 2023 by                           $0.00
                5100 N. Classen Blvd.                                              Savings                   the bank
                Oklahoma City, OK 73118
                                                                                   Money Market
                                                                                   Brokerage
                                                                                   Other

      18.3.     First Fidelity Bank                    XXXX-4223                   Checking                  closed 2023 by                           $0.00
                5100 N. Classen Blvd.                                              Savings                   the bank
                Oklahoma City, OK 73118
                                                                                   Money Market
                                                                                   Brokerage
                                                                                   Other

      18.4.     First Fidelity Bank                    XXXX-5804                   Checking                  closed 2023 by                           $0.00
                5100 N. Classen Blvd.                                              Savings                   the bank
                Oklahoma City, OK 73118
                                                                                   Money Market
                                                                                   Brokerage
                                                                                   Other

      18.5.     First Fidelity Bank                    XXXX-4231                   Checking                  closed 2023 by                           $0.00
                5100 N. Classen Blvd.                                              Savings                   the bank
                Oklahoma City, OK 73118
                                                                                   Money Market
                                                                                   Brokerage
                                                                                   Other

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address               Names of anyone with                  Description of the contents              Does debtor
                                                            access to it                                                                   still have it?
                                                            Address



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20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Iron Mountain Info Management LLC                      Joseph Cece, Kim Laube                electronic records                           No
      1000 Campus Dr.                                                                                                                           Yes
      Collegeville, PA 19426

      Camelback Storage                                      Joe Cece, Kim Laube                   what's in here?                              No
                                                                                                                                                Yes


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 8


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Debtor      Aerocare Medical Transport System, Inc.                                             Case number (if known)



Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Kimberly Laube                                                                                                     10/3/22-present


      26a.2.        Michelle Goniwicha                                                                                                 8/15/22-present


      26a.3.        Kimberly Loftis/Feltis Investments                                                                                 3/2022-11/2022


      26a.4.        Jasmine Garcia                                                                                                     3/18/22-8/12/22


      26a.5.        Bruce Plum                                                                                                         3/1/21-4/30/22


      26a.6.        Beach Fleischman                                                                                                   11/2016-10/2022
                    1985 E River Rd
                    Tucson, AZ 85718

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Beach Fleischman                                                                                                   11/2016-10/2022
                    1985 E River Rd
                    Tucson, AZ 85718

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Michelle Goniwicha


      26c.2.        Kimberly Laube



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial

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          statement within 2 years before filing this case.

           None
      Name and address
      26d.1.  First Fidelity Bank



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
             Name of the person who supervised the taking of the                      Date of inventory       The dollar amount and basis (cost, market,
             inventory                                                                                        or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                              Position and nature of any            % of interest, if
                                                                                                   interest                              any
      Joseph Cece                             1936 E. Missouri Ave.                                Owner/Director                        100
                                              Phoenix, AZ 85016



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      No
          Yes. Identify below.

      Name                                    Address                                              Position and nature of any        Period during which
                                                                                                   interest                          position or interest
                                                                                                                                     was held
      Ryan Wrigley                                                                                 Treasurer                         9/18/17-1/31/2023


      Name                                    Address                                              Position and nature of any        Period during which
                                                                                                   interest                          position or interest
                                                                                                                                     was held
      Rebecca Werth                                                                                Secretary                         4/1/19-1/31/2023



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      No
          Yes. Identify below.

             Name and address of recipient              Amount of money or description and value of               Dates              Reason for
                                                        property                                                                     providing the value
      30.1 Joseph Cece
      .    1936 E Missouri Ave.                                                                                                      owner expense
             Phoenix, AZ 85016                          $37,118.49                                                various            reimbursements

             Relationship to debtor
             owner



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31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 13, 2023

/s/ Joseph Cece                                                 Joseph Cece
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                                                      District of Arizona
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                                                                              Debtor(s)                       Chapter       11

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                 $                 21,738.00
              Prior to the filing of this statement I have received                                       $                 21,738.00
              Balance Due                                                                                 $                        0.00

2.    $      1,738.00      of the filing fee has been paid.

3.    The source of the compensation paid to me was:

                 Debtor          Other (specify):

4.    The source of compensation to be paid to me is:

                 Debtor          Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.     [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                       CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     April 13, 2023                                                           /s/ James E. Cross
     Date                                                                     James E. Cross 009063
                                                                              Signature of Attorney
                                                                              Cross Law Firm, P.L.C.
                                                                              PO Box 45469
                                                                              Phoenix, AZ 85064
                                                                              602-412-4422 Fax: 602-252-4712
                                                                              jcross@crosslawaz.com
                                                                              Name of law firm




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                                                                     District of Arizona
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                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Joseph Cece                                                                                                                  100%
1936 E. Missouri Ave.
Phoenix, AZ 85016


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date April 13, 2023                                                      Signature /s/ Joseph Cece
                                                                                        Joseph Cece

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders



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                                                                                              Check if this is an
                                                                                             Amended/Supplemental Mailing List
                                                                                             (Include only newly added or
                                                                                             changed creditors.)


                                           MAILING LIST DECLARATION


         I, the President of the corporation named as the debtor in this case, do hereby certify, under penalty of perjury, that the

Master Mailing List, consisting of   12   sheet(s), is complete, correct and consistent with the debtor(s)' Schedules.




Date:    April 13, 2023                                 /s/ Joseph Cece
                                                        Joseph Cece/President
                                                        Signer/Title

Date: April 13, 2023                                    /s/ James E. Cross
                                                        Signature of Attorney
                                                        James E. Cross 009063
                                                        Cross Law Firm, P.L.C.
                                                        PO Box 45469
                                                        Phoenix, AZ 85064
                                                        602-412-4422 Fax: 602-252-4712




MML_Requirements_8-2018                                                                                                            MML-3




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A-TEC AMBULANCE, INC.
PO BOX 1115
BEDFORD PARK IL 60499


ACID REMAP, LLC
3547 SPRINGHILL RD.
LAFAYETTE CA 94549


AEG FUELS
ASSOCIATED ENERGY GROUP LLC
8686 NEW TRAILS DR., STE. 170
THE WOODLANDS TX 77381


AEROMAN 257 LLC
1060 NW 118TH AVE.
PLANTATION FL 33323


AIM EMS SOFTWARE & SERVICES
892 NEW CASTLE RD.
SLIPPERY ROCK PA 16057


AIR AXIS, LLC
1600 NE 1ST AVE.
MIAMI FL 33132


AIR EMS, INC.
7601 E APACHE ST, HANGER 22
TULSA OK 74115


ALB PROPERTIES
ATTN: CARA MARTIN
1901 DEVONSHIRE CT.
OSWEGO IL 60543


ALLY - PAYMENT PROCESSING CENTER
PO BOX 9001948
LOUISVILLE KY 40290


AMERICANCHECKED INC.
11911 S. OXFORD AVE., STE. 100
TULSA OK 74137


AMEX CORPORATE CARD
PO BOX 0001
LOS ANGELES CA 90096

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AMR MARICOPA
PO BOX 847102
DALLAS TX 75284-7102


ANTHEM BLUE CROSS BLUE SHIELD
ATTN: JOHN SKERL
PO BOX 951254
CLEVELAND OH 44193


ARGUS INTERNATIONAL INC.
6021 S. SYRACUSE WAY, STE. 301
GREENWOOD VILLAGE CO 80111


ARIEL BOUSKILA
80 BROAD STREET, STE. 3303
NEW YORK NY 10004


ARIZONA DEPARTMENT OF REVENUE
1600 W. MONROE ST.
PHOENIX AZ 85007


ASM CORP
MIGUEL HIDALGO PTE.
825 L14, COL. CENTRO MONTERREY
N.L.CP. 64000 MEXICO


ASSURED PARTNERS
7600 N. 16TH ST.
PHOENIX AZ 85020


ASSURED PARTNERS DBA HORIZON INSURANCE
14805 N 73RD ST.
SCOTTSDALE AZ 85260


AZ BUSINESS BANK
1757 E. BASELINE RD.
BLDG 1, STE. 101
GILBERT AZ 85233


BANYAN AIR
FORT LAUDERDALE EXECUTIVE AIRPORT
5360 NW 20TH TERRACE
FORT LAUDERDALE FL 33309




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BLUE CROSS BLUE SHIELD OF ILLINOIS
HEALTHCARE SERVICE CORP
PO BOX 1186
CHICAGO IL 60690-1186


BLUE CROSS BLUE SHIELD OF ILLINOIS
PO BOX 7344
CHICAGO IL 60680-7344


BOEING DIGITAL SOLUTIONS, INC.
55 INVERNESS DRIVE EAST
ENGLEWOOD CO 80112


BRIAN MIKALAUSKAS
4604 BLUEJAY LANE
PLAINFIELD IL 60586


CACUOA
C/O AIRPORT PROPERTY SPECIALISTS, LLC
14605 N. AIRPORT DR., STE. 210
SCOTTSDALE AZ 85260


CAE SIMUFLITE
PO BOX 846135
DALLAS TX 75284-6135


CAK LANDING FEE
5400 LAUBY DR., STE. 9
NORTH CANTON OH 44720-1598


CAMELBACK MOVING
2330 N. 31ST AVE.
PHOENIX AZ 85009


CARDCONNECT
PO BOX 780960
PHILADELPHIA PA 19178-0960


CARDCONNECT
1000 CONTINENTAL DR., STE. 300
KING OF PRUSSIA PA 19406


CAVU COMPANIES
103 BURROWS RD.
WEST WINFIELD NY 13491

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CINTAS CORP
PO BOX 88005
CHICAGO IL 60680-1005


CISION US INC.
12051 INDIAN CREEK COURT
BELTSVILLE MD 20705


CITY OF AURORA, IL
REVENUE AND COLLECTION DIVISION
44 E. DOWNER PL.
AURORA IL 60507-2067


CLEVELAND AIRPORT SYSTEM
BANK OF NEW YORK MELLON TRUST
PO BOX 70275
CLEVELAND OH 44190-0275


CLEVELAND AIRPORT SYSTEM
CLEVELAND HOPKINS INT'L AIRPORT
PO BOX 81009
CLEVELAND OH 44181-0009


CORPORATION SERVICE COMPANY
PO BOX 2576
SPRINGFIELD IL 62708


COX BUSINESS
PO BOX 53249
PHOENIX AZ 85072


DEPARTMENT OF MINNESOTA
MAIL STATION 4110
SAINT PAUL MN 55146-4110


DONE DEAL PROMOTIONS
8224 LEHIGH AVE.
MORTON GROVE IL 60053


EFAX CORPORATE
C/O J2 CLOUD SERVICES, LLC
PO BOX 51873
LOS ANGELES CA 90051




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ELITE MEDICAL TRANSPORTATION
PO BOX 992
MOKENA IL 60448-5606


EMMET COUNTY EMS
1201 EPPLER RD.
PETOSKEY MI 49770-9202


EMS CHARTS, INC. (ZOLL)
DEPT. #42374
PO BOX 650823
DALLAS TX 75265


ENFORCED RECOVERY
ATTN: LOUISE PYTURA
151 SLATER
OTTAWA, ON K1P 5H3


ENNIET TORRES - NJ DIVISION OF TAXATION
PIONEER CREDIT RECOVERY
PO BOX 1009
MOORESTOWN NJ 08057-0909


EQUIPMENT LEASING SERVICES, LLC
9977 N. 95TH STREET, STE. 110
SCOTTSDALE AZ 85258


EVEREST EBF
8200 NW 52ND TERRACE, 2ND FLOOR
DORAL FL 33166


EYEMED VISION CARE
FSL/EYEMED PREMIUMS
PO BOX 632530
CINCINNATI OH 45263-2530


FIRST CLASS BUSINESS GROUP CAPITAL, LLC
C/O SAVENT FINANCIAL
212 RIVER PARK NORTH
WOODSTOCK GA 30188


FIRST FIDELITY BANK
16277 N. GREENWAY HAYDEN LOOP
ATTN: CHRIS LEPLEY
SCOTTSDALE AZ 85260


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FORA FINANCIAL
1385 BROADWAY, 15TH FLOOR
NY 10018


FOX ROTHSCHILD LLP - ATTN: HEATHER RIES
PHILLIPS POINT
777 S. FLAGLER DR., STE. 1700 WEST TOWER
WEST PALM BEACH FL 33401


FUNDAMENTAL CAPITAL, LLC
100 GARDEN CITY PLAZA, STE. 410
GARDEN CITY NY 11530


GLOBAL PARTS AERO SERVICES
914 INDUSTRIAL RD.
AUGUSTA KS 67010


HAWTHORNE GLOBAL AVIATION SERVICES
3800 STARR AVE.
EAU CLAIRE WI 54703


IMPERIAL PFS CORP
PO BOX 100391
PASADENA CA 91189-0391


INTERNAL REVENUE SERVICE
CINCINNATI OH 45999-0039



INTERNAL REVENUE SERVICE
DEPARTMENT OF THE TREASURY
OGDEN UT 84201


IRON MOUNTAIN
PO BOX 27128
NEW YORK NY 10087-7128


IRON MOUNTAIN
2 SUN COURT
NORCROSS GA 30092


JA AIR, INC.
43W730 US RT. 30
SUGAR GROVE IL 60554


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JAMES GONIWICHA
2649 JENNA CIRCLE
MONTGOMERY IL 60538


JENNIFER ETZEL-ELAQAD
2120 E. CROCUS DR.
PHOENIX AZ 85022


JEPPESEN
PO BOX 840864
DALLAS TX 75284-0864


JET LOGISTICS
PO BOX 19596
CHARLOTTE NC 28219


JOSEPH CECE
1936 E MISSOURI AVE.
PHOENIX AZ 85016


KALAMATA CAPITAL GROUP, LLC
80 BROAD STREET, SUITE 1201
NEW YORK NY 10014


KALITTA CHARTERS
2820 TYLER RD.
YPSILANTI MI 48198


KANSAS CITY LIFE
KCL GROUP BENEFITS
PO BOX 219846
KANSAS CITY MO 64121-9846


KCL GROUP BENEFITS
ATTN: CHRISTINA JAMES
PO BOX 219425
KANSAS CITY MO 64121-9425


KKC IMAGING SYSTEMS
1550 N. FARNSWORTH AVE.
AURORA IL 60505


LEVITON LAW FIRM LTD.
ONE PIERCE PL., STE. 725W
ITASCA IL 60143

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LINDE GAS & EQUIPMENT INC.
DEPT CH 10660
PALATINE IL 60055-0660


LITCHFIELD CAVO, LLP
303 W. MADISON ST., STE. 300
CHICAGO IL 60606-3300


LUMANAIR
43W752 US HIGHWAY 30
SUGAR GROVE IL 60554


MCDONALD HOPKINS, LLC
600 SUPERIOR AVENUE EAST, STE. 2100
CLEVELAND OH 44114


MEDIACOM - 1054
PO BOX 5744
CAROL STREAM IL 60197-5744


MOBILE MEDICAL
15027 STATE RD. 1
LEO IN 46765


MUTUAL OF OMAHA
MUTUAL OF OMAHA PLAZA
OMAHA NE 68175


N335RC LLC
9830 SW 77 AVE., STE. 105
MIAMI FL 33156


N531K, LLC
9830 SW 77 AVE., STE. 105
MIAMI FL 33156


NATA COMPLIANCE SERVICES
9400 GATEWAY DR., SUITE D
RENO NV 89521


NAV CANADA
ATTN: ACCOUNTS RECEIVABLE
PO BOX 9632, STATION T
OTTAWA OM K19 6HI CANADA


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NEW JERSEY DIVISION OF TAXATION
REVENUE PROC CENTER - CORP BUSINESS TAX
PO BOX 257
TRENTON NJ 08646-0257


NEXAIR LLC
PO BOX 125
MEMPHIS TN 38101-0125


NEXAIR LLC
4090 STEVE REYNOLDS BLVD
NORCROSS GA 30093


NEXAIR LLC
8600 NW 93RD ST.
MIAMI FL 33166


NINTH BRAIN SUITE LLC
PO BOX 21
FRANKENMUTH MI 48734-0021


PECOS COUNTY EMS
PO BOX 226683
DALLAS TX 75222-6683


PRAXAIR - AZ FY316
PRAXAIR DISTRIBUTION, INC. - DEPT. 0812
PO BOX 120812
DALLAS TX 75312-0612


PRAXAIR - IL LINDE GAS & EQUIPMENT
965-PRAXAIR DIST., INC.
DEPT. CH 10660
PALATINE IL 60055-0660


QUADIENT FINANCE USA, INC.
PO BOX 6813
CAROL STREAM IL 60197-6813


QUEST DIAGNOSTICS
PO BOX 740709
ATLANTA GA 30374-0709




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RAM SOFTWARE SYSTEM INC
DBA AIM EMS SOFTWARE & SERVICES
892 NEW CASTLE RD.
SLIPPERY ROCK PA 16057


RENEW BIOMEDICAL
PO BOX 11476
JACKSON TN 38308


SECRETARY OF STATE - VEHICLE SERVICES
ERT SECTION, RM. 424
501 S. SECOND ST.
SPRINGFIELD IL 62756


SECRETARY OF STATE - VEHICLE SERVICES
213 STATE CAPITOL
SPRINGFIELD IL 62756


SECURED LENDER SOLUTIONS
PO BOX 2576
SPRINGFIELD IL 62708


STARR INDEMNITY & LIABILITY CO
399 PARK AVENUE
NEW YORK NY 10022


STATE OF VERMONT
VERMONT DEPT OF TAXES
133 STATE STREET
MONTPELIER VT 05633-1401


STEPHANIE MAHANEY
431 E. DEKALB DR.
MAPLE PARK IL 60151


SYNERGI PARTNERS, INC.
PO BOX 5599
FLORENCE SC 29502-5599


TETERBORO AIRPORT
THE PORT AUTHORITY OF NY & NJ
LBX #1523 - PO BOX 95000
PHILADELPHIA PA 19195-0001




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TETERBORO AIRPORT ACCOUNTING OFFICE
AVPORTS, LLC/TETERBORO AIRPORT
111 INDUSTRIAL AVE.
TETERBORO NJ 07608


THE CALGARY AIRPORT AUTHORITY
YYC CALGARY INT'L AIRPORT
2000 AIRPORT RD. N.E.
CALGARY, ALBERTA T2E 6W5


TIM RYAN
412 WHIPPLE AVE.
BATAVIA IL 60510


TOLEDO-LUCAS COUNTY PORT AUTHORITY
11013 AIRPORT HWY, BOX 11
SWANTON OH 43558


U.S. SMALL BUSINESS ADMINISTRATION
2 NORTH STREET, SUITE 320
BIRMINGHAM AL 35203


UDALL SHUMWAY, PLC
PO BOX 1446
MESA AZ 85211-1446


UDALL SHUMWAY, PLC
1138 N. ALMA SCHOOL RD., STE. 101
MESA AZ 85201


UNITED STATES TREASURY
INTERNAL REVENUE SERVICE
PO BOX 7122
SAN FRANCISCO CA 94127-7122


VECTOR - PORTLAND JETPORT
PO BOX 787061
PHILADELPHIA PA 19178-7061


VURIA
VINCIT ARIZONA, INC.
2 NORTH CENTRAL AVE., STE. 1800
PHOENIX AZ 85004




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Aerocare Medical Transport System, Inc. -



WASTE MANAGEMENT
ATTN BILLING DEPT
PO BOX 4648
CAROL STREAM IL 60197


WASTE MANAGEMENTOF ILLINOIS, INC.
PO BOX 42390
PHOENIX AZ 85080


WILLIAM KOST
4123 W. MAGGIE DR.
QUEEN CREEK AZ 85142


WINIPEG AIRPORTS AUTHORITY INC.
249-2000 WELLINGTON AVE.
R3H 1C2 WINNIPEG
MB


WISCONSIN AVIATION
3606 CORBEN COURT
MADISON WI 53704


WISCONSIN AVIATION
FOUR LAKES, INC.
3603 CORBEN ST.
MADISON WI 53704


WISCONSIN DEPT OF REVENUE
BOX 930208
MILWAUKEE WI 53293-0208


WISCONSIN DEPT OF REVENUE
PO BOX 8901
MADISON WI 53708-8901


ZOLL DATA SYSTEMS
11802 RIDGE PARKWAY, STE. 400
BROOMFIELD CO 80021




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                                          United States Bankruptcy Court
                                                     District of Arizona
 In re   Aerocare Medical Transport System, Inc.                                       Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Aerocare Medical Transport System, Inc. in the above captioned action, certifies
that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s)
10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:
Joseph Cece
1936 E. Missouri Ave.
Phoenix, AZ 85016




 None [Check if applicable]




April 13, 2023                                   /s/ James E. Cross
Date                                             James E. Cross 009063
                                                 Signature of Attorney or Litigant
                                                 Counsel for Aerocare Medical Transport System, Inc.
                                                 Cross Law Firm, P.L.C.
                                                 PO Box 45469
                                                 Phoenix, AZ 85064
                                                 602-412-4422 Fax:602-252-4712
                                                 jcross@crosslawaz.com




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